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                EXHIBIT A
                 PART 1
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             COMPLAINT TRANSMITTAL COVERSHEET

Attached is a Complaint that has been filed against you with the World Intellectual
Property Organization (WIPO) Arbitration and Mediation Center (the Center) pursuant
to the Uniform Domain Name Dispute Resolution Policy (the Policy) approved by the
Internet Corporation for Assigned Names and Numbers (ICANN) on October 24, 1999,
the Rules for Uniform Domain Name Dispute Resolution Policy (the Rules) approved
by ICANN on September 28, 2013, and in effect as of July 31, 2015, and the WIPO
Supplemental Rules for Uniform Domain Name Dispute Resolution Policy (the
Supplemental Rules in effect as of July 31, 2015.

The Policy is incorporated by reference into your Registration Agreement with the
Registrar(s) of your domain name(s), in accordance with which you are required to
submit to a mandatory administrative proceeding in the event that a third party (a
Complainant) submits a complaint to a dispute resolution service provider, such as the
Center, concerning a domain name that you have registered. You will find the name
and contact details of the Complainant, as well as the domain name(s) that is/are the
subject of the Complaint in the document that accompanies this Coversheet.

Once the Center has checked the Complaint to determine that it satisfies the formal
requirements of the Policy, the Rules and the Supplemental Rules, it will forward an
official copy of the Complaint, including annexes, to you by email as well as sending
you hardcopy Written Notice by post and/or facsimile, as the case may be. You will
then have 20 calendar days from the date of Commencement within which to submit a
Response to the Complaint in accordance with the Rules and Supplemental Rules to the
Center and the Complainant. You may represent yourself or seek the assistance of legal
counsel to represent you in the administrative proceeding.

   The Policy can be found at:
    www.icann.org/resources/pages/policy-2012-02-25-en

   The Rules can be found at:
    www.icann.org/resources/pages/udrp-rules-2015-03-11-en


   The Supplemental Rules, as well as other information concerning the resolution of
    domain name disputes can be found at:
    www.wipo.int/amc/en/domains/supplemental/eudrp/newrules.html

   A model Response can be found at:
    www.wipo.int/amc/en/domains/respondent/index.html

Alternatively, you may contact the Center to obtain any of the above documents. The
Center can be contacted in Geneva, Switzerland by telephone at +41 22 338 8247, by
fax at +41 22 740 3700 or by email at domain.disputes@wipo.int.

You are kindly requested to contact the Center to provide an alternate email address to
which you would like (a) the Complaint, including Annexes and (b) other
communications in the administrative proceeding to be sent.

A copy of this Complaint has also been sent to the Registrar(s) with which the domain
name(s) that is/are the subject of the Complaint is/are registered.
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By submitting this Complaint to the Center the Complainant hereby agrees to abide and
be bound by the provisions of the Policy, Rules and Supplemental Rules.




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Before the:


               WORLD INTELLECTUAL PROPERTY ORGANIZATION
                   ARBITRATION AND MEDIATION CENTER



RITZIO PURCHASE LIMITED
Corporate ID: 144533
Diagorou Street 4, Kermia building         Disputed Domain Name(s):
6th floor, Office 601, P.C.1097,
Nicosia, Cyprus
(Complainant)
                    -v-
                                           [a] vulcan-club-online.com
                                           [b] vulcan-online-club.com
                                           [c] volcanozal.com
                                           [d] wulkancasino.com
                                           [e] volcan24.com
[1] WHOISGUARD PROTECTED,
                                           [f] 1vulcano.com
WHOISGUARD, INC.
                                           [g] 2vulcano.com
P.O. BOX 0823-03411, PANAMA,
                                           [h] 3vulcano.com
00000, PA
                                           [i] 5vulcano.com
(Respondent)
                                           [j] 7vulcano.com
                                           [k] vulcano7.com
                                           [l] online-volcano.com
                                           [m] vulcan-club-online.top


________________________________




                                     COMPLAINT
       (Rules, Paragraph 3(b); Supplemental Rules, Paragraphs 4(a), 12(a), Annex E)


                                     I. Introduction

[1.]     This Complaint is hereby submitted for decision in accordance with the Uniform
         Domain Name Dispute Resolution Policy (the Policy), approved by the Internet
         Corporation for Assigned Names and Numbers (ICANN) on October 24, 1999,
         the Rules for Uniform Domain Name Dispute Resolution Policy (the Rules),
         approved by ICANN on September 28, 2013, and in effect as of July 31, 2015,
         and the WIPO Supplemental Rules for Uniform Domain Name Dispute
         Resolution Policy (the Supplemental Rules) in effect as of July 31, 2015



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                                           II. The Parties


                                     A. The Complainant
                               (Rules, Paragraphs 3(b)(ii) and (iii))

[2.]     The Complainant in this administrative proceeding is Ritzio Purchase Limited.


[3.]     The Complainant’s contact details are:
                                     Ritzio Purchase Limited
                    Registered
                                     Diagorou Street 4, Kermia building
                    Address:         6th floor, Office 601, P.C.1097,
                                     Nicosia, Cyprus

[4.]     The Complainant’s authorized representative in this administrative proceeding
         is:
         [a.] Name: MAPA TRADEMARKS SL
         [b.] Address: C/Henao Nº 7, 5ª Planta, Dpto 8; E-48009 Bilbao (Bizkaia); Spain
         [c.] Telephone: +34.944019133
         [d.] Fax: +34.944104765
         [e.] E-Mail: info@mapasl.com


[5.]     The Complainant’s preferred method of communications directed to the
         Complainant in this administrative proceeding is:
                Electronic-only material
               Electronic-only material
               Method:           E-mail
               Address:          info@mapasl.com
               Contact:          Sandra Santos


                                      B. The Respondent
                                    (Rules, Paragraph 3(b)(v))

[6.]          According to the WhoIs database, Respondents in this administrative
proceeding are:

       Name:         WHOISGUARD PROTECTED
       Organization: WHOISGUARD, INC
       Address:      P.O. BOX 0823-03411, PANAMA, 00000, PA
       Telephone: +507.8365503


Copy of the printouts of the WhoIs database search conducted on September 9th, 2016 is
provided as Annex 1.




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[7.]      All information known to the Complainant regarding how to contact
          Respondents is as follows:
        [7.1] E-mails from WhoIs:
For domain [a] <vulcan-club-online.com> :
    E-mail: 1F2C26EC93C64598B46CE77E5D8F3886.PROTECT@WHOISGUARD.COM

For domain [b] <vulcan-online-club.com>:
    E-mail: 227FF9BE9A9541F39B805912FA1233E9.PROTECT@WHOISGUARD.COM

For domain [c] <volcanozal.com> :
    E-mail: CC0CAF5DBE244E4CAB3DBC9B4F0FFB42.PROTECT@WHOISGUARD.COM

For domain [d] <wulkancasino.com> :
    E-mail: A63D0C0FB25B4C08823E4267F1D18BDA.PROTECT@WHOISGUARD.COM

For domain [e] <volcan24.com> :
    E-mail: 0FC4690C642D4A979F9EEBE33C455CCB.PROTECT@WHOISGUARD.COM

For domain [f] <1vulcano.com> :
    E-mail: E888EA0DEC23400DB4518ED871A4CB51.PROTECT@WHOISGUARD.COM

For domain [g] <2vulcano.com> :
    E-mail: 30552DB344DC42559BC0AB2C5A1B344D.PROTECT@WHOISGUARD.COM

For domain [h] <3vulcano.com> :
    E-mail: ADFC4D491B6B49E5BBCD0A949BBC5631.PROTECT@WHOISGUARD.COM

For domain [i] <5vulcano.com> :
    E-mail: 8116CD4DA6DA426B90FEC456EFF0842A.PROTECT@WHOISGUARD.COM

For domain [j] <7vulcano.com> :
    E-mail: CFF39F78768148448787BCB3B094F21C.PROTECT@WHOISGUARD.COM

For domain [k] <vulcano7.com> :
    E-mail: 2B59D2EEAB3F4260A4E7A624B4CDAA3D.PROTECT@WHOISGUARD.COM

For domain [l] <online-volcano.com>:
    E-mail: BC31231D891F4627A5C5777053A471DA.PROTECT@WHOISGUARD.COM


For domain: [m] <vulcan-club-online.top>
    E-mail: f65a9d742987462cbceaaf897d67fb4d.protect@whoisguard.com



       [7.2] On the ―support‖-pages of all of the disputed domains (See <vulcan-club-
       online.com/support> as an example), the same additional contact details are listed:
       Telephone: +7-499-999-1234, +38-044-594-6939
       E-mail: support@vlk-mail.com




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Registrars, upon request of WIPO provided the following information for the
Registrants of domains in dispute:
For <vulcan-club-online.top>:
Registrant Name: Alex Boolop
Registrant Organization:
Registrant Street: Somewere
Registrant City: Kiev
Registrant State/Province: NA
Registrant Postal Code: 0000000
Registrant Country: UA
Registrant Phone: +380.968517401
Registrant Phone Ext:
Registrant Fax: +1.5555555555
Registrant Fax Ext:
Registrant Email: alexboolop@gmail.com

For <1vulcano.com>, <2vulcano.com>, <3vulcano.com>, <5vulcano.com>,
<7vulcano.com> and <vulcano7.com>:
Organization Name: CAMELOT
First Name: DAVY
Last Name: KIBA-GASTE
Address 1: SUITE 1, 2F, SOUND VISION HOUSE
Address 2:
City: VICTORIA
StateProvince: MAHE
Postal Code: 000000
Country: SC
Phone: +7.9214303025
Fax:
Email Address: HOSTING@ACEM.PW


For <wulkancasino.com>, <volcan24.com>, <vulcan-online-club.com>,
<volcanozal.com>, <online-volcano.com> and <vulcan-club-online.com>:
First Name: ZHOSELIN-PATRICK
Last Name: MANDZELA
Address 1: 19BD JULIEN DEVOS
Address 2:
City: VERNON
StateProvince: HAUTE-NORMANDIE
Postal Code: 27200
Country: FR
Phone: +33.667410100
Fax: +1.5555555555
Email Address: BAIT0OT@GMAIL.COM




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[8.]                            Request for consolidation
       Following the criteria of the WIPO Center case-law (Case No D2015-0066), “As
stated in prior UDRP decisions, a consolidation of multiple respondents in a single
proceeding may be appropriate, under paragraphs 3(c) and 10(e) of the Rules, where
the circumstances of a given case indicate that common control is being exercised over
the disputed domain names or the web sites to which the domain names resolve and the
consolidation would be fair and equitable to all parties. See Speedo Holdings B.V. v.
Programmer, Miss Kathy Beckerson, John Smitt, Matthew Simmons, WIPO Case No.
D2010-0281 and paragraph 4.16 of the WIPO Overview of WIPO Panel Views on
Selected UDRP Questions, Second Edition (“WIPO Overview 2.0”).


       Notwithstanding the fact, that according to WhoIs data we might have different
respondents in this dispute, Complainant strongly believes that there is only one real
Respondent who controls all domains in dispute, due to the following:
       (a) All websites that are located at domains in dispute have absolutely identical
design, graphics, layout, text, the same set of games, and all other instruments.
Everything is absolutely the same.
       (b) On the «Support-page» of all 13 websites at domains in dispute one can see that
contact information is also the same. See screenshot below (previously translated with
Google Translate):




       (c) One Registrar for 12 out of 13 domains, most of the domains registered on the
same day (See Section III below). These are the domains:
                 - [a], [b] - reg. date: 18-sep-2014;
                 - [d], [e], [l] - reg. date: 07-mar-2013; and
                 - [f], [g], [h], [i], [j] - reg. date: 11-may-2016.

       (d) The owner of all domains is hidden behind Privacy services;

       (e) After WIPO’s request, Registrar disclosed names of domain-holders and
according to this information they are: (a) One nickname with non-existing Ukrainian
street address ―somewere‖, (b) Seychelles legal entity which are commonly used to



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hold domains’ holder hidden and (c) Zhoselin-Patrick Mandzela of Vernon who has
already been a Respondent in same UDRP case D2015-0295 with the same web-site
and same Trademark infringement…
    Thus, since there are no other distinctive criteria applicable, all websites look the
same, work the same and are connected with each other by same network, Complainant
believes that there is only one same owner\person who controls the websites.

    Given that this case can be reviewed on the basis of any of the disputed domain
names and it would be appropriate for all others and that it would be ―fair and equitable
to all parties‖ and ―circumstances of a given case indicate that common control is being
exercised over the disputed domain names or the web sites‖ Complainant requests
consolidation of the Respondents in this one proceeding.




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                       III. The Domain Name(s) and Registrar(s)
                             (Rules, Paragraphs 3(b)(vi), (vii))

[9.]     This dispute concerns the domain names identified below:
         [a] vulcan-club-online.com              [h] 3vulcano.com
             Updated Date: 22-aug-2016              Updated Date: 25-jul-2016
             Creation Date: 18-sep-2014             Creation Date: 11-may-2016
             Expiration Date: 18-sep-2016           Expiration Date: 11-may-2017
         [b] vulcan-online-club.com              [i] 5vulcano.com
            Updated Date: 22-aug-2016                Updated Date: 25-jul-2016
            Creation Date: 18-sep-2014               Creation Date: 11-may-2016
            Expiration Date: 18-sep-2016             Expiration Date: 11-may-2017
         [c] volcanozal.com                      [j] 7vulcano.com
             Updated Date: 08-sep-2016               Updated Date: 25-jul-2016
             Creation Date: 26-mar-2013              Creation Date: 11-may-2016
             Expiration Date: 26-mar-2017            Expiration Date: 11-may-2017
         [d] wulkancasino.com                    [k] vulcano7.com
            Updated Date: 25-jul-2016               Updated Date: 25-jul-2016
            Creation Date: 07-mar-2013              Creation Date: 06-jun-2016
            Expiration Date: 07-mar-2017            Expiration Date: 06-jun-2017
         [e] volcan24.com                        [l] online-volcano.com
             Updated Date: 25-jul-2016               Updated Date: 25-jul-2016
             Creation Date: 07-mar-2013              Creation Date: 07-mar-2013
             Expiration Date: 07-mar-2017            Expiration Date: 07-mar-2017
         [f] 1vulcano.com                        [m] vulcan-club-online.top
             Updated Date: 25-jul-2016             Updated Date: 2016-07-22
             Creation Date: 11-may-2016            Creation Date: 2016-07-15
             Expiration Date: 11-may-2017          Expiration Date: 2017-07-15
         [g] 2vulcano.com
            Updated Date: 25-jul-2016
            Creation Date: 11-may-2016
            Expiration Date: 11-may-2017


[10.]    Registrars for domain names are:

For domains:
 [a] vulcan-club-online.com ; [b] vulcan-online-club.com ; [c] volcanozal.com ;
 [d] wulkancasino.com ; [e] volcan24.com ; [f] 1vulcano.com ; [g] 2vulcano.com ;
 [h] 3vulcano.com ; [i] 5vulcano.com ; [j] 7vulcano.com ; [k] vulcano7.com ;
 [l] online-volcano.com:
         Registrar Name:       ENOM, INC.
         Registrar’s Address: 5808 Lake Washington Blvd. NE, Ste. 300
                               Kirkland, WA 98033, USA
         Telephone Number: +1.4252982646
         Fax:                +1.425.974.4791
         E-Mail Address:       abuse@enom.com , legal@enom.com
For domain:
 [m] vulcan-club-online.top:
        Registrar Name:      NameCheap, Inc.
        Registrar’s Address: NameCheap, Inc c/o Legal Dept. 11400 W. Olympic Blvd.
                             Suite 200 Los Angeles, CA 90064 US
        Telephone Number: +1.6613102107


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          Fax:                   +1.6613102107
          E-Mail Address:        legal@namecheap.com




                                 IV. Language of Proceedings
                                     (Rules, Paragraph 11)

[11.]    To the best of the Complainant’s knowledge, the language of the Registration
         Agreement is English, a copy of a copy of which are provided as Annexes 2 and
         3 to this Complaint for ENOM, INC. and NameCheap, Inc. respectively and
         also can be found at:
          ENOM, INC. - www.enom.com/terms/agreement.aspx
          NameCheap, Inc - www.namecheap.com/legal/domains/registration-agreement.aspx
         The Complaint has been submitted in English and, given the above,
         Complainant requests that the language of proceeding be English.




               V. Jurisdictional Basis for the Administrative Proceeding
                            (Rules, Paragraphs 3(a), 3(b)(xiv))

[12.]    This dispute is properly within the scope of the Policy and the Administrative
         Panel has jurisdiction to decide the dispute. The Registration Agreements,
         pursuant to which the domain names that are the subject of this Complaint are
         registered, incorporates the Policy. That is clearly stated in:
             - Section 17 of the Registration Agreement with ENOM, INC., and
             - Sections 1 and 9 of the Registration Agreement with NameCheap Inc.
         A true and correct copy of these Registration Agreements are provided as
         Annexes 2 and 3 to this Complaint and can be found at:
          ENOM, INC. - www.enom.com/terms/agreement.aspx
          NameCheap, Inc - www.namecheap.com/legal/domains/registration-agreement.aspx




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                               VI. Factual and Legal Grounds
                     (Policy, Paragraphs 4(a), (b), (c); Rules, Paragraph 3)

[13.]    This Complaint is based on the following grounds:
This Complaint is based on the Вулкан1, Вулкан (& Design), Vulkan and Volcano
trademarks, among other Вулкан, Vulcan, Vulkan and Volcano composite marks
(hereinafter the ―Vulcan Marks‖) owned by a Complainant in numerous countries
around the world and which Complainant have been continuously using since at least as
early as 1992—long before Respondent’s registration of the subject domain names in
2013 (four domains), 2014 (two domains) and 2016 (seven domains). Complainant is
the owner of registrations for the Vulcan Marks in numerous countries around the
world, including but not limited to the below registrations in Russia, which are the most
relevant in the case, since overwhelming majority of users is from Russia and Ukraine
(according to information of Web-Service at www.similarweb.com).                              Copies of
trademark records for a representative samples of the Vulcan Marks are attached hereto
as Annex 4 (Translated with Google Translate from Russian to English).
Not to overload the case, Complainant decided not to attach Vulcan Marks that are
owned by companies which are a part of Ritzio Group, like Bartlett Corporation’
Vulkan Trademarks #s: 216203; 257824; 307722; 307880; 361357 registered in period
2000-2005 and valid until 2022.
In addition, we are providing the internet links corresponding to these TM from the
official database of the Russian Federation (ROSPATENT), also attached as Annexes
5-8 (Translated with Google Translate from Russian to English).
(a) TM ― ―Вулкан‖ (Russian Federation), Reg. number: 342290:
     http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342290&TypeFile
     =html"
(b) TM ― ―Вулкан‖ (Russian Federation), Reg. number:342291
     http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342291&TypeFile
     =html
(c) TM ― ―Вулкан‖ (Russian Federation), Reg. number: 307879:
     http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=307879&TypeFile
     =html
(d) TM – VULKAN (Russian Federation), Reg. number 353692:
     http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353692&TypeFile
     =html
Furthermore, Annexes 9-17 consists of some of the TM duly registered by the
Complainant Worldwide.


1
 The English translation of Вулкан is ―Volcano‖ or ―Vulcan‖. The transliteration of this trademark in
Roman letters is ―Vulkan‖ since Cyrillic has no equivalent of the letter ―C,‖ only ―K,‖ for the ―K‖ sound.


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    Furthermore, Complainant does not include in Annexes, not to make the size of
complaint huge, other Vulcan Marks, which are registered Worldwide. These are
trademarks:
 1) M 66 719 http://databases.lrpv.gov.lv/databases/en/trademark/details/M-13-327
 2) M 65 242 http://databases.lrpv.gov.lv/databases/en/trademark/details/M-12-397
 3) M 66 718 http://databases.lrpv.gov.lv/databases/en/trademark/details/M-13-326
 4) 30738661 https://register.dpma.de/DPMAregister/marke/register/307386619/DE?lang=en
 5) 307377903 https://register.dpma.de/DPMAregister/marke/register/307377903/DE?lang=en
 6) 307579271 https://register.dpma.de/DPMAregister/marke/register/307579271/DE?lang=en
 7) 200702888
    http://reg.zis.gov.rs/regis/detail.php?entity=mark&lang=en&file_nbr=200702888
 8) Z20080152A http://it-app.dziv.hr/Pretrage/en/z/Detaljno.aspx/Z20080152A
 9) 200702970
    http://reg.zis.gov.rs/regis/detail.php?entity=mark&lang=en&file_nbr=200702970
 10) 0001288221
    http://www.uibm.gov.it/uibm/dati/Tmview.aspx?load=tmview&ApplicationNumber=TO2
    007C002582&table=TradeMark
 11) 0001288220
    http://www.uibm.gov.it/uibm/dati/Tmview.aspx?load=tmview&ApplicationNumber=TO2
    007C002581&table=TradeMark
 12) 352257
    http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=352257&
    TypeFile=html
 13) 989103
    http://www.wipo.int/romarin//searchAccess.xhtml?act=on&del=no&pen=no&searchString
    =+%28%2FMARKGR%2FINTREGN+contains+++989103%29+

  All these Vulcan Marks are duly registered, valid and belong to Complainant.
Furthermore, Annexes 9-12 consists of some of the Vulcan Marks duly registered by
the Complainant worldwide with basic registrations in Russia but currently independent
due to Article 6.2 on the Protocol (period of 5 years from registration passed), such as:
791038 – EE (ESTONIA) – GE (Georgia) – LT (Lithuania) – TM (Turkmenistan) – UZ
(Uzbekistan) – AM (Armenia) – AZ (Azerbaijan) – BY (Belarus) – KG (Kyrgyzstan) –
KZ (Kazakhstan) – LV (Latvia) – MD (Republic of Moldova) – TJ (Tajikistan) –UA
(Ukraine);
992196 – BY (Belarus) – KZ (Kazakhstan) – UA (Ukraine);
977713 – BY (Belarus) – KZ (Kazakhstan) – UA (Ukraine);
984297 – EM (OHIM) – BY (Belarus) – HR (Croatia) – KZ (Kazakhstan) – RS (Serbia)
– UA (Ukraine).
    For more than 20 years, Ritzio has been in the business of providing high-quality
gaming, casino and entertainment products and services, including but not limited to the
operation and management of gaming halls, the design, development, provision and
maintenance of games of chance, including betting bingo and slot machines, the
provision of interactive real-money games through a computer network, and other
related products and services under the well-known Вулкан and Vulkan brands.



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    Today, Ritzio is one of the leading gaming operators and its business continue to
expand far beyond Russia. With more than 2,000 employees, more than 230 Вулкан
and/or Vulkan branded gaming clubs and more than 6300 gaming machines deployed
throughout Europe. Ritzio’s company overview and photographs of Вулкан and Vulkan
branded gaming halls, are attached here to as Annex 18.
     Ritzio has developed a global reputation as a high-quality, technologically
advanced, multi-national gaming operator. A summary of Ritzio’s operations and
locations, and a collection of press releases reflecting Ritzio’s growth, are attached
hereto as Annex 19 containing detailed information on the development of Ritzio’s key
brand VULKAN in the following countries respectively: Germany, Italy, Croatia,
Romania, Belarus, Latvia.
      Russia and former CIS countries is where Ritzio began the creation of the Vulkan
brand which has always been and still is - a flagship of the Complainant’ games of
chance business. That is why Respondent-like persons find it extremely profitable to act
on these territories. While Russian legislative changes from time to time, switching the
schematics and business models of all business holders in this field, it requires colossal
efforts to continue work, expand Vulkan brand and modify business models for every
particular region of the World, where Vulkan brand is presented.
      For example, Russian gambling law, particularly – legal act ―On state regulation
of activities for the organization and conduct of gambling and on amending some
legislative acts of the Russian Federation‖
http://pravo.gov.ru/proxy/ips/?docbody=&nd=102111150&rdk=&backlink=1 (Official
governmental resource) dated 29.12.2006 with current edition dated 01.05.2016
regulates all types of games of chance, their positioning, reporting system and all other
aspects of how gaming services can be provided, where can they be provided and what
needs to be done to provide them. At the same time, this legal act imposes a lot of
difficulties, which are extremely difficult to overcome for such persons like
Respondent. Thus, while Complainant makes efforts, invest human and financial
resources to hold positions and weight of the Vulkan brand by creating Licensing
programs, Social networks programs with partners, advertising, expanding the brand
internationally or providing services from abroad, Respondent chooses the way to
parasitize on the famous Vulkan Brand! Respondent didn’t even bother to receive
authorization from Ritzio to use Vulcan Marks!
    Since at least as early as 1992, Ritzio has expended significant resources to
promote its products and services using the Vulcan Marks through various media
outlets. As a result, Ritzio has developed significant goodwill in the Vulcan Marks and



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has grown the Vulcan Marks into one of the most recognized and well-known brands in
Europe, Eastern Europe. In fact, between 2006 and 2010, Ritzio’s operating revenue
was in excess of USD $5.5 billion. Ritzio has expended significant time, money and
resources to build goodwill in the Vulcan Marks, and as a result, the Vulcan Marks
have become famous and are extremely valuable trademarks. Annex 20 consist of
excerpts from different independent sources that prove Ritzio’s growth and the success
of Vulkan/ Вулкан chain of gaming clubs widely spread in several countries.
    Ritzio has also been recognized by the International Gaming Awards for its
commitment to corporate social responsibility providing since 2005 active support to
the Paralympic movement and sportsmen with disabilities. A long-term partnership
between Ritzio and the Russian Paralympic Committee began with the company’s
sponsorship of the Russian national team at the 2006 Winter Paralympic Games in
Turin (see Annexes 21-22).
    As demonstrated above, the Vulcan Marks are famous and enjoy a worldwide
reputation in connection with high quality products and services in the gaming and
entertainment industries.
    Complainant, being a giant group of companies in huge number of Countries,
provides services in gambling for more than twenty years and bears legal, reputational
and financial risks and loss because of Respondent-like persons who expressly refer to
Complainant’ Vulcan Marks. For example: Complainant owes a number of nearly 129
gaming halls in Germany where huge reputational and financial damage is dealt
because of Respondent. People playing online believe that Respondent’s fake websites
belong to Complainant, while they are not.
    Yet, not only is Respondent using the Vulcan Marks without authorization, but in
an effort to illicitly profit off the goodwill and reputation of the Vulcan Marks, it has
copied the look and feel of Ritzio’s gaming clubs, intentionally used Vulkan brand in
the domain name, copied not only one, but several registered ―Вулкан‖ and ―Vulkan‖
trademarks exactly, created ―copycat‖ websites, and is intentionally misrepresenting in
the descriptions of the web-sites that the disputed domain names (and the content
associated therewith) is directly connected to, and/or affiliated with, Ritzio’s land-based
gaming clubs. This issue is being reviewed in details in Section C.
    Complainant draws attention of the Panel that unfortunately there are a lot of
infringers who are parasitizing on Вулкан\Vulkan brand and there have been already
cases under UDRP Process in WIPO where there were almost identical infringements
and Panel decided that all those domains are to be transferred to Complainant. These
are the cases:



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    1) D2015-1182 Ritzio Purchase Limited v. Legato LLC / V. Zaharchenko / Jimmy
       McColin / Chernovsky Vladimir Sergeevich / Domain Admin,
       PrivacyProtect.org (See Annex 32)
        www.wipo.int/amc/en/domains/search/text.jsp?case=D2015-1182
    2) D2015-0875 Ritzio Purchase Limited v. Domain Admin, PrivacyProtect.org /
       Timur Ziganshin / Lianna Tall, Escave Ltd / Private Whois, Global Domain
       Privacy Services Inc / Moniker Privacy Services (See Annex 33)
        www.wipo.int/amc/en/domains/decisions/text/2015/d2015-0875.html
    3) D2015-1106 Ritzio Purchase Limited v. Private Whois, Global Domain Privacy
       Services Inc. / Sergey Budusov, Infostar Management Ltd (See Annex 34)
        www.wipo.int/amc/en/domains/decisions/text/2015/d2015-1106.html
    4) D2016-0633 Ritzio Purchase Limited против Andrey Lykov / Rosalinda
       Corporation / Roy Delcy, COUNTSIDE Holding Corp / Registration private,
       Domains By Proxy, LLC (See Annex 35)
        www.wipo.int/amc/en/domains/search/text.jsp?case=D2016-0633
    5) D2016-0967 Ritzio Purchase Limited v. Twist Services LTD, Twist International
       (See Annex 36)
        www.wipo.int/amc/en/domains/decisions/text/2016/d2016-0967.html
What is probably most important here is that exactly the same case and Complainant
strongly believes that against exactly the same Respondent has been already reviewed
in WIPO according to UDRP Procedure:
    6) D2015-0295 Ritzio Purchase Limited v. Whoisguard Protected, Whoisguard,
       Inc / Zhoselin-Patrick Mandzela (See Annex 31)
        www.wipo.int/amc/en/domains/search/text.jsp?case=D2015-0295
Complainant believes so due to absolute identity of the websites on domains in dispute
to the website which was on the domain from case D2015-0295: the same design,
layout, games, pictures, contact information, buttons, functionality and even style of
infringement of the Trademark – everything, except for maybe some new games added.
Also hard to miss the same name of the Respondent - Zhoselin-Patrick Mandzela,
Vernon, France. Hardly a coincidence.
This is a print screen of the website from case D2015-0295:




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And this is a print screen from one of the domains in dispute of the current proceeding:




All the misrepresentation texts contained on the web-sites which are the same, along
with contact telephone numbers on the bottom of the page. Annex 23(bis) shows the
complete page of the website from case 2015-0295 and its easy to see how identic it is.
Given the above Complainant is asking the Panel to review this case according to
consensus view stated in paragraph 4.1of WIPO Overview 2.0, where
    “The UDRP does not operate on a strict doctrine of precedent. However,
    panels consider it desirable that their decisions are consistent with prior
    panel decisions dealing with similar fact situations. This ensures that the
    UDRP system operates in a fair, effective and predictable manner for all
    parties, while responding to the continuing evolution of the domain name
    system.”




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A.       The domain name(s) is(are) identical or confusingly similar to a trademark
         or service mark in which the Complainant has rights;
         (Policy, Paragraph 4(a)(i); Rules, Paragraphs 3(b)(viii), (b)(ix)(1))

                                Reg. No./
     Country     Trademark                               Goods/Services                   Registrant
                                Reg. Date
                                              gaming; recreational information;
                                              entertainment information; club
                                              services (entertainment or education);
                                              night clubs; game services provided on-
                                              line (from a computer network);
                                              providing recreational facilities;
                                              organisation of competitions
  Armenia                                     (entertainment); lotteries; holiday camp
 Azerbaijan                                   services (entertainment); organisation
   Belarus                                    of shows (impresario services);
   Estonia                                    television entertainment; bookmobile
   Georgia                                    services; providing karaoke services;
                  Вулкан (&
 Kyrgyzstan                                   providing golf facilities; providing
                   design)                    amusement arcade services; providing         Ritzio
 Kazakhstan                      791038
                                              cinema facilities; presentation of live     Purchase
  Lithuania                    03.09.2002     performances; theatre productions;          Limited
   Latvia                                     videotape film production; film
  Moldova                                     production; radio entertainment;
 Tajikistan                                   entertainer services;; news reporters
Turkmenistan                                  services; party planning
   Ukraine                                    (entertainment); music composition
                                              services; subtitling; providing of casino
 Uzbekistan                                   facilities (gambling); providing
                                              museum facilities (presentation,
                                              exhibitions); educational services;
                                              orchestra services; translation;
                                              scriptwriting services; recording studio
                                              services; digital imaging services;
                                              circuses; production of shows.
                                              Automatic vending machines and
                                              mechanisms for coin-operated
                                              apparatus; data processing equipment
                                              and computers; ticket machines;
                                              automatic equipment for monitoring
                                              and control of electronic machinery;
                                              computer and computer game
                                              programs; computer programs
                                              [downloadable software]; betting;
                                              gaming devices with mandatory use of
                                              television sets; devices for electronic
                                              games; providing access and                  Ritzio
                                 353692       telecommunications connections to the
     Russia       VULKAN                      Internet; casino games; information on
                                                                                          Purchase
                               18.11.2005
                                              recreation, entertainment, and clubs;       Limited
                                              providing interactive games through a
                                              computer network; provision of gaming
                                              halls; organizing lotteries; casino
                                              services; design of computer systems;
                                              and the arrangement of websites.




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                         Reg. No./
 Country     Trademark                              Goods/Services                    Registrant
                         Reg. Date

             Вулкан (&                    Entertainment; providing an interactive
                                            game [through a computer network],
              design)                                                                  Ritzio
                                            providing interactive, organization of
                           342290
  Russia                                   lotteries, organization of entertainment   Purchase
                         28.01.2008         recreation, provision of gaming halls,    Limited
                                          rental of slot machines, [Entertainment]
                                                        casino services.

                                       Automatic vending machines and
                                       mechanisms        for      coin-operated
                                       apparatus; data processing equipment
                                       and computers; ticket machines;
                                       automatic equipment for monitoring
                                       and control of electronic machinery;
  Belarus                              computer      and     computer     game
 European                              programs;       computer       programs
Community                              [downloadable      software];    betting;       Ritzio
                           984297      gaming devices with mandatory use of
  Croatia    VULKAN                    television sets; devices for electronic
                                                                                      Purchase
                         11.08.2008
Kazakhstan                             games;      providing     access     and       Limited
  Serbia                               telecommunications connections to the
 Ukraine                               Internet; casino games; information on
                                       recreation, entertainment, and clubs;
                                       providing interactive games through a
                                       computer network; provision of gaming
                                       halls; organizing lotteries; casino
                                       services; design of computer systems;
                                       and the arrangement of websites.
                                       Automatic vending machines and
                                       mechanisms        for      coin-operated
                                       apparatus; data processing equipment
                                       and computers; ticket machines;
                                       automatic equipment for monitoring
                                       and control of electronic machinery;
                                       computer      and     computer     game
                                       programs;       computer       programs
                                       [downloadable      software];    betting;
                                       gaming devices with mandatory use of
                                       television sets; devices for electronic
                                       games;      providing     access     and
  Belarus                              telecommunications connections to the
 European                              Internet; casino games; information on
                                       recreation, entertainment, and clubs;
Community                                                                              Ritzio
                           989103      providing interactive games through a
  Croatia    VOLCANO                   computer network; provision of gaming          Purchase
                         11.08.2008
Kazakhstan                             halls; organizing lotteries; casino            Limited
  Serbia                               services; design of computer systems;
 Ukraine                               and the arrangement of websites.




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                       Reg. No./
Country   Trademark                            Goods/Services                    Registrant
                       Reg. Date
                                                                                  Ritzio
Latvia                               games   of    chance; casinos        and
                       M 65 021      amusement arcades services
                                                                                 Purchase
                                                                                 Limited
                                     (Translated)
                                     Class 38:
                                     Providing access to games including
                                     gambling, sweepstakes, lotteries and
                                     quizzes and competitions and bets in
                                     computer networks

                                     Class 41:
                                            arranging and conducting of
                                     games and lotteries, operation and
                                     services of a casino, operation and
                                     services of casinos, operation and
                                     services of online casinos or a casino
                                     via electronic networks and the
                      302008017      Internet, operation and services of a        Ritzio
Germany                   149        gambling hall including a play-hall and     Purchase
                      24.02.2009     a slot machine hall, installation of play   Limited
                                     equipment and slot machines, arranging
                                     and conducting of games including
                                     gambling, raffles, lotteries and quizzes
                                     and competitions in the field of
                                     education and entertainment and of
                                     bets, also electronic media and
                                     electronic networks such as the
                                     Internet, operation and services of
                                     gambling clubs, operation and services
                                     of an amusement park, services of an
                                     entertainer,      organization         of
                                     entertainment shows, booking service
                                     for entry and entry cards (included in
                                     class 41);




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                       Reg. No./
Country   Trademark                               Goods/Services                      Registrant
                       Reg. Date
                                     Entertainment; sporting and cultural
                                     activities, including rental of tennis courts,
                                     billiard halls, ticket booking for shows,
                                     video, disco, casino games, book
                                     publishing, information on recreation,
                                     information on entertainment, clubs,
                                     cultural and educational and entertaining,
                                     Clubs cafe night, providing an interactive
                                     game [through a computer network],
                                     providing         interactive       electronic
                                     publications [not downloadable], practical
                                     training [demonstration], organization of
                                     exhibitions with cultural and educational
                                     purpose, recreation, organization of
                                     workshops [training] organization of
          Вулкан (&                  competitions education or entertainment,          Ritzio
           Design)      342291
Russia                               organization of lotteries, organization of       Purchase
                      28.01.2008     entertainment recreation, organizing sports      Limited
                                     events, amusement parks, providing sports
                                     equipment, provision of gaming halls,
                                     cinemas services, programming, sports,
                                     movies and film production, rental of
                                     sound recordings and audio , rental of
                                     audio equipment and video recorders,
                                     rental of slot machines, rental movies,
                                     equipment rental stadiums, using desktop
                                     publishing        electronic      publishing,
                                     interactive publication of books and
                                     periodicals, publication of texts [other than
                                     advertising],       entertaining       guests,
                                     programming meetings [Entertainment]
                                     casino services, translation services,
                                     photography, shows, music halls.




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                         Reg. No./
 Country     Trademark                              Goods/Services                    Registrant
                         Reg. Date


                                         Automatic vending machines and
                                         mechanisms        for      coin-operated
                                         apparatus; data processing equipment
                                         and computers; ticket machines;
                                         automatic equipment for monitoring
                                         and control of electronic machinery;
                                         computer      and     computer     game
                                         programs;       computer       programs
                                         [downloadable      software];    betting;
                                         gaming devices with mandatory use of
                                                                                       Ritzio
             Вулкан (&     353694        television sets; devices for electronic
  Russia                                 games;      providing     access     and     Purchase
              Design)    25.06.2008
                                         telecommunications connections to the        Limited
                                         Internet; casino games; information on
                                         recreation, entertainment, and clubs;
                                         providing interactive games through a
                                         computer network; provision of gaming
                                         halls; organizing lotteries; casino
                                         services; design of computer systems;
                                         and the arrangement of websites.




                                         automatic vending machines and
                                         mechanisms          for     coin-operated
                                         apparatus; data processing equipment
                                         and computers; ticket dispensers; juke
                                         boxes (musical), automatic distribution
                                         machines;         computer       operation
                                         programs, recorded; computer game
                                         programs,         computer       programs
                                         (downloadable software), electronic
                                         publications (downloadable), integrated
                                         circuit cards (smart cards), totalizators,
                                         apparatus for games adapted for use
                                         with      television    receivers    only,
                                         amusement apparatus adapted for use
             Вулкан (&                   with      television    receivers    only,
                                         computer peripheral devices, anti-theft       Ritzio
 Belarus      Design)     992196
                                         warning apparatus, chips (integrated         Purchase
Kazakhstan               October 17,     circuits).                                   Limited
 Ukraine                    2008         Entertainment; gaming, recreation
                                         information, entertainment information,
                                         club services (entertainment or
                                         education), night clubs, game services
                                         provided on-line (from a computer
                                         network),        providing      recreation
                                         facilities, arranging and conducting
                                         workshops (training), organization of
                                         competitions          (education        or
                                         entertainment), operating lotteries,
                                         holiday camp services (entertainment),
                                         organization of sports competitions,
                                         providing amusement arcade services,
                                         rental of slot machines, rental of cine-
                                         films, rental of stadium facilities,
                                         electronic        desktop      publishing,



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                                               entertainer services, party planning
                                               (entertainment),   providing   casino
                                               facilities (gambling), production of
                                               shows.
                                Reg. No./                                                   Registra
 Country       Trademark                                  Goods/Services
                                Reg. Date                                                     nt
                                               automatic vending machines and
                                               mechanisms for coin-operated
                                               apparatus; data processing equipment
                                               and computers; ticket dispensers; juke
                                               boxes (musical), automatic distribution
                                               machines; computer operation
                                               programs, recorded; computer game
                                               programs, computer programs
                                               (downloadable software), electronic
                                               publications (downloadable), integrated
                                               circuit cards (smart cards), totalizators,
                                               apparatus for games adapted for use
                                               with television receivers only,
                                               amusement apparatus adapted for use
                                               with television receivers only,
                                               computer peripheral devices, anti-theft
                                               warning apparatus, chips (integrated          Ritzio
 Belarus       Вулкан (&                       circuits).
                                  977713                                                    Purchase
Kazakhstan      Design)                        Entertainment; gaming, recreation
                                12.08.2008     information, entertainment information,      Limited
 Ukraine
                                               club services (entertainment or
                                               education), night clubs, game services
                                               provided on-line (from a computer
                                               network), providing recreation
                                               facilities, arranging and conducting
                                               workshops (training), organization of
                                               competitions (education or
                                               entertainment), operating lotteries,
                                               holiday camp services (entertainment),
                                               organization of sports competitions,
                                               providing amusement arcade services,
                                               rental of slot machines, rental of cine-
                                               films, rental of stadium facilities,
                                               electronic desktop publishing,
                                               entertainer services, party planning
                                               (entertainment), providing casino
                                               facilities (gambling), production


    Copies of the registration certificates and the corresponding translation into English
are attached in Annexes 4-17.
    Complainant here expressly states that all the mentioned in this complaint
Vulcan Marks are valid and there are no requests for cancellation or any
opposition approved against any of the Vulcan Marks whatsoever. That information
is proven by each and all Governmental and\or International Registers and extracts
provided therefrom.
    We emphasize that because of the previous experience when Respondents’
representative in absolutely similar cases tried hard to mislead the Panel by creating
artificial complexity of the case, submitting fake documents and once they’ve filed a
suit for cancellation of Vucan marks. They’ve lost it of course.


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     As stated above, the disputed domain names were created in year 2013 (4
domains), 2014 (2 domains) and 2016 (7 domains) and currently are being used to offer
the same services (online gambling and casino services) which Complainant provides
under the Вулкан\Vulcan trademarks.
     The disputed domain names are basically identical to English translation of the
registered internationally ―Вулкан‖\Vulcan2 marks and sound identical to ―Vulkan‖
trademarks (IR984297, IR353692 and M 65 021 and 302008017149 and other
Complainant’ Vulcan Marks). Disputed domain <wulkancasino.com> has been created
by the same principle: Russian letter ―В‖ sound as ―V‖ in English, although in the
disputed domain it is written as ―W‖. Why? Simple - since Russian language has no
equivalent of sound ―W‖ so it sounds as ―V‖. Thus, in Russian, for whom the services
on disputed domains are mostly provided, the word ―wulkan‖ is pronounced as
―Vulkan‖.
     As such, the mark and the domain names are virtually identical, which render them
confusingly similar. See e.g., NH Hoteles, S.A. v. Will Eom, WIPO Case № D2010-
0227,
              ―noting that confusing similarity can exist if the trademark and the
              disputed domain name contain word elements of different languages
              and a considerable part of the public understands the meaning of the
              translation‖;
     Further, a user encountering Respondent’s domain names is likely to be confused
into believing that any websites associated with the domain names are owned by,
affiliated with, or sponsored by Complainant.
     Here, the disputed domain names incorporate and completely corresponds the
Complainant’s Vulcan Marks (including the English translation thereof), adding only
the generic terms ―club‖, ―online‖, ―casino‖ and ―zal‖ (word ―Zal‖ is a transliteration
of Russian word «зал» and it means ―hall‖) and mixing some of them with Arabic
numerals, that are considered irrelevant under Policy and do not affect the confusing
similarity of domain names and trademarks. See Dr. Ing. h.c. F. Porsche AG v Vasiliy
Terkin, WIPO Case No. D2003-0888:
              ―In numerous cases, it has been held that a domain name that wholly
              incorporates a Complainant’s registered mark may be sufficient to
              establish confusing similarity for purposes of the UDRP.‖


2
 The English translation of Вулкан is ―Volcano‖ or ―Vulcan‖. The transliteration of this trademark in
Roman letters is ―Vulkan‖ since Cyrillic has no equivalent of the letter ―C,‖ only ―K,‖ for the ―K‖ sound.



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See also Hoffmann-La Roche Inc. v. Wei-Chun Hsia, WIPO Case No. D2008-0923:
      ―The mere addition of words ―your‖ and ―shop‖ before and after the
      Complainant's mark does little to avoid the conclusion that the contested
      domain name is confusingly similar to the Complainant's TAMIFLU mark.‖
      and
      ―In the circumstances of this case wrapping a well-known mark with merely
      descriptive or generic words is a doomed recipe for escaping a conclusion
      that the domain name is confusingly similar to the well-known mark.‖
    Moreover, words (terms) ―club‖, ―casino‖, ―online‖ and ―zal‖ even create extra
confusion effect, due to direct association with the main and well known reputation of
Vulcan Marks - operation and management of casinos and gaming halls, the design,
development, provision and maintenance of games of chance, including betting bingo
and slot machines, and the provision of interactive real-money games through a
computer network. As a result, the disputed domain names will mislead consumers into
believing that the domain names are either owned by or associated with Complainant.
See Scholastic Inc. v. 366 Publications, D2000-1627 (WIPO Feb. 21, 2001).

   “The addition of a generic term is not a distinguishing feature.... In fact, it may
    increase the likelihood of confusion if it is an apt term for the Complainant’s
    business”

    Additionally, because: (1) Respondent’s sites copy the look-and-feel of Ritzio’s
gaming clubs; (2) provide online gaming services that are competitive to those offered
in connection with the Vulcan Marks; and (3) the domain names are expected to attract
consumers interested in Ritzio’s products and services, (4) Complainant’ trademarks are
used all over the websites and (5) Reference to a goodwill of Vulcan brand created and
maintained by Complainant can be seen everywhere on Respondents’ websites -
confusion is likely.
    Furthermore, it is important to pay attention to the fact that the disputed domain
names copy completely Vulcan Marks, including design and wording that are
registered and owned by the Complainant. As pictured on printout (translated with
Google services) of Respondents’ websites that is attached as Annex 23 (main-page of
<vulcan-club-online.com> same at all the other disputed domains), Vulcan Marks are
the ―face‖ of Respondent’s gaming halls. It is shown below, that Respondent uses the
exact copy of Vulcan Marks on all of the disputed domain names to maximize the effect
of confusion and misrepresentation.
Main-page of <vulcan-club-online.com> (same at all the other disputed domains):




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    To enhance a confusion effect, Respondent adds a red stripe on the Trademark with
signature ―Настоящий‖ which is translated as ―Genuine‖.
    It should be considered that reproduction of Vulcan Marks can be found on all
pages of all of the disputed domains, so this is not a single case and will be reviewed in
details in section C. All the websites at the domains in dispute are absolutely identical,
so this screenshot refers to a respective main-page of any web-site at any domain in
dispute.
 Note: two of the disputed domains are used to redirect users from one disputed
 domain to another e.g.:
 - [b] vulcan-online-club.com and [l] online-volcano.com are used to redirect users to
   [a] vulcan-club-online.com
   It seems pretty obvious that Respondent tries his best to create maximum confusion
for users with Complainants’ Vulcan Marks using not only direct wording in the
domain name, but also the trademarks all over the websites and lots of false information
stating own association with Complainant.
      Based upon the virtual identity between Respondent’s domain names and the
Vulcan Marks, Internet users and consumers are of an opinion that there is some
relation, affiliation, connection, approval or association between Respondent and
Complainant when, in fact, no such affiliation exists.




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B.     The Respondent has no rights or legitimate interests in respect of the
       domain name(s);
       (Policy, Paragraph 4(a)(ii); Rules, Paragraph 3(b)(ix)(2))

     Following the decision in Charles Jourdan Holding AG v. AAIM, D2000-0403
(WIPO June 27, 2000), Respondent has no legitimate rights or interests in the domain
name if (i) it is not a licensee of Complainant, nor has it received any permission or
consent to use Complainant’s trademark; (ii) Complainant has prior rights in that
trademark which precedes Respondent’s registration of its domain name; and (iii)
Respondent is not commonly known by the trademark.
     In this case, the Respondent is not a licensee of Complainant, nor has the
Complainant authorized or consented to Respondent’s use of any of the Vulcan Marks.
The complainant has provided extensive evidence of its rights to the registered Vulcan
Marks, use of which commenced more than 20 years before the creation and
registration of the disputed domain names in year 2013 (4 domains), 2014 (2 domains)
and 2016 (7 domains). In fact, it is Complainant’s position, as supported by the
evidence of record, that Respondent simply acquired the domain name registrations in
hope of intentionally attracting, for commercial gain, Internet users to Respondent’s
website by creating a likelihood of confusion.
     As noted above, the Complainant is the owner of numerous active trademark
registrations for Вулкан, Вулкан (& Design), Vulkan, and Vulcano trademarks, among
other Вулкан, Vulkan, and Volcano composite marks around the world. Aside from the
rights derived from its registrations, Ritzio has also acquired a substantial reputation
under common law by virtue of its extensive and significant advertising of the Vulcan
Marks, and its substantially exclusive and continuous use of the Vulcan Marks since at
least as early as 1992.
     Paragraph 4(c) of the Policy provides that a respondent may demonstrate rights or
legitimate interests in a domain name by establishing that: (1) prior to the dispute, it
used, or made demonstrable preparations to use a domain name in connection with a
bona fide offering of goods or services; (2) it has been commonly known by the domain
names, even if it has not acquired any trademark or service mark rights; or (3) it is
making a legitimate noncommercial or fair use of the domain name, without intent for
commercial gain to misleadingly divert consumers or to tarnish the trademark or service
mark at issue. Respondent cannot satisfy any of these factors.
      In this case, the disputed domain names bear no relationship to any legitimate
business of Respondent nor has Respondent shown any demonstrable preparations
to use the domain names in connection with any bona fide offering of goods or



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services.   In fact, to the best of Complainant’s knowledge, Respondent has not
developed any legitimate business relating to or incorporating the Vulcan Marks. See
e.g., E. J. McKernan Co. v. Texas International Property Associates, D2007-1499
(WIPO Dec. 17, 2007) (citing Disney Enters., Inc. v. Dot Stop, FA 145227 (NAF March
17, 2003)
            ―finding that Respondent’s diversionary use of Complainant’s mark to
            attract Internet users to its own website was not a bona fide offering of
            goods or services‖.
    Nor has Respondent ever been commonly known by the disputed domain names.
Rather, as Annex 1 shows, Respondent has purposely hidden itself from the public by
using the privacy services to register all of the disputed domains. Furthermore,
Respondent uses many ways to assure users, that the disputed domain names belong to
or associated with Complainant. This issue is described in details below in Section C.
    As it has been already reviewed in basically identical case (D2015-1182 Ritzio
Purchase Limited v. Legato LLC / V. Zaharchenko / Jimmy McColin / Chernovsky
Vladimir Sergeevich / Domain Admin, PrivacyProtect.org):
       “Further, so far as paragraph 4(c)(i) is concerned, it appears to be
       undisputed that the Respondent was aware of the Complainant's claimed
       rights when it registered and started to use the disputed domain names.
       Accordingly, it is highly questionable whether the Respondent's use was
       before notice of the relevant dispute. Further and in any event, the Panel is
       of the view that the use of a name or trademark so as to impersonate
       another does not constitute a bona fide offering of goods or services under
       the Policy. Indeed, such activity is usually seen as an indicator that rights
       or legitimate interests do not exist”
    Furthermore, the commercial use to which the disputed domain name has been
put, because it trades on the Complainants fame, is not bona fide, and because it is
commercial is not a fair or non-commercial use. See Consitex S.A., Lanificio
Ermenegildo Zegna & Figli S.p.A., Ermenegildo Zegna Corporation v. LaPorte
Holdings, Inc., D2005-0030 (WIPO Feb. 25, 2005) (citing Bank of Am. Corp. v. Nw.
Free Cmty. Access, FA 180704 (NAF Sept. 30, 2003)
        ―Respondent’s demonstrated intent to divert Internet users seeking
       Complainants’ website to a website of Respondent and for Respondent’s
       benefit is not a bona fide offering of goods or services” under Policy
       4(c)(i) and it is not a legitimate noncommercial or fair use under Policy
       4(c)(iii);



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     See also America Online, Inc. v. Xianfeng Fu, D2000-1374 (WIPO Dec. 11, 2000)
       ―It would be unconscionable to find a bona fide offering of services in a
       respondent’s operation of its website using a domain name which is
       confusingly similar to the complainant’s mark and for same business‖.
     Eventually, we would like to quote a recent Decision issued by the Center in the
case Paddy Power PLC v. Oded Keinan, Winning Partner Traffic Label Limited,
D2014-1192 (WIPO Sep. 09, 2014)
           ―First, the Complainant never authorized the Respondent to
       utilize any of the PADDY POWER Marks nor does the Complainant
       apparently have any relationship or association whatsoever with the
       Respondent. Furthermore, given the exclusive trademark rights that
       reside in the Complainant, the Respondent could not legitimately
       acquire any public association between itself and the mark PADDY
       POWER or even any mark similar thereto such as a mark containing
       PADDY with a generic gambling-related term(s) appended thereto, at
       least for the goods and services provided by the Complainant under its
       marks.
           The Respondent       once   used the disputed      domain name
       <paddybingo.com> to address a guide/review site with links to
       various bingo websites but now uses it as an address of a “pay to
       play” bingo site. The Respondent uses the disputed domain name
       <paddyscasino.com> as an address of an online gambling site. The
       Respondent’s evident purpose behind choosing <paddybingo.com>
       and <paddyscasino.com> and continuing to use those names is to
       exploit the ensuing source confusion of Internet users in order to
       divert traffic away from the Complainant’s competing gambling sites
       to the Respondent’s sites instead and hence commercially benefit the
       Respondent to the detriment of the Complainant. Neither of these uses
       constitutes a bona fide offering of goods or services consistent with
       paragraph 4(c)(i) of the Policy, nor a legitimate noncommercial or
       fair use under paragraph 4(c)(iii) of the Policy”.


     Given the above Complainant asserts that Respondent has no rights or legitimate
interest in respect of domain names in dispute.




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C.    The domain name(s) was/were registered and is/are being used in bad faith.
      (Policy, paragraphs 4(a)(iii), 4(b); Rules, paragraph 3(b)(ix)(3))

     Given the reputation and widespread use of the Vulcan Marks that is described
above in details, any use by the Respondent of the domain name in dispute would
constitute an infringement of the Complainant’s trademark rights.

“For the purposes of Paragraph 4(a)(iii), the following circumstances, in particular but
without limitation, if found by the Panel to be present, shall be evidence of the
registration and use of a domain name in bad faith:

          (iv) by using the domain name, you have intentionally attempted to attract, for
          commercial gain, Internet users to your web site or other on-line location, by
          creating a likelihood of confusion with the complainant's mark as to the
          source, sponsorship, affiliation, or endorsement of your web site or location
          or of a product or service on your web site or location.”

     All the disputed domain names are operating as full-functional online-casinos. All
the web-sites are identical and include the following pages:
      - “Gaming Hall” with a set of casino-games;
      - “Points” page where one can exchange points (credits) for real money or for
         real goods in a special Shop page. Currency exchange rate depends on the level
         of the player;
      - “Lottery” page with ongoing lottery with prize found of RUR 2,000,000
         (which is an equivalent of about USD 31,000) and total amount of already
         won money by users: RUR 39,000,000 (which is an equivalent of about
         USD 600,000);
      - “Jackpots” page with RUR 8,667,785 at stake (which is an equivalent of about
         USD 133,000. The page shows us that total amount of already won money by
         users within less than two years is RUR 102,454,227 (which is an equivalent
         of about USD 1,580,000);
      - “Bonuses” page, with generous bonuses for users;
      - “Shop” page where you can exchange points (credits);
      - “Cashbox” section showed on each page with numbers of cash-in and cash-out
         methods presented;
      - “News” page with information of ongoing events and all other classic
         attributes of online-casino from which one can see unimpeachable facts of
         huge losses incurred by the Complainant due to fraudulent activity of the
         Respondent.




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See them attached as Annexes 24-29 translated with Google Translate. Respective
pages of disputed domain names show us that they are created for obvious commercial
gain (not to overload the case, we provide the examples of <vulcan-club-online.com>
main web-site sections, but all the other the web-sites with disputed domain names are
absolutely identical and have all these elements).
    The Respondent has acted in bad faith by using domain name that incorporates the
Vulcan Marks and by using Complainant’ trademarks in content to intentionally attract,
for commercial gain, Internet users to Respondent’s website by creating a likelihood of
confusion. This fraudulent activity in creating ―copycat‖ websites and directly
attempting to deceive consumers is clearly bad faith. As noted above, the Vulcan Marks
are well-known and have a global reputation. To maximize the effect of confusion
Respondent uses the Vulkan trademark on all the pages of the disputed domain names,
all the advertising materials etc.
    As it has been established in numerous cases: if a domain incorporates someone
else’s trademark without any authorization to divert and lure users to the competitor’s
web-site in order to gain profits from misrepresentation – it cannot be presumed as
registration and use in good faith.
    The Respondent has obviously attempted to capitalize prestigious reputation by
purchasing the domain names in dispute which has nothing to do with Respondent, and
trading off the goodwill that Ritzio has established over the past 20 years. In fact, as
noted above, Respondent has solely used the disputed domains names which completely
correspond with the Vulcan Mark to attract consumers from Complainants authorized
partners and to profit from competitive online gaming and casino services conduct that
WIPO has routinely ruled constitutes bad faith. See e.g., The Knot, Inc. v. Alex Luongo,
D2006-0296 (WIPO Apr. 15, 2006)
      “When typosquatting is done by a competitor or for competitive services, the
      evidence is conclusive. A close misspelling of a competitor’s mark betrays
      both knowledge of the mark and an intentional attempt to use that mark to
      divert Internet users to competitors for profit, taking advantage of whatever
      goodwill attaches to the mark and bringing the circumstances within
      paragraph 4(b)(iii) and 4(b)(iv) of the Policy.”


    Furthermore, Respondent is not only very well aware of Complainants’
trademarks, but also demonstrates that disputed domains are associated with
Complainant in text descriptions on the pages of the respective websites!




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       For example, on the main page of all of the disputed domain names where
Respondent describes its services and ―own history‖, users see not only unauthorized
use of Vulkan trademark but also the following texts that clearly refer to Complainant’s
history and reputation while distorting facts to emphasize own ―cleanness‖ (quotes are
from translated by Google Chrome web-pages of disputed domain names. See Annex
23):
       “Casino Volcano is undoubtedly the best brands in the gambling business. During
       the existence of the gaming club Volcano acquired a firm reputation as a reliable
       playground, loyal to the players and providing permanent access to the highest
       quality gaming slot.

       The famous brand has earned popularity during the time fixed gaming
       establishments, winning the hearts of millions of gamblers all over the world. After
       the volcano became available on the Internet, its range of offered entertainment
       has become much wider, which attracted a new audience.

       The official representative of the brand casino volcano on the worldwide web is the
       site vulcan-club-online.com . He has a license of the famous places the game,
       which is an excellent indicator of the quality of services and the guarantee of fair
       play.”

       The Respondent deceives Internet users by presenting himself as the licensee of the
Complainant, this is clearly stated in the abovementioned last line of the Respondent’s
―history description‖. The adaptive translation from Russian would be: - “He (the
respondent) is authorized as a licensee by famous gaming institution and that fact is an
excellent indicator of quality of the rendered services and guarantee of the fair play.”
But this Respondent’s statement is nothing else but blatant lie. The Complainant has
never authorized the Respondent for anything.
       Moreover, the Respondent places the warning that the used marks on his web-sites
are duly registered for obvious reason – so that users once again see and believe in
Respondent’s legitimate use of Vulcan trademarks. Such warnings are placed at the
bottom of each page of all the web-sites with disputed domain names, see print screen
below (translated with Google services):




       Sadly, but this is how Respondent-like entities work: they parasitize on
Complainant’ brands while spreading false and fabricated information about


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association with Ritzio everywhere where its possible and impossible. By this moment
we’ve seen numerous variations of fabricated information, but when it comes to
arbitrations – the decisions are always based on facts and fake ―stories‖ don’t work.




    Complainant also draws attention of the Panel to the fact that Respondent has
another notice on the so called ―plug-ins‖ page at all of the disputed domains. Annex
30 (also translated by Google translate) shows the example of ―plug-ins‖ page of one
of the disputed domain (here is the link: https://vulcan-club-online.com/client), but it
is the same for all of the disputed domains:
       If you can not go to the casino site Volcano, the special plug-in for the
       browser will solve this problem in a jiffy.
       See detailed instructions for installing the plugin, who painted all popular
       browsers. Installation takes less than a minute.
       Also, for stable access to slot machines, you can use one of the following
       options:
            -   activate the special regime "Turbo" in Yandex browser and Opera;
            -   use a new user-friendly browser Tor.
To visit the ―plug-ins‖ page of any of the disputed domain, you just have to add
―/client‖ to any of the domain names (e.g. https://vulcan-club-online.com/client,
https://volcanozal.com/client, etc. ).
    The fact that Respondent has created a by-pass instrument to overcome Internet
Service Provider’s or local Regulators’ block for intellectual property infringements or
other legal abuses and as stated in this sign: this is a common and well known
―problem‖ - is another argument to prove that Respondent acts in bad faith.


    Moreover, Respondent conceals its identity using the Privacy services for all of the
disputed domains. See Telstra Corporation Limited v. Nuclear Marshmallows, D2000-
0003 (WIPO Feb. 18, 2000)
      ―noting that a respondent’s concealment of its true identity as domain name
      holder strongly indicates a bad faith intention‖.
Also see The American Automobile Association, Inc. v. aaaaautoinsurance.com
Privacy--Protect.org, aaa-netaccess.com Privacy--Protect.org, aaanetacceess.com
Privacy--Protect.org, Isaac Goldstein, D2011-2069 (WIPO Feb. 8, 2012)
      ―Further evidence of bad faith use can be inferred from the choice to register
      the       Disputed       Domain          Names      <aaaaautoinsurance.com>,



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     <aaanetacceess.com>, and <aaa-netaccess.com> using a privacy service.
     Whereas the Panel accepts that use of a privacy or proxy registration service
     is not in and of itself an indication of bad faith, it notes that the manner in
     which such service is used can in certain circumstances constitute a factor
     indicating bad faith, for example use of a privacy service in combination
     with provision of incomplete contact information or continued concealment
     of the ―true‖ or ―underlying‖ registrant (see paragraph 3.9 of the WIPO
     Overview 2.0 and Fifth Third Bancorp v. Secure WhoIs Information
     Service, WIPO Case No. D2006-0696). Given that certain registrant contact
     information provided, per the relevant WhoIs records, is inaccurate (for
     example the telephone number provided for each of the three Disputed
     Domain Names is for a number located in Brazil rather than Shanghai,
     China, which is the location of the stated address) and given the elaborate
     attempts to conceal what the Panel considers to be at least an association
     between the Respondent Privacy--Protect.org, the registrar, and the alleged
     new registrant of the three Disputed Domain Names, Milan Kovac, with the
     Respondent Isaac Goldstein (as discussed under Proper Respondents above),
     the Panel considers that an inference of bad faith use on the basis of the
     Respondents' use of a privacy registration service to be appropriate in the
     present case‖.


     We find it necessary to point out that previously, Complainant had the identical
dispute in which web-sites of that respondent used to look absolutely identical to the
websites with the domain names of ongoing dispute. In fact, as we have been informed
by Registrar after WIPO request – it is the same Respondent Zhoselin-Patrick Mandzela
of Vernon, France. The design, graphics, layout, text, the same set of games, and all
other instruments, everything was absolutely identical. See Ritzio Purchase Limited v.
Whoisguard Protected, Whoisguard, Inc / Zhoselin-Patrick Mandzela, WIPO Case No
D2015-0295 (See the case attached as Annex 31), where the Panel in its decision (in
favor of Complainant) found that:
     ―The disputed domain name is linked to a website that offers online gaming
     services which are not authorized by the Complainant. The Respondent's
     website copies the look and feel of the Complainant's gaming clubs, copies
     exactly the ВУЛКАН ("VULKAN" in Latin transliteration) trademark with a
     lightning bolt logo, and on top of this does not feature a disclaimer for the
     lack of relation with or endorsement by the Complainant. The Panel does not



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     regard such conduct as being made in good faith. Rather, it appears that the
     Respondent, by using the disputed domain name, attempts to attract to its own
     website for commercial gain the consumers that are looking for the online
     gaming services offered by the Complainant by creating a likelihood of
     confusion with the Complainant's VOLCANO trademark as to the source or
     affiliation of the Respondent's website.”
     Therefore, Complainant believes that in the ongoing case the disputed domains
are owned/controlled or associated with the respondent indicated in WIPO Case No.
D2015-0295, who after losing the case had no other legitimate options but to register
new domains and to use some of the previously registered domains (the disputed
domains) in order to keep going on illegal business.


     Eventually, we would like to quote a recent decision of the Center in case No
D2014-0787:
     “The examples of bad faith registration and use set forth in paragraph
     4(b) of the Policy are not meant to be exhaustive of all circumstances
     from which such bad faith may be found. See Telstra Corporation Limited
     v. Nuclear Marshmallows, WIPO Case No. D2000-0003. The overriding
     objective of the Policy is to curb the abusive registration of domain
     names in circumstances where the registrant seeks to profit from and
     exploit the trademark of another. Match.com, LP v. Bill Zag and
     NWLAWS.ORG, WIPO Case No. D2004-0230.
     (…) The Panel concludes that the Respondent was aware of the
     Complainant and the Complainant’s marks when registering the disputed
     domain names. In the absence of any reply by the Respondent, the Panel
     considers that the Respondent’s primary motive in relation to the
     registration and use of the disputed domain names was to capitalize on,
     or otherwise take advantage of, the Complainant’s trademark rights
     through the creation of Internet user confusion. The record reflects that
     the Respondent has registered and is using the disputed domain names in
     bad faith to intentionally attract for commercial gain Internet users to the
     Respondent’s websites, by creating a likelihood of confusion with the
     Complainant’s marks as to source, sponsorship or affiliation.
     See Edmunds.com, Inc. v. Ult. Search Inc.,WIPO Case No. D2001-1319”.




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    Basically, as it has been very good reviewed and analyzed in previous identical
case (D2015-0875 Ritzio Purchase Limited v. Domain Admin, PrivacyProtect.org /
Timur Ziganshin / Lianna Tall, Escave Ltd / Private Whois, Global Domain Privacy
Services Inc / Moniker Privacy Services):
       “At its heart, therefore, and despite the extensive argument and submissions
       filed by both the Parties, ultimately this is a relatively simple case of
       impersonation. The Respondent (or at least persons on behalf of whom the
       Respondent has registered the Domain Names) has registered and is using the
       Domain Names in order to pass themselves off as the Complainant (or in some
       way authorised by the Complainant) when it is not, in order to thereby draw
       Internet users to gambling websites for commercial gain. Registration and use
       of a domain name for such a purpose is a classic example of registration and
       use in bad faith. So far as use is concerned it is activity that falls within the
       scope of paragraph 4(b)(iv) of the Policy”


    Accordingly, the disputed domain names are confusingly similar to Complainant’s
registered Vulcan Marks and were registered without the Complainant’s consent, the
Respondent has no legitimate interests in the domain name and is not making any
legitimate non-commercial or fair use of the domain name, and the domain name are
registered and are being used in bad faith as evidenced by the Respondent’s hidden
identity, typosquatting, and absolutely obvious attempt to attract users by creating
likelihood of confusion to trade off the fame and goodwill of the Vulcan Marks.




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                                 VII. Remedies Requested
                                 (Rules, Paragraph 3(b)(x))

 [14.]     In accordance with Paragraph 4(i) of the Policy, for the reasons described in
 Section VI. above, the Complainant requests the Administrative Panel appointed in
 this administrative proceeding that <vulcan-club-online.com>; <vulcan-online-
 club.com>;       <volcanozal.com>;      <wulkancasino.com>;           <volcan24.com>;
 <1vulcano.com>;       <2vulcano.com>;        <3vulcano.com>;          <5vulcano.com>;
 <7vulcano.com>; <vulcano7.com>; <online-volcano.com>; <vulcan-club-online.top> be
 transferred to the Complainant.


                              VIII. Administrative Panel
             (Rules, Paragraph 3(b)(iv); Supplemental Rules, Paragraph 8(a))

[15.]    The Complainant elects to have the dispute decided by a single-member
         Administrative Panel.



                                  IX. Mutual Jurisdiction
                                 (Rules, Paragraph 3(b)(xii))

[16.]    In accordance with Paragraph 3(b)(xii) of the Rules, the Complainant will
         submit, with respect to any challenges that may be made by the Respondent to a
         decision by the Administrative Panel to transfer or cancel the domain name(s)
         that is/are the subject of this Complaint, to the jurisdiction of the courts at the
         location of the principal office of the concerned registrars.
         Mutual jurisdiction is selected for all domains in dispute.



                               X. Other Legal Proceedings
                                (Rules, Paragraph 3(b)(xi))

[17.]    D2015-0295 Ritzio Purchase Limited v. Whoisguard Protected, Whoisguard,
         Inc / Zhoselin-Patrick Mandzela (See Annex 31)

          www.wipo.int/amc/en/domains/search/text.jsp?case=D2015-0295
    1) D2015-1182 Ritzio Purchase Limited v. Legato LLC / V. Zaharchenko / Jimmy
       McColin / Chernovsky Vladimir Sergeevich / Domain Admin,
       PrivacyProtect.org (See Annex 32)
          www.wipo.int/amc/en/domains/search/text.jsp?case=D2015-1182



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    2) D2015-0875 Ritzio Purchase Limited v. Domain Admin, PrivacyProtect.org /
       Timur Ziganshin / Lianna Tall, Escave Ltd / Private Whois, Global Domain
       Privacy Services Inc / Moniker Privacy Services (See Annex 33)
          www.wipo.int/amc/en/domains/decisions/text/2015/d2015-0875.html
    3) D2015-1106 Ritzio Purchase Limited v. Private Whois, Global Domain Privacy
       Services Inc. / Sergey Budusov, Infostar Management Ltd (See Annex 34)
          www.wipo.int/amc/en/domains/decisions/text/2015/d2015-1106.html
    4) D2016-0633 Ritzio Purchase Limited против Andrey Lykov / Rosalinda
       Corporation / Roy Delcy, COUNTSIDE Holding Corp / Registration private,
       Domains By Proxy, LLC (See Annex 35)
          www.wipo.int/amc/en/domains/search/text.jsp?case=D2016-0633
    5) D2016-0967 Ritzio Purchase Limited v. Twist Services LTD, Twist International
       (See Annex 36)
          www.wipo.int/amc/en/domains/decisions/text/2016/d2016-0967.html



                                 XI. Communications
             (Rules Paragraph 3(b), Supplemental Rules, Paragraphs 3, 4, 12)

[18.]    A copy of this Complaint has been transmitted to the concerned registrar(s) on
         October 16, 2016 in electronic form in accordance with paragraph 4(c) of the
         Supplemental Rules.



                                    XII. Payment
           (Rules, Paragraph 19; Supplemental Rules Paragraph 10, Annex D)

[20.]    As required by the Rules and Supplemental Rules, payment in the amount of
         USD 2500 has been made by transfer to WIPO account (Annex 37)



                                   XIII. Certification
             (Rules, Paragraph 3(b)(xiii); Supplemental Rules, Paragraph 15)

[21.]    The Complainant agrees that its claims and remedies concerning the registration
         of the domain name(s), the dispute, or the dispute’s resolution shall be solely
         against the domain name holder and waives all such claims and remedies against
         (a) the WIPO Arbitration and Mediation Center and Panelists, except in the case
         of deliberate wrongdoing, (b) the concerned registrar(s), (c) the registry
         administrator, (d) the Internet Corporation for Assigned Names and Numbers, as
         well as their directors, officers, employees, and agents.



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[22.] The Complainant certifies that the information contained in this Complaint is to
     the best of the Complainant’s knowledge complete and accurate, that this
     Complaint is not being presented for any improper purpose, such as to harass, and
     that the assertions in this Complaint are warranted under the Rules and under
     applicable law, as it now exists or as it may be extended by a good-faith and
     reasonable argument.


                                                                Respectfully submitted,
                                                                          Sandra Santos




                                                                ___________________
                                                                      [Name/Signature]


Date: October 16, 2016




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                                    XIV. List of Annexes
     (Rules, Paragraph 3(b)(xiv); Supplemental Rules, Paragraphs 4(a), 12(a), Annex E)




1)      Annex 1 - WhoIs LookUp for all the disputed domain names
2)      Annex 2 - Registration Agreement between ENOM, INC. and the Respondent
3)      Annex 3 - Registration Agreement between NameCheap Inc. and the Respondent
4)      Annex 4 - Translated excerpts from the Russian Trademark Registry for
        representative Trademarks
5)      Annex 5 - Excerpt from the Russian Trademark Registry TM №342290
6)      Annex 6 Excerpt from the Russian Trademark Registry TM №342291
7)      Annex 7 - Excerpt from the Russian Trademark Registry TM №307879
8)      Annex 8 - Excerpt from the Russian Trademark Registry TM №353692
9)      Annex 9 - Excerpt from the ROMARIN Trademark Registry TM 992196
10)     Annex 10 - Excerpt from the ROMARIN Trademark Registry TM 977713
11)     Annex 11 - Excerpt from the ROMARIN Trademark Registry TM 984297
12)     Annex 12 - Excerpt from the ROMARIN Trademark Registry TM 791038
13)     Annex 13 - Translated Excerpt from Czech Trademark Registry TM 308351
14)     Annex 14 - Excerpt from the OHIM Trademark Registry CTM №014193544
15)     Annex 15 - Translated Excerpt from German Trademark Registry TM
        302008017149
16)     Annex 16 - Excerpt from the Latvian Trademark Registry TM M 65 021
17)     Annex 17 - Translated Excerpt from the Hungarian Trademark Registry TM
        Z20080153
18)     Annex 18 - Ritzio Presentation and Photos of Vulkan branded gaming halls
19)     Annex 19 - Ritzio International
20)     Annex 20 - Information about Ritzio from independent sources
21)     Annex 21 – Ritzio’s social activity
22)     Annex 22 – Ritzio’s social activity
23)     Annex 23 - Main page of Respondent's web-sites
24)     Annex 23(b) – Excerpt of the webpage operated by the disputed domain name in
        case D2015-0295
25)     Annex 24 - Gaming Hall of Respondent's web-sites
26)     Annex 25 - Points page of Respondent's web-sites
27)     Annex 26 - Lotery page of Respondent's web-sites
28)     Annex 27 - Jackpots page of Respondent's web-sites
29)     Annex 28 - Bonuses page of Respondent's web-sites
30)     Annex 29 - Shop page of Respondent's web-sites
31)     Annex 30 - Plagins page of Respondent's web-sites



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32)   Annex 31 - WIPO Decision D2015-0295
33)   Annex 32 - WIPO Decision D2015-1182
34)   Annex 33 - WIPO Decision D2015-0875
35)   Annex 34 - WIPO Decision D2015-1106
36)   Annex 35 - WIPO Decision D2016-0633
37)   Annex 36 - WIPO Decision D2016-0967
38)   Annex 37 – Payment (transfer to WIPO account)




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                                                Whois vulcan­club­online.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES          EMAIL       SECURITY        WHOIS         SUPPORT               LOGIN              0



 vulcan­club­online.com registry whois                                                Updated 1 second ago ­ Refresh               Hot Deals!
Domain Name: VULCAN­CLUB­ONLINE.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: NS­1067.AWSDNS­05.ORG
Name Server: NS­1720.AWSDNS­23.CO.UK
Name Server: NS­652.AWSDNS­17.NET
Name Server: NS­80.AWSDNS­10.COM                                                                                              .LINK @ $2.88 $9.88
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 22­aug­2016
Creation Date: 18­sep­2014
Expiration Date: 18­sep­2017                                                                                                1 2 3 4 5 6 7 8 9 1011121314

 vulcan­club­online.com registrar whois                                                        Updated 1 second ago

Domain Name: VULCAN­CLUB­ONLINE.COM
Registry Domain ID: 1876332814_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2016­08­20T05:57:04.00Z
Creation Date: 2014­09­18T13:20:00.00Z
Registrar Registration Expiration Date: 2017­09­18T13:20:33.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 0
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 0
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 0
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: NS­1067.AWSDNS­05.ORG
Name Server: NS­1720.AWSDNS­23.CO.UK
Name Server: NS­652.AWSDNS­17.NET
Name Server: NS­80.AWSDNS­10.COM
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2016­08­20T05:57:04.00Z <<<

For more information on Whois status codes, please visit https://icann.org/epp


The data in this whois database is provided to you for information

http://www.whois.com/whois/vulcan­club­online.com                                                                                                          1/2
09.09.2016            Case 2:17-cv-00002-RAJ Document    1-2 Filed 01/03/17 Page 43 of 217
                                                Whois vulcan­club­online.com
purposes only, that is, to assist you in obtaining information about or
related to a domain name registration record. We make this information
available "as is," and do not guarantee its accuracy. By submitting a
whois query, you agree that you will use this data only for lawful
purposes and that, under no circumstances will you use this data to: (1)
enable high volume, automated, electronic processes that stress or load
this whois database system providing you this information; or (2) allow,
enable, or otherwise support the transmission of mass unsolicited,
commercial advertising or solicitations via direct mail, electronic
mail, or by telephone. The compilation, repackaging, dissemination or
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consent from us.

We reserve the right to modify these terms at any time. By submitting
this query, you agree to abide by these terms.
Version 6.3 4/3/2002


 related domain names
 enom.com   awsdns­05.org   awsdns­23.co.uk    awsdns­17.net            awsdns­10.com   icann.org
 namecheap.com   whoisguard.com   internic.net




Domains                                        Hosting & Products
                                                                                            Follow us
Register Domain Name                           Linux Hosting
View Domain Pricing                            Windows Hosting
Bulk Domain Register                           Linux Reseller Hosting                          Enter a Domain Name

Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                    LOGIN         OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
24 x 7 Servers Monitoring                      Sitelock
Backup and Recovery                            Codeguard
                                                                                            Copyright © Whois.com. All rights reserved
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                                               View Knowledge Base
                                               Contact Support
                                               Report Abuse
                                               About Whois




http://www.whois.com/whois/vulcan­club­online.com                                                                                                  2/2
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                                                Whois vulcan­online­club.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES          EMAIL       SECURITY        WHOIS         SUPPORT               LOGIN              0



 vulcan­online­club.com registry whois                                                Updated 1 second ago ­ Refresh               Hot Deals!
Domain Name: VULCAN­ONLINE­CLUB.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: NS­1264.AWSDNS­30.ORG
Name Server: NS­1686.AWSDNS­18.CO.UK
Name Server: NS­266.AWSDNS­33.COM
Name Server: NS­743.AWSDNS­28.NET                                                                                             .BIZ @ $3.48 $11.88
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 22­aug­2016
Creation Date: 18­sep­2014
Expiration Date: 18­sep­2017                                                                                                1 2 3 4 5 6 7 8 9 1011121314

 vulcan­online­club.com registrar whois                                                        Updated 1 second ago

Domain Name: VULCAN­ONLINE­CLUB.COM
Registry Domain ID: 1876332816_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2016­08­20T05:57:04.00Z
Creation Date: 2014­09­18T13:20:00.00Z
Registrar Registration Expiration Date: 2017­09­18T13:20:36.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 0
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 0
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 0
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: NS­1264.AWSDNS­30.ORG
Name Server: NS­1686.AWSDNS­18.CO.UK
Name Server: NS­266.AWSDNS­33.COM
Name Server: NS­743.AWSDNS­28.NET
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2016­08­20T05:57:04.00Z <<<

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http://www.whois.com/whois/vulcan­online­club.com                                                                                                          1/2
09.09.2016            Case 2:17-cv-00002-RAJ Document    1-2 Filed 01/03/17 Page 45 of 217
                                                Whois vulcan­online­club.com
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related to a domain name registration record. We make this information
available "as is," and do not guarantee its accuracy. By submitting a
whois query, you agree that you will use this data only for lawful
purposes and that, under no circumstances will you use this data to: (1)
enable high volume, automated, electronic processes that stress or load
this whois database system providing you this information; or (2) allow,
enable, or otherwise support the transmission of mass unsolicited,
commercial advertising or solicitations via direct mail, electronic
mail, or by telephone. The compilation, repackaging, dissemination or
other use of this data is expressly prohibited without prior written
consent from us.

We reserve the right to modify these terms at any time. By submitting
this query, you agree to abide by these terms.
Version 6.3 4/3/2002


 related domain names
 enom.com   awsdns­30.org   awsdns­18.co.uk    awsdns­33.com               awsdns­28.net   icann.org
 namecheap.com   whoisguard.com   internic.net




Domains                                        Hosting & Products
                                                                                               Follow us
Register Domain Name                           Linux Hosting
View Domain Pricing                            Windows Hosting
Bulk Domain Register                           Linux Reseller Hosting                             Enter a Domain Name

Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                       LOGIN         OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
24 x 7 Servers Monitoring                      Sitelock
Backup and Recovery                            Codeguard
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                                               View Knowledge Base
                                               Contact Support
                                               Report Abuse
                                               About Whois




http://www.whois.com/whois/vulcan­online­club.com                                                                                                     2/2
09.09.2016            Case 2:17-cv-00002-RAJ Document
                                                  Whois1-2    Filed 01/03/17 Page 46 of 217
                                                       volcanozal.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES            EMAIL     SECURITY        WHOIS         SUPPORT               LOGIN              0



 volcanozal.com registry whois                                                        Updated 1 second ago ­ Refresh               Hot Deals!
Domain Name: VOLCANOZAL.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 08­sep­2016                                                                                                     .BIZ @ $3.48 $11.88
Creation Date: 26­mar­2013
Expiration Date: 26­mar­2017

                                                                                                                            1 2 3 4 5 6 7 8 9 1011121314
 volcanozal.com registrar whois                                                                Updated 1 second ago

Domain Name: VOLCANOZAL.COM
Registry Domain ID: 1789175894_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2014­02­25T09:35:35.00Z
Creation Date: 2013­03­26T17:11:00.00Z
Registrar Registration Expiration Date: 2017­03­26T16:11:42.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 0
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 0
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 0
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2014­02­25T09:35:35.00Z <<<

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related to a domain name registration record. We make this information
available "as is," and do not guarantee its accuracy. By submitting a
whois query, you agree that you will use this data only for lawful

http://www.whois.com/whois/volcanozal.com                                                                                                                  1/2
09.09.2016            Case 2:17-cv-00002-RAJ Document
                                                  Whois1-2    Filed 01/03/17 Page 47 of 217
                                                       volcanozal.com
purposes and that, under no circumstances will you use this data to: (1)
enable high volume, automated, electronic processes that stress or load
this whois database system providing you this information; or (2) allow,
enable, or otherwise support the transmission of mass unsolicited,
commercial advertising or solicitations via direct mail, electronic
mail, or by telephone. The compilation, repackaging, dissemination or
other use of this data is expressly prohibited without prior written
consent from us.

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this query, you agree to abide by these terms.
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 related domain names
 enom.com     registrar­servers.com    icann.org   namecheap.com        whoisguard.com   internic.net




Domains                                        Hosting & Products
                                                                                            Follow us
Register Domain Name                           Linux Hosting
View Domain Pricing                            Windows Hosting
Bulk Domain Register                           Linux Reseller Hosting                          Enter a Domain Name
Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                  LOGIN           OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
24 x 7 Servers Monitoring                      Sitelock
Backup and Recovery                            Codeguard
                                                                                            Copyright © Whois.com. All rights reserved
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                                               View Knowledge Base
                                               Contact Support
                                               Report Abuse
                                               About Whois




http://www.whois.com/whois/volcanozal.com                                                                                                          2/2
09.09.2016            Case 2:17-cv-00002-RAJ Document  1-2 Filed 01/03/17 Page 48 of 217
                                                 Whois wulkancasino.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES            EMAIL     SECURITY        WHOIS         SUPPORT               LOGIN              0



 wulkancasino.com registry whois                                                    Updated 10 seconds ago ­ Refresh               Hot Deals!
Domain Name: WULKANCASINO.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 25­jul­2016                                                                                                    .SITE @ $3.88 $29.88
Creation Date: 07­mar­2013
Expiration Date: 07­mar­2017

                                                                                                                            1 2 3 4 5 6 7 8 9 1011121314
 wulkancasino.com registrar whois                                                            Updated 10 seconds ago

Domain Name: WULKANCASINO.COM
Registry Domain ID: 1784802414_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2016­02­22T05:01:36.00Z
Creation Date: 2013­03­07T10:03:00.00Z
Registrar Registration Expiration Date: 2017­03­07T10:02:58.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 0
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 0
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 0
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2016­02­22T05:01:36.00Z <<<

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http://www.whois.com/whois/wulkancasino.com                                                                                                                1/2
09.09.2016            Case 2:17-cv-00002-RAJ Document  1-2 Filed 01/03/17 Page 49 of 217
                                                 Whois wulkancasino.com
purposes and that, under no circumstances will you use this data to: (1)
enable high volume, automated, electronic processes that stress or load
this whois database system providing you this information; or (2) allow,
enable, or otherwise support the transmission of mass unsolicited,
commercial advertising or solicitations via direct mail, electronic
mail, or by telephone. The compilation, repackaging, dissemination or
other use of this data is expressly prohibited without prior written
consent from us.

We reserve the right to modify these terms at any time. By submitting
this query, you agree to abide by these terms.
Version 6.3 4/3/2002

 related domain names
 enom.com     registrar­servers.com    icann.org   namecheap.com        whoisguard.com   internic.net




Domains                                        Hosting & Products
                                                                                            Follow us
Register Domain Name                           Linux Hosting
View Domain Pricing                            Windows Hosting
Bulk Domain Register                           Linux Reseller Hosting                          Enter a Domain Name
Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                  LOGIN           OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
24 x 7 Servers Monitoring                      Sitelock
Backup and Recovery                            Codeguard
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                                                                                            Privacy Policy | Legal Agreement
                                               Support
                                               View Knowledge Base
                                               Contact Support
                                               Report Abuse
                                               About Whois




http://www.whois.com/whois/wulkancasino.com                                                                                                        2/2
09.09.2016            Case 2:17-cv-00002-RAJ Document
                                                  Whois1-2    Filed 01/03/17 Page 50 of 217
                                                        volcan24.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES            EMAIL     SECURITY        WHOIS         SUPPORT               LOGIN              0



 volcan24.com registry whois                                                          Updated 1 second ago ­ Refresh               Hot Deals!
Domain Name: VOLCAN24.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 25­jul­2016                                                                                                     .BIZ @ $3.48 $11.88
Creation Date: 07­mar­2013
Expiration Date: 07­mar­2017

                                                                                                                            1 2 3 4 5 6 7 8 9 1011121314
 volcan24.com registrar whois                                                                  Updated 1 second ago

Domain Name: VOLCAN24.COM
Registry Domain ID: 1784802423_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2016­02­07T05:44:56.00Z
Creation Date: 2013­03­07T10:03:00.00Z
Registrar Registration Expiration Date: 2017­03­07T10:03:03.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 0
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 0
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 0
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2016­02­07T05:44:56.00Z <<<

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whois query, you agree that you will use this data only for lawful

http://www.whois.com/whois/volcan24.com                                                                                                                    1/2
09.09.2016            Case 2:17-cv-00002-RAJ Document
                                                  Whois1-2    Filed 01/03/17 Page 51 of 217
                                                        volcan24.com
purposes and that, under no circumstances will you use this data to: (1)
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this whois database system providing you this information; or (2) allow,
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Version 6.3 4/3/2002

 related domain names
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Domains                                        Hosting & Products
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Bulk Domain Register                           Linux Reseller Hosting                          Enter a Domain Name
Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                  LOGIN           OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
24 x 7 Servers Monitoring                      Sitelock
Backup and Recovery                            Codeguard
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                                               View Knowledge Base
                                               Contact Support
                                               Report Abuse
                                               About Whois




http://www.whois.com/whois/volcan24.com                                                                                                            2/2
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                                                  Whois1-2    Filed 01/03/17 Page 52 of 217
                                                        1vulcano.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES            EMAIL     SECURITY        WHOIS         SUPPORT               LOGIN              0



 1vulcano.com registry whois                                                          Updated 1 second ago ­ Refresh               Hot Deals!
Domain Name: 1VULCANO.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 25­jul­2016                                                                                                      .PW @ $1.28 $9.88
Creation Date: 11­may­2016
Expiration Date: 11­may­2017

                                                                                                                            1 2 3 4 5 6 7 8 9 1011121314
 1vulcano.com registrar whois                                                                  Updated 1 second ago

Domain Name: 1VULCANO.COM
Registry Domain ID: 2027408241_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2016­05­11T07:14:04.00Z
Creation Date: 2016­05­11T14:14:00.00Z
Registrar Registration Expiration Date: 2017­05­11T14:14:00.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 00000
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 00000
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 00000
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2016­05­11T07:14:04.00Z <<<

For more information on Whois status codes, please visit https://icann.org/epp


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whois query, you agree that you will use this data only for lawful

http://www.whois.com/whois/1vulcano.com                                                                                                                    1/2
09.09.2016            Case 2:17-cv-00002-RAJ Document
                                                  Whois1-2    Filed 01/03/17 Page 53 of 217
                                                        1vulcano.com
purposes and that, under no circumstances will you use this data to: (1)
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Bulk Domain Register                           Linux Reseller Hosting                          Enter a Domain Name
Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                  LOGIN           OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
24 x 7 Servers Monitoring                      Sitelock
Backup and Recovery                            Codeguard
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                                               View Knowledge Base
                                               Contact Support
                                               Report Abuse
                                               About Whois




http://www.whois.com/whois/1vulcano.com                                                                                                            2/2
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                                                  Whois1-2    Filed 01/03/17 Page 54 of 217
                                                        2vulcano.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES            EMAIL     SECURITY        WHOIS         SUPPORT               LOGIN              0



 2vulcano.com registry whois                                                          Updated 1 second ago ­ Refresh               Hot Deals!
Domain Name: 2VULCANO.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 25­jul­2016                                                                                                    .CLICK @ $2.88 $6.88
Creation Date: 11­may­2016
Expiration Date: 11­may­2017

                                                                                                                            1 2 3 4 5 6 7 8 9 1011121314
 2vulcano.com registrar whois                                                                  Updated 1 second ago

Domain Name: 2VULCANO.COM
Registry Domain ID: 2027408245_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2016­05­11T07:14:08.00Z
Creation Date: 2016­05­11T14:14:00.00Z
Registrar Registration Expiration Date: 2017­05­11T14:14:00.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 00000
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 00000
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 00000
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2016­05­11T07:14:08.00Z <<<

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http://www.whois.com/whois/2vulcano.com                                                                                                                    1/2
09.09.2016            Case 2:17-cv-00002-RAJ Document
                                                  Whois1-2    Filed 01/03/17 Page 55 of 217
                                                        2vulcano.com
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View Domain Pricing                            Windows Hosting
Bulk Domain Register                           Linux Reseller Hosting                          Enter a Domain Name
Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                  LOGIN           OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
24 x 7 Servers Monitoring                      Sitelock
Backup and Recovery                            Codeguard
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http://www.whois.com/whois/2vulcano.com                                                                                                            2/2
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                                                  Whois1-2    Filed 01/03/17 Page 56 of 217
                                                        3vulcano.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES            EMAIL     SECURITY        WHOIS         SUPPORT               LOGIN              0



 3vulcano.com registry whois                                                          Updated 1 second ago ­ Refresh               Hot Deals!
Domain Name: 3VULCANO.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 25­jul­2016                                                                                                     .BIZ @ $3.48 $11.88
Creation Date: 11­may­2016
Expiration Date: 11­may­2017

                                                                                                                            1 2 3 4 5 6 7 8 9 1011121314
 3vulcano.com registrar whois                                                                  Updated 1 second ago

Domain Name: 3VULCANO.COM
Registry Domain ID: 2027408240_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2016­05­11T07:14:04.00Z
Creation Date: 2016­05­11T14:14:00.00Z
Registrar Registration Expiration Date: 2017­05­11T14:14:00.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 00000
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 00000
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 00000
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2016­05­11T07:14:04.00Z <<<

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http://www.whois.com/whois/3vulcano.com                                                                                                                    1/2
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                                                        3vulcano.com
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                                                                                            Follow us
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View Domain Pricing                            Windows Hosting
Bulk Domain Register                           Linux Reseller Hosting                          Enter a Domain Name
Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                  LOGIN           OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
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Backup and Recovery                            Codeguard
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http://www.whois.com/whois/3vulcano.com                                                                                                            2/2
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                                                  Whois1-2    Filed 01/03/17 Page 58 of 217
                                                        5vulcano.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES            EMAIL     SECURITY        WHOIS         SUPPORT               LOGIN              0



 5vulcano.com registry whois                                                          Updated 1 second ago ­ Refresh               Hot Deals!
Domain Name: 5VULCANO.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 25­jul­2016                                                                                                     .BIZ @ $3.48 $11.88
Creation Date: 11­may­2016
Expiration Date: 11­may­2017

                                                                                                                            1 2 3 4 5 6 7 8 9 1011121314
 5vulcano.com registrar whois                                                                  Updated 1 second ago

Domain Name: 5VULCANO.COM
Registry Domain ID: 2027408248_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2016­05­11T07:14:12.00Z
Creation Date: 2016­05­11T14:14:00.00Z
Registrar Registration Expiration Date: 2017­05­11T14:14:00.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 00000
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 00000
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 00000
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2016­05­11T07:14:12.00Z <<<

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http://www.whois.com/whois/5vulcano.com                                                                                                                    1/2
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                                                        5vulcano.com
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this whois database system providing you this information; or (2) allow,
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                                                                                            Follow us
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View Domain Pricing                            Windows Hosting
Bulk Domain Register                           Linux Reseller Hosting                          Enter a Domain Name
Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                  LOGIN           OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
24 x 7 Servers Monitoring                      Sitelock
Backup and Recovery                            Codeguard
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                                               Support
                                               View Knowledge Base
                                               Contact Support
                                               Report Abuse
                                               About Whois




http://www.whois.com/whois/5vulcano.com                                                                                                            2/2
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                                                        7vulcano.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES            EMAIL     SECURITY        WHOIS         SUPPORT               LOGIN              0



 7vulcano.com registry whois                                                          Updated 1 second ago ­ Refresh               Hot Deals!
Domain Name: 7VULCANO.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 25­jul­2016                                                                                                     .BIZ @ $3.48 $11.88
Creation Date: 11­may­2016
Expiration Date: 11­may­2017

                                                                                                                            1 2 3 4 5 6 7 8 9 1011121314
 7vulcano.com registrar whois                                                                  Updated 1 second ago

Domain Name: 7VULCANO.COM
Registry Domain ID: 2027408250_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2016­05­11T07:14:12.00Z
Creation Date: 2016­05­11T14:14:00.00Z
Registrar Registration Expiration Date: 2017­05­11T14:14:00.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 00000
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 00000
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 00000
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2016­05­11T07:14:12.00Z <<<

For more information on Whois status codes, please visit https://icann.org/epp


The data in this whois database is provided to you for information
purposes only, that is, to assist you in obtaining information about or
related to a domain name registration record. We make this information
available "as is," and do not guarantee its accuracy. By submitting a
whois query, you agree that you will use this data only for lawful

http://www.whois.com/whois/7vulcano.com                                                                                                                    1/2
09.09.2016            Case 2:17-cv-00002-RAJ Document
                                                  Whois1-2    Filed 01/03/17 Page 61 of 217
                                                        7vulcano.com
purposes and that, under no circumstances will you use this data to: (1)
enable high volume, automated, electronic processes that stress or load
this whois database system providing you this information; or (2) allow,
enable, or otherwise support the transmission of mass unsolicited,
commercial advertising or solicitations via direct mail, electronic
mail, or by telephone. The compilation, repackaging, dissemination or
other use of this data is expressly prohibited without prior written
consent from us.

We reserve the right to modify these terms at any time. By submitting
this query, you agree to abide by these terms.
Version 6.3 4/3/2002

 related domain names
 enom.com     registrar­servers.com    icann.org   namecheap.com        whoisguard.com   internic.net




Domains                                        Hosting & Products
                                                                                            Follow us
Register Domain Name                           Linux Hosting
View Domain Pricing                            Windows Hosting
Bulk Domain Register                           Linux Reseller Hosting                          Enter a Domain Name
Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                  LOGIN           OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
24 x 7 Servers Monitoring                      Sitelock
Backup and Recovery                            Codeguard
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                                               View Knowledge Base
                                               Contact Support
                                               Report Abuse
                                               About Whois




http://www.whois.com/whois/7vulcano.com                                                                                                            2/2
09.09.2016            Case 2:17-cv-00002-RAJ Document
                                                  Whois1-2    Filed 01/03/17 Page 62 of 217
                                                        vulcano7.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES            EMAIL     SECURITY        WHOIS         SUPPORT               LOGIN              0



 vulcano7.com registry whois                                                          Updated 1 second ago ­ Refresh               Hot Deals!
Domain Name: VULCANO7.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 25­jul­2016                                                                                               .WEBSITE @ $2.48 $21.88
Creation Date: 06­jun­2016
Expiration Date: 06­jun­2017

                                                                                                                            1 2 3 4 5 6 7 8 9 1011121314
 vulcano7.com registrar whois                                                                  Updated 1 second ago

Domain Name: VULCANO7.COM
Registry Domain ID: 2033980849_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2016­06­06T04:43:06.00Z
Creation Date: 2016­06­06T11:43:00.00Z
Registrar Registration Expiration Date: 2017­06­06T11:43:00.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 00000
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 00000
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 00000
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2016­06­06T04:43:06.00Z <<<

For more information on Whois status codes, please visit https://icann.org/epp


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related to a domain name registration record. We make this information
available "as is," and do not guarantee its accuracy. By submitting a
whois query, you agree that you will use this data only for lawful

http://www.whois.com/whois/vulcano7.com                                                                                                                    1/2
09.09.2016            Case 2:17-cv-00002-RAJ Document
                                                  Whois1-2    Filed 01/03/17 Page 63 of 217
                                                        vulcano7.com
purposes and that, under no circumstances will you use this data to: (1)
enable high volume, automated, electronic processes that stress or load
this whois database system providing you this information; or (2) allow,
enable, or otherwise support the transmission of mass unsolicited,
commercial advertising or solicitations via direct mail, electronic
mail, or by telephone. The compilation, repackaging, dissemination or
other use of this data is expressly prohibited without prior written
consent from us.

We reserve the right to modify these terms at any time. By submitting
this query, you agree to abide by these terms.
Version 6.3 4/3/2002

 related domain names
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Domains                                        Hosting & Products
                                                                                            Follow us
Register Domain Name                           Linux Hosting
View Domain Pricing                            Windows Hosting
Bulk Domain Register                           Linux Reseller Hosting                          Enter a Domain Name
Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                  LOGIN           OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
24 x 7 Servers Monitoring                      Sitelock
Backup and Recovery                            Codeguard
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                                               Support
                                               View Knowledge Base
                                               Contact Support
                                               Report Abuse
                                               About Whois




http://www.whois.com/whois/vulcano7.com                                                                                                            2/2
09.09.2016            Case 2:17-cv-00002-RAJ Document   1-2 Filed 01/03/17 Page 64 of 217
                                                 Whois online­volcano.com



                                                                                                                                                  WHOIS


                                               NEW

   DOMAINS           HOSTING           CLOUD          WEBSITES            EMAIL     SECURITY        WHOIS         SUPPORT               LOGIN              0



 online­volcano.com registry whois                                                    Updated 1 second ago ­ Refresh               Hot Deals!
Domain Name: ONLINE­VOLCANO.COM
Registrar: ENOM, INC.
Sponsoring Registrar IANA ID: 48
Whois Server: whois.enom.com
Referral URL: http://www.enom.com
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
Updated Date: 25­jul­2016                                                                                                     .BIZ @ $3.48 $11.88
Creation Date: 07­mar­2013
Expiration Date: 07­mar­2017

                                                                                                                            1 2 3 4 5 6 7 8 9 1011121314
 online­volcano.com registrar whois                                                            Updated 1 second ago

Domain Name: ONLINE­VOLCANO.COM
Registry Domain ID: 1784802415_DOMAIN_COM­VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2016­02­22T05:01:36.00Z
Creation Date: 2013­03­07T10:03:00.00Z
Registrar Registration Expiration Date: 2017­03­07T10:02:58.00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823­03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 0
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823­03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 0
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823­03411
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 0
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @WHOISGUARD.COM
Name Server: DNS1.REGISTRAR­SERVERS.COM
Name Server: DNS2.REGISTRAR­SERVERS.COM
DNSSEC: unSigned
Registrar Abuse Contact Email:         @enom.com
Registrar Abuse Contact Phone: +1.4252982646
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
>>> Last update of WHOIS database: 2016­02­22T05:01:36.00Z <<<

For more information on Whois status codes, please visit https://icann.org/epp


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available "as is," and do not guarantee its accuracy. By submitting a
whois query, you agree that you will use this data only for lawful

http://www.whois.com/whois/online­volcano.com                                                                                                              1/2
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                                                 Whois online­volcano.com
purposes and that, under no circumstances will you use this data to: (1)
enable high volume, automated, electronic processes that stress or load
this whois database system providing you this information; or (2) allow,
enable, or otherwise support the transmission of mass unsolicited,
commercial advertising or solicitations via direct mail, electronic
mail, or by telephone. The compilation, repackaging, dissemination or
other use of this data is expressly prohibited without prior written
consent from us.

We reserve the right to modify these terms at any time. By submitting
this query, you agree to abide by these terms.
Version 6.3 4/3/2002

 related domain names
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Domains                                        Hosting & Products
                                                                                            Follow us
Register Domain Name                           Linux Hosting
View Domain Pricing                            Windows Hosting
Bulk Domain Register                           Linux Reseller Hosting                          Enter a Domain Name
Bulk Domain Transfer                           Windows Reseller Hosting
Whois Lookup                                   Virtual Private Servers
Name Suggestion Tool                           Dedicated Servers                                  LOGIN           OR           CREATE AN ACCOUNT
Free with Every Domain                         Managed Servers
Domain Offers                                  Cloud Hosting
                                               Website Builder
Infrastructure                                 Business Email
Datacenter Details                             Enterprise Email
Hosting Security                               SSL Certi cates
24 x 7 Servers Monitoring                      Sitelock
Backup and Recovery                            Codeguard
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                                               Support
                                               View Knowledge Base
                                               Contact Support
                                               Report Abuse
                                               About Whois




http://www.whois.com/whois/online­volcano.com                                                                                                      2/2
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                                                 Whois vulcan­club­online.top



                                                                                                                                                       WHOIS


                                                NEW

   DOMAINS           HOSTING           CLOUD           WEBSITES           EMAIL       SECURITY          WHOIS          SUPPORT               LOGIN              0



 vulcan­club­online.top registry whois                                                  Updated 1 second ago ­ Refresh                  Hot Deals!
Domain Name: vulcan­club­online.top
Domain ID: D20160715G10001G_72417014­TOP
WHOIS Server: whois.namecheap.com
Referral URL: https://www.namecheap.com/
Updated Date: 2016­07­22T16:10:35Z
Creation Date: 2016­07­15T10:14:25Z
Registry Expiry Date: 2017­07­15T10:14:25Z
Sponsoring Registrar: Namecheap Inc.
Sponsoring Registrar IANA ID: 1068                                                                                                 .BIZ @ $3.48 $11.88
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Registrant ID: olwkzpgdxhyc0ypd
Registrant Name: WhoisGuard Protected
Registrant Organization: WhoisGuard, Inc.                                                                                        1 2 3 4 5 6 7 8 9 1011121314
Registrant Street: P.O. Box 0823­03411
Registrant City: Panama
Registrant State/Province: Panama
Registrant Postal Code: 00000
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:                                                @whoisguard.com
Admin ID: 5iqpsxj1eywavkcc
Admin Name: WhoisGuard Protected
Admin Organization: WhoisGuard, Inc.
Admin Street: P.O. Box 0823­03411
Admin City: Panama
Admin State/Province: Panama
Admin Postal Code: 00000
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:                                                  @whoisguard.com
Tech ID: bwakydu21ikg5whq
Tech Name: WhoisGuard Protected
Tech Organization: WhoisGuard, Inc.
Tech Street: P.O. Box 0823­03411
Tech City: Panama
Tech State/Province: Panama
Tech Postal Code: 00000
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:                                                 @whoisguard.com
Name Server: beth.ns.cloudflare.com
Name Server: joel.ns.cloudflare.com
DNSSEC: unsigned
>>> Last update of WHOIS database: 2016­09­09T12:46:37Z <<<

For more information on Whois status codes, please visit https://icann.org/epp

NOTICE: The expiration date displayed in this record is the date the
registrar's sponsorship of the domain name registration in the registry is
currently set to expire. This date does not necessarily reflect the expiration
date of the domain name registrant's agreement with the sponsoring
registrar. Users may consult the sponsoring registrar's Whois database to
view the registrar's reported date of expiration for this registration.

TERMS OF USE: The information in the Whois database is collected through ICANN­accredited registrars. Jiangsu
bangning science & technology Co., Ltd(“BANGNING”) make this information available to you and do not guarantee its
accuracy or completeness. By submitting a whois query, you agree to abide by the following terms of use: you agree
that you may use this data only for lawful purposes and that under no circumstances will you use this data to: (1) to
allow， enable， or otherwise support the transmission of mass unsolicited， commercial advertising or solicitations via
direct mail， electronic mail， or by telephone; (2) in contravention of any applicable data and privacy protection acts; or
(3) to enable high volume， automated， electronic processes that apply to BANGNING (or its computer systems).
Compilation， repackaging， dissemination， or other use of the WHOIS database in its entirety， or of a substantial
portion thereof， is not allowed without BANGNING prior written permission. You agree not to use electronic processes
that are automated and high­volume to access or query the whois database except as reasonably necessary to register
domain names or modify existing registrations. BANGNING reserves the right to restrict your access to the whois
database in its sole discretion to ensure operational stability. BANGNING may restrict or terminate your access to the
whois database for failure to abide by these terms of use. BANGNING reserves the right to modify these terms at any
time without prior or subsequent notification of any kind.

 related domain names


http://www.whois.com/whois/vulcan­club­online.top                                                                                                               1/2
09.09.2016          Case 2:17-cv-00002-RAJ Document    1-2 Filed 01/03/17 Page 67 of 217
                                               Whois vulcan­club­online.top
 namecheap.com     icann.org   whoisguard.com   cloudflare.com




Domains                                    Hosting & Products
                                                                      Follow us
Register Domain Name                       Linux Hosting
View Domain Pricing                        Windows Hosting
Bulk Domain Register                       Linux Reseller Hosting        Enter a Domain Name

Bulk Domain Transfer                       Windows Reseller Hosting
Whois Lookup                               Virtual Private Servers
Name Suggestion Tool                       Dedicated Servers               LOGIN            OR           CREATE AN ACCOUNT
Free with Every Domain                     Managed Servers
Domain Offers                              Cloud Hosting
                                           Website Builder
Infrastructure                             Business Email
Datacenter Details                         Enterprise Email
Hosting Security                           SSL Certi cates
24 x 7 Servers Monitoring                  Sitelock
Backup and Recovery                        Codeguard
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                                           View Knowledge Base
                                           Contact Support
                                           Report Abuse
                                           About Whois




http://www.whois.com/whois/vulcan­club­online.top                                                                            2/2
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THIS AGREEMENT HAS A PROVISION FOR ARBITRATION OF DISPUTES BETWEEN THE PARTIES.

This Registration Agreement ("Agreement") sets forth the terms and conditions of your use of domain name
registration and related services ("Services"). In this Agreement "you" and "your" refer to you and the
registrant listed in the WHOIS contact information for the domain name. "We", "us" and "our" refer to the
registrars listed at the bottom of this document, any one of which will be the registrar for your domain name
and all of which share common ownership, common terms and conditions, and a shared Services
infrastructure. To determine which registrar your domain name is registered with, perform a WHOIS lookup
at http://www.uwhois.com. You obtain the Services through your primary service provider, with whom we have
a wholesale relationship (your "Primary Service Provider"). Your relationship with your Primary Service
Provider may be governed by additional terms, as you and your Primary Service Provider may agree. "We,"
"us" and "our" does not include your Primary Service Provider, except when specifically mentioned or unless
your Primary Service Provider is one of us (i.e., if your Primary Service Provider is also one of the registrars
listed at the bottom of this document)).

    1. YOUR AGREEMENT: By using the Services, you agree to all terms and conditions of this
       Agreement, the UDRP (defined below), the URS (defined below), and any rules, policies, or
       agreements published in association with specific Services and/or which may be adopted or enforced
       by the Internet Corporation for Assigned Names and Numbers ("ICANN"), any registry, or
       governments.

    2. CHANGES TO THIS AGREEMENT: This Agreement may change over time, either through
       amendments by us, changes to ICANN policy or applicable law which may or may not be reflected in
       the text of this Agreement, or otherwise. Before any material changes to this Agreement become
       binding on you (other than changes resulting from a change in ICANN policy or applicable law), we
       will notify you of such changes by, for example, sending email to you at your email address of record.
       If, as a result of such a change, you no longer agree with the terms of this Agreement, your exclusive
       remedies are (a) to transfer your domain name registration services to another registrar, or (b) to
       cancel your Services, including domain name registration services, with us. Your continued use of the
       Services following notification of a change in this Agreement indicates your consent to the changes.
       Unless otherwise specified by us, any such change binds you: (1) thirty (30) days after we notify you
       of the change, or (2) immediately if such change is a result of a new or amended ICANN policy or
       applicable law.

    3. REGISTRANT RIGHTS AND RESPONSIBILITIES: ICANN has developed, in consultation with
       registrars, a webpage that identifies important registrant rights and responsibilities. The document
       provides a "plain language" summary of terms related to Registrant Rights and Responsibilities as set
       out in the Registrar Accreditation Agreement (RAA), for posting on registrar websites. While some of
       the terms included do not specifically refer to registrants, those terms are included because of the
       potential import to understanding registrar/registrant relations. The document also summarizes
       registrant rights and responsibilities that arise within ICANN Consensus Policies and specifications,
       as those policies and specifications are incorporated into the RAA. The summarization of terms within
       this document do not override or replace the terms set forth in the RAA or within those specifications
       or policy. Please review these important Registrant Rights and Responsibilities.

    4. YOUR ACCOUNT: You must create an account to use the Services ("Account"). Your Account is
       typically managed and/or provided by your Primary Service Provider. You are solely responsible for
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   maintaining, securing, updating, and keeping strictly confidential all login IDs and passwords, and for
   all access to and use of your Account by you or any third party.

       a. ACCOUNT CONTACT INFORMATION AND DOMAIN NAME WHOIS INFORMATION:

               i.    You must provide certain current, complete and accurate information about you with
                     respect to your Account information and with respect to the WHOIS information for
                     your domain name(s). Within seven (7) days of any change to such information, you
                     must update such information as needed to keep it current, complete and accurate.
                     You must submit the following with respect to you, the administrative, technical, and
                     billing contacts for your domain name registration(s) and other Services: name,
                     postal address, e-mail address, voice telephone number, and where available, fax
                     number. The type of information you are required to provide may change and you
                     must provide such information and keep your Account information current. Not
                     providing requested information may prevent you from obtaining all Services.

              ii.    You may provide information regarding the name-servers assigned to your domain
                     name(s) and, if we are providing name-server services to you, the DNS settings for
                     the domain name. If you do not provide complete name-server information, or if you
                     purchase "Name Only" Services, we may supply this information (and point your
                     domain name to a website of our choosing) until such time as you elect to supply the
                     name-server information or until such time as you elect to upgrade from "Name
                     Only" Services.

       b. OBLIGATIONS RELATING TO THE ACCOUNT AND WHOIS CONTACT INFORMATION:

               i.    If, in obtaining Services, you provide information about or on behalf of a third party,
                     you represent and warrant that you have (a) provided notice to that third party of the
                     disclosure and use of that party's information as set forth in this Agreement, and (b)
                     obtained the third party's express written consent to the disclosure and use of that
                     party's information as set forth in this Agreement.

              ii.    You represent and warrant that the statements in your application are true and that
                     no Services are being procured for any unlawful or abusive purpose, including but
                     not limited to the infringement of any intellectual property right or other right; the
                     distribution of malware; the abusive operation of botnets; phishing; fraudulent or
                     deceptive practices; the unauthorized transfer to yourself or any other party of any
                     domain name or Services; counterfeiting; or any other activity in violation of any
                     laws, rules, or regulations (the "Illegal Uses"). Providing inaccurate or unreliable
                     information, failing to update information within seven (7) days of any change,
                     engaging in any Illegal Uses, or failing to respond for over fifteen (15) days to
                     inquiries by us concerning the accuracy of Account and WHOIS contact information
                     will constitute an incurable material breach of this Agreement and be a basis for
                     suspension and/or cancellation of the Services.

              iii.   You are responsible for regularly monitoring email sent to the email address in your
                     Account. You may lose your rights to the domain name(s) or your right to receive the
                     Services if you do not respond appropriately and timely to an email sent in
                     conjunction therewith.
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      c. ACCESSING YOUR ACCOUNT:

            i.    In order to change any of your Account or domain name WHOIS information, you
                  must access your Account with your Primary Service Provider, or your Account with
                  us. It is your duty to safeguard your Account login identifier and password from any
                  unauthorized use. Any person in possession of your Account login identifier and
                  password will have both the ability and your authorization to modify your Account
                  and domain name information, initiate transfers of your domain name(s) to other
                  registrars, initiate registrant changes to your domain names which may terminate
                  your rights to use such domain name(s), update DNS changes to your domain
                  name(s) which may result in changes to the content associated with your domain
                  name(s) and take other actions which may affect or terminate your rights and access
                  to your domain name(s) and/or the Services.

           ii.    We will take reasonable precautions to protect the information we obtain from you
                  from loss, misuse, unauthorized access or disclosure, alteration or destruction of that
                  information and such reasonable precautions include procedures for releasing
                  Account access information to parties who claim to have lost Account access
                  information. If we take reasonable precautions in relation thereto, IN NO EVENT
                  SHALL WE BE LIABLE IF SUCH REASONABLE PRECAUTIONS DO NOT
                  PREVENT THE UNAUTHORIZED USE OR MISUSE OF YOUR ACCOUNT
                  IDENTIFIER OR PASSWORD AND, EVEN IF WE FAIL TO TAKE REASONABLE
                  PRECAUTIONS, OUR LIABILITY UNDER ANY CIRCUMSTANCES SHALL BE
                  LIMITED BY THE LIMITATION OF LIABILITY PROVISION FOUND IN
                  PARAGRAPH 13 BELOW IN THIS AGREEMENT.

           iii.   If you contact us alleging that a third party has unauthorized access to your Account
                  or domain names, we may charge you administrative fees, currently set at fifty
                  dollars ($50) per hour, for our time spent in relation to the matter, regardless of
                  whether or not we return control over the Account and/or domain name(s) to you.
                  You will indemnify us for any reasonable attorneys' Fees and costs we may incur in
                  relation to the matter, even if those fees and costs accrue as a result of defending an
                  action, or responding to a threat of an action, initiated by You or a third party.

      d. SHARING OF WHOIS INFORMATION:

            i.    We will make available the domain name registration information you provide or that
                  we otherwise maintain to the following parties: ICANN, any ICANN-authorized
                  escrow service, the registry administrator(s), and to other third parties as ICANN and
                  applicable laws may require or permit (including through web-based and other on-
                  line WHOIS lookup systems), whether during or after the term of your domain name
                  registration services of the domain name. You irrevocably waive any and all claims
                  and causes of action you may have arising from such disclosure or use of such
                  information. We may make publicly available, or directly available to third parties,
                  some, or all, of the information you provide, for purposes of inspection (such as
                  through our WHOIS service) or for targeted marketing and other purposes as
                  required or permitted by applicable laws, including by way of bulk WHOIS data
                  access provided to third parties who enter into a bulk WHOIS data access
                  agreement with us.
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           ii.    ICANN may establish or modify the guidelines, limits and/or requirements that relate
                  to the amount and type of information that we may or must make available to the
                  public or to private entities, and the manner in which such information is made
                  available. Information regarding ICANN's guidelines and requirements regarding
                  WHOIS can be found
                  athttp://www.icann.org/registrars/wmrp.htm, http://www.icann.org/registrars/wdrp.htm
                  , and elsewhere on the ICANN website at http://www.icann.org/.

5. OUR SERVICES:

      a. DOMAIN NAME REGISTRATION.

            i.    We are accredited registrars with ICANN for generic top level domain names
                  ("gTLDs") (such as .com, .net, .org, etc.). ICANN oversees registrations and other
                  aspects of the gTLDs. We also are registrars for a variety of country code top level
                  domain names ("ccTLDs") (such as .co.uk, .de, etc.). For a partial list of registry
                  administrators and for more information on gTLDs,
                  see http://www.icann.org/tlds/.Domain name registrations are not effective until the
                  registry administrator puts them into effect. Domain name registrations are only for
                  limited terms which end on the expiration date. For domain names which are
                  created as a new registration out of the pool of available domain names, the term
                  begins on the date the domain name registration is acknowledged by the applicable
                  registry. For domain name registrations which were not returned to the pool of
                  available domain names, the term begins on the date the previous registrant's
                  domain name registration was acknowledged by the applicable registry.

           ii.    We and your Primary Service Provider are not liable or responsible in any way for
                  any errors, omissions or any other actions by the registry administrator, including
                  those arising out of or related to a request to register, renew, modify the settings for,
                  or transfer of a domain name registration. You acknowledge that domain name
                  registration is a service, domain name registrations do not exist independently from
                  services provided pursuant to this or a similar registration agreement with a registrar,
                  domain name registration services do not create a property interest and you have no
                  such property interest in any domain name(s) which you may register with us.

           iii.   If you submit an application for pre-registration of a domain name, we do not
                  guarantee that the domain name will be secured for you, or that you will have
                  immediate access to the domain name if secured. In the event two (2) or more pre-
                  registration applications are received for the same domain name and the domain
                  name is secured, all applicants will be invited to a private auction to decide who gets
                  the domain name. If you are such an applicant and wish to participate in the auction,
                  you must first acknowledge any trademark claims notice that is shown to you and
                  agree to any additional terms and conditions which may be applicable.

      b. AFTER MARKET DOMAIN NAMES:

            i.    We offer for sale domain names that are registered to third parties (also known as
                  aftermarket domain names) in a variety of top level domain names ("After Market
                  Domain Name(s)"). All After Market Domain Name registrations are offered on a first
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                 come, first served basis. If you are the first to complete an After Market Domain
                 Name registration application for a particular domain name, including payment of the
                 purchase price we designate, we will initiate a transfer of the relevant After Market
                 Domain Name to your Account. If the After Market Domain Name is at another
                 domain registrar at the time of your purchase, we will transfer your purchased After
                 Market Domain Name to us at no cost to you and will add one year to the existing
                 registration period. If the After Market Domain Name is already located with us as
                 the domain registrar at the time of your purchase and it has ninety (90) days or less
                 from the date of your purchase before expiration, we will renew your After Market
                 Domain for you for free. If the After Market Domain Name is already located with us
                 as the domain registrar at the time of your purchase and it has ninety-one (91) days
                 or more before expiration, you are responsible for all renewal fees. Any subsequent
                 renewals of the After Market Domain Name will be charged at the then-current
                 renewal fee. Once you submit your order for an After Market Domain Name, you
                 have entered into a valid, binding and enforceable contract to pay the designated
                 purchase price for the After Market Domain Name. Because we are selling After
                 Market Domain Names initially registered to third parties, we have no control and
                 make no representations regarding the accuracy or legality of domain names
                 advertised, the accuracy or legality of any domain name listing, or the right and the
                 ability of the third party seller to transfer the After Market Domain Name or complete
                 the transaction. We do not control whether or not third party sellers will complete a
                 transaction. We reserve the right to reject or cancel your After Market Domain Name
                 registration for any reason including, but not limited to, any pricing errors. In the
                 event your After Market Domain Name registration is rejected or cancelled by us, for
                 any reason, we will refund in full the amount of the purchase price for the After
                 Market Domain Name as your sole remedy.

           ii.   Once the After Market Domain Name is transferred into your Account, such After
                 Market Domain Name may not be transferred away from us to another registrar
                 during the first sixty (60) days following the transfer, during which time the After
                 Market Domain Name may be placed on transfer lock. All of your obligations under
                 this Agreement which apply to the registration or renewal of domain name(s) created
                 by you apply to any After Market Domain Name(s) acquired by you, including but not
                 limited to prohibition against any Illegal Uses.

      c. NOT INCLUDED IN THE SERVICES:

           i.    We are not responsible to determine whether the domain name(s) you select, or the
                 use you or others make of the domain name(s), or other use of the Services,
                 infringes legal rights of others. It is your responsibility to know whether or not the
                 domain name(s) you select or use or allow others to use infringe legal rights of
                 others.

           ii.   We might be ordered by a court or arbitrator to cancel, modify, or transfer your
                 domain name; it is your responsibility to list accurate contact information in
                 association with your Account and to communicate with litigants, potential litigants,
                 and governmental authorities. It is not our responsibility to forward court orders or
                 other communications to you. Our policy is to comply with court orders from courts of
                 competent jurisdiction as well as UDRP and URS Panel decisions. If you contact us
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                   informing us that you are contesting a court order from a court of competent
                   jurisdiction, we may, but are not obligated to, place a transfer lock on the domain
                   name pending the outcome of the dispute. If you contact us informing us that you
                   are contesting an adverse UDRP or URS Panel decision, your time limits and
                   procedures to do so are subject to the requirements set forth in the UDRP or URS.
                   We will not delay implementation of a UDRP or URS Panel decision based solely on
                   your informing us that you intend to contest the decision.

      d. USE OF FREE SERVICES:

             i.    In consideration for providing additional optional Services for which we do not charge
                   an additional fee, including, but not limited to, free trials, URL forwarding, email
                   forwarding, free parking page, free website hosting, free email services, or other free
                   services which we may introduce from time to time ("Free Services"), we may
                   display advertising in conjunction therewith through the use of pop-up or pop-under
                   browser windows, banner advertisements, audio or video streams, appendices to
                   emails, or any other advertising means, and we may aggregate for our own use,
                   related usage data by means of cookies and other similar means. You will not be
                   entitled to any of the proceeds we may earn as a result of such advertising. We may
                   discontinue any Free Services at any time with or without providing you prior notice.

             ii.   From time to time we may provide you with free or low-cost domain name(s)
                   registration services ("Promotional Name(s)"). If we do so, the services for the
                   Promotional Name(s) will be placed in the same Account as your other domain
                   name(s) and you will be listed as the registrant, though we may point the
                   Promotional Name to IP address(es) of our choosing. If you want to assume control
                   over the services provided to the Promotional Name, including the right to transfer or
                   push the Promotional Name service to other registrars or other Accounts or the
                   ability to control the DNS settings for the Promotional Name, you must pay the
                   promotional registration fee or renewal fee, if any, and the terms of this Agreement
                   will apply to such Promotional Name(s). If you do not want the Promotional Name
                   services, you may request that you be removed as the registrant of such
                   Promotional Names and we may be listed as the domain name registrant or we may
                   delete such domain names or make them available to others. For any domain name
                   services, including these Promotional Names, for which you are listed as registrant
                   but for which you do not pay the registration or renewal fee, we may assign name-
                   servers to the domain name and point the domain name to IP address(es)
                   designated by us until the registration or renewal fee is paid.

6. SERVICES PROVIDED AT WILL; TERMINATION OR SUSPENSION OF SERVICES:

      a. We and your Primary Service Provider may reject your domain name registration application
         or elect to discontinue providing Services to you for any reason within thirty (30) days of a
         Service initiation or a Service renewal. Outside of this period, we and your Primary Service
         Provider may terminate or suspend the Services at any time for cause, which, without
         limitation, includes (i) registration of prohibited domain name(s), (ii) abuse of the Services, (iii)
         payment irregularities, (iv) allegations of illegal conduct or infringement of any third party
         intellectual property right or other right, (v) failure to keep your Account or WHOIS information
         accurate and up to date, (vi) failure to respond to inquiries from us for over fifteen (15)
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          calendar days, or (vii) if your use of the Services involves us in a violation or alleged violation
          of any third party's rights or acceptable use policies, including but not limited to the
          transmission of unsolicited email or the violation or alleged violation of any intellectual
          property right or other right. No fee refund will be made when there is a suspension or
          termination of Services for cause.

      b. At any time and for any reason, we may terminate the Services thirty (30) days after we send
         notice of termination via mail or email, at our option, to the WHOIS contact information
         provided in association with your domain name registration. Following notice of termination
         other than for cause, you must transfer your domain name within such thirty (30) day notice
         period or risk that we may delete your domain name, transfer the registration services
         associated with your domain name to ourselves or a third party, or suspend or modify
         Services related to your domain name. If we terminate Services for a reason other than
         cause, we will provide a pro-rata refund of your fees.

      c. If we terminate or suspend the Services provided to you under this Agreement, we may then,
         at our option, make either ourselves or a third party the beneficiary of Services which are
         substantially similar to those which were previously provided to you. If we have grounds to
         terminate or suspend Services with respect to one domain name or in relation to other
         Services provided through your Account, we may terminate or suspend all Services provided
         through your Account.

      d. Your registration of a domain name is subject to suspension, cancellation or transfer by any
         ICANN procedure now in affect or which may come into effect at a later date, by any registrar
         or registry administrator procedures approved by an ICANN-adopted policy or any policy
         adopted by any ccTLD registry or governing body, to correct mistakes by us, another
         registrar or the registry administrator in administering the domain name or for the resolution
         of disputes concerning the domain name or as a result of any government decree, rule, law
         or regulation.




7. FEES AND TAXES:

      a. You agree to pay, prior to the effectiveness of the desired Services, the applicable Service
         fees set forth on the Pricing Page or otherwise communicated to you. In the event any of the
         fees for Services change, we will use reasonable efforts to give you thirty (30) days prior
         notice of such changes on the Pricing Page or by other reasonable means. Please check
         the Pricing Page often for any changes to our Services fees. All fees are non-refundable, in
         whole or in part, even if your domain name registration is suspended, cancelled or
         transferred prior to the end of your then current registration term, unless this Agreement
         specifically provides for a refund. At our option, we may require that you pay fees through a
         particular payment means (such as by credit card or by wire transfer) or that you change
         from one payment provider to another.

      b. Unless specified otherwise, the fees for the Services do not include taxes. If we are required
         to pay ICANN fees or United States or international sales, use, property, value-added
         ("VAT"), royalty, license, or other taxes based on your use of the Services, then you must
         pay such fees or taxes. This section does not apply to taxes based on our income.
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8. PAYMENT ISSUES: In the event of a charge back by a credit card company (or similar action by
   another payment provider allowed by us) in connection with your payment of fees for any Services,
   we and/or your Primary Service Provider may suspend access to any and all Accounts you have with
   us and/or your Primary Service Provider and all interests in and use of any domain name registration
   services, website hosting, and/or email services, including all data hosted on our systems and/or on
   the systems of your Primary Service Provider may be assumed by us or your Primary Service
   Provider, as the case may be, or may be terminated. We may reinstate your rights to and control over
   these Services solely at our discretion, and subject to our receipt of the unpaid fees and our then-
   current reinstatement fee set forth on the Pricing Page or otherwise communicated to you.
   Reinstatement of Services by your Primary Service Provider may be according to the terms between
   you and your Primary Service Provider relating to reinstatement. If you have an issue with credit card
   or other payment charges, you should contact your Primary Service Provider, first, and us, second,
   regarding the issue before you contact your credit card or other payment process company to request
   a charge back or reversal of the charges.

9. EXPIRATION AND RENEWAL OF SERVICES: It is your responsibility to keep your own records and
   to maintain your own reminders regarding when your domain name registration or other Services are
   set to expire. With respect to domain name registration services, we and/or your Primary Service
   Provider will email a renewal notification approximately one (1) month and approximately one (1)
   week prior to each such domain name's expiration. In addition, if a domain name is not renewed, we
   and/or your Primary Service Provider will email an additional renewal notification within five (5) days
   after the expiration of such domain name's registration. All renewal notifications will be sent to primary
   contact for the Account associated with the domain name registration. It is your responsibility to
   maintain current and accurate credit card information should any Services be placed on "auto-renew."
   We and/or your Primary Service Provider will notify you when renewal fees are due. Should these
   fees go unpaid, your Services will expire or be cancelled. Payment must be made by credit card or
   such other method as we may allow or require from time to time. If you select automatic renewal of
   the Services, we may attempt to renew the Services a reasonable time before expiration, provided
   your credit card or other billing information is available and up to date. It is your responsibility to keep
   your billing information up to date and we are not required to, but may, contact you to update this
   information in the event that an attempted transaction is not processed successfully. Please note: for
   certain top level domain names, the automatic renewal option is not available.

10. EXPIRATION OF A DOMAIN NAME REGISTRATION: Immediately after the expiration of the term
    of domain name registration services and before deletion of the domain name in the applicable
    registry's database, we may direct the domain name to name-servers and IP address(es) designated
    by us, including, without limitation, to no IP address or to IP address(es) which host a parking page or
    a commercial search engine that may display advertisements, and we may either leave your WHOIS
    information intact or we may change the contact information in the WHOIS output for the expired
    domain name so that you are no longer the listed registrant of the expired domain name.

        a. Reactivation Period Process. For a period of approximately thirty (30) days after expiration of
           the term of domain name registration services, we may provide a procedure by which
           expired domain name registration services may be renewed. We may, but are not obligated
           to, offer this process, called the "reactivation period." You assume all risks and all
           consequences if you wait until close to or after the expiration of the original term of domain
           name registration services to attempt to renew the domain name registration services. We
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          may, in our sole discretion, choose not to offer a reactivation period and we shall not be liable
          therefore. The reactivation period renewal process, if any, may involve additional fees which
          we and your Primary Service Provider may determine. We may make expired domain name
          services(s) available to third parties, we may auction off the rights to expired domain name
          services (the auction beginning close to the end or after the end of the reactivation period),
          and/or expired domain name registration services may be re-registered to any party at any
          time.

      b. After the reactivation period, if any, we may:

             i.    Discontinue the domain name registration services at any time thereafter without
                   notice. In which case, certain registry administrators may provide procedures by
                   which discontinued domain name registration services may nonetheless be
                   renewed. We will participate in this process, typically called the "Redemption Grace
                   Period" ("RGP"), for each gTLD registry administrator that provides it. We may, in
                   our sole discretion, choose not to participate in the RGP process with respect to any
                   or all of your ccTLD domain name registration services and we shall not be liable
                   therefore. If available, RGP typically ends between thirty (30) and forty-two (42) days
                   after the end of the reactivation period of the domain name services. The current
                   RGP fee is set forth on the Pricing Page and does not include any registration fees
                   that may also be due. We are not obliged to contact you to alert you that the domain
                   name registration services are being discontinued; or

             ii.   Pay the registry's registration fee or otherwise provide for the registration services to
                   be continued. In which case, we may then set the name-servers and the DNS
                   settings for the domain name services, we may set the DNS to point to no IP
                   address or to IP address(es) which host parking page(s) or a commercial search
                   engine that may display paid advertisements, and we may change the contact
                   information in the WHOIS output for the expired domain name so that you are no
                   longer the listed registrant of the expired domain name. We do not have to pay you
                   any of the proceeds we may earn as a result. We are not obliged to contact you to
                   alert you that the domain name registration services are being continued. The
                   domain name will be designated as being in the extended redemption grace period
                   ("ERGP"), and you will be allowed to assume, during the first 120 days of the then
                   extant registration term, complete management of the domain name services,
                   including the right to control the DNS settings, provided that you pay the ERGP fee
                   (which is the same as the RGP fee) plus any registration fees. After the end of the
                   120-day period, if you do not exercise your rights under this provision, you have
                   abandoned the domain name services, and relinquish all interests and use of the
                   domain name services; or

            iii.   If we auctioned the domain name services to a third party, we may transfer the
                   domain name registration services to such third party. In which case, the third party
                   who won the auction for the domain name services will control the domain name
                   services, including control over the WHOIS information and the DNS settings. You
                   may recover the domain name registration services prior to the end of the
                   reactivation period, as such reactivation period applied to you. We are not obliged to
                   contact you to alert you that the domain name registration services are or were
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                      auctioned. We do not have to pay you any of the proceeds we may earn as a result
                      of such an auction.

11. TRANSFERS:

        a. Transfer of your domain name(s) services shall be governed by ICANN's transfer policy,
           available athttp://www.icann.org/transfers/, including the Registrar Transfer Dispute
           Resolution Policy, available at http://www.icann.org/en/transfers/dispute-policy-
           12jul04.htm as well as the UDRP and URS as described in Section 17 of this Agreement, as
           these policies may be modified from time to time. To transfer your domain name(s) you
           should first login to your Account to lock or unlock your domain name(s) and/or to obtain the
           EPP "AuthCode" which is required to transfer domain services in an EPP registry (such as
           .org). Alternatively, you should contact your Primary Service Provider to have your domain
           name(s) services locked or unlocked or to obtain the EPP "AuthCode." If your Primary
           Service Provider is unresponsive, you may contact us to have your domain name(s) locked
           or unlocked or to obtain the EPP "AuthCode" though we may first contact your Primary
           Service Provider to request that the Primary Service Provider address the request. Only the
           registrant and the administrative contacts listed in the WHOIS information may approve or
           deny a transfer request. Without limitation, domain name services may not be transferred
           within sixty (60) days of initial registration, within sixty (60) days of a transfer, if there is a
           dispute regarding the identity of the domain name registrant, if you are bankrupt, or if you fail
           to pay fees when due. We will follow the procedures for both gaining and losing registrars as
           outlined in ICANN's transfer policies. Transfer requests typically take five (5) business days to
           be processed. A transfer will not be processed if, during this time, the domain name
           registration services expire, in which event you may need to reinstate the transfer request
           following a redemption of the domain name, if any. You may be required to resubmit a
           transfer request if there is a communication failure or other problem at either our end or at the
           registry. YOU ASSUME ALL RISK FOR FAILURE OF A TRANSFER WHETHER OR NOT
           THE TRANSFER PROCESS IS INITIATED CLOSE TO THE END OF A REGISTRATION
           TERM.

        b. Upon initial registration, we may place a "Registrar Lock" ("ClientTransferProhibited" status)
           on your domain name services and this will prevent your domain name services from being
           transferred without your authorization, though we are not required to do so. By allowing your
           domain name services to remain locked, you provide express objection to any and all
           transfer requests until the lock is removed, which may be done within your Account.

12. OWNERSHIP OF INFORMATION AND DATA: We own all database, compilation, collective and
    similar rights, title and interests worldwide in our domain name database, and all information and
    derivative works generated from the domain name database. We own the following information for
    those registrations for which we are the registrar: (a) the original creation date of the registration, (b)
    the expiration date of the registration, (c) the name, postal address, e-mail address, voice telephone
    number, and where available fax number of the registrant and all contacts for the domain name
    registration, (d) any remarks concerning the registered domain name that appear or should appear in
    the WHOIS or similar database, and (e) any other information we generate or obtain in connection
    with the provision of Services, other than the domain name being registered, the IP addresses of the
    primary nameserver and any secondary nameservers for the domain name, and the corresponding
    names of those nameservers. We do not have any ownership interest in your specific personal
    registration information outside of our rights in our domain name database.
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13. AGENTS AND LICENSES: If you are registering a domain name for or on behalf of someone else,
    you represent that you have the authority to bind that person as a principal to all terms and conditions
    provided herein. If you license the use of a domain name you register to us or a to third party, you
    remain the domain name holder of record, and remain responsible for all obligations at law and under
    this Agreement, including but not limited to payment obligations, and providing (and updating, as
    necessary) both your own full contact information, and accurate technical, administrative, billing and
    zone contact information adequate to facilitate timely resolution of any problems that arise in
    connection with the domain name and domain name registration and for ensuring non-infringement of
    any third party intellectual property rights or other rights.

14. LIMITATION OF LIABILITY: WE WILL NOT BE LIABLE FOR ANY (a) SUSPENSION OR LOSS OF
    THE SERVICES, (b) USE OF THE SERVICES, (c) INTERRUPTION OF SERVICES OR
    INTERRUPTION OF YOUR BUSINESS, (d) ACCESS DELAYS OR ACCESS INTERRUPTIONS
    TO OUR WEB SITE(S) OR SERVICES OR DELAYS OR ACCESS INTERRUPTIONS YOU
    EXPERIENCE IN RELATION TO A DOMAIN NAME REGISTERED WITH US; (e) LOSS OR
    LIABILITY RESULTING FROM ACTS OF OR EVENTS BEYOND OUR CONTROL (f) DATA NON-
    DELIVERY, MIS-DELIVERY, CORRUPTION, DESTRUCTION OR OTHER MODIFICATION; (g)
    THE PROCESSING OF AN APPLICATION FOR A DOMAIN NAME REGISTRATION; (h) LOSS
    OR LIABILITY RESULTING FROM THE UNAUTHORIZED USE OR MISUSE OF YOUR
    ACCOUNT IDENTIFIER OR PASSWORD; OR (i) APPLICATION OF ANY DISPUTE POLICY.
    NEITHER WE NOR YOUR PRIMARY SERVICE PROVIDER WILL BE LIABLE FOR ANY
    INDIRECT, SPECIAL, INCIDENTAL, OR CONSEQUENTIAL DAMAGES OF ANY KIND
    (INCLUDING LOST PROFITS) REGARDLESS OF THE FORM OF ACTION WHETHER IN
    CONTRACT, TORT (INCLUDING NEGLIGENCE), OR OTHERWISE, EVEN IF WE OR YOUR
    PRIMARY SERVICE PROVIDER HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH
    DAMAGES. IN NO EVENT SHALL OUR OR YOUR PRIMARY SERVICE PROVIDER'S MAXIMUM
    AGGREGATE LIABILITY EXCEED THE TOTAL AMOUNT PAID BY YOU FOR SERVICES, BUT
    IN NO EVENT GREATER THAN FOUR HUNDRED DOLLARS (US$400.00). BECAUSE SOME
    STATES DO NOT ALLOW THE EXCLUSION OR LIMITATION OF LIABILITY FOR
    CONSEQUENTIAL OR INCIDENTAL DAMAGES, IN SUCH STATES, OUR AND YOUR PRIMARY
    SERVICE PROVIDER'S LIABILITY SHALL BE LIMITED TO THE MAXIMUM EXTENT
    PERMITTED BY LAW.

15. INDEMNITY: You hereby release, indemnify, and hold us, ICANN, the registry operators, and your
    Primary Service Provider, as well as the contractors, agents, employees, officers, directors,
    shareholders, and affiliates of such parties harmless from and against any and all liabilities, claims,
    damages, costs and expenses, including reasonable attorneys' fees and court costs, for third party
    claims relating to or arising under this Agreement, including any breach of any of your
    representations, warranties, covenants or obligations set forth in this Agreement, the Services
    provided hereunder, or your use of the Services, including, without limitation, infringement or alleged
    infringement by you, or by anyone else using the Services, of any intellectual property or other right of
    any person or entity, or from the violation or alleged violation of any of our or ICANN's operating rules
    or policies relating to the Services provided. We may seek written assurances from you in which you
    promise to indemnify and hold us harmless from the costs and liabilities described in this paragraph.
    Such written assurances may include, in our sole discretion, the posting of a performance bond(s) or
    other guarantees reasonably calculated to guarantee payment. Your failure to provide such
    assurances may be considered by us to be a breach of this Agreement by you and may, in our sole
    discretion, result in loss of your right to control the disposition of domain name Services for which you
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    are the registrant and in relation to which we are the registrar of record. This indemnification is in
    addition to any indemnification (a) required under the UDRP, URS, or any other ICANN policy or any
    policy of any relevant registry; or (b) set forth elsewhere in this Agreement.

16. REPRESENTATIONS AND WARRANTIES: YOU REPRESENT AND WARRANT THAT NEITHER
    THE REGISTRATION OF A DOMAIN NAME NOR THE MANNER IN WHICH IT IS DIRECTLY OR
    INDIRECTLY USED NOR THE USE OF OTHER OF THE SERVICES INFRINGES THE LEGAL
    RIGHTS OF A THIRD PARTY OR WILL OTHERWISE SUBJECT US TO A LEGAL CLAIM. THE
    SERVICES ARE INTENDED FOR USE BY PERSONS WHO ARE AT LEAST EIGHTEEN (18)
    YEARS OLD AND BY USING THE SERVICES, YOU REPRESENT AND WARRANT THAT YOU
    ARE AT LEAST EIGHTEEN (18) YEARS OLD AND ALL INFORMATION PROVIDED BY YOU IN
    CONNECTION WITH YOUR PROCUREMENT OF THE SERVICES IS ACCURATE. ALL
    SERVICES ARE PROVIDED TO YOU "AS IS" AND WITH ALL FAULTS. EXCEPT FOR OUR
    STATEMENT REGARDING OUR ACCREDITATION AS ICANN-APPROVED DOMAIN NAME
    REGISTRARS, WE MAKE NO REPRESENTATIONS OR WARRANTIES OF ANY KIND
    WHATSOEVER, EXPRESS OR IMPLIED, IN CONNECTION WITH THIS AGREEMENT OR THE
    SERVICES, INCLUDING BUT NOT LIMITED TO WARRANTIES OF MERCHANTABILITY OR
    FITNESS FOR A PARTICULAR PURPOSE, UNLESS SUCH REPRESENTATIONS AND
    WARRANTIES ARE NOT LEGALLY EXCLUDABLE. WITHOUT ANY LIMITATION TO THE
    FOREGOING, WE MAKE NO REPRESENTATIONS OR WARRANTIES OF ANY KIND
    WHATSOEVER THAT REGISTRATION OR USE OF A DOMAIN NAME UNDER THIS
    AGREEMENT WILL IMMUNIZE YOU EITHER FROM CHALLENGES TO YOUR DOMAIN NAME
    REGISTRATION, OR FROM SUSPENSION, CANCELLATION OR TRANSFER OF THE DOMAIN
    NAME REGISTERED TO YOU. ANY MATERIAL AND/OR DATA DOWNLOADED OR
    OTHERWISE OBTAINED THROUGH THE USE OF OUR E-MAIL FORWARDING OR OTHER
    EMAIL SERVICE IS DONE AT YOUR OWN DISCRETION AND RISK AND YOU WILL BE
    SOLELY RESPONSIBLE FOR ANY DAMAGE TO YOUR COMPUTER SYSTEM OR LOSS OF
    DATA THAT RESULTS FROM THE DOWNLOAD OF SUCH MATERIAL AND/OR DATA. WE
    MAKE NO WARRANTY REGARDING ANY GOODS OR SERVICES PURCHASED OR
    OBTAINED THROUGH OUR E-MAIL SERVICES OR ANY TRANSACTIONS ENTERED INTO
    THROUGH OUR E-MAIL SERVICES. NO ADVICE OR INFORMATION, WHETHER ORAL OR
    WRITTEN, OBTAINED BY YOU FROM US SHALL CREATE ANY WARRANTY NOT
    EXPRESSLY MADE HEREIN. SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF
    CERTAIN WARRANTIES, SO SOME OF THE ABOVE EXCLUSIONS MAY NOT APPLY TO YOU.

17. DISPUTE RESOLUTION POLICY: You are bound by all ICANN consensus policies and all policies
    of any relevant registry, including but not limited to: (i) the Uniform Domain Name Dispute Resolution
    Policy ("UDRP"), which is available at http://www.icann.org/udrp/udrp-rules-
    24oct99.htm andhttp://www.icann.org/dndr/udrp/policy.htm along with the UDRP Rules and all
    Supplemental Rules of any UDRP provider; and (ii) the Uniform Rapid Suspension System ("URS"),
    which is available at http://newgtlds.icann.org/en/applicants/urs, along with the URS Rules and all
    Supplemental Rules of any URS provider. The UDRP and URS may be changed by ICANN (or
    ICANN's successor) at any time. If the registration or reservation of your domain name is challenged
    by a third party, you will be subject to the provisions specified in the UDRP and URS in effect at the
    time your domain name registration is disputed by the third party. In the event a domain name dispute
    arises with any third party, you will indemnify and hold us harmless pursuant to the terms and
    conditions of the UDRP and URS. If you or your domain name is the subject of litigation, we may
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    deposit control of your domain name record into the registry of the judicial body by providing a party
    with a registrar certificate.

18. GOVERNING LAW AND JURISDICTION FOR DISPUTES:

        a. Except as otherwise set forth in the UDRP, URS, or any similar ccTLD policy, with respect to
           any dispute over a domain name registration, this Agreement, your rights and obligations and
           all actions contemplated by this Agreement shall be governed by the laws of the United
           States of America and the State of Washington, as if the Agreement was a contract wholly
           entered into and wholly performed within the State of Washington.

        b. Any dispute, claim or controversy arising out of or relating to this Agreement or the breach,
           termination, enforcement, interpretation or validity thereof, including the determination of the
           scope or applicability of the agreement to arbitrate, shall be determined by arbitration in King
           County, Washington, before one arbitrator. The arbitration shall be administered by JAMS
           pursuant to its Comprehensive Arbitration Rules and Procedures. Judgment on the Award
           may be entered in any court having jurisdiction. This clause shall not preclude parties from
           seeking provisional remedies in aid of arbitration from a court of appropriate jurisdiction.
           Service of process on you by us in relation to any dispute arising under this Agreement may
           be served upon you by first class mail to the address listed by you in your Account and/or
           domain name WHOIS information or by electronically transmitting a true copy of the papers
           to the email address listed by you in your Account and/or domain name WHOIS information.

        c. Notwithstanding the foregoing, for the adjudication of third party disputes (i.e., disputes
           between you and another party, not us) concerning or arising from use of domain names
           registered hereunder, you shall submit without objection, without prejudice to other potentially
           applicable jurisdictions, to the subject matter and personal jurisdiction of the courts (i) of the
           domicile of the registrant as it appears in the public WHOIS record for the domain name(s) in
           controversy, and (ii) where we are located, currently those State or federal courts whose
           geographic districts include Bellevue, Washington.

19. NOTICES: Any notices required to be given under this Agreement by us to you will be deemed to
    have been given if delivered in accordance with the Account and/or domain name WHOIS
    information you have provided.

20. ADDITIONAL REGISTRY REQUIREMENTS. Some registries have additional contractual
    requirements that you agree to by registering domain names from those registries. You are
    responsible for reviewing any terms and conditions applicable to or provided by such registries.

21. GENERAL: The parties hereby incorporate the requirements of 41 CFR 60-1.4(a), 300.5(a) and
    741.5, if applicable. This Agreement and all applicable ICANN policies and the policies of any relevant
    registry, including but not limited to the UDRP and URS, together with all modifications, constitute the
    complete and exclusive agreement between you and us, and supersede and govern all prior
    proposals, agreements, or other communications. Nothing contained in this Agreement shall be
    construed as creating any agency, partnership, or other form of joint enterprise between the parties.
    The failure of us to require your performance of any provision hereof shall not affect the full right to
    require such performance at any time thereafter; nor shall the waiver by us of a breach of any
    provision hereof be taken or held to be a waiver of the provision itself. In the event that any provision
    of this Agreement shall be unenforceable or invalid under any applicable law or be so held by
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        applicable court decision, such unenforceability or invalidity shall not render this Agreement
        unenforceable or invalid as a whole. We will amend or replace such provision with one that is valid
        and enforceable and which achieves, to the extent possible, our original objectives and intent as
        reflected in the original provision. This Agreement may not be amended or modified by you except by
        means of a written document signed by both you and an authorized representative of us. The parties
        hereby incorporate the requirements of 41 CFR 60-1.4(a), 300.5(a) and 741.5, if applicable.

THE FOLLOWING REGISTRARS ARE REFERENCED IN THIS DOCUMENT:

Afterdark Domains, Incorporated     eNom431, Incorporated     eNom1037, Incorporated
Arab Internet Names, Incorporated   eNom433, Incorporated     eNom1038, Incorporated
AsiaDomains, Incorporated           eNom435, Incorporated     eNOM625, INC.
Big House Services, Inc.            eNom437, Incorporated     eNomAu, Inc.
Blisternet, Incorporated            eNom439, Incorporated     eNombre Corporation
Dagnabit, Incorporated              eNom441, Incorporated     eNomEU, Inc.
Domain Rouge, Inc.                  eNom443, Incorporated     eNomfor, Inc.
Domainnovations, Incorporated       eNom445, Incorporated     eNom GMP Services, Inc.
Dropoutlet, Incorporated            eNom447, Incorporated     eNomMX, Inc.
eNom, Incorporated                  eNom449, Incorporated     eNomnz, Inc.
eNom Corporate, Inc.                eNom451, Incorporated     eNomsky, Inc
eNom1, Incorporated                 eNom453, Incorporated     eNomTen, Inc.
eNom2, Incorporated                 eNom455, Incorporated     eNomToo, Inc.
eNom3, Incorporated                 eNom457, Incorporated     eNomV, Inc.
eNom4, Incorporated                 eNom459, Incorporated     eNomWorld, Inc.
eNom5, Incorporated                 eNom461, Incorporated     eNomX, Inc.
eNom371, Incorporated               eNom463, Incorporated     Entertainment Names, Incorporated
eNom373, Incorporated               eNom465, Incorporated     Extra Threads Corporation
eNom375, Incorporated               eNom467, Incorporated     FeNomINAL, Inc.
eNom377, Incorporated               eNom469, Incorporated     Fushi Tarazu, Incorporated
eNom379, Incorporated               eNom623, Incorporated     Gunga Galunga, Incorporated
eNom381, Incorporated               eNom635, Incorporated     Indirection Identity Corporation
eNom383, Incorporated               eNom646, Incorporated     Internet Internal Affairs Corporation
eNom385, Incorporated               eNom647, Incorporated     Kingdomains, Incorporated
eNom387, Incorporated               eNom650, Incorporated     Mark Barker Incorporated
eNom389, Incorporated               eNom652, Incorporated     Mobile Name Services, Incorporated
eNom391, Incorporated               eNom654, Incorporated     Name Nelly Corporation
eNom393, Incorporated               eNom655, Incorporated     Name Thread Corporation
eNom395, Incorporated               eNom656, Incorporated     Nerd Names Corporation
eNom397, Incorporated               eNom659, Incorporated     Nom Infinitum, Inc
eNom399, Incorporated               eNom661, Incorporated     One Putt, Inc
eNom403, Incorporated               eNom662, Incorporated     Postal Domains, Incorporated
eNom405, Incorporated               eNom663, Incorporated     Private Domains, Incorporated
eNom407, Incorporated               eNom666, Incorporated     Retail Domains, Inc.
eNom409, Incorporated               eNom672, Incorporated     SBSNames, Incorporated
eNom411, Incorporated               eNom1008, Incorporated    Searchnresq, Inc.
eNom413, Incorporated               eNom1009, Incorporated    SicherRegister, Incorporated
eNom415, Incorporated               eNom1010, Incorporated    Sipence, Incorporated
eNom417, Incorporated               eNom1012, Incorporated    Small Business names and Certs, Incorporated
eNom419, Incorporated               eNom1013, Incorporated    SssassS, Incorporated
eNom421, Incorporated               eNom1014, Incorporated    Traffic Names, Incorporated
eNom423, Incorporated               eNom1033, Incorporated    Travel Domains, Incorporated
eNom425, Incorporated               eNom1034, Incorporated    Vedacore.com, Inc
eNom427, Incorporated               eNom1035, Incorporated    Whiteglove Domains, Incorporated
eNom429, Incorporated               eNom1036, Incorporated
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  SUPPORT             SIGN IN           SIGN UP




                                                                  Legal
                                         Everything you must know in one place




    Legal → Domains → Domain Registration Agreement




    Registration Agreement

    Namecheap, Inc. Registration Agreement
    This Registration Agreement ("Agreement") sets forth the terms and conditions of your use of
    domain name registration and related services ("Services"). In this Agreement "you" and "your"
    refer to you or any agent, employee, servant or person authorized to act on your behalf, and
    the registrant listed in the WHOIS contact information for the domain name. "We", "us" and
    "our" refer to Namecheap, Inc., as well as its subsidiaries and sister companies (“Namecheap”).
    This Agreement explains our obligations to you, and explains your obligations to us for
    various services offered by Namecheap. When you use your account or permit someone else
    to use it to purchase or otherwise acquire access to additional Namecheap service(s) or
    products or to cancel your Namecheap service(s) (even if we were not notified of such
    authorization), this Agreement covers such service or actions.


    1. You agree to this agreement and the referenced
    agreements
    By using the service(s) provided by Namecheap under this Agreement, you acknowledge that
    you have read and agree to be bound by all terms and conditions of this Agreement, the
    accompanying dispute policy and any pertinent rules or policies that are or may be published
    by Namecheap, the Uniform Dispute Resolution Policy (“UDRP”) described below, and the
    rules, policies, or agreements published in association with specific of the Service(s) and/or
    which may be enforced by Internet Corporation of Assigned Names and Numbers (“ICANN”),
    the registries, and governments.

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       If you are registering a domain name in the following registries: .AU, .BZ, .CA, .CC, .CH,
       .CM, .CN, .CO, .DE, .ES, .EU, .FR, .LI, .IN, .IO, .ME, .NU, .PE, .SG, .TV, .UK, .US, .WS, you are
       also agreeing to the additional terms and requirements promulgated by and pertaining to
       each such registry, as set out in the Supplemental Agreement and the specific agreements
       and/or covenants referenced therein and incorporated into this Agreement.
       If you are enrolling in the WhoisGuard™ privacy protection services, you also agree to the
       WhoisGuard™ Service Agreement.
       If you are ordering an SSL certificate, you also agree to the SSL Service Agreement.

       If you are enrolling in the Namecheap Affiliate Program, you also agree to the Affiliate
       Program Service Agreement.


    2. Changes to agreement
    This Agreement will change over time in response to changes in the requirements of
    governments and administrative bodies, legislation and changes in the nature of industry. If,
    as a result of such a change to this Agreement, you no longer agree with its term, you agree
    that your exclusive remedy is to transfer your domain name registration services to another
    registrar or request Namecheap to cancel your domain name registration and/or related
    Services. Should you elect to cancel the Agreement with Namecheap, you will not receive a
    refund for any fees you may have paid to Namecheap. If you continue to use the Services
    following a change in this Agreement and/or the Services, your continued use of the Services
    indicates your consent to the changes. Any such revision or change will be binding and
    effective within 30 calendar days of the date on which the revised Agreement or change to
    the terms of the Service(s) is posted to the website of Namecheap or 15 calendar days after
    notification of the change in terms is sent to the e-mail address provided by you in
    association with your domain name registration. You agree to review this Agreement
    periodically to make yourself aware of any such revisions.


    3. Term
    The term of this Agreement shall continue in full force and effect as long as you have any
    domain name registered through Namecheap or as long as you are employing any Service(s).
    You agree that you will not transfer any domain name registered through Namecheap to
    another domain name registrar during the first sixty (60) calendar days from its initial
    registration date.


    4. Service(s) provided at will and termination of service(s)
    We may reject your domain name registration application or elect to discontinue providing
    Service(s) to you for any reason within 30 days of a Service initiation or a Service renewal.
    Outside of this period, we may terminate or suspend the Service(s) at any time for cause,
    which, without limitation, includes registration of prohibited domain name(s), abuse of the
    Services, payment irregularities, material allegations of illegal conduct, or if your use of the
    Services involves us in a violation of any Internet Service Provider's ("ISP's") acceptable use
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    policies, including the transmission of unsolicited bulk email. You agree that if we terminate
    or suspend the Services provided to you under this Agreement, that we may then, at our
    option, make either ourselves or a third party the beneficiary of Services which are
    substantially similar to those which were previously providing to you and that any reference
    in this Agreement to termination or suspension of the Services to you includes this option. If
    we have grounds to terminate or suspend Service(s) with respect to one domain name or in
    relation to other Service(s) provided through your account, we may terminate or suspend all
    Service(s) provided through your account, including Service(s) to other domain names
    maintained by you with us. No fee refund will be made when there is a suspension or
    termination of Service(s) for cause. At any time and for any reason, we may terminate the
    Services thirty (30) days after we send notice of termination via mail or email, at our option,
    to the WHOIS contact information provided in association with your domain name
    registration. Following notice of termination other than for cause, you must transfer your
    domain name or risk that we may delete your domain name or suspend or modify Services to
    it. If we terminate Services for a reason other than cause, we will attempt to refund your fees.
    You further acknowledge and agree that your registration of a domain name is subject to
    suspension, cancellation or transfer by any ICANN procedure, by any registrar or registry
    administrator procedures approved by an ICANN-adopted policy, to correct mistakes by us,
    another registrar or the registry administrator in administering the domain name or for the
    resolution of disputes concerning the domain name. You agree that your failure to comply
    completely with the terms and conditions of this agreement and any Namecheap rule or
    policy may be considered by Namecheap to be a material breach of this agreement and that
    Namecheap may provide you with notice of such breach either in writing or electronically
    (i.e. email). In the event you do not provide Namecheap with material evidence that you have
    not breached your obligations to Namecheap within ten (10) business days, Namecheap may
    terminate its relationship with you and take any remedial action available to Namecheap
    under the applicable laws. Such remedial action may be implemented without notice to you
    and may include, but is not limited to, canceling the registration of any of your domain
    names and discontinuing any services provided by Namecheap to you.


    5. Our Services
       Domain name registration. We are an accredited registrar with the Internet Corporation
       for Assigned Names and Numbers ("ICANN") for Top Level Domain Names ("TLDs") (such as
       .com, .net, .org, etc.). ICANN oversees registrations and other aspects of the TLDs. Domain
       name registrations are not effective until the registry administrator puts them into effect.
       Domain name registrations are only for limited terms, terms which end on the expiration
       date. For domain names which are created as a new registration out of the available
       namespace, the term begins on the date the domain name registration is acknowledged by
       the applicable registry; for domain names registrations which were not returned to the
       available namespace, the term begins on the date the previous registrant's domain name
       registration was acknowledged by the applicable registry. You agree that we are not liable
       or responsible in any way for any errors, omissions or any other actions by the registry
       administrator arising out of or related to a request to register, renew, modify the settings
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       for, or transfer of a domain name registration (our limitation of liability is explained further,
       below). You further agree that domain name registration is a service, that domain name
       registrations do not exist independently from services provided pursuant to this or a similar
       registration agreement with a registrar, and that domain name registration services do not
       create a property interest.
       After market domain names. We offer for sale domain names that are registered to third
       parties (also known as aftermarket domain names) in a variety of top level domain names
       ("TLDs") ("After Market Domain Name(s)"). All After Market Domain Name registrations are
       offered on a first come, first served basis. If you are the first to complete an After Market
       Domain Name registration application for a particular domain name, including payment of
       the purchase price we designate, we will initiate a transfer of the relevant After Market
       Domain Name to your Account. If the After Market Domain Name is at another domain
       registrar at the time of your purchase, we will transfer your purchased After Market Domain
       Name to us at no cost to you and will add one year to the existing registration period. Any
       subsequent renewals of the After Market Domain Name will be charged at the then-current
       renewal fee. Once you submit your order for an After Market Domain Name, you have
       entered into a valid, binding and enforceable contract to pay the designated purchase price
       for the After Market Domain Name. Because we are selling After Market Domain Names
       initially registered to third parties, we have no control and make no representations
       regarding the accuracy or legality of domain names advertised, the accuracy or legality of
       any domain name listing, or the right and the ability of the third party seller to transfer the
       After Market Domain Name or complete the transaction. We do not control whether or not
       third party sellers will complete a transaction. We reserve the right to reject or cancel your
       After Market Domain Name registration for any reason including, but not limited to, any
       pricing errors. In the event your After Market Domain Name registration is rejected or
       cancelled by us, for any reason, we will refund in full the amount of the purchase price for
       the After Market Domain Name as your sole remedy.
       Once the After Market Domain Name is transferred into your Account, such After Market
       Domain Name may not be transferred away from us to another registrar during the first 60
       days following the transfer, during which time the After Market Domain Name may be
       placed on transfer lock. All of your obligations under this Agreement which apply to the
       registration or renewal of domain name(s) created by you apply to any After Market
       Domain Name(s) acquired by you, including but not limited to prohibition against any
       Illegal Uses.


    6. Agreement not to use "services" for improper purpose
    You agree not to use the Services provided by Namecheap, or to allow or enable others, to
    use the services provided by Namecheap for the purposes of: 1) the transmission of
    unsolicited email (Spam); or 2) repetitive, high volume inquires into any of the services
    provided by Namecheap (i.e. domain name availability, etc.). Further, if you are hosting your
    domain's domain name servers ("DNS") on Namecheap’s servers, or are using our systems to
    forward a domain, URL, or otherwise to a system or site hosted elsewhere, or if you have

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    your domain name registered with Namecheap, you are responsible for ensuring that there is
    no excessive overloading of Namecheap’s DNS systems. You may not use Namecheap’s
    servers and your domain as a source, intermediary, reply to address, or destination address
    for mail bombs, Internet packet flooding, packet corruption, or other abusive attack. Server
    hacking or other perpetration of security breaches is prohibited. You agree that Namecheap
    reserves the right to deactivate your domain name from its DNS system if Namecheap deems
    it is the recipient of activities caused by your site that threaten the stability of its network.

    You agree that Namecheap, in its sole discretion and without liability to you, may refuse to
    accept the registration of any domain name. Namecheap also may in its sole discretion and
    without liability to you delete the registration of any domain name during the first five (5) days
    after registration has taken place.


    7. Your obligations to ensure entitlement to use domain name
    Without limitation, the following are not included in the Services: We cannot and do not
    check to see whether the domain name(s) you select, or the use you make of the domain
    name(s), or other of the Service(s), infringes legal rights of others. It is your responsibility to
    know whether or not the domain name(s) you select or use infringes legal rights of others.
    We might be ordered by a court to cancel, modify, or transfer your domain name; it is your
    responsibility to list accurate contact information in association with your account and to
    communicate with litigants, potential litigants, and governmental authorities. It is not our
    responsibility to forward court orders or other communications to you. We will comply with
    court orders unless you contact us to contest the order.


    8. Threatened legal action(s)
    If we are sued or threatened with a lawsuit, an administrative proceeding or any other legal or
    administrative proceeding in connection with Service(s) provided to you, we may turn to you
    to indemnify us and to hold us harmless from the claims and expenses (including attorney's
    fees and court costs). Under such circumstances, you agree that you will, upon demand,
    obtain a performance bond with a reputable bonding company or, if you are unable to obtain
    a performance bond, that you will deposit money with us to pay for our reasonably
    anticipated expenses in relation to the matter for the coming year. Such deposit will be
    drawn down as expenses are incurred, with all account notices sent to the WHOIS contact
    information provided in association with your domain names and/or account. We shall not be
    obliged to extend you any credit in relation to such expenses and we may terminate the
    Services for a failure to make or renew such a deposit. We will return any unused deposit
    upon the later of three (3) months from deposit or the conclusion of the matter.


    9. Dispute resolution policy
    You agree to the Uniform Domain Name Dispute Resolution Policy ("UDRP"), a copy of which
    is available at http://www.icann.org/udrp/udrp-rules-24oct99.htm and
    http://www.icann.org/dndr/udrp/policy.htm. You agree that the UDRP may be changed by
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    ICANN (or ICANN's successor) at any time and that such a change will be binding upon you.
    You agree that, if the registration or reservation of your domain name is challenged by a third
    party, you will be subject to the provisions specified in the UDRP in effect at the time your
    domain name registration is disputed by the third party. You also agree that, in the event a
    domain name dispute arises with any third party, you will indemnify and hold us harmless
    pursuant to the terms and conditions of the UDRP. You also understand that it is important
    for you to regularly monitor email sent to the email address associated with your account
    and domain names because, among other reasons, if a dispute arises regarding Services
    provided to you, you may lose your rights to receive the Services if you do not respond
    expeditiously to an email sent in conjunction therewith.


    10. Fees and payments
    As consideration for the Service(s), renewal of the Service(s), and, if you select it, automatic
    renewal of the Service(s), you agree to pay, prior to the effectiveness of the desired Service(s),
    the applicable Service(s) fees. All fees are non-refundable, in whole or in part, even if your
    domain name registration is suspended, cancelled or transferred prior to the end of your then
    current registration term, unless this Agreement or the Namecheap Refund Policy specifically
    provides for a refund. You may pay for Services by providing a valid credit or debit card, an
    electronic check (from your personal or business checking account, as appropriate), PayPal,
    Bitcoin, Dwolla, or any other payment method then accepted by Namecheap (each, a
    “Payment Method”); provided, however, that we may at our option require that you pay fees
    through a particular payment means (such as by credit card or by wire transfer) or that you
    change from one payment provider to another. Namecheap expressly reserves the right to
    change or modify its prices and fees at any time, and such changes or modifications shall be
    posted online on the Namecheap website and effective immediately without need for further
    notice to you. If you have purchased the Service(s) for a period of months or years, changes
    or modifications in prices and fees shall be effective when the Service(s) in question come up
    for renewal as further described below. For our current fee structure, you may access the
    schedule of fees available on the Namecheap website: New Registration Fees Renewal Fees
    Post-Expiration Renewal Fees Redemption Fees In the event of a refund, Namecheap will
    issue you a refund receipt to confirm its submission of your refund to the Payment Method
    charged at the time of the original purchase. You acknowledge and agree that the associated
    payment provider and/or individual issuing bank establish and regulate the time frames for
    posting your refund. Refund posting time frames may range from five (5) business days to a
    full billing cycle. If Namecheap is for any reason unable to charge your chosen Payment
    Method for the full amount owed for the Services provided, or if Namecheap is charged a
    penalty for any fee previously charged to your Payment Method, you agree that Namecheap
    may pursue all available lawful remedies in order to obtain payment. You agree that the
    remedies Namecheap may pursue in order to effect payment shall include, but not be limited
    to, suspension of Services, cancellation of domain names registered through our Services,
    and/or suspension of access to any and all accounts you have with us and/or your Primary
    Service Provider; and that all rights to and interest in and use of any domain name
    registration(s) services, website hosting, and/or email services, including all data hosted on
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    our systems shall be assumed by us in satisfaction of any indebtedness by you to us. We will
    reinstate your rights to and control over these Services solely at our discretion, and subject to
    our receipt of the unpaid fee(s) and our reinstatement fee, currently set at $200 (US Dollars).
    Charges for the Service(s) will be billed to your chosen Payment Method as charges for
    “NAME-CHEAP.COM.” Namecheap also reserves the right to charge you reasonable
    “administrative fees” or “processing fees” for (i) tasks Namecheap may perform outside the
    normal scope of its Services, (ii) additional time and/or costs Namecheap may incur in
    providing its Services, and/or (iii) your noncompliance with this Agreement (as determined by
    Namecheap in its sole and absolute discretion). Typical scenarios include, but are not limited
    to, customer service issues that require additional personal time or attention, fees incurred by
    third-party payment providers such as PayPal, Dwolla or Alipay, fees incurred as the result of
    chargebacks or other payment disputes brought by you, your bank, or a Payment Method
    processor, and disputes that require accounting or legal services. These administrative fees or
    processing fees will be billed to the Payment Method you have on file with Namecheap.


    11. Payment
    In the event of a charge back by a credit card company (or similar action by another payment
    provider allowed by us) in connection with your payment of fees for any Service(s), you agree
    that we may suspend access to any and all accounts you have with us and/or your Primary
    Service Provider and that all rights to and interest in and use of any domain name
    registration(s) services, website hosting, and/or email services, including all data hosted on
    our systems shall be assumed by us in satisfaction of any indebtedness by you to us. We will
    reinstate your rights to and control over these Services solely at our discretion, and subject to
    our receipt of the unpaid fee(s) and our reinstatement fee, currently set at $200 (US Dollars).
    Charges for the Service(s) which use our credit card payment processor will be identified on
    your credit card statement as "NAME-CHEAP.COM".


    12. Expiration and renewal of service(s) and notifications of
    expiration
    You acknowledge that it is your responsibility to keep your own records and to maintain your
    own reminders regarding when your domain name registration or other Services are set to
    expire. However, ICANN requires, pursuant to its Expired Registration Recovery Policy
    (“ERRP”) that Namecheap follow certain procedures to notify you in advance that renewal
    fees are due. Pursuant to the ERRP, Namecheap will notify the registered name holder of the
    expiring domain name twice before the expiration date, once approximately one month
    before the subject domain’s expiration date and again approximately one week before the
    subject domain’s expiration date. Namecheap’s renewal reminder will consist of an email
    message sent to the registered domain holder’s email address as it is listed in the expiring
    domain’s whois record. Further, Namecheap reserves the option, but not the obligation, to
    send additional renewal reminder notices to any other email addresses associated with the
    expiring domain, including, but not limited to, the email address of the expiring domain’s
    account holder or the billing contact of the expiring domain’s whois record. Namecheap also
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    reserves the option, but not the obligation, to send additional renewal reminders at times
    other than the times required by the ERRP.

    Should these fees go unpaid, your Services will expire or be cancelled. Payment must be
    made by credit card or such other method as we may allow or require from time to time. If
    you select automatic renewal of the Service(s), we may attempt to renew the Service(s) a
    reasonable time before expiration, provided you have sufficient balance in your Namecheap
    account and up to date. You acknowledge and agree that, while we are not required to, we
    may contact you with a request to update your account information in the event that an
    attempted transaction is not processed successfully.


    You acknowledge that it is your responsibility to keep your billing information up to date. You
    acknowledge and understand that, as part of its management of user registrations,
    Namecheap sends out periodic notices to registrants apprising them of payment deadlines,
    pending expiration deadlines and other important information affecting your account and,
    specifically, registration of domain names.

    Specifically, any notifications regarding domain registrations, including but not limited to
    notifications consisting of pre-expiration and post-expiration notifications concerning your
    registered domains will be sent to you pursuant to ICANN’s policies, including, but not limited
    to, the ERRP. Where appropriate, Namecheap will send such notices to the e-mail address of
    the subject domain’s registered domain holder, the e-mail address you provided as your
    contact information in connection with your account associated with the subject domain,
    and/or any other email address that Namecheap determines, in its sole discretion, to be
    sufficiently related to the subject domain to warrant notice.

    You therefore acknowledge and agree that it is your responsibility to provide and maintain
    accurate account information and domain name whois information, as more fully addressed
    in Paragraph 13 below, so that Namecheap may provide you with important notices
    regarding your account.


    13. Accurate account contact information and domain name
    whois information
    As further consideration for the Service(s), you agree to provide certain current, complete
    and accurate information about you, both with respect to your account information and with
    respect to the WHOIS information for your domain name(s). You agree to maintain and
    update this information as needed to keep it current, complete and accurate. With respect to
    you, the administrative, technical, and billing contacts for your domain name registration(s)
    and other Service(s), you must submit the following: name, postal address, e-mail address,
    voice telephone number, and, if available, fax number. You agree that the type of information
    you are required to provide may change and you understand that, if you do not provide the
    newly required information, your registration or and/or other Service(s) may be suspended or

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    terminated or may not be renewed. In the event the lack of accurate/current contact
    information results in the loss, cancellation or transfer of the domain name(s) associated with
    your account, you agree that you shall not hold Namecheap liable for any such loss or any
    damages associated with the loss. Not providing requested information may prevent you
    from obtaining all Service(s). You may provide information regarding the name-servers
    assigned to your domain name(s) and, if we are providing name-server services to you, the
    DNS settings for the domain name.

    You agree to notify Namecheap within five (5) business days when any of the information you
    provided as part of the application and/or registration process changes. It is your
    responsibility to keep this information in a current and accurate status. Failure by you, for
    whatever reason, to provide Namecheap with accurate and reliable information on an initial
    and continual basis, shall be considered to be a material breach of this Agreement. Failure by
    you, for whatever reason, to respond within five (5) business days to any inquiries made by
    Namecheap to determine the validity of information provided by you, shall also be
    considered to be a material breach of this agreement. You agree to retain a copy for your
    record of the receipt for purchase of your domain name or Services.


    You acknowledge and agree that domain name registration requires that this contact
    information, in whole or in part, be shared with the registry operator. As required by ICANN,
    this information must also be made publicly available by means of Whois, and that the
    registry operator may also be required to make this information publicly available by Whois.
    Both Namecheap and the registry operator may be required to archive this information with a
    third party escrow service. You hereby consent and give permission for all such requirements
    and disclosures. Further, you represent and warrant that, if you are providing information
    about a third party, you have notified the third party of the disclosure and the purpose for the
    disclosure and you have obtained the third party's consent to such disclosure.


    14. Obligations and representations relating to the account
    and whois contact information
    In the event that, in registering a domain name or obtaining other Service(s), you provide
    information about or on behalf of a third party, you represent that you have (a) provided
    notice to that third party of the disclosure and use of that party's information as set forth in
    this Agreement, and (b) that you have obtained the third party's express consent to the
    disclosure and use of that party's information as set forth in this Agreement. Further, when
    registering a domain name on behalf of a third party, you agree to inform any customer of
    yours, who may be acquiring a domain name through you using Namecheap's registration
    services, that they are in fact registering their domain name through Namecheap and that
    Namecheap or its provider is an accredited registrar with ICANN. You agree not to represent
    that you are an ICANN accredited registrar or that you are in any way providing superior
    access to the ICANN Domain Name Registry. You also agree not to use the ICANN trademark
    logo in any of your promotional materials including your web site. By registering a domain

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    name or applying for other Service(s) you also represent that the statements in your
    application are true and you also represent that the domain name is not being registered or
    the Services being procured for any unlawful purpose. You acknowledge that providing
    inaccurate information or failing to update information promptly will constitute a material
    breach of this Agreement and will be sufficient basis for suspension or termination of Services
    to you. As indicated elsewhere in this Agreement, you understand that it is important for you
    to regularly monitor email sent to the email address associated with your account and
    WHOIS contact information because, among other reasons, if a dispute arises regarding a
    domain name(s) or other Service(s), you may lose your rights to the domain name(s) or your
    right to receive the Service(s) if you do not respond appropriately to an email sent in
    conjunction therewith.


    15. Account Security
    Please safeguard your account access credentials (including but not limited to your customer
    username/login, support pin code, password) from any unauthorized use. You agree that any
    person in possession of your account login identifier and password will have the ability and
    your authorization to modify your account and domain name information. We will take
    reasonable precautions to protect the information we obtain from you from loss, misuse,
    unauthorized access or disclosure, alteration or destruction of that information and that such
    reasonable precautions include procedures for releasing account access information to
    parties who claim to have lost account access information. You agree that, if we take
    reasonable precautions in relation thereto, that IN NO EVENT SHALL WE BE LIABLE IF SUCH
    REASONABLE PRECAUTIONS DO NOT PREVENT THE UNAUTHORIZED USE OR MISUSE OF
    YOUR ACCOUNT IDENTIFIER OR PASSWORD AND THAT, EVEN IF WE FAIL TO TAKE
    REASONABLE PRECAUTIONS, THAT OUR LIABILITY UNDER ANY CIRCUMSTANCES SHALL BE
    LIMITED BY THE LIMITATION OF LIABILITY PROVISION FOUND BELOW IN THIS
    AGREEMENT. If you contact us alleging that a third party has unauthorized access to your
    account or domain names, you agree that we may charge you administrative fees of $50 (US
    dollars) per hour for our time spent in relation to the matter, regardless of whether or not we
    return control over the account and/or domain names to you.


    16. Transfers of domain names
    You agree that transfer of your domain name(s) services shall be governed by ICANN's
    transfer policy, available at http://www.icann.org/transfers/, as this policy may be modified
    from time to time. You agree that we may place a "Registrar Lock" on your domain name
    services and that this will prevent your domain name services from being transferred without
    your authorization, though we are not required to do so. By allowing your domain name
    services to remain locked, you provide express objection to any and all transfer requests until
    the lock is removed. To transfer your domain name(s) you should first login to your account
    to lock or unlock your domain name(s) and/or to obtain the EPP "AuthCode" which is
    required to transfer domain services in an EPP registry (such as .org). Only the registrant and
    the administrative contacts listed in the WHOIS information may approve or deny a transfer

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    request. Without limitation, domain name services may not be transferred within 60 calendar
    days of initial registration, within 60 calendar days of a transfer, if there is a dispute regarding
    the identity of the domain name registrant, if you are bankrupt, or if you fail to pay fees when
    due. Transfer requests typically take five business days to be processed. A transfer will not be
    processed if, during this time, the domain name registration services expire in which event
    you may need to reinstate the transfer request. You may be required to resubmit a transfer
    request if there is a communication failure. AS A CONSEQUENCE, YOU ACKNOWLEDGE
    THAT YOU ASSUME ALL RISK FOR FAILURE OF A TRANSFER IF THE TRANSFER PROCESS IS
    INITIATED CLOSE TO THE END OF A REGISTRATION TERM.


    17. Privacy Policy
    You agree and consent that we will make available the domain name registration information
    you provide or that we otherwise maintain to the following parties: ICANN, the registry
    administrator(s), and to other third parties as ICANN and applicable laws may require or
    permit (including through web-based and other on-line WHOIS lookup systems), whether
    during or after the term of your domain name registration services of the domain name. You
    hereby irrevocably waive any and all claims and causes of action you may have arising from
    such disclosure or use of such information. Additionally, you acknowledge that ICANN may
    establish or modify the guidelines, limits and/or requirements that relate to the amount and
    type of information that we may or must make available to the public or to private entities,
    and the manner in which such information is made available. Information regarding ICANN's
    guidelines and requirements regarding WHOIS can be found at
    http://www.icann.org/registrars/wmrp.htm, http://www.icann.org/registrars/wdrp.htm, and
    elsewhere on the ICANN website at http://www.icann.org/index.html. You agree that we may
    make publicly available, or directly available to third parties, some, or all, of the information
    you provide, for purposes of inspection (such as through our WHOIS service) or for targeted
    marketing and other purposes as required or permitted by applicable laws. One of the ways
    that we may make some or all of the information you provide available to the public or third
    parties is by way of bulk WHOIS data access provided to third parties who enter into a bulk
    WHOIS data access agreement with us. We reserve the right to discontinue providing bulk
    WHOIS data access to third parties. You agree that, to the extent permitted by ICANN policies
    and regulations, Namecheap may make use of the publicly available information you
    provided during the registration process. If you engage in the reselling of domain names you
    agree to provide any individuals whose personal information you've obtained, information
    about the possible uses of their personal information pursuant to ICANN policy. You also
    agree to obtain consent, and evidence of consent, from those individuals for such use of the
    personal information they provide.


    18. Ownership of information and data
    You agree and acknowledge that we own all database, compilation, collective and similar
    rights, title and interests worldwide in our domain name database, and all information and
    derivative works generated from the domain name database. You further agree and

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    acknowledge that we own the following information for those registrations for which we are
    the registrar: (a) the original creation date of the registration, (b) the expiration date of the
    registration, (c) the name, postal address, e-mail address, voice telephone number, and
    where available fax number of all contacts for the domain name registration, (d) any remarks
    concerning the registered domain name that appear or should appear in the WHOIS or
    similar database, and (e) any other information we generate or obtain in connection with the
    provision of domain name registration services, other than the domain name being
    registered, the IP addresses of the primary nameserver and any secondary nameservers for
    the domain name, and the corresponding names of those nameservers. We do not have any
    ownership interest in your specific personal registration information outside of our rights in
    our domain name database.


    19. Agents
    You agree that, if you are registering a domain name for or on behalf of someone else, you
    represent that you have the authority to nonetheless bind that person as a principal to all
    terms and conditions provided herein. You agree that if you license the use of the domain
    name registered to you to a third party, you nonetheless remain the domain name holder of
    record, and remain responsible for all obligations under this Agreement, including but not
    limited to payment obligations, and providing (and updating, as necessary) both your own full
    and accurate contact information, and accurate technical, administrative, billing and zone
    contact information adequate to facilitate timely resolution of any problems that arise in
    connection with the domain name and domain name registration.


    20. Trademark or copyright claims
    Namecheap is a service provider and respects the copyrights, trademarks and other
    intellectual property rights of others. To the extent Namecheap receives a proper notice of
    infringement of copyright, trademark or other intellectual property, Namecheap reserves the
    right to access, preserve and disclose to third parties any of Your information or data
    (including personally identifiable information and private communications) related to a
    written complaint of infringement if Namecheap believes in its sole discretion that such
    access, preservation, or disclosure is necessary or useful to respond to or otherwise address
    such complaint.

    Namecheap expressly reserves the right to terminate in appropriate circumstances an
    account or the access rights of a subscriber for repeated copyright infringement. Namecheap
    also reserve the right to terminate an account or subscriber for even one instance of
    infringement.

    Proper notice of infringement shall include the following information in writing to
    Namecheap’s designated agent:




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       the electronic or physical signature of the rights holder or the person authorized to act on
       behalf of that person;
       identification of the work that has been infringed;
       an identification of the material that is claimed to be infringing, and information reasonably
       sufficient to permit Namecheap to locate the material (for example, by providing a URL to
       the material); or, if applicable, identification of the reference or link to material or activity
       claimed to be infringing, and information reasonably sufficient to permit Namecheap to
       locate that reference or link;
       Your name, address, telephone number, and email address;
       a statement by You that You have a good faith belief that the disputed use is not authorized
       by the rights holder, its agent, or the law; and
       a statement that the information in Your notification is accurate and a statement, made
       under penalty of perjury, that You are the rights holder or are authorized to act on the
       behalf of the rights holder.

    Namecheap's designated agent to receive notification of claimed infringement can be
    reached at Attn: Legal Department, Namecheap.com, 11400 W. Olympic Blvd., Suite 200, Los
    Angeles, CA 90064, USA, Facsimile: (310) 312-9513.


    21. Use of free services
    In consideration for providing additional optional Services for which we do not charge an
    additional fee, including, but not limited to, URL forwarding, email forwarding, free parking
    page, free website hosting, free email services, or other services which we may introduce
    from time to time but for which there is not a separate fee ("Free Services"), you agree that, if
    you use such Free Services, we may display advertising in conjunction therewith through the
    use of pop-up or pop-under browser windows, banner advertisements, audio or video
    streams, appendices to emails, or other similar advertising means, and that we may aggregate
    related usage data by means of cookies and other similar means. You agree that from time to
    time we may provide you with free or low-cost domain name(s) services ("Promotional
    Name(s)"). If we do so, the services for the Promotional Name(s) will be placed in the same
    account as your other domain name(s) and you will be listed as the registrant, though we
    may point the Promotional Name to IP address(es)of our choosing. If you want to assume
    control over the services provided to the Promotional Name, including the right to transfer or
    push the Promotional Name service to other registrars or other accounts or the ability to
    control the DNS settings for the Promotional Name, you must pay the promotional
    registration fee or renewal fee, if any, and agree to the terms of this Agreement with respect
    to such Promotional Name(s). If you do not want the Promotional Name services, you may
    request that you be removed as the registrant of such Promotional Names and we will be
    listed as the domain name registrant. Alternatively, you may contact us or your Primary
    Service Provider to request that we delete the Promotional Name from the namespace. For
    any domain name services, including these Promotional Names, for which you are listed as

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    registrant but for which you do not pay the registration or renewal fee, you agree that we
    may assign name-servers to the domain name and point the domain name to IP address(es)
    designated by us until the registration or renewal fee is paid.


    22. After expiration of the term of a domain name registration
    Immediately after the expiration of the term of domain name registration services and before
    deletion of the domain name in the applicable registry's database, you acknowledge that we
    may direct the domain name to name-servers and IP address(es) designated by us, including,
    without limitation, to no IP address or to IP address(es) which host a parking page or a
    commercial search engine that may display advertisements, and you acknowledge that we
    may either leave your WHOIS information intact or that we may change the contact
    information in the WHOIS output for the expired domain name so that you are no longer the
    listed registrant of the expired domain name.


    Reactivation Period Process. For a period of approximately 27 days after expiration of the
    term of domain name registration services, you acknowledge that we may provide a
    procedure by which expired domain name registration services may be renewed. You
    acknowledge and agree that we may, but are not obligated to, offer this process, called the
    "reactivation period." You acknowledge that you assume all risks and all consequences if you
    wait until close to or after the expiration of the original term of domain name registration
    services to attempt to renew the domain name registration services. You acknowledge that
    we, for any reason and in our sole discretion, may choose not to offer a reactivation period
    and that we shall not be liable therefore. You acknowledge that reactivation period renewal
    processes, if any, may involve additional fees which we and your Primary Service Provider
    may determine. You acknowledge and agree that we may make expired domain name
    services(s) available to third parties, that we may auction off the rights to expired domain
    name services (the auction beginning close to the end or after the end of the reactivation
    period), and/or that expired domain name registration services may be re-registered to any
    party at any time.

    After the reactivation period, you agree that we may either (i) discontinue the domain name
    registration services at any time thereafter, (ii) that we may pay the registry's registration fee
    or otherwise provide for the registration services to be continued, or, (iii) if we auctioned the
    domain name services to a third party, that we may transfer the domain name registration
    services to such third party.

    In the case of (i), above, you acknowledge that certain registry administrators may provide
    procedures by which discontinued domain name registration services may nonetheless be
    renewed. You acknowledge and agree that we may, but are not obligated to, participate in
    this process, typically called the "Redemption Grace Period" ("RGP"). You acknowledge that
    we, for any reason and in our sole discretion, may choose not to participate in the RGP
    process with respect to any or all of your domain name registration services and that we shall
    not be liable therefore. If available, RGP typically ends between 30 and 42 days after the end
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    of the reactivation period of the domain name services, as the reactivation period applied to
    you. The typical RGP fee is $200 plus any registration fees. You agree that we are not obliged
    to contact you to alert you that the domain name registration services are being
    discontinued.

    In the case of (ii), above, you acknowledge that we may then set the name-servers and the
    DNS settings for the domain name services, that we set the DNS to point to no IP address or
    to IP address(es) which host parking page(s) or a commercial search engine that may display
    paid advertisements, and you acknowledge that we may change the contact information in
    the WHOIS output for the expired domain name so that you are no longer the listed
    registrant of the expired domain name. You acknowledge that we do not have to pay you any
    of the proceeds, if any, we may earn as a result. You agree that we are not obliged to contact
    you to alert you that the domain name registration services are being continued. In this case,
    the domain name will be designated as being in the extended redemption grace period
    ("ERGP"), and you will be allowed to assume, during the first 120 days of the then extant
    registration term, complete management of the domain name services, including the right to
    control the DNS settings, provided that you pay a fee of $200 (US dollars) plus any
    registration fees. After the end of the 120-day period, if you do not exercise your rights under
    this provision, you agree that you have abandoned the domain name services, and relinquish
    all rights and use of the domain name services.

    In the case of (iii), above, the third party who won the auction for the domain name services
    will control the domain name services, including control over the WHOIS information and the
    DNS settings. You may recover the domain name registration services for a period of up to
    40 days after the end of the reactivation period, as such reactivation period applied to you.
    You agree that we are not obliged to contact you to alert you that the domain name
    registration services are or were auctioned. You acknowledge that we do not have to pay you
    any of the proceeds, if any, we may earn as a result of such an auction. To exercise your
    rights to recover auctioned domain name services, you must contact us and provide us with
    a certified letter addressed to "Expiration Recovery" and including documents setting forth
    your identity and address, which identity and address must be the same as that of the
    registrant as it was listed in the WHOIS information for the domain name services prior to
    expiration, a copy of a commonly accepted (in the United States) picture ID (such as a drivers
    license or passport) which supports your identity and address claim, a front and back
    photocopy of your credit card and you must a statement authorizing payment of the
    reinstatement fee to such credit card, which is $200 plus any registration fees. In doing so,
    you must provide us with sufficient time to allow us to receive and evaluate your documents
    and to contact the auction winner prior to the end of 30 days after the end of the reactivation
    period of the domain name services.


    23. LIMITATION OF LIABILITY
    YOU AGREE THAT WE WILL NOT BE LIABLE FOR ANY (1) SUSPENSION OR LOSS OF THE
    SERVICE(S), INCLUDING, WITHOUT LIMITATION, DOMAIN NAME REGISTRATION SERVICES,
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    (2) USE OF THE SERVICE(S), INCLUDING, WITHOUT LIMITATION DOMAIN NAME
    REGISTRATION SERVICES, (3) INTERRUPTION OF OUR SERVICES OR INTERRUPTION OF
    YOUR BUSINESS, (4) ACCESS DELAYS OR ACCESS INTERRUPTIONS TO OUR WEB SITE(S) OR
    SERVICE(S) OR DELAYS OR ACCESS INTERRUPTIONS YOU EXPERIENCE IN RELATION TO A
    DOMAIN NAME REGISTERED WITH US; (5) LOSS OR LIABILITY RESULTING FROM ACTS OF
    OR EVENTS BEYOND OUR CONTROL (6) DATA NON-DELIVERY, MIS-DELIVERY,
    CORRUPTION, DESTRUCTION OR OTHER MODIFICATION; (7) THE PROCESSING OF AN
    APPLICATION FOR A DOMAIN NAME REGISTRATION; (8) LOSS OR LIABILITY RESULTING
    FROM THE UNAUTHORIZED USE OR MISUSE OF YOUR ACCOUNT IDENTIFIER OR
    PASSWORD; OR (9) APPLICATION OF THE DISPUTE POLICY. YOU ALSO AGREE THAT WE
    WILL NOT BE LIABLE FOR ANY INDIRECT, SPECIAL, INCIDENTAL, OR CONSEQUENTIAL
    DAMAGES OF ANY KIND (INCLUDING LOST PROFITS) REGARDLESS OF THE FORM OF
    ACTION WHETHER IN CONTRACT, TORT (INCLUDING NEGLIGENCE), OR OTHERWISE,
    EVEN IF WE HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. IN NO EVENT
    SHALL OUR MAXIMUM AGGREGATE LIABILITY EXCEED THE TOTAL AMOUNT PAID BY YOU
    FOR REGISTRATION OF THE DOMAIN NAME. BECAUSE SOME STATES DO NOT ALLOW THE
    EXCLUSION OR LIMITATION OF LIABILITY FOR CONSEQUENTIAL OR INCIDENTAL
    DAMAGES, IN SUCH STATES, OUR AND/OR YOUR PRIMARY SERVICE PROVIDER'S LIABILITY
    SHALL BE LIMITED TO THE MAXIMUM EXTENT PERMITTED BY LAW.


    24. Indemnity and defense
    With respect to ICANN, the registry operators, and Namecheap, as well as the contractors,
    agents, employees, officers, directors, shareholders, and affiliates of such parties, you agree
    to defend, release, indemnify, and hold such parties harmless from all liabilities, claims and
    expenses, including attorney's fees and court costs, for third party claims relating to or arising
    under this Agreement, the Service(s) provided hereunder, or your use of the Service(s),
    including, without limitation, infringement by you, or by anyone else using the Service(s) we
    provide to you, of any intellectual property or other proprietary right of any person or entity,
    or from the violation of any of our operating rules or policies relating to the Service(s)
    provided. When we may be involved in a suit involving a third party and which is related to
    our Service(s) to you under this Agreement, we may seek written assurances from you in
    which you promise to defend, indemnify and hold us harmless from the costs and liabilities
    described in this paragraph. Such written assurances may include, in our sole discretion, the
    posting of a performance bond(s) or other guarantees reasonably calculated to guarantee
    payment. Your failure to provide such assurances may be considered by us to be a breach of
    this Agreement by you and may, in our sole discretion, result in loss of your right to control
    the disposition of domain name services for which you are the registrant and in relation to
    which we are the registrar of record. Moreover, should we be forced to defend ourselves in
    any action or legal proceeding in connection with any Service(s) provided to you, you shall
    have sole responsibility to defend us against any such claim by the legal counsel of our
    choosing. This indemnification is in addition to any indemnification required under the UDRP.
    The terms of this paragraph will survive any termination or cancellation of this Agreement.


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    25. Indemnification of registry operators
    You further agree to indemnify, defend and hold harmless all applicable registry
    administrator(s) (including Verisign Inc., Neulevel, Inc., Public Interest Registry, Afilias Limited,
    and other registry operators listed at http://www.icann.org/registries/listing.html) and all such
    parties' directors, officers, employees, and agents from and against any and all claims,
    damages, liabilities, costs, and expenses (including any direct, indirect, incidental, special or
    consequential damages and reasonable legal fees and expenses) arising out of, or related to,
    the domain name registration services you are obtaining from us.


    26. REPRESENTATIONS AND WARRANTIES
    YOU REPRESENT THAT, TO THE BEST OF YOUR KNOWLEDGE AND BELIEF, NEITHER THE
    REGISTRATION OF A DOMAIN NAME NOR THE MANNER IN WHICH IT IS DIRECTLY OR
    INDIRECTLY USED NOR THE USE OF OTHER OF THE SERVICE(S) INFRINGES THE LEGAL
    RIGHTS OF A THIRD PARTY. YOU FURTHER REPRESENT AND WARRANT THAT ALL
    INFORMATION PROVIDED BY YOU IN CONNECTION WITH YOUR PROCUREMENT OF THE
    SERVICE(S) IS ACCURATE. ALL SERVICE(S) ARE PROVIDED TO YOU "AS IS" AND WITH ALL
    FAULTS. EXCEPT FOR OUR STATEMENT REGARDING OUR ACCREDITATION AS ICANN-
    APPROVED DOMAIN NAME REGISTRAR, WE MAKE NO REPRESENTATIONS OR WARRANTIES
    OF ANY KIND WHATSOEVER, EXPRESS OR IMPLIED, IN CONNECTION WITH THIS
    AGREEMENT OR THE SERVICE(S), INCLUDING BUT NOT LIMITED TO WARRANTIES OF
    MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE, UNLESS SUCH
    REPRESENTATIONS AND WARRANTIES ARE NOT LEGALLY EXCLUDABLE. WITHOUT ANY
    LIMITATION TO THE FOREGOING, WE MAKE NO REPRESENTATIONS OR WARRANTIES OF
    ANY KIND WHATSOEVER THAT REGISTRATION OR USE OF A DOMAIN NAME UNDER THIS
    AGREEMENT WILL IMMUNIZE YOU EITHER FROM CHALLENGES TO YOUR DOMAIN NAME
    REGISTRATION, OR FROM SUSPENSION, CANCELLATION OR TRANSFER OF THE DOMAIN
    NAME REGISTERED TO YOU. YOU UNDERSTAND AND AGREE THAT ANY MATERIAL AND/OR
    DATA DOWNLOADED OR OTHERWISE OBTAINED THROUGH THE USE OF OUR E-MAIL
    FORWARDING OR OTHER EMAIL SERVICE IS DONE AT YOUR OWN DISCRETION AND RISK
    AND THAT YOU WILL BE SOLELY RESPONSIBLE FOR ANY DAMAGE TO YOUR COMPUTER
    SYSTEM OR LOSS OF DATA THAT RESULTS FROM THE DOWNLOAD OF SUCH MATERIAL
    AND/OR DATA. WE MAKE NO WARRANTY REGARDING ANY GOODS OR SERVICES
    PURCHASED OR OBTAINED THROUGH OUR E-MAIL SERVICE(S) OR ANY TRANSACTIONS
    ENTERED INTO THROUGH OUR E-MAIL SERVICE(S). NO ADVICE OR INFORMATION,
    WHETHER ORAL OR WRITTEN, OBTAINED BY YOU FROM US SHALL CREATE ANY
    WARRANTY NOT EXPRESSLY MADE HEREIN. SOME JURISDICTIONS DO NOT ALLOW THE
    EXCLUSION OF CERTAIN WARRANTIES, SO SOME OF THE ABOVE EXCLUSIONS MAY NOT
    APPLY TO YOU.


    27. Additional reservation of rights
    Namecheap expressly reserves the right to deny, cancel, terminate, suspend, lock, or modify
    access to (or control of) any account or any Services (including the right to cancel or transfer
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    any domain name registration) for any reason (as determined by Namecheap in its sole and
    absolute discretion), including but not limited to the following: (i) to correct mistakes made
    by Namecheap in offering or delivering any Services (including any domain name
    registration); (ii) to protect the integrity and stability of, and correct mistakes made by, any
    domain name registry; (iii) to assist with our fraud and abuse detection and prevention
    efforts; (iv) to comply with applicable local, state, national and international laws, rules and
    regulations; (v) to comply with requests of law enforcement, including subpoena requests;
    (vi) to comply with any dispute resolution process; (vii) to defend any legal action or
    threatened legal action without consideration for whether such legal action or threatened
    legal action is eventually determined to be with or without merit, or (viii) to avoid any civil or
    criminal liability on the part of Namecheap, its officers, directors, employees and agents, as
    well as Namecheap’s affiliates.


    28. Governing law and jurisdiction for disputes
    Except as otherwise set forth in the UDRP or any similar ccTLD policy with respect to any
    dispute over a domain name registration this Agreement, your rights and obligations and all
    actions contemplated by this Agreement shall be governed by the laws of the United States
    of America and the State of California. You agree that any action brought by you to enforce
    this Agreement or any matter brought by you and which is against or involves us and which
    relates to your use of the Services shall be brought exclusively in the United States District
    Court for the Central District of California, or if there is no jurisdiction in such court, then in a
    state court in Los Angeles County, State of California. You consent to the personal and
    subject matter jurisdiction of any state or Federal court in Los Angeles County, State of
    California in relation to any dispute between you and us under this Agreement. You agree
    that service of process on you by us in relation to any dispute arising under this Agreement
    may be served upon you by first class mail to the address listed by you in your account
    and/or domain name WHOIS information or by electronically transmitting a true copy of the
    papers to the email address listed by you in your account and/or domain name WHOIS
    information.

    YOU AGREE TO WAIVE THE RIGHT TO TRIAL BY JURY IN ANY PROCEEDING THAT TAKES
    PACE RELATING TO OR ARISING OUT OF THIS AGREEMENT.


    29. Notices
    You agree that any notices required to be given under this Agreement by us to you will be
    deemed to have been given if delivered in accordance with the account and/or domain name
    WHOIS information you have provided.


    30. Legal Age
    You attest that you are of legal age to enter into this Agreement.



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    31. Final Agreement
    This Agreement, the referenced agreements, the ICANN Policy and the UDRP, together with
    all modifications, constitute the complete and exclusive agreement between you and us, and
    supersede and govern all prior proposals, agreements, or other communications, subject to
    the terms set out in Section 2 above. This Agreement may not be amended or modified by
    you except by means of a written document signed by both you and an authorized
    representative of us.


    32. No Agency Relationship
    Nothing contained in this Agreement shall be construed as creating any agency, partnership,
    or other form of joint enterprise between the parties hereto. Each party shall ensure that the
    foregoing persons shall not represent to the contrary, either expressly, implicitly, by
    appearance or otherwise.


    33. Waiver
    The failure of us to require your performance of any provision hereof shall not affect the full
    right to require such performance at any time thereafter; nor shall the waiver by us of a
    breach of any provision hereof be taken or held to be a waiver of the provision itself.


    34. Enforceability
    In the event that any provision of this Agreement shall be unenforceable or invalid under any
    applicable law or be so held by applicable court decision, such unenforceability or invalidity
    shall not render this Agreement unenforceable or invalid as a whole. We will amend or
    replace such provision with one that is valid and enforceable and which achieves, to the
    extent possible, our original objectives and intent as reflected in the original provision.


    35. Assignment and Resale
    Except as otherwise set forth herein, your rights under this Agreement are not assignable or
    transferable. Any attempt by your creditors to obtain an interest in your rights under this
    Agreement, whether by attachment, levy, garnishment or otherwise, renders this Agreement
    voidable at our option. You agree not to reproduce, duplicate, copy, sell, resell or otherwise
    exploit for any commercial purposes any of the Services (or portion thereof) without
    Namecheap’s prior express written consent.


    36. Force Majeure
    Neither party shall be deemed in default hereunder, nor shall it hold the other party
    responsible for, any cessation, interruption or delay in the performance of its obligations
    hereunder due to causes beyond its control including, but not limited to: earthquake; flood;
    fire; storm; natural disaster; act of God; war; terrorism; armed conflict; labor strike; lockout;
    boycott; supplier failures, shortages, breaches, or delays; or any law, order regulation,

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    direction, action or request of the government, including any federal, state and local
    governments having or claiming jurisdiction over Namecheap, or of any department, agency,
    commission, bureau, corporation or other instrumentality of any federal, state, or local
    government, or of any civil or military authority; or any other cause or circumstance, whether
    of a similar or dissimilar nature to the foregoing, beyond the reasonable control of the
    affected party, provided that the party relying upon this section (i) shall have given the other
    party written notice thereof promptly and, in any event, within five (5) days of discovery
    thereof and (ii) shall take all steps reasonably necessary under the circumstances to mitigate
    the effects of the force majeure event upon which such notice is based; provided further,
    that in the event a force majeure event described in this Section extends for a period in
    excess of thirty (30) days in the aggregate, Namecheap may immediately terminate this
    Agreement.


    37. Headings
    The section headings appearing in this Agreement are inserted only as a matter of
    convenience and in no way define, limit, construe or describe the scope or extent of such
    section or in any way affect such section.


    Domain Registration Agreement
    Supplemental Registry Agreement for Certain TLDs
    Uniform Domain Name Dispute Resolution Policy

    Registrant Rights, Benefits & Responsibilities
    ICANN fee




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    We make registering, hosting, and managing domains for yourself or others easy and
    affordable, because the internet needs people.


    Learn more about Namecheap →

    Read our blog →



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    We'll send you news and offers twice a month.


       you@yours.com                                                                         Join




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    Terms and Conditions        Privacy Policy    UDRP




                                                                WE SUPPORT




                We are an ICANN accredited registrar.
                Serving customers since 2001.


 Payment Options




https://www.namecheap.com/legal/domains/registration­agreement.aspx                                 21/21
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                                                                   RU                342290
                  RUSSIAN FEDERATION                       (190)             (111)




                   FEDERAL SERVICE
             FOR INTELLECTUAL PROPERTY,
              PATENTS AND TRADEMARKS

           Trademarks, Service Marks and Appellations of Origin
                                                                                              Status: as of 09/08/2016 ­ works



                                               Trademarks, service marks,
(111) Registration Number: 342290                                                (220) Date of filing: 01.09.2006

(210) Application Number: 2006725086                                                   Priority date: 01.09.2006

(181) Date of expiration of the registration deadline: 01/09/2016                (151) Registration Date: 28­01­2008

                                                                                 (450) Publication Date: 25­02­2008

(540) The image of a trademark, service mark (732) Copyright: Ritzio Enterteyment Group Limited, Diagorou
4, Kermit Building, Office 601, Nicosia, Cyprus (the CY) (750) Address for correspondence: 117420,
Moscow, p / 7, Ltd. "Treydinvent" (511) The classes of the Nice Classification and the list of goods and / or
services:




    03 ­ Bleaching preparations and other substances for laundry use; preparations for cleaning,
polishing, scouring and abrasive preparations; soaps; perfumery, essential oils, cosmetics, hair
lotions; dentifrices.
    09 ­ apparatus for recording, transmission or reproduction of sound or images; magnetic data
carriers, recording discs; automatic vending machines and mechanisms for coin­operated apparatus;
data processing equipment and computers; vending machines for tickets, automatic musical prepaid
Machines trading, equipment for monitoring and control of electrical machinery, apparatus recording,
Switching devices, electrical, video, screens, floppy, recording discs, optical discs, compact discs
[ROM], compact discs [AV], magnets miniature mechanisms for automatic prepaid recording media, data
carriers, magnetic, media optic, for computer programs, program play computer, program computer
[downloadable software], publications, electronic [downloadable], smart ­kartochki, betting, gaming
devices with the mandatory use of television sets, entertainment devices with the mandatory use of
television sets, computer peripheral devices, signaling devices [burglar alarm], chips [integrated
circuits].
    16 ­ Paper, cardboard and goods made from these materials, not included in other classes; printed
products; photographs; stationery products; accessories for artists; teaching materials and visual aids
(except apparatus); plastic materials for packaging (not included in other classes), including pens,
albums, almanacs, posters, posters, tickets, forms, notepads, notebooks loose sheets, pamphlets,
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booklets, newsletters news, newspapers, engravings, holders for pencils , chalk holders, holders for
stamps, stamps; Holders Napkin Holders checkbooks, punches, clamps for index cards, clips for
fountain pens, bookmarks for books, publications printing, packaging goods, paper or plastic, image
graphics, calendars, tear­off calendars, pencils, picture, image conversion, cards credit printed, non­
electric, maps, geographical, catalogs, books, records, books, envelopes, materials, graphics printing,
learning materials [except apparatus], sets of letters, labels, self­adhesive, paper knives, wrappers for
bottles of cardboard or paper, covers, postcards music, greeting cards, postcards, postal, bags, paper,
bags, plastic, document folders, including folders for menu folders for bills, papier­mache, Periodicals
plates with clip for staff, trays for correspondence, trays sorting and counting money, stands for books,
coasters for beer mugs stands for pens and pencils, stands for photos, pads Stamp, paperweights,
writing instruments, office supplies [except furniture], writing utensils, tools for bonding paper, tools
pencil point [electric or non­electric], booklets, printed schedules, graphic reproductions, pens, paper
napkins, statuettes of papier­mache, banners, flags [paper], photogravure, photographs, prints, labels
[other than tissue].
   18 ­ Leather and imitations of leather, products from these materials, not included in other classes;
animal skins; trunks and traveling bags; umbrellas, parasols and walking sticks; whips, harness and
saddlery, wallets; wallets for business cards; umbrellas; products for leather documents; purses;
Clothing for pets; finishing of leather for furniture; purse; backpacks; bags.
   21 ­ Household or kitchen utensils and containers (not of precious metal or coated therewith); combs
and sponges; brushes (except brushes); materials for brush making; appliances for cleaning and
tidying; metal scouring pads; unworked or semi­worked glass (except glass used in building);
glassware, porcelain and earthenware not included in other classes, including trinkets made of
porcelain, dishes, saucers, glasses; bottles, busts of porcelain, ceramic or glass; vases, waffle iron, a
bucket of ice, towel racks, clothes hangers, bottles, combs, deodorizers for personal use, containers,
household or kitchen, containers made of glass, container insulating beverage container insulating
food, container glass, braziers, toothpicks , ceramic products for household; porcelain, ceramics and
glass art; pots, napkin rings, coin boxes metallic, baskets for bread baskets, domestic, coffee, non­
electric, coffee pots, non­electric, coffee grinders manual, beer mugs, covers for dishes, jugs, ice­
portable non­electric, spoons for stirring [cooking utensils], the blade [cutlery ] spatula [kitchen
utensils], pepper mill manual, bowls, soap dishes, sets of kitchen utensils, travel bags picnic [with a
set of dishes], travel bags for toiletries, knives for cutting biscuits [cooking utensils], knives test
sprayers, sticks for cocktails, pepper, gloves for household, trays, domestic, trays [cooking utensils],
candle holders, coasters for dishes [dining utensils], stand for decanters [with the exception of paper
and table] stand for menu, stands for knives [for tableware] stands for irons, tableware [other than
knives, forks and spoons]; porcelain tableware, pottery, earthenware and crystal; Utensils for
cosmetics, household utensils toilette, equipment for spices and accessories for removing make­up
[non­electric], fixtures, household, containing heat exchange fluids for cooling food, tools for opening
the bottles, corks, glass, powder, dispensers of soap, combs , shoehorns, salad bowls, sugar bowls,
dishes [tableware], sets of coffee and tea, strainers tea, siphons for carbonated water, household
mixers, juicers, household, salt shakers, drinking vessels, the vessel was cooled, cups of paper or
plastic, glass, glasses for drinks, statues and figurines of porcelain, earthenware or glass; tureens,
plates, graters [household utensils], flasks, boxes, aerosol devices [except for medical] devices for
cleaning footwear, irrigation devices, utensils, household, utensils and pans, utensils and pans for
cooking, filters, domestic, coffee filters, bottles , flasks, forms [pans], bread bins, Teapot, non­electric
teapots, cups, cocktail shakers, corkscrews, brushes for washing dishes and cleaning containers,
brushes; toothbrushes, shoe brushes, boxes for dispensing paper towels, metal, litter boxes.
   24 ­ Textiles and textile products; blankets, bedspreads and tablecloths; application of textile
materials; labels from textile materials.
   25 ­ Clothing, footwear, headgear, bandanas [headscarves], underwear, blouses, shoes, pants,
collars for clothing, inserts for shirts, ties, vests, sports articles, knitted articles, knitted pockets for
clothing, visors for hats , suits [clothing], costumes, swimwear, jackets, T­shirts with short sleeves,
headphones [clothing], socks, outerwear, clothes, clothing uniforms, clothing, coats, scarves, dresses,
coats, water­proof, belts [clothing] , pullovers, shirts, sweaters, hats, aprons [clothing], scarves, coats.
   26 ­ Lace and embroidery, ribbons and braid; buttons, hooks and eyes, pins and needles; artificial
flowers; badges; buttons, posters; bracelets­holders shirt sleeves, brooches (clothing accessories),
pins (except Costume Jewellery), clips for trousers, hair clips, Velcro, Decorative products for hair,
Decorative products, textile, bonded by heating, buttons, decorations for clothes.
   27 ­ Carpets, rugs, mats and matting, linoleum and other materials for covering existing floors;
wallpaper and wall upholstery, non­textile.
   28 ­ Games and playthings; gymnastic and sporting articles not included in other classes, including
machines gaming prepaid containers for dice, dice, cards playing, cue billiard chalk for billiard cues,
covers for billiard tables boards, tips for billiard cues, accessories for games, tools for markup in the
game of billiards, billiard tables, billiard tables with guns for prepayment, table tennis, electronic
games devices [except for devices with the mandatory use of television receivers], chips for games,
balls for games , billiard balls.
   30 ­ Coffee, tea, cocoa, sugar, rice, tapioca (cassava), sago, coffee substitutes; flour and cereals,
bread, pastry and confectionery, ice cream; honey, syrup from molasses; yeast, baking powder; salt,
mustard; vinegar, seasonings; spices; edible ice.
   32 ­ Beer; mineral and aerated waters and other non­alcoholic beverages, including energy drinks;
fruit drinks and fruit juices; syrups and other preparations for making beverages.
   33 ­ Alcoholic beverages (except beers).
   34 ­ Tobacco; smoking accessories; matches, lighters; matchboxes; ashtrays; Stand pipes;
cigarettes, cigarettes; cigars; matchboxes; matches; snuff boxes; pipe tobacco; boxes of cigars; boxes
of cigarettes, cigarettes.

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   35 ­ Advertising; business management; administrative activities in the field of business; office
functions, Agency for import and export, business expertise, demonstration of products, market
research, information business, research in the field of business, marketing research, advice on
organization and business management, advice on business organization, advice on business
management consultancy professional in business, organization of exhibitions for commercial or
advertising purposes, organization of trade fairs for commercial or advertising purposes, assessment of
business, information retrieval in computer files [for third parties], forecasting economic, auction sales,
product promotion [for third parties] , rental of office equipment and machines, rental of vending
machines, publication of advertising texts, distribution of samples, distribution of advertising
materials, advertising, interactive computer network, the collection of information in computer
databases, systematization of information in computer databases, services in the field of public
relations, provisioning services for third parties [purchasing goods and providing entrepreneurs],
wholesale and retail sale of goods.
   36 ­ Insurance; financial activities; monetary affairs; real estate transactions, including agency credit,
agencies in operations with real estate, analysis of financial, lease finance, banks, savings, issue of
securities, investment, information on insurance, the information the financial, clearing, advice on
insurance matters, advice on Finance, quotes, stock exchange, brokerage, management, finance,
money exchange, room service on debit cards, maintenance of credit card operations banking via the
Internet, the operation factor, the organization of cash charges, valuation of financial [insurance,
banking, real estate], the transfer of funds in the system of electronic payments, guarantees, stock
exchange mediation, mediation in real estate transactions, mediation of insurance, provision of loans,
collection of charitable funds; leasing of real estate, financial sponsorship, mortgage loans, real estate
management, banking, finance, tax expertise.
   37 ­ Construction; repairs; equipment installation.
   38 ­ Telecommunications, including electronic message board [telecommunications services],
providing access to the Internet [service providers], providing telecommunications connections to the
Internet, fiber­optic communication.
   39 ­ travel, including booking tickets for travel, booking travel itineraries, booking of vehicles,
delivery of goods, organization of cruises, travel organization, transportation of travelers, transport of
automobiles, car rental, maintenance travelers, wrapping of goods, parking services, driver services,
couriers [mail delivery or goods], travel agency services [except for the reservation of seats in hotels
and boarding houses], storage of goods, travel tours.
   41 ­ Education; providing of training; entertainment; sporting and cultural activities, including the
rental of tennis courts, billiard halls, book tickets for shows, video, disco, games of chance, the
publication of books, information on recreation, information on entertainment matters, clubs cultural
and educational and entertaining, clubs cafe night, providing an interactive game [through a computer
network], providing interactive electronic publications [not downloadable], practical training
[demonstration], organization of exhibitions with cultural and educational purpose, leisure, organizing
and conducting of workshops [training] , the organization of competitions education or entertainment,
organization of lotteries, organization of entertainment to recreation centers, sporting events,
amusement parks, providing sports facilities, providing services to the gambling halls, cinemas
provide services, sports programming, producing movies and movie rentals and audio recordings ,
audio equipment and VCR rental, slot machines, rental of films, equipment stadium rental, publications
using desktop electronic publishing, publish interactive books and periodicals, publication of texts
[other than advertising], entertaining guests, programming meetings, [entertainment] casino services,
translation services, photography, shows, music halls.
   42 ­ Development and improvement of technical and computer software; analysis of computer
systems, software installation, software upgrades, maintenance engineering software, design of
computer systems, computer rentals, and software tools, the arrangement of Web sites, the creation and
maintenance of websites for third parties.
   43 ­ Services for providing food and drink; provision of temporary accommodation agency to
provide places [hotels, apartments], rental of premises for meetings, recreation, hotel reservations,
reservations for temporary housing, hotels, cafes, coffee shops, cafeterias, restaurants, services,
recreation [Lodging ] bars services, camping services, food preparation and delivery of their home.
   45 ­ Personal and social services rendered by others to meet the needs of individuals; agency
marriage; detective agency; Agency for organizing the night guard; security services for the protection
of property and individuals, guarding civilian clothes, clubs, services for the organization of meetings,
bodyguard services.

                             Notices of changes relating to the registration of a trademark

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright: Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (CY) The transferor exclusive right: Ritzio Enterteyment Group Limited, Diarogu 4,
Kermit Building, 6th floor, of.601, R.S.1097, Nicosia, Cyprus (the CY) (750) Address for correspondence:
OOO "Treydinvent" Makarova TN, P / 7, Moscow, 117420 Date and registration number of the contract:
30.04.2013 № RD0123353 (580) Date of making changes in the State register of TK: 30.04.2013 Published:
25.05.2013




http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342290&TypeFile=html                      3/5
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Correction of obvious and technical errors in the publication of the bulletin

(210) Application Number: 2006725086 Publication Date (bulletin): 25/05/2013 (BTZ number 10) Published:




The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diarogu 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



It should read:

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diagorou 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



(580) Date of making changes in the State Register of TK: 06.06.2013 Published: 25.06.2013


The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : ., limited liability Company "INFINGRUPP",
142000, Moscow region, Domodedovo, md Central street. The station, d. 20A, Bldg. 1, of. 6V (RU) (793)
Specifies the terms of the contract: Non­exclusive license for a period up to 31.12.2018 in the territory of
the Russian Federation in respect of services 41 cl. ­ The organization of lotteries; Entertainment. The
date and number of state registration of the contract: 02/12/2016 №RD0191693 (580) Date of entry in the State
Register: 02.12.2016 Date of publication of the notice: 12.3.2016




http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342290&TypeFile=html                      4/5
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                                              Trademark Filed 01/03/17 Page 107 of 217




Extension of the exclusive right to the trade mark

(732) Copyright: Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (the CY) (186) The date by which the validity period extended exclusive rights:
09.01.2026 (580) Date of entry in the State Register: 04.04.2016 Date of publication of the notice: 25.4.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : Joint Stock company "Sportbet", 107113,
Moscow, ul.Lobachika, 17 (RU) (793) Specifies the terms of the contract: Non­exclusive license for a period
up to 31.12.2018 in the territory of the Russian Federation in respect of services 41 cells, namely casino
games. , of gaming halls services, providing an interactive game [through a computer network], and
entertainment. The date and number of state registration of the contract: 05/31/2016 №RD0199097 (580) Date
of entry in the state register: 31.05.2016 Date of publication of the notice: 12.6.2016




http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342290&TypeFile=html                      5/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №342291
                                              Trademark Filed 01/03/17 Page 108 of 217

                                                                   RU                342291
                  RUSSIAN FEDERATION                       (190)             (111)




                   FEDERAL SERVICE
             FOR INTELLECTUAL PROPERTY,
              PATENTS AND TRADEMARKS

           Trademarks, Service Marks and Appellations of Origin
                                                                                              Status: as of 09/08/2016 ­ works



                                               Trademarks, service marks,
(111) Registration Number: 342291                                                (220) Date of filing: 01.09.2006

(210) Application Number: 2006725088                                                   Priority date: 01.09.2006

(181) Date of expiration of the registration deadline: 01/09/2016                (151) Registration Date: 28­01­2008

                                                                                 (450) Publication Date: 25­02­2008

(540) The image of a trademark, service mark (732) Copyright: Ritzio Enterteyment Group Limited, Diagorou
4, Kermit Building, Office 601, Nicosia, Cyprus (the CY) (750) Address for correspondence: 117420,
Moscow, p / 7, Ltd. "Treydinvent" (591) Specifies the color or combination of colors: white, yellow, orange,
red, blue, dark blue, dark blue (511) classes of the Nice Classification and the list of goods and / or services:




    03 ­ Bleaching preparations and other substances for laundry use; preparations for cleaning,
polishing, scouring and abrasive preparations; soaps; perfumery, essential oils, cosmetics, hair
lotions; dentifrices.
    09 ­ apparatus for recording, transmission or reproduction of sound or images; magnetic data
carriers, recording discs; automatic vending machines and mechanisms for coin­operated apparatus;
data processing equipment and computers; vending machines for tickets, automatic musical prepaid
Machines trading, equipment for monitoring and control of electrical machinery, apparatus recording,
Switching devices, electrical, video, screens, floppy, recording discs, optical discs, compact discs
[ROM], compact discs [AV], magnets miniature mechanisms for automatic prepaid recording media, data
carriers, magnetic, media optic, for computer programs, program play computer, program computer
[downloadable software], publications, electronic [downloadable], smart ­kartochki, betting, gaming
devices with the mandatory use of television sets, entertainment devices with the mandatory use of
television sets, computer peripheral devices, signaling devices [burglar alarm], chips [integrated
circuits].


http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342291&TypeFile=html                                       1/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №342291
                                              Trademark Filed 01/03/17 Page 109 of 217
   16 ­ Paper, cardboard and goods made from these materials, not included in other classes; printed
products; photographs; stationery products; accessories for artists; teaching materials and visual aids
(except apparatus); plastic materials for packaging (not included in other classes), including pens,
albums, almanacs, posters, posters, tickets, forms, notepads, notebooks loose sheets, pamphlets,
booklets, newsletters news, newspapers, engravings, holders for pencils , chalk holders, holders for
stamps, stamps; Holders Napkin Holders checkbooks, punches, clamps for index cards, clips for
fountain pens, bookmarks for books, publications printing, packaging goods, paper or plastic, image
graphics, calendars, tear­off calendars, pencils, picture, image conversion, cards credit printed, non­
electric, maps, geographical, catalogs, books, records, books, envelopes, materials, graphics printing,
learning materials [except apparatus], sets of letters, labels, self­adhesive, paper knives, wrappers for
bottles of cardboard or paper, cover, musical greeting cards, greeting cards, postcards, paper bags,
bags, plastic, document folders, including folders for menu folders for bills, papier­mache, Periodicals
plates with clip for staff, trays for correspondence, trays sorting and counting money, stands for books,
coasters for beer mugs stands for pens and pencils, stands for photos, pads Stamp, paperweights,
writing instruments, office supplies [except furniture], writing utensils, tools for bonding paper, tools
pencil point [electric or non­electric], booklets, printed schedules, graphic reproductions, pens, paper
napkins, statuettes of papier­mache, banners, flags [paper], photogravure, photographs, prints, labels
[other than tissue].
   18 ­ Leather and imitations of leather, products from these materials, not included in other classes;
animal skins; trunks and traveling bags; umbrellas, parasols and walking sticks; whips, harness and
saddlery, wallets; wallets for business cards; umbrellas; products for leather documents; purses;
Clothing for pets; finishing of leather for furniture; purse; backpacks; bags.
   21 ­ Household or kitchen utensils and containers (not of precious metal or coated therewith); combs
and sponges; brushes (except brushes); materials for brush making; appliances for cleaning and
tidying; metal scouring pads; unworked or semi­worked glass (except glass used in building);
glassware, porcelain and earthenware not included in other classes, including trinkets made of
porcelain, dishes, saucers, glasses; bottles, busts of porcelain, ceramic or glass; vases, waffle iron, a
bucket of ice, towel racks, clothes hangers, bottles, combs, deodorizers for personal use, containers,
household or kitchen, containers made of glass, container insulating beverage container insulating
food, container glass, braziers, toothpicks , ceramic products for household; porcelain, ceramics and
glass art; pots, napkin rings, coin boxes metallic, baskets for bread baskets, domestic, coffee, non­
electric, coffee pots, non­electric, coffee grinders manual, beer mugs, covers for dishes, jugs, ice­
portable non­electric, spoons for stirring [cooking utensils], the blade [cutlery ] spatula [kitchen
utensils], pepper mill manual, bowls, soap dishes, sets of kitchen utensils, travel bags picnic [with a
set of dishes], travel bags for toiletries, knives for cutting biscuits [cooking utensils], knives test
sprayers, sticks for cocktails, pepper, gloves for household, trays, domestic, trays [cooking utensils],
candle holders, coasters for dishes [dining utensils], stand for decanters [with the exception of paper
and table] stand for menu, stands for knives [for tableware] stands for irons, tableware [other than
knives, forks and spoons]; porcelain tableware, pottery, earthenware and crystal; Utensils for
cosmetics, household utensils toilette, equipment for spices and accessories for removing make­up
[non­electric], fixtures, household, containing heat exchange fluids for cooling food, tools for opening
the bottles, corks, glass, powder, dispensers of soap, combs , shoehorns, salad bowls, sugar bowls,
dishes [tableware], sets of coffee and tea, strainers tea, siphons for carbonated water, household
mixers, juicers, household, salt shakers, drinking vessels, the vessel was cooled, cups of paper or
plastic, glass, glasses for drinks, statues and figurines of porcelain, earthenware or glass; tureens,
plates, graters [household utensils], flasks, boxes, aerosol devices [except for medical] devices for
cleaning footwear, irrigation devices, utensils, household, utensils and pans, utensils and pans for
cooking, filters, domestic, coffee filters, bottles , flasks, forms [pans], bread bins, Teapot, non­electric
teapots, cups, cocktail shakers, corkscrews, brushes for washing dishes and cleaning containers,
brushes; toothbrushes, shoe brushes, boxes for dispensing paper towels, metal, litter boxes.
   24 ­ Textiles and textile products; blankets, bedspreads and tablecloths; application of textile
materials; labels from textile materials.
   25 ­ Clothing, footwear, headgear, bandanas [headscarves], underwear, blouses, shoes, pants,
collars for clothing, inserts for shirts, ties, vests, sports articles, knitted articles, knitted pockets for
clothing, visors for hats , suits [clothing], costumes, swimwear, jackets, T­shirts with short sleeves,
headphones [clothing], socks, outerwear, clothes, clothing uniforms, clothing, coats, scarves, dresses,
coats, water­proof, belts [clothing] , pullovers, shirts, sweaters, hats, aprons [clothing], scarves, coats.
   26 ­ Lace and embroidery, ribbons and braid; buttons, hooks and eyes, pins and needles; artificial
flowers; badges; buttons, posters; bracelets­holders shirt sleeves, brooches (clothing accessories),
pins (except Costume Jewellery), clips for trousers, hair clips, Velcro, Decorative products for hair,
Decorative products, textile, bonded by heating, buttons, decorations for clothes.
   27 ­ Carpets, rugs, mats and matting, linoleum and other materials for covering existing floors;
wallpaper and wall upholstery, non­textile.
   28 ­ Games and playthings; gymnastic and sporting articles not included in other classes, including
machines gaming prepaid containers for dice, dice, cards playing, cue billiard chalk for billiard cues,
covers for billiard tables boards, tips for billiard cues, accessories for games, tools for markup in the
game of billiards, billiard tables, billiard tables with guns for prepayment, table tennis, electronic
games devices [except for devices with the mandatory use of television receivers], chips for games,
balls for games , billiard balls.
   30 ­ Coffee, tea, cocoa, sugar, rice, tapioca (cassava), sago, coffee substitutes; flour and cereals,
bread, pastry and confectionery, ice cream; honey, syrup from molasses; yeast, baking powder; salt,
mustard; vinegar, seasonings; spices; edible ice.
   32 ­ Beer; mineral and aerated waters and other non­alcoholic beverages, including energy drinks;
fruit drinks and fruit juices; syrups and other preparations for making beverages.

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9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №342291
                                              Trademark Filed 01/03/17 Page 110 of 217
   33 ­ Alcoholic beverages (except beers).
   34 ­ Tobacco; smoking accessories; matches, lighters; matchboxes; ashtrays; Stand pipes;
cigarettes, cigarettes; cigars; matchboxes; matches; snuff boxes; pipe tobacco; boxes of cigars; boxes
of cigarettes, cigarettes.
   35 ­ Advertising; business management; administrative activities in the field of business; office
functions, Agency for import and export, business expertise, demonstration of products, market
research, information business, research in the field of business, marketing research, advice on
organization and business management, advice on business organization, advice on business
management consultancy professional in business, organization of exhibitions for commercial or
advertising purposes, organization of trade fairs for commercial or advertising purposes, assessment of
business, information retrieval in computer files [for third parties], forecasting economic, auction sales,
product promotion [for third parties] , rental of office equipment and machines, rental of vending
machines, publication of advertising texts, distribution of samples, distribution of advertising
materials, advertising, interactive computer network, the collection of information in computer
databases, systematization of information in computer databases, services in the field of public
relations, provisioning services for third parties [purchasing goods and providing entrepreneurs],
wholesale and retail sale of goods.
   36 ­ Insurance; financial activities; monetary affairs; real estate transactions, including agency
lending, agency operations nedvizhimm estate analysis Financial, lease finance, banks, savings, issue
of securities, investment, information on insurance, the information the financial, clearing, advice on
insurance matters, advice on Finance, quotes, stock exchange, brokerage, management, finance,
money exchange, room service on debit cards, maintenance of credit card operations banking via the
Internet, the operation factor, the organization of cash charges, valuation of financial [insurance,
banking, real estate], the transfer of funds in the system of electronic payments, guarantees, stock
exchange mediation, mediation in real estate transactions, mediation of insurance, provision of loans,
collection of charitable funds; leasing of real estate, financial sponsorship, mortgage loans, real estate
management, banking, finance, tax expertise.
   37 ­ Construction; repairs; equipment installation.
   38 ­ Telecommunications, including electronic message board [telecommunications services],
providing access to the Internet [service providers], providing telecommunications connections to the
Internet, fiber­optic communication.
   39 ­ travel, including booking tickets for travel, booking travel itineraries, booking of vehicles,
delivery of goods, organization of cruises, travel organization, transportation of travelers, transport of
automobiles, car rental, maintenance travelers, wrapping of goods, parking services, driver services,
couriers [mail delivery or goods], travel agency services [except for the reservation of seats in hotels
and boarding houses], storage of goods, travel tours.
   41 ­ Education; providing of training; entertainment; sporting and cultural activities, including the
rental of tennis courts, billiard halls, book tickets for shows, video, disco, games of chance, the
publication of books, information on recreation, information on entertainment matters, clubs cultural
and educational and entertaining, clubs cafe night, providing an interactive game [through a computer
network], providing interactive electronic publications [not downloadable], practical training
[demonstration], organization of exhibitions with cultural and educational purpose, leisure, organizing
and conducting of workshops [training] , the organization of competitions education or entertainment,
organization of lotteries, organization of entertainment to recreation centers, sporting events,
amusement parks, providing sports facilities, providing services to the gambling halls, cinemas
provide services, sports programming, producing movies and movie rentals and audio recordings ,
audio equipment and VCR rental, slot machines, rental of films, equipment stadium rental, publications
using desktop electronic publishing, publish interactive books and periodicals, publication of texts
[other than advertising], entertaining guests, programming meetings, [entertainment] casino services,
translation services, photography, shows, music halls.
   42 ­ Development and improvement of technical and computer software; analysis of computer
systems, software installation, software upgrades, maintenance engineering software, design of
computer systems, computer rentals, and software tools, the arrangement of Web sites, the creation and
maintenance of websites for third parties.
   43 ­ Services for providing food and drink; provision of temporary accommodation agency to
provide places [hotels, apartments], rental of premises for meetings, recreation, hotel reservations,
reservations for temporary housing, hotels, cafes, coffee shops, cafeterias, restaurants, services,
recreation [Lodging ] bars services, camping services, food preparation and delivery of their home.
   45 ­ Personal and social services rendered by others to meet the needs of individuals; agency
marriage; detective agency; Agency for organizing the night guard; security services for the protection
of property and individuals, guarding civilian clothes, clubs, services for the organization of meetings,
bodyguard services.

                             Notices of changes relating to the registration of a trademark

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright: Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (CY) The transferor exclusive right: Ritzio Enterteyment Group Limited, Diarogu 4,
Kermit Building, 6th floor, of.601, R.S.1097, Nicosia, Cyprus (the CY) (750) Address for correspondence:
OOO "Treydinvent" Makarova TN, P / 7, Moscow, 117420 Date and registration number of the contract:
30.04.2013 № RD0123353 (580) Date of making changes in the State register of TK: 30.04.2013 Published:

http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342291&TypeFile=html                    3/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №342291
                                              Trademark Filed 01/03/17 Page 111 of 217
25.05.2013




Correction of obvious and technical errors in the publication of the bulletin

(210) Application Number: 2006725088 Publication Date (bulletin): 25/05/2013 (BTZ number 10) Published:




The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diarogu 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



It should read:

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diagorou 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



(580) Date of making changes in the State Register of TK: 06.06.2013 Published: 25.06.2013


The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : ., limited liability Company "INFINGRUPP",
142000, Moscow region, Domodedovo, md Central street. The station, d. 20A, Bldg. 1, of. 6V (RU) (793)
Specifies the terms of the contract: Non­exclusive license for a period up to 31.12.2018 in the territory of
the Russian Federation in respect of services 41 cl. ­ The organization of lotteries; Entertainment. The
date and number of state registration of the contract: 02/12/2016 №RD0191693 (580) Date of entry in the State
Register: 02.12.2016 Date of publication of the notice: 12.3.2016


http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342291&TypeFile=html                      4/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №342291
                                              Trademark Filed 01/03/17 Page 112 of 217




Extension of the exclusive right to the trade mark

(732) Copyright: Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (the CY) (186) The date by which the validity period extended exclusive rights:
09.01.2026 (580) Date of entry in the State Register: 04.04.2016 Date of publication of the notice: 25.4.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : Joint Stock company "Sportbet", 107113,
Moscow, ul.Lobachika, 17 (RU) (793) Specifies the terms of the contract: Non­exclusive license for a period
up to 31.12.2018 in the territory of the Russian Federation in respect of services 41 cells, namely casino
games. , of gaming halls services, providing an interactive game [through a computer network], and
entertainment. The date and number of state registration of the contract: 05/31/2016 №RD0199097 (580) Date
of entry in the state register: 31.05.2016 Date of publication of the notice: 12.6.2016




http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342291&TypeFile=html                      5/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №349206
                                              Trademark Filed 01/03/17 Page 113 of 217

                                                                   RU                349206
                  RUSSIAN FEDERATION                       (190)             (111)




                   FEDERAL SERVICE
             FOR INTELLECTUAL PROPERTY,
              PATENTS AND TRADEMARKS

           Trademarks, Service Marks and Appellations of Origin
                                                                                              Status: as of 09/08/2016 ­ works



                                               Trademarks, service marks,
(111) Registration Number: 349206                                                (220) Date of filing: 23.07.2007

(210) Application Number: 2007722367                                                   Priority date: 23.07.2007

(181) Date of expiration of the registration deadline: 23/07/2017                (151) Registration Date: 04­05­2008

                                                                                 (450) Publication Date: 25­05­2008

(540) The image of a trademark, service mark (732) Copyright: Ritzio Enterteyment Group Limited, Diagorou
4, Kermit Building, Office 601, Nicosia, Cyprus (the CY) (750) Address for correspondence: 117420,
Moscow, p / 7, Ltd. "Treydinvent" S.Yu.Yakovlevu (591) color or color combination Note: white, yellow, red,
blue, light blue (511) classes of the Nice Classification and the list of goods and / or services:




    41 ­ billiard halls; discos, gambling, clubs, cafes night, providing an interactive game [through a
computer network], the organization of lotteries, gambling halls provide services, rental of slot
machines, entertainment reviews, casino services shows.
    43 ­ Services for providing food and drink; bars, restaurants services, food preparation and delivery
of their home.

                             Notices of changes relating to the registration of a trademark

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright: Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (CY) The transferor exclusive right: Ritzio Enterteyment Group Limited, Diarogu 4,
Kermit Building, 6th floor, of.601, R.S.1097, Nicosia, Cyprus (the CY) (750) Address for correspondence:
OOO "Treydinvent" Makarova TN, P / 7, Moscow, 117420 Date and registration number of the contract:

http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=349206&TypeFile=html                                       1/2
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №349206
                                              Trademark Filed 01/03/17 Page 114 of 217
30.04.2013 № RD0123353 (580) Date of making changes in the State register of TK: 30.04.2013 Published:
25.05.2013




Correction of obvious and technical errors in the publication of the bulletin

(210) Application Number: 2007722367 Publication Date (bulletin): 25/05/2013 (BTZ number 10) Published:




The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diarogu 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



It should read:

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diagorou 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



(580) Date of making changes in the State Register of TK: 06.06.2013 Published: 25.06.2013




http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=349206&TypeFile=html                   2/2
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №353692
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                                                                   RU                353692
                  RUSSIAN FEDERATION                       (190)             (111)




                   FEDERAL SERVICE
             FOR INTELLECTUAL PROPERTY,
              PATENTS AND TRADEMARKS

           Trademarks, Service Marks and Appellations of Origin
                                                                                              Status: as of 09/08/2016 ­ works



                                               Trademarks, service marks,
(111) Registration Number: 353692                                                (220) Date of filing: 18.11.2005

(210) Application Number: 2005729688                                                   Priority date: 18.11.2005

(181) Date of expiration of the registration deadline: 18/11/2015                (151) Registration Date: 25­06­2008

                                                                                 (450) Publication Date: 25­07­2008

(540) The image of a trademark, service mark (732) Copyright: Ritzio Enterteyment Group Limited, Diagorou
4, Kermit Building, Office 601, Nicosia, Cyprus (the CY) (750) Address for correspondence: 117420,
Moscow, p / 7 ( 511) The classes of the Nice Classification and the list of goods and / or services:




    09 ­ apparatus for recording, transmission or reproduction of sound or images; magnetic data
carriers, recording discs; automatic vending machines and mechanisms for coin­operated apparatus;
data processing equipment and computers; vending machines for tickets, automatic musical prepaid
Machines trading, equipment for monitoring and control of electrical machinery, apparatus recording,
Switching devices, electrical, video, screens, floppy, recording discs, optical discs, compact discs
[ROM], compact discs [AV], magnets miniature mechanisms for automatic prepaid recording media, data
carriers, magnetic, media optic, for computer programs, program play computer, program computer
[downloadable software], publications, electronic [downloadable], smart ­kartochki, betting, gaming
devices with the mandatory use of television sets, entertainment devices with the mandatory use of
television sets, computer peripheral devices, signaling devices [burglar alarm], chips [integrated
circuits].
    16 ­ Paper, cardboard and goods made from these materials, not included in other classes; printed
products; photographs; stationery products; accessories for artists; teaching materials and visual aids
(except apparatus); plastic materials for packaging (not included in other classes), including pens,
albums, almanacs, posters, posters, tickets, forms, notepads, notebooks loose sheets, pamphlets,
booklets, newsletters news, newspapers, engravings, holders for pencils , chalk holders, holders for
stamps, stamps; holders checkbooks, punches, clamps for index cards, clips for fountain pens,
bookmarks for books, publications printing, packaging goods, paper or plastic, image graphics,
calendars, tear­off calendars, pencils, picture, image conversion, card credit printed, non­electric,
maps, geographical, catalogs, books, records, books, envelopes, materials, graphics printing, learning
materials [except apparatus], sets for writing, self­adhesive labels, paper knives, wrappers for bottles of
cardboard or paper, covers, postcards music , greeting cards, postcards, bags, paper, document
folders, paper mache, Periodicals stand for books, coasters for beer mugs stands for pens and pencils,
stands for photos, pads Stamp, paperweights, desk sets, accessories office [except furniture], writing
utensils, tools for bonding paper, devices for pencils point [electric or non­electric], brochures,
schedule printing, reproduction of graphics, pens, figurines made of papier­mache, banners, flags
[paper], photogravure, photographs, prints, labels [other than tissue].
    21 ­ Household or kitchen utensils and containers (not of precious metal or coated therewith); combs
and sponges; brushes (except brushes); materials for brush making; appliances for cleaning and

http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353692&TypeFile=html                                       1/4
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №353692
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tidying; metal scouring pads; unworked or semi­worked glass (except glass used in building);
glassware, porcelain and earthenware not included in other classes, including trinkets made of
porcelain, dishes, saucers, glasses; bottles, busts of porcelain, ceramic or glass; vases, waffle iron, a
bucket of ice, towel racks, clothes hangers, bottles, combs, deodorizers for personal use, containers,
household or kitchen, containers made of glass, container insulating beverage container insulating
food, container glass, braziers, toothpicks , ceramic products for household; porcelain, ceramics and
glass art; pots, napkin rings, coin boxes metallic, baskets for bread baskets, domestic, coffee, non­
electric, coffee pots, non­electric, coffee grinders manual, beer mugs, covers for dishes, jugs, ice­
portable non­electric, spoons for stirring [cooking utensils], the blade [cutlery ] spatula [kitchen
utensils], pepper mill manual, bowls, soap dishes, sets of kitchen utensils, travel bags picnic [with a
set of dishes], travel bags for toiletries, knives for cutting biscuits [cooking utensils], to test blades,
sprayers, sticks for cocktails, pepper, gloves for household, trays, domestic, trays [cooking utensils],
candle holders, coasters for dishes [dining utensils], stand for decanters [with the exception of paper
and table] stand for menu, stands for knives [for tableware] stands for irons, tableware [other than
knives, forks and spoons]; porcelain tableware, pottery, earthenware and crystal; Utensils for
cosmetics, household utensils toilette, equipment for spices and accessories for removing make­up
[non­electric], household devices containing heat exchange fluids for cooling food, tools for opening
the bottles, corks, glass, powder, dispensers of soap, combs , shoehorns, salad bowls, sugar bowls,
dishes [tableware], sets of coffee and tea, strainers tea, siphons for carbonated water, household
mixers, juicers, household, salt shakers, drinking vessels, the vessel was cooled, cups of paper or
plastic, glass, glasses for drinks, statues and figurines of porcelain, earthenware or glass; tureens,
plates, graters [household utensils], flasks, boxes, aerosol devices [except for medical] devices for
cleaning footwear, irrigation devices, utensils, household, utensils and pans, utensils and pans for
cooking, filters, domestic, coffee filters, bottles , flasks, forms [pans], bread bins, Teapot, kettles, non­
electric, cups, shakers cocktail, corkscrews, brushes for washing dishes and cleaning containers,
toothbrushes, brushes, shoe boxes for dispensing paper towels, metal, litter boxes.
    28 ­ Games and playthings; gymnastic and sporting articles not included in other classes, including
machines gaming prepaid containers for dice, dice, cards playing, cue billiard chalk for billiard cues,
covers for billiard tables boards, tips for billiard cues, accessories for games, tools for markup in the
game of billiards, billiard tables, billiard tables with guns for prepayment, table tennis, electronic
games devices [except for devices with the mandatory use of television receivers], chips for games,
balls for games , billiard balls.
    32 ­ Beer; mineral and aerated waters and other non­alcoholic beverages, including energy drinks;
fruit drinks and fruit juices; syrups and other preparations for making beverages.
    35 ­ Advertising; business management; administrative activities in the field of business; office
functions, Agency for import and export, business expertise, demonstration of products, market
research, information business, research in the field of business, marketing research, advice on
organization and business management, advice on business organization, advice on business
management consultancy professional in business, organization of exhibitions for commercial or
advertising purposes, organization of trade fairs for commercial or advertising purposes, assessment of
business, information retrieval in computer files [for third parties], forecasting economic, auction sales,
product promotion [for third parties] , rental of office equipment and machines, rental of vending
machines, publication of advertising texts, distribution of samples, distribution of advertising
materials, advertising, interactive computer network, the collection of information in computer
databases, systematization of information in computer databases, services in the field of public
relations, provisioning services for third parties [purchasing goods and providing entrepreneurs],
wholesale and retail sale of goods.
    38 ­ Telecommunications, including electronic message board [telecommunications services],
providing access to the Internet [service providers], providing telecommunications connections to the
Internet, fiber­optic communication.
    39 ­ travel, including booking tickets for travel, booking travel itineraries, booking of vehicles,
delivery of goods, organization of cruises, travel organization, transportation of travelers, transport of
automobiles, car rental, maintenance travelers, wrapping of goods, parking services, driver services,
couriers [mail delivery or goods], travel agency services [except for the reservation of seats in hotels
and boarding houses], storage of goods, travel tours.
    41 ­ Education; providing of training; entertainment; sporting and cultural activities, including the
rental of tennis courts, billiard halls, book tickets for shows, video, disco, games of chance, the
publication of books, information on recreation, information on entertainment matters, clubs cultural
and educational and entertaining, clubs cafe night, providing an interactive game [through a computer
network], providing interactive electronic publications [unbootable], practical training [demonstration],
organization of exhibitions with cultural and educational purpose, leisure, organizing and conducting
of workshops [training] organization of competitions education or entertainment, the organization of
lotteries, organization of entertainment to recreation centers, sporting events, amusement parks,
providing sports facilities, providing services to the gambling halls, cinemas provide services, sports
programming, producing movies and movie rentals and audio recordings, audio equipment rental and
video recorders, rental of slot machines, movie rental, equipment stadium rental, publications using
desktop electronic publishing, publish interactive books and periodicals, publication of texts [other
than advertising], entertaining guests, preparation of meetings programs [entertainment], services
casino, translation services, photography, shows.
    42 ­ Development and improvement of technical and computer software; analysis of computer
systems, software installation, software upgrades, maintenance engineering software, design of
computer systems, computer rentals, and software tools, the arrangement of Web sites, the creation and
maintenance of websites for third parties.


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9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №353692
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   43 ­ Services for providing food and drink; provision of temporary accommodation agency to
provide places [hotels, apartments], rental of premises for meetings, recreation, hotel reservations,
reservations for temporary housing, hotels, cafes, coffee shops, cafeterias, restaurants, services,
recreation [Lodging ] bars services, camping services, food preparation and delivery of their home.
   45 ­ Security services for the protection of property and individuals, guarding civilian clothes, clubs,
services for the organization of meetings, bodyguard services.

                             Notices of changes relating to the registration of a trademark

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright: Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (CY) The transferor exclusive right: Ritzio Enterteyment Group Limited, Diarogu 4,
Kermit Building, 6th floor, of.601, R.S.1097, Nicosia, Cyprus (the CY) (750) Address for correspondence:
OOO "Treydinvent" Makarova TN, P / 7, Moscow, 117420 Date and registration number of the contract:
30.04.2013 № RD0123353 (580) Date of making changes in the State register of TK: 30.04.2013 Published:
25.05.2013




Correction of obvious and technical errors in the publication of the bulletin

(210) Application Number: 2005729688 Publication Date (bulletin): 25/05/2013 (BTZ number 10) Published:




The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diarogu 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



It should read:

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diagorou 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)


http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353692&TypeFile=html                    3/4
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №353692
                                              Trademark Filed 01/03/17 Page 118 of 217
Date of registration and contract number:

30.04.2013 RD0123353



(580) Date of making changes in the State Register of TK: 06.06.2013 Published: 25.06.2013


Extension of the exclusive right to the trade mark

(732) Copyright: Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (the CY) (186) The date by which the validity period extended exclusive rights:
11.18.2025 (580) Date of entry in the State Register: 12.22.2015 Date of publication of the notice: 25.1.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : ., limited liability Company "INFINGRUPP",
142000, Moscow region, Domodedovo, md Central street. The station, d. 20A, Bldg. 1, of. 6V (RU) (793)
Specifies the terms of the contract: Non­exclusive license for a period up to 31.12.2018 in the territory of
the Russian Federation in respect of services 41 cl. ­ The organization of lotteries; Entertainment. The
date and number of state registration of the contract: 02/12/2016 №RD0191693 (580) Date of entry in the State
Register: 02.12.2016 Date of publication of the notice: 12.3.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : Joint Stock company "Sportbet", 107113,
Moscow, ul.Lobachika, 17 (RU) (793) Specifies the terms of the contract: Non­exclusive license for a period
up to 31.12.2018 in the territory of the Russian Federation in respect of services 41 cells, namely casino
games. , of gaming halls services, providing an interactive game [through a computer network], and
entertainment. The date and number of state registration of the contract: 05/31/2016 №RD0199097 (580) Date
of entry in the state register: 31.05.2016 Date of publication of the notice: 12.6.2016




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9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №353694
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                                                                   RU                353694
                  RUSSIAN FEDERATION                       (190)             (111)




                   FEDERAL SERVICE
             FOR INTELLECTUAL PROPERTY,
              PATENTS AND TRADEMARKS

           Trademarks, Service Marks and Appellations of Origin
                                                                                              Status: as of 09/08/2016 ­ works



                                               Trademarks, service marks,
(111) Registration Number: 353694                                                (220) Date of filing: 18.11.2005

(210) Application Number: 2005729691                                                   Priority date: 18.11.2005

(181) Date of expiration of the registration deadline: 18/11/2015                (151) Registration Date: 25­06­2008

                                                                                 (450) Publication Date: 25­07­2008

(540) The image of a trademark, service mark (732) Copyright: Ritzio Enterteyment Group Limited, Diagorou
4, Kermit Building, Office 601, Nicosia, Cyprus (the CY) (750) Address for correspondence: 117420,
Moscow, p / 7 ( 511) The classes of the Nice Classification and the list of goods and / or services:




    09 ­ apparatus for recording, transmission or reproduction of sound or images; magnetic data
carriers, recording discs; automatic vending machines and mechanisms for coin­operated apparatus;
data processing equipment and computers; vending machines for tickets, automatic musical prepaid
Machines trading, equipment for monitoring and control of electrical machinery, apparatus recording,
Switching devices, electrical, video, screens, floppy, recording discs, optical discs, compact discs
[ROM], compact discs [AV], magnets miniature mechanisms for automatic prepaid recording media, data
carriers, magnetic, media optic, for computer programs, program play computer, program computer
[downloadable software], publications, electronic [downloadable], smart ­kartochki, betting, gaming
devices with the mandatory use of television sets, entertainment devices with the mandatory use of
television sets, computer peripheral devices, signaling devices [burglar alarm], chips [integrated
circuits].
    16 ­ Paper, cardboard and goods made from these materials, not included in other classes; printed
products; photographs; stationery products; accessories for artists; teaching materials and visual aids
(except apparatus); plastic materials for packaging (not included in other classes), including pens,
albums, almanacs, posters, posters, tickets, forms, notepads, notebooks loose sheets, pamphlets,
booklets, newsletters news, newspapers, engravings, holders for pencils , chalk holders, holders for
stamps, stamps; holders checkbooks, punches, clamps for index cards, clips for fountain pens,
bookmarks for books, publications printing, packaging goods, paper or plastic, image graphics,
calendars, tear­off calendars, pencils, picture, image conversion, card credit printed, non­electric,
maps, geographical, catalogs, books, records, books, envelopes, materials, graphics printing, learning
materials [except apparatus], sets for writing, self­adhesive labels, paper knives, wrappers for bottles of
cardboard or paper, covers, postcards music , greeting cards, postcards, bags, paper, document

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folders, paper mache, Periodicals stand for books, coasters for beer mugs stands for pens and pencils,
stands for photos, pads Stamp, paperweights, desk sets, accessories office [except furniture], writing
utensils, tools for bonding paper, devices for pencils point [electric or non­electric], brochures,
schedule printing, reproduction of graphics, pens, figurines made of papier­mache, banners, flags
[paper], photogravure, photographs, prints, labels [other than tissue].
    21 ­ Household or kitchen utensils and containers (not of precious metal or coated therewith); combs
and sponges; brushes (except brushes); materials for brush making; appliances for cleaning and
tidying; metal scouring pads; unworked or semi­worked glass (except glass used in building);
glassware, porcelain and earthenware not included in other classes, including trinkets made of
porcelain, dishes, saucers, glasses; bottles, busts of porcelain, ceramic or glass; vases, waffle iron, a
bucket of ice, towel racks, clothes hangers, bottles, combs, deodorizers for personal use, containers,
household or kitchen, containers made of glass, container insulating beverage container insulating
food, container glass, braziers, toothpicks , ceramic products for household; porcelain, ceramics and
glass art; pots, napkin rings, coin boxes metallic, baskets for bread baskets, domestic, coffee, non­
electric, coffee pots, non­electric, coffee grinders manual, beer mugs, covers for dishes, jugs, ice­
portable non­electric, spoons for stirring [cooking utensils], the blade [cutlery ] spatula [kitchen
utensils], pepper mill manual, bowls, soap dishes, sets of kitchen utensils, travel bags picnic [with a
set of dishes], travel bags for toiletries, knives for cutting biscuits [cooking utensils], to test blades,
sprayers, sticks for cocktails, pepper, gloves for household, trays, domestic, trays [cooking utensils],
candle holders, coasters for dishes [dining utensils], stand for decanters [with the exception of paper
and table] stand for menu, stands for knives [for tableware] stands for irons, tableware [other than
knives, forks and spoons]; porcelain tableware, pottery, earthenware and crystal; Utensils for
cosmetics, household utensils toilette, equipment for spices and accessories for removing make­up
[non­electric], household devices containing heat exchange fluids for cooling food, tools for opening
the bottles, corks, glass, powder, dispensers of soap, combs , shoehorns, salad bowls, sugar bowls,
dishes [tableware], sets of coffee and tea, strainers tea, siphons for carbonated water, household
mixers, juicers, household, salt shakers, drinking vessels, the vessel was cooled, cups of paper or
plastic, glass, glasses for drinks, statues and figurines of porcelain, earthenware or glass; tureens,
plates, graters [household utensils], flasks, boxes, aerosol devices [except for medical] devices for
cleaning footwear, irrigation devices, utensils, household, utensils and pans, utensils and pans for
cooking, filters, domestic, coffee filters, bottles , flasks, forms [pans], bread bins, Teapot, kettles, non­
electric, cups, shakers cocktail, corkscrews, brushes for washing dishes and cleaning containers,
toothbrushes, brushes, shoe boxes for dispensing paper towels, metal, litter boxes.
    28 ­ Games and playthings; gymnastic and sporting articles not included in other classes, including
machines gaming prepaid containers for dice, dice, cards playing, cue billiard chalk for billiard cues,
covers for billiard tables boards, tips for billiard cues, accessories for games, tools for markup in the
game of billiards, billiard tables, billiard tables with guns for prepayment, table tennis, electronic
games devices [except for devices with the mandatory use of television receivers], chips for games,
balls for games , billiard balls.
    32 ­ Beer; mineral and aerated waters and other non­alcoholic beverages, including energy drinks;
fruit drinks and fruit juices; syrups and other preparations for making beverages.
    35 ­ Advertising; business management; administrative activities in the field of business; office
functions, Agency for import and export, business expertise, demonstration of products, market
research, information business, research in the field of business, marketing research, advice on
organization and business management, advice on business organization, advice on business
management consultancy professional in business, organization of exhibitions for commercial or
advertising purposes, organization of trade fairs for commercial or advertising purposes, assessment of
business, information retrieval in computer files [for third parties], forecasting economic, auction sales,
product promotion [for third parties] , rental of office equipment and machines, rental of vending
machines, publication of advertising texts, distribution of samples, distribution of advertising
materials, advertising, interactive computer network, the collection of information in computer
databases, systematization of information in computer databases, services in the field of public
relations, provisioning services for third parties [purchasing goods and providing entrepreneurs],
wholesale and retail sale of goods.
    38 ­ Telecommunications, including electronic message board [telecommunications services],
providing access to the Internet [service providers], providing telecommunications connections to the
Internet, fiber­optic communication.
    39 ­ travel, including booking tickets for travel, booking travel itineraries, booking of vehicles,
delivery of goods, organization of cruises, travel organization, transportation of travelers, transport of
automobiles, car rental, maintenance travelers, wrapping of goods, parking services, driver services,
couriers [mail delivery or goods], travel agency services [except for the reservation of seats in hotels
and boarding houses], storage of goods, travel tours.
    41 ­ Education; providing of training; entertainment; sporting and cultural activities, including the
rental of tennis courts, billiard halls, book tickets for shows, video, disco, games of chance, the
publication of books, information on recreation, information on entertainment matters, clubs cultural
and educational and entertaining, clubs cafe night, providing an interactive game [through a computer
network], providing interactive electronic publications [unbootable], practical training [demonstration],
organization of exhibitions with cultural and educational purpose, leisure, organizing and conducting
of workshops [training] organization of competitions education or entertainment, the organization of
lotteries, organization of entertainment to recreation centers, sporting events, amusement parks,
providing sports facilities, providing services to the gambling halls, cinemas provide services, sports
programming, producing movies and movie rentals and audio recordings, audio equipment rental and
video recorders, rental of slot machines, movie rental, equipment stadium rental, publications using
desktop electronic publishing, publish interactive books and periodicals, publication of texts [other

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                                              Trademark Filed 01/03/17 Page 121 of 217
than advertising], entertaining guests, preparation of meetings programs [entertainment], services
casino, translation services, photography, shows.
   42 ­ Development and improvement of technical and computer software; analysis of computer
systems, software installation, software upgrades, maintenance engineering software, design of
computer systems, computer rentals, and software tools, the arrangement of Web sites, the creation and
maintenance of websites for third parties.
   43 ­ Services for providing food and drink; provision of temporary accommodation agency to
provide places [hotels, apartments], rental of premises for meetings, recreation, hotel reservations,
reservations for temporary housing, hotels, cafes, coffee shops, cafeterias, restaurants, services,
recreation [Lodging ] bars services, camping services, food preparation and delivery of their home.
   45 ­ Security services for the protection of property and individuals, guarding civilian clothes, clubs,
services for the organization of meetings, bodyguard services.

                             Notices of changes relating to the registration of a trademark

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright: Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (CY) The transferor exclusive right: Ritzio Enterteyment Group Limited, Diarogu 4,
Kermit Building, 6th floor, of.601, R.S.1097, Nicosia, Cyprus (the CY) (750) Address for correspondence:
OOO "Treydinvent" Makarova TN, P / 7, Moscow, 117420 Date and registration number of the contract:
30.04.2013 № RD0123353 (580) Date of making changes in the State register of TK: 30.04.2013 Published:
25.05.2013




Correction of obvious and technical errors in the publication of the bulletin

(210) Application Number: 2005729691 Publication Date (bulletin): 25/05/2013 (BTZ number 10) Published:




The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diarogu 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



It should read:

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353694&TypeFile=html                    3/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №353694
                                              Trademark Filed 01/03/17 Page 122 of 217
(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diagorou 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



(580) Date of making changes in the State Register of TK: 06.06.2013 Published: 25.06.2013


Extension of the exclusive right to the trade mark

(732) Copyright: Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (the CY) (186) The date by which the validity period extended exclusive rights:
11.18.2025 (580) Date of entry in the State Register: 01.11.2016 Date of publication of the notice: 12.2.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : ., limited liability Company "INFINGRUPP",
142000, Moscow region, Domodedovo, md Central street. The station, d. 20A, Bldg. 1, of. 6V (RU) (793)
Specifies the terms of the contract: Non­exclusive license for a period up to 31.12.2018 in the territory of
the Russian Federation in respect of services 41 cl. ­ The organization of lotteries; Entertainment. The
date and number of state registration of the contract: 02/12/2016 №RD0191693 (580) Date of entry in the State
Register: 02.12.2016 Date of publication of the notice: 12.3.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : Joint Stock company "Sportbet", 107113,
Moscow, ul.Lobachika, 17 (RU) (793) Specifies the terms of the contract: Non­exclusive license for a period
up to 31.12.2018 in the territory of the Russian Federation in respect of services 41 cells, namely casino
games. , of gaming halls services, providing an interactive game [through a computer network], and
entertainment. The date and number of state registration of the contract: 05/31/2016 №RD0199097 (580) Date
of entry in the state register: 31.05.2016 Date of publication of the notice: 12.6.2016




http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353694&TypeFile=html                      4/5
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9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №342290
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                                                                   RU                342290
                  RUSSIAN FEDERATION                       (190)             (111)




                   FEDERAL SERVICE
             FOR INTELLECTUAL PROPERTY,
              PATENTS AND TRADEMARKS

           Trademarks, Service Marks and Appellations of Origin
                                                                                              Status: as of 09/08/2016 ­ works



                                               Trademarks, service marks,
(111) Registration Number: 342290                                                (220) Date of filing: 01.09.2006

(210) Application Number: 2006725086                                                   Priority date: 01.09.2006

(181) Date of expiration of the registration deadline: 01/09/2016                (151) Registration Date: 28­01­2008

                                                                                 (450) Publication Date: 25­02­2008

(540) The image of a trademark, service mark (732) Copyright: Ritzio Enterteyment Group Limited, Diagorou
4, Kermit Building, Office 601, Nicosia, Cyprus (the CY) (750) Address for correspondence: 117420,
Moscow, p / 7, Ltd. "Treydinvent" (511) The classes of the Nice Classification and the list of goods and / or
services:




    03 ­ Bleaching preparations and other substances for laundry use; preparations for cleaning,
polishing, scouring and abrasive preparations; soaps; perfumery, essential oils, cosmetics, hair
lotions; dentifrices.
    09 ­ apparatus for recording, transmission or reproduction of sound or images; magnetic data
carriers, recording discs; automatic vending machines and mechanisms for coin­operated apparatus;
data processing equipment and computers; vending machines for tickets, automatic musical prepaid
Machines trading, equipment for monitoring and control of electrical machinery, apparatus recording,
Switching devices, electrical, video, screens, floppy, recording discs, optical discs, compact discs
[ROM], compact discs [AV], magnets miniature mechanisms for automatic prepaid recording media, data
carriers, magnetic, media optic, for computer programs, program play computer, program computer
[downloadable software], publications, electronic [downloadable], smart ­kartochki, betting, gaming
devices with the mandatory use of television sets, entertainment devices with the mandatory use of
television sets, computer peripheral devices, signaling devices [burglar alarm], chips [integrated
circuits].
    16 ­ Paper, cardboard and goods made from these materials, not included in other classes; printed
products; photographs; stationery products; accessories for artists; teaching materials and visual aids
(except apparatus); plastic materials for packaging (not included in other classes), including pens,
albums, almanacs, posters, posters, tickets, forms, notepads, notebooks loose sheets, pamphlets,
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booklets, newsletters news, newspapers, engravings, holders for pencils , chalk holders, holders for
stamps, stamps; Holders Napkin Holders checkbooks, punches, clamps for index cards, clips for
fountain pens, bookmarks for books, publications printing, packaging goods, paper or plastic, image
graphics, calendars, tear­off calendars, pencils, picture, image conversion, cards credit printed, non­
electric, maps, geographical, catalogs, books, records, books, envelopes, materials, graphics printing,
learning materials [except apparatus], sets of letters, labels, self­adhesive, paper knives, wrappers for
bottles of cardboard or paper, covers, postcards music, greeting cards, postcards, postal, bags, paper,
bags, plastic, document folders, including folders for menu folders for bills, papier­mache, Periodicals
plates with clip for staff, trays for correspondence, trays sorting and counting money, stands for books,
coasters for beer mugs stands for pens and pencils, stands for photos, pads Stamp, paperweights,
writing instruments, office supplies [except furniture], writing utensils, tools for bonding paper, tools
pencil point [electric or non­electric], booklets, printed schedules, graphic reproductions, pens, paper
napkins, statuettes of papier­mache, banners, flags [paper], photogravure, photographs, prints, labels
[other than tissue].
   18 ­ Leather and imitations of leather, products from these materials, not included in other classes;
animal skins; trunks and traveling bags; umbrellas, parasols and walking sticks; whips, harness and
saddlery, wallets; wallets for business cards; umbrellas; products for leather documents; purses;
Clothing for pets; finishing of leather for furniture; purse; backpacks; bags.
   21 ­ Household or kitchen utensils and containers (not of precious metal or coated therewith); combs
and sponges; brushes (except brushes); materials for brush making; appliances for cleaning and
tidying; metal scouring pads; unworked or semi­worked glass (except glass used in building);
glassware, porcelain and earthenware not included in other classes, including trinkets made of
porcelain, dishes, saucers, glasses; bottles, busts of porcelain, ceramic or glass; vases, waffle iron, a
bucket of ice, towel racks, clothes hangers, bottles, combs, deodorizers for personal use, containers,
household or kitchen, containers made of glass, container insulating beverage container insulating
food, container glass, braziers, toothpicks , ceramic products for household; porcelain, ceramics and
glass art; pots, napkin rings, coin boxes metallic, baskets for bread baskets, domestic, coffee, non­
electric, coffee pots, non­electric, coffee grinders manual, beer mugs, covers for dishes, jugs, ice­
portable non­electric, spoons for stirring [cooking utensils], the blade [cutlery ] spatula [kitchen
utensils], pepper mill manual, bowls, soap dishes, sets of kitchen utensils, travel bags picnic [with a
set of dishes], travel bags for toiletries, knives for cutting biscuits [cooking utensils], knives test
sprayers, sticks for cocktails, pepper, gloves for household, trays, domestic, trays [cooking utensils],
candle holders, coasters for dishes [dining utensils], stand for decanters [with the exception of paper
and table] stand for menu, stands for knives [for tableware] stands for irons, tableware [other than
knives, forks and spoons]; porcelain tableware, pottery, earthenware and crystal; Utensils for
cosmetics, household utensils toilette, equipment for spices and accessories for removing make­up
[non­electric], fixtures, household, containing heat exchange fluids for cooling food, tools for opening
the bottles, corks, glass, powder, dispensers of soap, combs , shoehorns, salad bowls, sugar bowls,
dishes [tableware], sets of coffee and tea, strainers tea, siphons for carbonated water, household
mixers, juicers, household, salt shakers, drinking vessels, the vessel was cooled, cups of paper or
plastic, glass, glasses for drinks, statues and figurines of porcelain, earthenware or glass; tureens,
plates, graters [household utensils], flasks, boxes, aerosol devices [except for medical] devices for
cleaning footwear, irrigation devices, utensils, household, utensils and pans, utensils and pans for
cooking, filters, domestic, coffee filters, bottles , flasks, forms [pans], bread bins, Teapot, non­electric
teapots, cups, cocktail shakers, corkscrews, brushes for washing dishes and cleaning containers,
brushes; toothbrushes, shoe brushes, boxes for dispensing paper towels, metal, litter boxes.
   24 ­ Textiles and textile products; blankets, bedspreads and tablecloths; application of textile
materials; labels from textile materials.
   25 ­ Clothing, footwear, headgear, bandanas [headscarves], underwear, blouses, shoes, pants,
collars for clothing, inserts for shirts, ties, vests, sports articles, knitted articles, knitted pockets for
clothing, visors for hats , suits [clothing], costumes, swimwear, jackets, T­shirts with short sleeves,
headphones [clothing], socks, outerwear, clothes, clothing uniforms, clothing, coats, scarves, dresses,
coats, water­proof, belts [clothing] , pullovers, shirts, sweaters, hats, aprons [clothing], scarves, coats.
   26 ­ Lace and embroidery, ribbons and braid; buttons, hooks and eyes, pins and needles; artificial
flowers; badges; buttons, posters; bracelets­holders shirt sleeves, brooches (clothing accessories),
pins (except Costume Jewellery), clips for trousers, hair clips, Velcro, Decorative products for hair,
Decorative products, textile, bonded by heating, buttons, decorations for clothes.
   27 ­ Carpets, rugs, mats and matting, linoleum and other materials for covering existing floors;
wallpaper and wall upholstery, non­textile.
   28 ­ Games and playthings; gymnastic and sporting articles not included in other classes, including
machines gaming prepaid containers for dice, dice, cards playing, cue billiard chalk for billiard cues,
covers for billiard tables boards, tips for billiard cues, accessories for games, tools for markup in the
game of billiards, billiard tables, billiard tables with guns for prepayment, table tennis, electronic
games devices [except for devices with the mandatory use of television receivers], chips for games,
balls for games , billiard balls.
   30 ­ Coffee, tea, cocoa, sugar, rice, tapioca (cassava), sago, coffee substitutes; flour and cereals,
bread, pastry and confectionery, ice cream; honey, syrup from molasses; yeast, baking powder; salt,
mustard; vinegar, seasonings; spices; edible ice.
   32 ­ Beer; mineral and aerated waters and other non­alcoholic beverages, including energy drinks;
fruit drinks and fruit juices; syrups and other preparations for making beverages.
   33 ­ Alcoholic beverages (except beers).
   34 ­ Tobacco; smoking accessories; matches, lighters; matchboxes; ashtrays; Stand pipes;
cigarettes, cigarettes; cigars; matchboxes; matches; snuff boxes; pipe tobacco; boxes of cigars; boxes
of cigarettes, cigarettes.

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   35 ­ Advertising; business management; administrative activities in the field of business; office
functions, Agency for import and export, business expertise, demonstration of products, market
research, information business, research in the field of business, marketing research, advice on
organization and business management, advice on business organization, advice on business
management consultancy professional in business, organization of exhibitions for commercial or
advertising purposes, organization of trade fairs for commercial or advertising purposes, assessment of
business, information retrieval in computer files [for third parties], forecasting economic, auction sales,
product promotion [for third parties] , rental of office equipment and machines, rental of vending
machines, publication of advertising texts, distribution of samples, distribution of advertising
materials, advertising, interactive computer network, the collection of information in computer
databases, systematization of information in computer databases, services in the field of public
relations, provisioning services for third parties [purchasing goods and providing entrepreneurs],
wholesale and retail sale of goods.
   36 ­ Insurance; financial activities; monetary affairs; real estate transactions, including agency credit,
agencies in operations with real estate, analysis of financial, lease finance, banks, savings, issue of
securities, investment, information on insurance, the information the financial, clearing, advice on
insurance matters, advice on Finance, quotes, stock exchange, brokerage, management, finance,
money exchange, room service on debit cards, maintenance of credit card operations banking via the
Internet, the operation factor, the organization of cash charges, valuation of financial [insurance,
banking, real estate], the transfer of funds in the system of electronic payments, guarantees, stock
exchange mediation, mediation in real estate transactions, mediation of insurance, provision of loans,
collection of charitable funds; leasing of real estate, financial sponsorship, mortgage loans, real estate
management, banking, finance, tax expertise.
   37 ­ Construction; repairs; equipment installation.
   38 ­ Telecommunications, including electronic message board [telecommunications services],
providing access to the Internet [service providers], providing telecommunications connections to the
Internet, fiber­optic communication.
   39 ­ travel, including booking tickets for travel, booking travel itineraries, booking of vehicles,
delivery of goods, organization of cruises, travel organization, transportation of travelers, transport of
automobiles, car rental, maintenance travelers, wrapping of goods, parking services, driver services,
couriers [mail delivery or goods], travel agency services [except for the reservation of seats in hotels
and boarding houses], storage of goods, travel tours.
   41 ­ Education; providing of training; entertainment; sporting and cultural activities, including the
rental of tennis courts, billiard halls, book tickets for shows, video, disco, games of chance, the
publication of books, information on recreation, information on entertainment matters, clubs cultural
and educational and entertaining, clubs cafe night, providing an interactive game [through a computer
network], providing interactive electronic publications [not downloadable], practical training
[demonstration], organization of exhibitions with cultural and educational purpose, leisure, organizing
and conducting of workshops [training] , the organization of competitions education or entertainment,
organization of lotteries, organization of entertainment to recreation centers, sporting events,
amusement parks, providing sports facilities, providing services to the gambling halls, cinemas
provide services, sports programming, producing movies and movie rentals and audio recordings ,
audio equipment and VCR rental, slot machines, rental of films, equipment stadium rental, publications
using desktop electronic publishing, publish interactive books and periodicals, publication of texts
[other than advertising], entertaining guests, programming meetings, [entertainment] casino services,
translation services, photography, shows, music halls.
   42 ­ Development and improvement of technical and computer software; analysis of computer
systems, software installation, software upgrades, maintenance engineering software, design of
computer systems, computer rentals, and software tools, the arrangement of Web sites, the creation and
maintenance of websites for third parties.
   43 ­ Services for providing food and drink; provision of temporary accommodation agency to
provide places [hotels, apartments], rental of premises for meetings, recreation, hotel reservations,
reservations for temporary housing, hotels, cafes, coffee shops, cafeterias, restaurants, services,
recreation [Lodging ] bars services, camping services, food preparation and delivery of their home.
   45 ­ Personal and social services rendered by others to meet the needs of individuals; agency
marriage; detective agency; Agency for organizing the night guard; security services for the protection
of property and individuals, guarding civilian clothes, clubs, services for the organization of meetings,
bodyguard services.

                             Notices of changes relating to the registration of a trademark

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright: Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (CY) The transferor exclusive right: Ritzio Enterteyment Group Limited, Diarogu 4,
Kermit Building, 6th floor, of.601, R.S.1097, Nicosia, Cyprus (the CY) (750) Address for correspondence:
OOO "Treydinvent" Makarova TN, P / 7, Moscow, 117420 Date and registration number of the contract:
30.04.2013 № RD0123353 (580) Date of making changes in the State register of TK: 30.04.2013 Published:
25.05.2013




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Correction of obvious and technical errors in the publication of the bulletin

(210) Application Number: 2006725086 Publication Date (bulletin): 25/05/2013 (BTZ number 10) Published:




The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diarogu 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



It should read:

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diagorou 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



(580) Date of making changes in the State Register of TK: 06.06.2013 Published: 25.06.2013


The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : ., limited liability Company "INFINGRUPP",
142000, Moscow region, Domodedovo, md Central street. The station, d. 20A, Bldg. 1, of. 6V (RU) (793)
Specifies the terms of the contract: Non­exclusive license for a period up to 31.12.2018 in the territory of
the Russian Federation in respect of services 41 cl. ­ The organization of lotteries; Entertainment. The
date and number of state registration of the contract: 02/12/2016 №RD0191693 (580) Date of entry in the State
Register: 02.12.2016 Date of publication of the notice: 12.3.2016




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Extension of the exclusive right to the trade mark

(732) Copyright: Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (the CY) (186) The date by which the validity period extended exclusive rights:
09.01.2026 (580) Date of entry in the State Register: 04.04.2016 Date of publication of the notice: 25.4.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : Joint Stock company "Sportbet", 107113,
Moscow, ul.Lobachika, 17 (RU) (793) Specifies the terms of the contract: Non­exclusive license for a period
up to 31.12.2018 in the territory of the Russian Federation in respect of services 41 cells, namely casino
games. , of gaming halls services, providing an interactive game [through a computer network], and
entertainment. The date and number of state registration of the contract: 05/31/2016 №RD0199097 (580) Date
of entry in the state register: 31.05.2016 Date of publication of the notice: 12.6.2016




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                                                                   RU                342291
                  RUSSIAN FEDERATION                       (190)             (111)




                   FEDERAL SERVICE
             FOR INTELLECTUAL PROPERTY,
              PATENTS AND TRADEMARKS

           Trademarks, Service Marks and Appellations of Origin
                                                                                              Status: as of 09/08/2016 ­ works



                                               Trademarks, service marks,
(111) Registration Number: 342291                                                (220) Date of filing: 01.09.2006

(210) Application Number: 2006725088                                                   Priority date: 01.09.2006

(181) Date of expiration of the registration deadline: 01/09/2016                (151) Registration Date: 28­01­2008

                                                                                 (450) Publication Date: 25­02­2008

(540) The image of a trademark, service mark (732) Copyright: Ritzio Enterteyment Group Limited, Diagorou
4, Kermit Building, Office 601, Nicosia, Cyprus (the CY) (750) Address for correspondence: 117420,
Moscow, p / 7, Ltd. "Treydinvent" (591) Specifies the color or combination of colors: white, yellow, orange,
red, blue, dark blue, dark blue (511) classes of the Nice Classification and the list of goods and / or services:




    03 ­ Bleaching preparations and other substances for laundry use; preparations for cleaning,
polishing, scouring and abrasive preparations; soaps; perfumery, essential oils, cosmetics, hair
lotions; dentifrices.
    09 ­ apparatus for recording, transmission or reproduction of sound or images; magnetic data
carriers, recording discs; automatic vending machines and mechanisms for coin­operated apparatus;
data processing equipment and computers; vending machines for tickets, automatic musical prepaid
Machines trading, equipment for monitoring and control of electrical machinery, apparatus recording,
Switching devices, electrical, video, screens, floppy, recording discs, optical discs, compact discs
[ROM], compact discs [AV], magnets miniature mechanisms for automatic prepaid recording media, data
carriers, magnetic, media optic, for computer programs, program play computer, program computer
[downloadable software], publications, electronic [downloadable], smart ­kartochki, betting, gaming
devices with the mandatory use of television sets, entertainment devices with the mandatory use of
television sets, computer peripheral devices, signaling devices [burglar alarm], chips [integrated
circuits].


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   16 ­ Paper, cardboard and goods made from these materials, not included in other classes; printed
products; photographs; stationery products; accessories for artists; teaching materials and visual aids
(except apparatus); plastic materials for packaging (not included in other classes), including pens,
albums, almanacs, posters, posters, tickets, forms, notepads, notebooks loose sheets, pamphlets,
booklets, newsletters news, newspapers, engravings, holders for pencils , chalk holders, holders for
stamps, stamps; Holders Napkin Holders checkbooks, punches, clamps for index cards, clips for
fountain pens, bookmarks for books, publications printing, packaging goods, paper or plastic, image
graphics, calendars, tear­off calendars, pencils, picture, image conversion, cards credit printed, non­
electric, maps, geographical, catalogs, books, records, books, envelopes, materials, graphics printing,
learning materials [except apparatus], sets of letters, labels, self­adhesive, paper knives, wrappers for
bottles of cardboard or paper, cover, musical greeting cards, greeting cards, postcards, paper bags,
bags, plastic, document folders, including folders for menu folders for bills, papier­mache, Periodicals
plates with clip for staff, trays for correspondence, trays sorting and counting money, stands for books,
coasters for beer mugs stands for pens and pencils, stands for photos, pads Stamp, paperweights,
writing instruments, office supplies [except furniture], writing utensils, tools for bonding paper, tools
pencil point [electric or non­electric], booklets, printed schedules, graphic reproductions, pens, paper
napkins, statuettes of papier­mache, banners, flags [paper], photogravure, photographs, prints, labels
[other than tissue].
   18 ­ Leather and imitations of leather, products from these materials, not included in other classes;
animal skins; trunks and traveling bags; umbrellas, parasols and walking sticks; whips, harness and
saddlery, wallets; wallets for business cards; umbrellas; products for leather documents; purses;
Clothing for pets; finishing of leather for furniture; purse; backpacks; bags.
   21 ­ Household or kitchen utensils and containers (not of precious metal or coated therewith); combs
and sponges; brushes (except brushes); materials for brush making; appliances for cleaning and
tidying; metal scouring pads; unworked or semi­worked glass (except glass used in building);
glassware, porcelain and earthenware not included in other classes, including trinkets made of
porcelain, dishes, saucers, glasses; bottles, busts of porcelain, ceramic or glass; vases, waffle iron, a
bucket of ice, towel racks, clothes hangers, bottles, combs, deodorizers for personal use, containers,
household or kitchen, containers made of glass, container insulating beverage container insulating
food, container glass, braziers, toothpicks , ceramic products for household; porcelain, ceramics and
glass art; pots, napkin rings, coin boxes metallic, baskets for bread baskets, domestic, coffee, non­
electric, coffee pots, non­electric, coffee grinders manual, beer mugs, covers for dishes, jugs, ice­
portable non­electric, spoons for stirring [cooking utensils], the blade [cutlery ] spatula [kitchen
utensils], pepper mill manual, bowls, soap dishes, sets of kitchen utensils, travel bags picnic [with a
set of dishes], travel bags for toiletries, knives for cutting biscuits [cooking utensils], knives test
sprayers, sticks for cocktails, pepper, gloves for household, trays, domestic, trays [cooking utensils],
candle holders, coasters for dishes [dining utensils], stand for decanters [with the exception of paper
and table] stand for menu, stands for knives [for tableware] stands for irons, tableware [other than
knives, forks and spoons]; porcelain tableware, pottery, earthenware and crystal; Utensils for
cosmetics, household utensils toilette, equipment for spices and accessories for removing make­up
[non­electric], fixtures, household, containing heat exchange fluids for cooling food, tools for opening
the bottles, corks, glass, powder, dispensers of soap, combs , shoehorns, salad bowls, sugar bowls,
dishes [tableware], sets of coffee and tea, strainers tea, siphons for carbonated water, household
mixers, juicers, household, salt shakers, drinking vessels, the vessel was cooled, cups of paper or
plastic, glass, glasses for drinks, statues and figurines of porcelain, earthenware or glass; tureens,
plates, graters [household utensils], flasks, boxes, aerosol devices [except for medical] devices for
cleaning footwear, irrigation devices, utensils, household, utensils and pans, utensils and pans for
cooking, filters, domestic, coffee filters, bottles , flasks, forms [pans], bread bins, Teapot, non­electric
teapots, cups, cocktail shakers, corkscrews, brushes for washing dishes and cleaning containers,
brushes; toothbrushes, shoe brushes, boxes for dispensing paper towels, metal, litter boxes.
   24 ­ Textiles and textile products; blankets, bedspreads and tablecloths; application of textile
materials; labels from textile materials.
   25 ­ Clothing, footwear, headgear, bandanas [headscarves], underwear, blouses, shoes, pants,
collars for clothing, inserts for shirts, ties, vests, sports articles, knitted articles, knitted pockets for
clothing, visors for hats , suits [clothing], costumes, swimwear, jackets, T­shirts with short sleeves,
headphones [clothing], socks, outerwear, clothes, clothing uniforms, clothing, coats, scarves, dresses,
coats, water­proof, belts [clothing] , pullovers, shirts, sweaters, hats, aprons [clothing], scarves, coats.
   26 ­ Lace and embroidery, ribbons and braid; buttons, hooks and eyes, pins and needles; artificial
flowers; badges; buttons, posters; bracelets­holders shirt sleeves, brooches (clothing accessories),
pins (except Costume Jewellery), clips for trousers, hair clips, Velcro, Decorative products for hair,
Decorative products, textile, bonded by heating, buttons, decorations for clothes.
   27 ­ Carpets, rugs, mats and matting, linoleum and other materials for covering existing floors;
wallpaper and wall upholstery, non­textile.
   28 ­ Games and playthings; gymnastic and sporting articles not included in other classes, including
machines gaming prepaid containers for dice, dice, cards playing, cue billiard chalk for billiard cues,
covers for billiard tables boards, tips for billiard cues, accessories for games, tools for markup in the
game of billiards, billiard tables, billiard tables with guns for prepayment, table tennis, electronic
games devices [except for devices with the mandatory use of television receivers], chips for games,
balls for games , billiard balls.
   30 ­ Coffee, tea, cocoa, sugar, rice, tapioca (cassava), sago, coffee substitutes; flour and cereals,
bread, pastry and confectionery, ice cream; honey, syrup from molasses; yeast, baking powder; salt,
mustard; vinegar, seasonings; spices; edible ice.
   32 ­ Beer; mineral and aerated waters and other non­alcoholic beverages, including energy drinks;
fruit drinks and fruit juices; syrups and other preparations for making beverages.

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   33 ­ Alcoholic beverages (except beers).
   34 ­ Tobacco; smoking accessories; matches, lighters; matchboxes; ashtrays; Stand pipes;
cigarettes, cigarettes; cigars; matchboxes; matches; snuff boxes; pipe tobacco; boxes of cigars; boxes
of cigarettes, cigarettes.
   35 ­ Advertising; business management; administrative activities in the field of business; office
functions, Agency for import and export, business expertise, demonstration of products, market
research, information business, research in the field of business, marketing research, advice on
organization and business management, advice on business organization, advice on business
management consultancy professional in business, organization of exhibitions for commercial or
advertising purposes, organization of trade fairs for commercial or advertising purposes, assessment of
business, information retrieval in computer files [for third parties], forecasting economic, auction sales,
product promotion [for third parties] , rental of office equipment and machines, rental of vending
machines, publication of advertising texts, distribution of samples, distribution of advertising
materials, advertising, interactive computer network, the collection of information in computer
databases, systematization of information in computer databases, services in the field of public
relations, provisioning services for third parties [purchasing goods and providing entrepreneurs],
wholesale and retail sale of goods.
   36 ­ Insurance; financial activities; monetary affairs; real estate transactions, including agency
lending, agency operations nedvizhimm estate analysis Financial, lease finance, banks, savings, issue
of securities, investment, information on insurance, the information the financial, clearing, advice on
insurance matters, advice on Finance, quotes, stock exchange, brokerage, management, finance,
money exchange, room service on debit cards, maintenance of credit card operations banking via the
Internet, the operation factor, the organization of cash charges, valuation of financial [insurance,
banking, real estate], the transfer of funds in the system of electronic payments, guarantees, stock
exchange mediation, mediation in real estate transactions, mediation of insurance, provision of loans,
collection of charitable funds; leasing of real estate, financial sponsorship, mortgage loans, real estate
management, banking, finance, tax expertise.
   37 ­ Construction; repairs; equipment installation.
   38 ­ Telecommunications, including electronic message board [telecommunications services],
providing access to the Internet [service providers], providing telecommunications connections to the
Internet, fiber­optic communication.
   39 ­ travel, including booking tickets for travel, booking travel itineraries, booking of vehicles,
delivery of goods, organization of cruises, travel organization, transportation of travelers, transport of
automobiles, car rental, maintenance travelers, wrapping of goods, parking services, driver services,
couriers [mail delivery or goods], travel agency services [except for the reservation of seats in hotels
and boarding houses], storage of goods, travel tours.
   41 ­ Education; providing of training; entertainment; sporting and cultural activities, including the
rental of tennis courts, billiard halls, book tickets for shows, video, disco, games of chance, the
publication of books, information on recreation, information on entertainment matters, clubs cultural
and educational and entertaining, clubs cafe night, providing an interactive game [through a computer
network], providing interactive electronic publications [not downloadable], practical training
[demonstration], organization of exhibitions with cultural and educational purpose, leisure, organizing
and conducting of workshops [training] , the organization of competitions education or entertainment,
organization of lotteries, organization of entertainment to recreation centers, sporting events,
amusement parks, providing sports facilities, providing services to the gambling halls, cinemas
provide services, sports programming, producing movies and movie rentals and audio recordings ,
audio equipment and VCR rental, slot machines, rental of films, equipment stadium rental, publications
using desktop electronic publishing, publish interactive books and periodicals, publication of texts
[other than advertising], entertaining guests, programming meetings, [entertainment] casino services,
translation services, photography, shows, music halls.
   42 ­ Development and improvement of technical and computer software; analysis of computer
systems, software installation, software upgrades, maintenance engineering software, design of
computer systems, computer rentals, and software tools, the arrangement of Web sites, the creation and
maintenance of websites for third parties.
   43 ­ Services for providing food and drink; provision of temporary accommodation agency to
provide places [hotels, apartments], rental of premises for meetings, recreation, hotel reservations,
reservations for temporary housing, hotels, cafes, coffee shops, cafeterias, restaurants, services,
recreation [Lodging ] bars services, camping services, food preparation and delivery of their home.
   45 ­ Personal and social services rendered by others to meet the needs of individuals; agency
marriage; detective agency; Agency for organizing the night guard; security services for the protection
of property and individuals, guarding civilian clothes, clubs, services for the organization of meetings,
bodyguard services.

                             Notices of changes relating to the registration of a trademark

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright: Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (CY) The transferor exclusive right: Ritzio Enterteyment Group Limited, Diarogu 4,
Kermit Building, 6th floor, of.601, R.S.1097, Nicosia, Cyprus (the CY) (750) Address for correspondence:
OOO "Treydinvent" Makarova TN, P / 7, Moscow, 117420 Date and registration number of the contract:
30.04.2013 № RD0123353 (580) Date of making changes in the State register of TK: 30.04.2013 Published:

http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342291&TypeFile=html                    3/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №342291
                                              Trademark Filed 01/03/17 Page 132 of 217
25.05.2013




Correction of obvious and technical errors in the publication of the bulletin

(210) Application Number: 2006725088 Publication Date (bulletin): 25/05/2013 (BTZ number 10) Published:




The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diarogu 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



It should read:

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diagorou 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



(580) Date of making changes in the State Register of TK: 06.06.2013 Published: 25.06.2013


The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : ., limited liability Company "INFINGRUPP",
142000, Moscow region, Domodedovo, md Central street. The station, d. 20A, Bldg. 1, of. 6V (RU) (793)
Specifies the terms of the contract: Non­exclusive license for a period up to 31.12.2018 in the territory of
the Russian Federation in respect of services 41 cl. ­ The organization of lotteries; Entertainment. The
date and number of state registration of the contract: 02/12/2016 №RD0191693 (580) Date of entry in the State
Register: 02.12.2016 Date of publication of the notice: 12.3.2016


http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342291&TypeFile=html                      4/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №342291
                                              Trademark Filed 01/03/17 Page 133 of 217




Extension of the exclusive right to the trade mark

(732) Copyright: Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (the CY) (186) The date by which the validity period extended exclusive rights:
09.01.2026 (580) Date of entry in the State Register: 04.04.2016 Date of publication of the notice: 25.4.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : Joint Stock company "Sportbet", 107113,
Moscow, ul.Lobachika, 17 (RU) (793) Specifies the terms of the contract: Non­exclusive license for a period
up to 31.12.2018 in the territory of the Russian Federation in respect of services 41 cells, namely casino
games. , of gaming halls services, providing an interactive game [through a computer network], and
entertainment. The date and number of state registration of the contract: 05/31/2016 №RD0199097 (580) Date
of entry in the state register: 31.05.2016 Date of publication of the notice: 12.6.2016




http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342291&TypeFile=html                      5/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №307879
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                                                                   RU                307879
                  RUSSIAN FEDERATION                       (190)             (111)




                   FEDERAL SERVICE
             FOR INTELLECTUAL PROPERTY,
              PATENTS AND TRADEMARKS

           Trademarks, Service Marks and Appellations of Origin
                                                                                              Status: as of 09/08/2016 ­ works



                                               Trademarks, service marks,
(111) Registration Number: 307879                                                (220) Date of filing: 18.11.2005

(210) Application Number: 2005729687                                             (151) Registration Date: 02­06­2006

(181) Date of expiration of the registration deadline: 18/11/2015                (450) Publication Date: 12­07­2006

(540) (732) Copyright: Limited Liability Company "Firm" Bars "Moscow (RU) (750) Address for
correspondence: 125009, Moscow, p / 28, Ltd." IntellektPatent "for S.Yu.Yakovleva (511) The classes of the
Nice Classification and the list of goods and / or services:




    09 ­ apparatus for recording, transmission or reproduction of sound or images; magnetic data
carriers, recording discs; automatic vending machines and mechanisms for coin­operated apparatus;
data processing equipment and computers; vending machines for tickets, automatic musical prepaid
Machines trading, equipment for monitoring and control of electrical machinery, apparatus recording,
Switching devices, electrical, video, screens, floppy, recording discs, optical discs, compact discs
[ROM], compact discs [AV], magnets miniature mechanisms for automatic prepaid recording media, data
carriers, magnetic, media optic, for computer programs, program play computer, program computer
[downloadable software], publications, electronic [downloadable], smart ­kartochki, betting, gaming
devices with the mandatory use of television sets, entertainment devices with the mandatory use of
television sets, computer peripheral devices, signaling devices [burglar alarm], chips [integrated
circuits].
    16 ­ printed matter; almanacs, posters, posters, tickets, letterheads, brochures, leaflets, newsletters
news, newspapers, prints, publications printing, calendars, tear­off calendars, cards credit printed,
non­electric, catalogs, books, graphics printing, periodicals, brochures, schedule printing,
reproduction graphics.
    21 ­ Household or kitchen utensils and containers (not of precious metal or coated therewith); combs
and sponges; brushes (except brushes); materials for brush making; appliances for cleaning and
tidying; metal scouring pads; unworked or semi­worked glass (except glass used in building);
glassware, porcelain and earthenware not included in other classes, including $ trinkets made of
porcelain, dishes, saucers, glasses; bottles, busts of porcelain, ceramic or glass; vases, waffle iron, a
bucket of ice, towel racks, clothes hangers, bottles, combs, deodorizers for personal use, containers,
household or kitchen, containers made of glass, container insulating beverage container insulating
food, container glass, braziers, toothpicks , ceramic products for household; porcelain, ceramics and
glass art; pots, napkin rings, coin boxes metallic, baskets for bread baskets, domestic, coffee, non­
electric, coffee pots, non­electric, coffee grinders manual, beer mugs, covers for dishes, jugs, ice­
portable non­electric, spoons for stirring [cooking utensils], the blade [cutlery ] spatula [kitchen
utensils], pepper mill manual, bowls, soap dishes, sets of kitchen utensils, travel bags picnic [with a
set of dishes], travel bags for toiletries, knives for cutting biscuits [cooking utensils], knives test
sprayers, sticks for cocktails, pepper, gloves for household, trays, domestic, trays [cooking utensils],
candle holders, coasters for dishes [dining utensils], stand for decanters [with the exception of paper
and table] stand for menu, stands for knives [for tableware] stands for irons, tableware [other than
knives, forks and spoons]; porcelain tableware, pottery, earthenware and crystal; Utensils for
http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=307879&TypeFile=html                                       1/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №307879
                                              Trademark Filed 01/03/17 Page 135 of 217
cosmetics, household utensils toilette, equipment for spices and accessories for removing make­up
[non­electric], fixtures, household, containing heat exchange fluids for cooling food, tools for opening
the bottles, corks, glass, powder, dispensers of soap, combs , shoehorns, salad bowls, sugar bowls,
dishes [tableware], sets of coffee and tea, strainers tea, siphons for carbonated water, household
mixers, juicers, household, salt shakers, drinking vessels, the vessel was cooled, cups of paper or
plastic, glass, glasses for drinks, statues and figurines of porcelain, earthenware or glass; tureens,
plates, graters [household utensils], flasks, boxes, aerosol devices [except for medical] devices for
cleaning footwear, irrigation devices, utensils, household, utensils and pans, utensils and pans for
cooking, filters, domestic, coffee filters, bottles , flasks, forms [pans], bread bins, Teapot, kettles, non­
electric, cups, shakers cocktail, corkscrews, brushes for washing dishes and cleaning containers,
toothbrushes, brushes, shoe boxes for dispensing paper towels, metal, litter boxes.
   28 ­ Games and playthings; gymnastic and sporting articles not included in other classes; including
machines gaming prepaid containers for dice, dice, cards playing, cue billiard chalk for billiard cues,
covers the bead of billiard tables, tips for billiard cues and accessories for the gaming, tools for
markup in the game of billiards , billiard tables, billiard tables with guns for prepayment, table tennis,
electronic games devices [except for devices with the mandatory use of television receivers], chips for
games, balls for games, billiard balls.
   35 ­ office functions, searching for information in computer files (for third parties), rental of office
equipment and machines, rental of vending machines, information in computer databases collection,
systematization of information in computer databases, services in the field of public relations.
   38 ­ Telecommunications; including an electronic message board [telecommunications services],
providing access to the Internet [service providers], providing telecommunications connections to the
Internet, fiber­optic communication.
   39 ­ travel, including booking tickets for travel, booking travel itineraries, booking of vehicles,
delivery of goods, organization of cruises, transportation travel, transportation car, car rental,
maintenance travelers, wrapping of goods, parking services, driver services, courier services [delivery
correspondence or goods], travel agency services [except for the reservation of seats in hotels and
boarding houses], storage of goods, travel tours.
   41 ­ Education; providing of training; entertainment; the organization of cultural activities; billiard
halls, book tickets for shows, video, disco, games of chance, the publication of books, information on
recreation, information on entertainment, clubs, cultural, educational and entertainment, clubs, cafes
night, providing an interactive game [through a computer network] software interactive electronic
publications [not downloadable], practical training [demonstration], organization of exhibitions with
cultural and educational purpose, leisure, organizing and conducting of workshops [training], the
organization of competitions education or entertainment, the organization of lotteries, organization of
entertainment to recreation , amusement parks, providing services to the gambling halls, cinemas
provision of services, production of videos and films, rental of sound recordings and audio, audio
equipment rental and video recorders, rental of slot machines, movie rental, publication via electronic
desktop publishing, publication of interactive books and periodicals, publication of texts [other than
advertising], entertaining guests, programming meetings, [entertainment], casino services, translation
services, photography, shows.
   42 ­ Development and improvement of technical and computer software; analysis of computer
systems, software installation, software upgrades, maintenance engineering software, design of
computer systems, computer rentals, and software tools, the arrangement of Web sites, the creation and
maintenance of websites for third parties.
   43 ­ Services for providing food and drink; provision of temporary accommodation agency to
provide places [hotels, apartments], rental of premises for meetings, recreation, hotel reservations,
reservations for temporary housing, hotels, cafes, coffee shops, cafeterias, restaurants, services,
recreation [Lodging ] bars services, camping services, food preparation and delivery of their home.
   45 ­ Security services for the protection of property and individuals, guarding civilian clothes, clubs,
services for the organization of meetings, bodyguard services.

                             Notices of changes relating to the registration of a trademark

The name, surname, name and patronymic of the copyright owner and / or the location or place of
residence

(771) Former name / copyright owner's name: Limited Liability Company "Firm" Bars ", 105005, Moscow,
ul.Baumanskaya, 56/17, p. 1 (RU) (732) Copyright: limited liability Company "Gaming clubs" Volcano ",
101000, Moscow, ul. Pokrovka 3/7, p 1 (RU).. (580) Date of making changes in the State Register of TK:
30.08.2007 Published: 12.10.2007




Registration of assignment agreement of the trademark in respect of all the goods and / or services

(732) Copyright: Ritzio Enterteyment Group Limited, Diagorou, 4, Kermit Building, Office 601, Nicosia,
Cyprus (CY) The transferor exclusive right: Limited Liability Company "Gaming clubs" Volcano ", 101000,

http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=307879&TypeFile=html                      2/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №307879
                                              Trademark Filed 01/03/17 Page 136 of 217
Moscow, Pokrovka 3/7, p 1 (RU)... The date and registration number of the contract: 15.10.2007
№RD0027760 (580) Date of making changes in the State register of TK: 15.10. 2007 Posted on: 25­11­2007




The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright: Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (CY) The transferor exclusive right: Ritzio Enterteyment Group Limited, Diarogu 4,
Kermit Building, 6th floor, of.601, R.S.1097, Nicosia, Cyprus (the CY) (750) Address for correspondence:
OOO "Treydinvent" Makarova TN, P / 7, Moscow, 117420 Date and registration number of the contract:
30.04.2013 № RD0123353 (580) Date of making changes in the State register of TK: 30.04.2013 Published:
25.05.2013




Correction of obvious and technical errors in the publication of the bulletin

(210) Application Number: 2005729687 Publication Date (bulletin): 25/05/2013 (BTZ number 10) Published:




The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diarogu 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



It should read:

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:


http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=307879&TypeFile=html                    3/5
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №307879
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Ritzio Enterteyment Group Limited, Diagorou 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



(580) Date of making changes in the State Register of TK: 06.06.2013 Published: 25.06.2013


Extension of the exclusive right to the trade mark

(732) Copyright: Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (the CY) (186) The date by which the validity period extended exclusive rights:
11.18.2025 (580) Date of entry in the State Register: 12.17.2015 Date of publication of the notice: 12.1.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : ., limited liability Company "INFINGRUPP",
142000, Moscow region, Domodedovo, md Central street. The station, d. 20A, Bldg. 1, of. 6V (RU) (793)
Specifies the terms of the contract: Non­exclusive license for a period up to 31.12.2018 in the territory of
the Russian Federation in respect of services 41 cl. ­ The organization of lotteries; Entertainment. The
date and number of state registration of the contract: 02/12/2016 №RD0191693 (580) Date of entry in the State
Register: 02.12.2016 Date of publication of the notice: 12.3.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : Joint Stock company "Sportbet", 107113,
Moscow, ul.Lobachika, 17 (RU) (793) Specifies the terms of the contract: Non­exclusive license for a period
up to 31.12.2018 in the territory of the Russian Federation in respect of services 41 cells, namely casino
games. , of gaming halls services, providing an interactive game [through a computer network], and
entertainment. The date and number of state registration of the contract: 05/31/2016 №RD0199097 (580) Date
of entry in the state register: 31.05.2016 Date of publication of the notice: 12.6.2016




http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=307879&TypeFile=html                      4/5
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9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №353692
                                              Trademark Filed 01/03/17 Page 139 of 217

                                                                   RU                353692
                  RUSSIAN FEDERATION                       (190)             (111)




                   FEDERAL SERVICE
             FOR INTELLECTUAL PROPERTY,
              PATENTS AND TRADEMARKS

           Trademarks, Service Marks and Appellations of Origin
                                                                                              Status: as of 09/08/2016 ­ works



                                               Trademarks, service marks,
(111) Registration Number: 353692                                                (220) Date of filing: 18.11.2005

(210) Application Number: 2005729688                                                   Priority date: 18.11.2005

(181) Date of expiration of the registration deadline: 18/11/2015                (151) Registration Date: 25­06­2008

                                                                                 (450) Publication Date: 25­07­2008

(540) The image of a trademark, service mark (732) Copyright: Ritzio Enterteyment Group Limited, Diagorou
4, Kermit Building, Office 601, Nicosia, Cyprus (the CY) (750) Address for correspondence: 117420,
Moscow, p / 7 ( 511) The classes of the Nice Classification and the list of goods and / or services:




    09 ­ apparatus for recording, transmission or reproduction of sound or images; magnetic data
carriers, recording discs; automatic vending machines and mechanisms for coin­operated apparatus;
data processing equipment and computers; vending machines for tickets, automatic musical prepaid
Machines trading, equipment for monitoring and control of electrical machinery, apparatus recording,
Switching devices, electrical, video, screens, floppy, recording discs, optical discs, compact discs
[ROM], compact discs [AV], magnets miniature mechanisms for automatic prepaid recording media, data
carriers, magnetic, media optic, for computer programs, program play computer, program computer
[downloadable software], publications, electronic [downloadable], smart ­kartochki, betting, gaming
devices with the mandatory use of television sets, entertainment devices with the mandatory use of
television sets, computer peripheral devices, signaling devices [burglar alarm], chips [integrated
circuits].
    16 ­ Paper, cardboard and goods made from these materials, not included in other classes; printed
products; photographs; stationery products; accessories for artists; teaching materials and visual aids
(except apparatus); plastic materials for packaging (not included in other classes), including pens,
albums, almanacs, posters, posters, tickets, forms, notepads, notebooks loose sheets, pamphlets,
booklets, newsletters news, newspapers, engravings, holders for pencils , chalk holders, holders for
stamps, stamps; holders checkbooks, punches, clamps for index cards, clips for fountain pens,
bookmarks for books, publications printing, packaging goods, paper or plastic, image graphics,
calendars, tear­off calendars, pencils, picture, image conversion, card credit printed, non­electric,
maps, geographical, catalogs, books, records, books, envelopes, materials, graphics printing, learning
materials [except apparatus], sets for writing, self­adhesive labels, paper knives, wrappers for bottles of
cardboard or paper, covers, postcards music , greeting cards, postcards, bags, paper, document
folders, paper mache, Periodicals stand for books, coasters for beer mugs stands for pens and pencils,
stands for photos, pads Stamp, paperweights, desk sets, accessories office [except furniture], writing
utensils, tools for bonding paper, devices for pencils point [electric or non­electric], brochures,
schedule printing, reproduction of graphics, pens, figurines made of papier­mache, banners, flags
[paper], photogravure, photographs, prints, labels [other than tissue].
    21 ­ Household or kitchen utensils and containers (not of precious metal or coated therewith); combs
and sponges; brushes (except brushes); materials for brush making; appliances for cleaning and

http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353692&TypeFile=html                                       1/4
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №353692
                                              Trademark Filed 01/03/17 Page 140 of 217
tidying; metal scouring pads; unworked or semi­worked glass (except glass used in building);
glassware, porcelain and earthenware not included in other classes, including trinkets made of
porcelain, dishes, saucers, glasses; bottles, busts of porcelain, ceramic or glass; vases, waffle iron, a
bucket of ice, towel racks, clothes hangers, bottles, combs, deodorizers for personal use, containers,
household or kitchen, containers made of glass, container insulating beverage container insulating
food, container glass, braziers, toothpicks , ceramic products for household; porcelain, ceramics and
glass art; pots, napkin rings, coin boxes metallic, baskets for bread baskets, domestic, coffee, non­
electric, coffee pots, non­electric, coffee grinders manual, beer mugs, covers for dishes, jugs, ice­
portable non­electric, spoons for stirring [cooking utensils], the blade [cutlery ] spatula [kitchen
utensils], pepper mill manual, bowls, soap dishes, sets of kitchen utensils, travel bags picnic [with a
set of dishes], travel bags for toiletries, knives for cutting biscuits [cooking utensils], to test blades,
sprayers, sticks for cocktails, pepper, gloves for household, trays, domestic, trays [cooking utensils],
candle holders, coasters for dishes [dining utensils], stand for decanters [with the exception of paper
and table] stand for menu, stands for knives [for tableware] stands for irons, tableware [other than
knives, forks and spoons]; porcelain tableware, pottery, earthenware and crystal; Utensils for
cosmetics, household utensils toilette, equipment for spices and accessories for removing make­up
[non­electric], household devices containing heat exchange fluids for cooling food, tools for opening
the bottles, corks, glass, powder, dispensers of soap, combs , shoehorns, salad bowls, sugar bowls,
dishes [tableware], sets of coffee and tea, strainers tea, siphons for carbonated water, household
mixers, juicers, household, salt shakers, drinking vessels, the vessel was cooled, cups of paper or
plastic, glass, glasses for drinks, statues and figurines of porcelain, earthenware or glass; tureens,
plates, graters [household utensils], flasks, boxes, aerosol devices [except for medical] devices for
cleaning footwear, irrigation devices, utensils, household, utensils and pans, utensils and pans for
cooking, filters, domestic, coffee filters, bottles , flasks, forms [pans], bread bins, Teapot, kettles, non­
electric, cups, shakers cocktail, corkscrews, brushes for washing dishes and cleaning containers,
toothbrushes, brushes, shoe boxes for dispensing paper towels, metal, litter boxes.
    28 ­ Games and playthings; gymnastic and sporting articles not included in other classes, including
machines gaming prepaid containers for dice, dice, cards playing, cue billiard chalk for billiard cues,
covers for billiard tables boards, tips for billiard cues, accessories for games, tools for markup in the
game of billiards, billiard tables, billiard tables with guns for prepayment, table tennis, electronic
games devices [except for devices with the mandatory use of television receivers], chips for games,
balls for games , billiard balls.
    32 ­ Beer; mineral and aerated waters and other non­alcoholic beverages, including energy drinks;
fruit drinks and fruit juices; syrups and other preparations for making beverages.
    35 ­ Advertising; business management; administrative activities in the field of business; office
functions, Agency for import and export, business expertise, demonstration of products, market
research, information business, research in the field of business, marketing research, advice on
organization and business management, advice on business organization, advice on business
management consultancy professional in business, organization of exhibitions for commercial or
advertising purposes, organization of trade fairs for commercial or advertising purposes, assessment of
business, information retrieval in computer files [for third parties], forecasting economic, auction sales,
product promotion [for third parties] , rental of office equipment and machines, rental of vending
machines, publication of advertising texts, distribution of samples, distribution of advertising
materials, advertising, interactive computer network, the collection of information in computer
databases, systematization of information in computer databases, services in the field of public
relations, provisioning services for third parties [purchasing goods and providing entrepreneurs],
wholesale and retail sale of goods.
    38 ­ Telecommunications, including electronic message board [telecommunications services],
providing access to the Internet [service providers], providing telecommunications connections to the
Internet, fiber­optic communication.
    39 ­ travel, including booking tickets for travel, booking travel itineraries, booking of vehicles,
delivery of goods, organization of cruises, travel organization, transportation of travelers, transport of
automobiles, car rental, maintenance travelers, wrapping of goods, parking services, driver services,
couriers [mail delivery or goods], travel agency services [except for the reservation of seats in hotels
and boarding houses], storage of goods, travel tours.
    41 ­ Education; providing of training; entertainment; sporting and cultural activities, including the
rental of tennis courts, billiard halls, book tickets for shows, video, disco, games of chance, the
publication of books, information on recreation, information on entertainment matters, clubs cultural
and educational and entertaining, clubs cafe night, providing an interactive game [through a computer
network], providing interactive electronic publications [unbootable], practical training [demonstration],
organization of exhibitions with cultural and educational purpose, leisure, organizing and conducting
of workshops [training] organization of competitions education or entertainment, the organization of
lotteries, organization of entertainment to recreation centers, sporting events, amusement parks,
providing sports facilities, providing services to the gambling halls, cinemas provide services, sports
programming, producing movies and movie rentals and audio recordings, audio equipment rental and
video recorders, rental of slot machines, movie rental, equipment stadium rental, publications using
desktop electronic publishing, publish interactive books and periodicals, publication of texts [other
than advertising], entertaining guests, preparation of meetings programs [entertainment], services
casino, translation services, photography, shows.
    42 ­ Development and improvement of technical and computer software; analysis of computer
systems, software installation, software upgrades, maintenance engineering software, design of
computer systems, computer rentals, and software tools, the arrangement of Web sites, the creation and
maintenance of websites for third parties.


http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353692&TypeFile=html                      2/4
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №353692
                                              Trademark Filed 01/03/17 Page 141 of 217
   43 ­ Services for providing food and drink; provision of temporary accommodation agency to
provide places [hotels, apartments], rental of premises for meetings, recreation, hotel reservations,
reservations for temporary housing, hotels, cafes, coffee shops, cafeterias, restaurants, services,
recreation [Lodging ] bars services, camping services, food preparation and delivery of their home.
   45 ­ Security services for the protection of property and individuals, guarding civilian clothes, clubs,
services for the organization of meetings, bodyguard services.

                             Notices of changes relating to the registration of a trademark

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright: Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (CY) The transferor exclusive right: Ritzio Enterteyment Group Limited, Diarogu 4,
Kermit Building, 6th floor, of.601, R.S.1097, Nicosia, Cyprus (the CY) (750) Address for correspondence:
OOO "Treydinvent" Makarova TN, P / 7, Moscow, 117420 Date and registration number of the contract:
30.04.2013 № RD0123353 (580) Date of making changes in the State register of TK: 30.04.2013 Published:
25.05.2013




Correction of obvious and technical errors in the publication of the bulletin

(210) Application Number: 2005729688 Publication Date (bulletin): 25/05/2013 (BTZ number 10) Published:




The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagrou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diarogu 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)

Date of registration and contract number:

30.04.2013 RD0123353



It should read:

The state registration of the contract on alienation of the exclusive right to the trademark in respect of
all the goods and / or services

(732) Copyright:

Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY)

(770) The former franchisor:

Ritzio Enterteyment Group Limited, Diagorou 4, Kermit Building, 6th Floor, of.601, R.S.1097, Nicosia,
Cyprus (CY)


http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353692&TypeFile=html                    3/4
9/9/2016          Case 2:17-cv-00002-RAJ Document  1-2 №353692
                                              Trademark Filed 01/03/17 Page 142 of 217
Date of registration and contract number:

30.04.2013 RD0123353



(580) Date of making changes in the State Register of TK: 06.06.2013 Published: 25.06.2013


Extension of the exclusive right to the trade mark

(732) Copyright: Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of
1097, Nicosia, Cyprus (the CY) (186) The date by which the validity period extended exclusive rights:
11.18.2025 (580) Date of entry in the State Register: 12.22.2015 Date of publication of the notice: 25.1.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : ., limited liability Company "INFINGRUPP",
142000, Moscow region, Domodedovo, md Central street. The station, d. 20A, Bldg. 1, of. 6V (RU) (793)
Specifies the terms of the contract: Non­exclusive license for a period up to 31.12.2018 in the territory of
the Russian Federation in respect of services 41 cl. ­ The organization of lotteries; Entertainment. The
date and number of state registration of the contract: 02/12/2016 №RD0191693 (580) Date of entry in the State
Register: 02.12.2016 Date of publication of the notice: 12.3.2016




The state registration of the contract granting the right to use the contract type: the license grantor use:
Ritzio Pёchis Limited Diagorou 4, Kermit Building, Floor 6, Flat / Office 601, the index of 1097, Nicosia,
Cyprus (CY) A person who has been granted the right to use : Joint Stock company "Sportbet", 107113,
Moscow, ul.Lobachika, 17 (RU) (793) Specifies the terms of the contract: Non­exclusive license for a period
up to 31.12.2018 in the territory of the Russian Federation in respect of services 41 cells, namely casino
games. , of gaming halls services, providing an interactive game [through a computer network], and
entertainment. The date and number of state registration of the contract: 05/31/2016 №RD0199097 (580) Date
of entry in the state register: 31.05.2016 Date of publication of the notice: 12.6.2016




http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353692&TypeFile=html                      4/4
          Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 143 of 217

WIPO - ROMARIN - International Registration Details

         992196                                                                          9.9.2016
151      Date of the registration
         17.10.2008
180      Expected expiration date of the registration/renewal
         17.10.2018
270      Language of the application
         English

         Current Status
732      Name and address of the holder of the registration
         Ritzio Purchase Limited Diagorou, 4, Kermia Building, 6th floor, Flat/Office 601 CY-1097
         Nicosia Cyprus
811      Contracting State of which the holder is a national
         CY (Cyprus)
842      Legal nature of the holder (legal entity) and State, and, where applicable, territory within that State
         where the legal entity is organized
         private company limited by shares, Cyprus
740      Name and address of the representative
         Tatyana Nikolaevna Makarova P.O. Box 7 RU-117420 Moscow Russian Federation
770      Name and address of the previous holder
         Ritzio Entertainment Group Limited Diagorou 4, Kermia Building, Office 601 Nicosia Cyprus
540      Mark




531      International Classification of the Figurative Elements of Marks (Vienna Classification) - VCL(6)
         01.01.01 ; 01.05.25 ; 28.05.00 ; 29.01.13
591      Information concerning colors claimed
         White, yellow, orange, red, light blue, blue and dark-blue.
         Blanc, jaune, orange, rouge, bleu clair, bleu et bleu foncé.
         Blanco, amarillo, anaranjado, rojo, azul claro, azul y azul oscuro.
561      Transliteration of the mark
         Vulkan igrovye kluby.
566      Translation of the mark or of words contained in the mark
         Volcano, gaming clubs.
526      Disclaimer
         GAMING CLUBS.
         GAMING CLUBS.
         GAMING CLUBS.
511      International Classification of Goods and Services for the Purposes of the Registration of Marks
      Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 144 of 217

    (Nice Classification) - NCL(9)

03 Bleaching preparations and other substances for laundry use; cleaning, polishing, scouring and
   abrasive preparations; soaps; perfumery, essential oils, cosmetics, hair lotions; dentifrices.
09 Apparatus for recording, transmission or reproduction of sound or images; magnetic data
   carriers, recording discs; automatic vending machines and mechanisms for coin-operated
   apparatus; data processing equipment and computers; ticket dispensers; juke boxes (musical),
   automatic distribution machines, electric monitoring apparatus, sound recording apparatus,
   electric apparatus for communication, video cassettes, video screens, floppy disks, phonograph
   records, optical disks, compact disks (read-only memory), compact discs (audio-video),
   decorative magnets, mechanisms for coin-operated apparatus, sound recording carriers,
   magnetic data media, optical data media; computer operation programs, recorded; computer
   game programs, computer programs (downloadable software), electronic publications
   (downloadable), integrated circuit cards (smart cards), totalizators, apparatus for games adapted
   for use with television receivers only, amusement apparatus adapted for use with television
   receivers only, computer peripheral devices, anti-theft warning apparatus, chips (integrated
   circuits).
16 Paper, cardboard and goods made from these materials, not included in other classes; printed
   matter; photographs; stationery; artists' materials; instructional and teaching material (except
   apparatus); plastic materials for packaging (not included in other classes); fountain pens,
   albums, almanacs, posters, tickets, forms (printed), note books, loose-leaf-binders, pamphlets,
   booklets, newsletters, newspapers, engravings, pencil holders, chalk holders, holders for
   stamps, seals, holders for checkbooks, punches (office requisites), tags for index cards, pen
   clips, bookmarkers, printed publications, bags (envelopes, pouches) of paper or plastics, for
   packaging, graphic representations, calendars, tear-off calendars, pencils, pictures,
   decalcomanias, credit cards imprinters, non-electric, cards, geographical maps, catalogues,
   books, ledgers (books), envelopes (stationery), graphic prints, teaching materials (except
   apparatus), writing instruments, stickers (stationery), paper cutters (office requisites), bottle
   envelopes of cardboard or paper, covers (stationery), musical greeting cards, greeting cards,
   postcards, conical paper bags, folders for papers, holders for menu, holders for bills, clipboards
   for personnel, letter trays, trays for sorting and counting money, papier mâché, envelopes of
   paper or plastic, magazines (periodicals), bookends, mats for beer glasses, stands for pens and
   pencils, photograph stands, inking pads, paperweights, inkstands, office requisites, except
   furniture, writing materials, paper clasps, pencil sharpeners (electric or non-electric),
   prospectuses, printed timetables, graphic reproductions, pens, napkins, figurines (statuettes) of
   papier mâché, transparencies (stationery), flags of paper, photo-engravings, prints (engravings),
   labels, not of textile.
18 Leather and imitations of leather, and goods made of these materials and not included in other
   classes; animal skins, hides; trunks and traveling bags; umbrellas, parasols and walking sticks;
   whips, harness and saddler; pocket wallets, card cases (notecases), umbrellas, briefcases,
   purses, clothing for pets, leather trimmings for furniture, purses, not of precious metal;
   backpacks, bags.
21 Stirrers, pepper pots, not of precious metal, gloves for household purposes, trays for domestic
   purposes, not of precious metal, trays (kitchen utensils), candelabra (candlesticks), not of
   precious metal, trivets (table utensils), coasters, not of paper and other than table linen, menu
   card holders, knife rests for the table, flat-iron stands, tableware (other than knives, forks and
   spoons); porcelain ware, pottery, crockery, crystal (glassware); cosmetic utensils, toilet utensils,
   spice sets, appliances for removing make-up, non-electric), food cooling devices containing heat
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    exchange fluids, for household purposes, bottle openers, glass caps, soap dispensers, combs,
    shoe horns, salad bowls, not of precious metal, sugar bowls, not of precious metal, services
    (tableware), not of precious metal, coffee services, tea services, not of precious metal, tea
    strainers, not of precious metal, siphons for carbonated water, blenders, non-electric, for
    household purposes, salt cellars, not of precious metal, drinking vessels, refrigerating bottles,
    cups of paper or plastic, glass (receptacles), drinking glasses, statues and figurines (statuettes)
    of porcelain, terra-cotta or glass; soup bowls, not of precious metal, table plates, not of precious
    metal, graters (household utensils), insulating flasks, urns, not of precious metal, aerosol
    dispensers, not for medical purposes, wax-polishing appliances for shoes, non-electric,
    sprinkling devices, utensils for household purposes, not of precious metal, kitchen utensils, not
    of precious metal, cooking utensils, non-electric, strainers for household purposes, coffee filters,
    non-electric, flasks, not of precious metal, bottle gourds, molds (kitchen utensils), bread bins,
    teapots, not of precious metal, kettles, non-electric, cups, not of precious metal, mixers, manual
    (cocktail shakers), corkscrews, dishwashing brushes, brushes for cleaning tanks and containers,
    toothbrushes, brushes for footwear, boxes of metal, for dispensing paper towels, dust bins.

24 Textiles and textile goods, not included in other classes; bed and table covers; patterns of textile
   materials, labels (cloth).
25 Clothing, footwear, headgear; bandanas (neckerchiefs), underclothing, overalls, half-boots,
   trousers, collars (clothing), shirt yokes, neckties, vests, singlets, hosiery, pockets for clothing,
   cap peaks, combinations (clothing), suits, swimsuits, jackets (clothing), T-shirts, ear muffs
   (clothing), socks, outer clothing, ready-made clothing, uniforms, top coats, scarfs, robes,
   waterproof clothing, belts (clothing), pullovers, shirts, sweaters, aprons (clothing), sashes for
   wear, pelisses.
26 Lace and embroidery, ribbons and braid; buttons, hooks and eyes, pins and needles; artificial
   flowers; badges for wear, not of precious metal; ornamental novelty badges (buttons); expanding
   bands for holding sleeves, brooches (clothing accessories), pins (other than jewellery), trouser
   clips, hair grips (slides), hook and pile fastening tapes, hair ornaments, heat adhesive patches
   for decoration of textile articles, buttons, trimmings for clothing.
27 Carpets, rugs, mats and matting, linoleum and other materials for covering existing floors; wall
   hangings (non-textile).
28 Games and playthings; gymnastic and sporting articles not included in other classes, including
   amusement machines, automatic and coin-operated, cups for dice, dice, playing cards, billiard
   cues, chalk for billiard cues, billiard table cushions, billiard cue tips, accessories for games,
   billiard markers, billiard tables, coin-operated billiard tables, tables for table tennis, apparatus for
   electronic games other than those adapted for use with television receivers only, counters
   (discs) for games, small balls for games, billiard balls.
30 Coffee, tea, cocoa, sugar, rice, tapioca, sago, artificial coffee; flour and preparations made from
   cereals, bread, pastry and confectionery, ices; honey, treacle; yeast, baking-powder; salt,
   mustard; vinegar, sauces (condiments); spices; ice.
32 Beer; mineral and aerated waters and other non-alcoholic drinks, including energetic drinks; fruit
   drinks and fruit juices; syrups and other preparations for making beverages.
33 Alcoholic beverages (except beers).
34 Tobacco; smokers' articles; matches, lighters; match boxes, not of precious metal; ashtrays, not
   of precious metal, for smokers; pipe racks (for tobacco pipes), cigarettes, cigars, match holders,
   not of precious metal, snuff boxes, not of precious metal; tobacco pipes, cigar cases, not of
   precious metal; cigarette cases, not of precious metal.
35 Advertising; business management; business administration; office functions, import-export
      Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 146 of 217

    agencies, efficiency experts, demonstration of goods, marketing studies, business information,
    business investigation, marketing investigation, business management and organization
    consultancy, business organization consultancy, business management consultancy,
    professional business consultancy, organization of exhibitions for commercial or advertising
    purposes, organization of trade fairs for commercial or advertising purposes, business
    appraisals, data search in computer files (for others), economic forecasting, auctioneering, sales
    promotion (for others), office machines and equipment rental, automatic distribution machines
    rental, publication of publicity texts, distribution of samples, direct mail advertising, advertising
    on-line in Internet, compilation of information into computer databases, systemization of
    information into computer databases, public relations, procurement services for others
    (purchasing and providing goods for others), wholesale and retail sale.

36 Insurance; financial affairs; monetary affairs; real estate affairs, including credit bureaux, real
   estate agencies, financial analysis, hire-purchase financing, savings banks, issue of tokens of
   value, capital investments, insurance information, financial information, clearing (financial),
   insurance consultancy, financial consultancy, stock exchange quotations, brokerage, financial
   management, exchanging money, debit card services, credit card services, home banking,
   factoring, organization of collection, financial evaluation (insurance, banking, real estate),
   electronic funds transfer, bail-bonding, securities brokerage, housing agents, insurance
   brokerage, loans (financing), charitable fund raising, leasing of real estate, financial sponsorship,
   mortgage banking, real estate management, banking, financing services, fiscal assessments.
37 Building construction; repair; installation services.
38 Telecommunications, including electronic bulletin board services (telecommunications services),
   providing user access to a global computer network (service providers), providing
   telecommunications connections to a global computer network, communications by fiber (fibre)
   optic networks.
39 Travel arrangement, including booking of seats for travel, travel reservation, transport
   reservation, delivery of goods, arranging of cruises, transport of travelers, car transport, car
   rental, escorting of travelers, wrapping of goods, car parking, chauffeur services, courier
   services (messages or merchandise), tourist offices (except for hotel reservation), storage of
   goods, sightseeing (tourism).
41 Education; providing of training; entertainment; sporting and cultural activities; including rental of
   tennis courts, billiard halls, booking of seats for shows, videotaping, discotheque services,
   gaming, publication of books, recreation information, entertainment information, club services
   (entertainment or education), night clubs, game services provided on-line (from a computer
   network), publication services provided on-line (not downloaded), practical training
   (demonstration), organization of exhibitions for cultural or educational purposes, providing
   recreation facilities, arranging and conducting workshops (training), organization of competitions
   (education or entertainment), operating lotteries, holiday camp services (entertainment),
   organization of sports competitions, amusement parks, providing sport facilities, providing
   amusement arcade services, providing cinema facilities, timing of sport events, videotape film
   production, film production, rental of sound recordings, rental of audio equipment, rental of video
   cassette recorders, rental of slot machines, rental of cine-films, rental of stadium facilities,
   electronic desktop publishing, publication of electronic books and journals on-line, publication of
   texts (other than publicity texts), entertainer services, party planning (entertainment), providing
   casino facilities (gambling), translation, photography, production of shows, music-halls.
42 Design and development of computer hardware and software; computer systems analysis,
   installation of computer software, updating of computer software, maintenance of computer
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          software, computer system design, computer rental, rental of computer software, hosting
          computer sites (Web sites), creating and maintaining Web sites for others.

      43 Services for providing food and drink; temporary accommodation, agencies for reservations
         (hotels, boarding houses), rental of meeting rooms, tourist homes, hotel reservations, temporary
         accommodation reservations, hotels, snack-bars, cafes, cafeterias restaurants, holiday camp
         services (lodging), bar services, providing campground facilities, food and drink catering.
      45 Personal and social services rendered by others to meet the needs of individuals, marriage
         agencies, detective agencies, night guards, guards, dating services, personal body guarding.
822       Basic registration
          RU (Russian Federation), 28.01.2008, 342291
834       Designation(s) under the Madrid Protocol by virtue of Article 9sexies
          BY (Belarus), KZ (Kazakhstan), UA (Ukraine)

          Registration
450       Publication number and date
          2009/7 Gaz, 05.03.2009
831       Designation(s) under the Madrid Agreement
          KZ (Kazakhstan)
834       Designation(s) under the Madrid Protocol by virtue of Article 9sexies
          BY (Belarus), UA (Ukraine)
580       Date of recording (date of notification from which the time limit to notify the refusal starts)
          26.02.2009

862       Partial provisional refusal of protection
          UA (Ukraine)
450       Publication number and date
          2010/5 Gaz, 25.02.2010
862       Partial provisional refusal of protection
          As from November 14, 2005, provisional refusals indicate only whether they are total or partial,
          without listing the goods and services, or the classes, affected or not affected.
580       Date of notification
          05.02.2010
          Date of receipt by the International Bureau
          18.01.2010

861       Total provisional refusal of protection
          BY (Belarus)
450       Publication number and date
          2010/10 Gaz, 01.04.2010
580       Date of notification
          11.03.2010
          Date of receipt by the International Bureau
          29.01.2010

862       Partial provisional refusal of protection
          KZ (Kazakhstan)
450       Publication number and date
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      2010/12 Gaz, 15.04.2010
862   Partial provisional refusal of protection
      As from November 14, 2005, provisional refusals indicate only whether they are total or partial,
      without listing the goods and services, or the classes, affected or not affected.
580   Date of notification
      25.03.2010
      Date of receipt by the International Bureau
      19.02.2010

      Confirmation of total provisional refusal under Rule 18ter(3)
      BY (Belarus)
450   Publication number and date
      2010/34 Gaz, 16.09.2010

      Statement indicating the goods and services for which protection of
      the mark is granted under Rule 18ter(2)(ii)
      UA (Ukraine)
450   Publication number and date
      2010/45 Gaz, 02.12.2010
      Accepted for all the goods and services in classes 3, 18, 24, 25, 26, 27, 32, 33, 34 and 36.
580   Date of notification
      25.11.2010
      Date of receipt by the International Bureau
      21.10.2010
           Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 149 of 217

WIPO - ROMARIN - International Registration Details

          977713                                                                          9.9.2016
151       Date of the registration
          12.08.2008
180       Expected expiration date of the registration/renewal
          12.08.2018
270       Language of the application
          French

          Current Status
732       Name and address of the holder of the registration
          Ritzio Purchase Limited Diagorou, 4, Kermia Building, 6th floor, Flat/Office 601 CY-1097
          Nicosia Cyprus
811       Contracting State of which the holder is a national
          CY (Cyprus)
842       Legal nature of the holder (legal entity) and State, and, where applicable, territory within that State
          where the legal entity is organized
          private company limited by shares, Cyprus
740       Name and address of the representative
          Tatyana Nikolaevna Makarova P.O. Box 7 RU-117420 Moscow Russian Federation
770       Name and address of the previous holder
          Ritzio Entertainment Group Limited Diagorou 4, Kermia Building, Office 601 Nicosia Cyprus
540       Mark




531       International Classification of the Figurative Elements of Marks (Vienna Classification) - VCL(6)
          01.01.01 ; 01.03.01 ; 28.05.00
561       Transliteration of the mark
          Vulkan.
566       Translation of the mark or of words contained in the mark
          Volcan.
511       International Classification of Goods and Services for the Purposes of the Registration of Marks
          (Nice Classification) - NCL(9)
      03 Préparations pour blanchir et autres substances pour lessiver; préparations pour nettoyer, polir,
         dégraisser et abraser; savons; parfumerie, huiles essentielles, cosmétiques, lotions pour les
         cheveux; dentifrices.
      09 Appareils d'enregistrement, de transmission ou de reproduction de sons ou d'images; supports
         d'enregistrement magnétiques, disques acoustiques; distributeurs automatiques et mécanismes
         pour appareils à prépaiement; matériel informatique et ordinateurs; distributeurs de billets
         (tickets); chargeurs automatiques de disques (musique), distributeurs automatiques, appareils
      Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 150 of 217

    électriques de surveillance, appareils d'enregistrement sonore, appareils électriques de
    communication, cassettes vidéo, écrans vidéo, disquettes, disques phonographiques, disques
    optiques, disques compacts à mémoire morte, disques compacts (audio-vidéo), aimants
    décoratifs, mécanismes pour appareils à prépaiement, supports d'enregistrements sonores,
    supports de données magnétiques, supports de données optiques, programmes d'exploitation
    préenregistrés pour ordinateurs; programmes de jeux informatiques, programmes informatiques
    (logiciels téléchargeables), publications électroniques (téléchargeables), cartes à circuits
    intégrés (cartes à puce), totalisateurs, appareils pour jeux conçus pour être utilisés avec un
    récepteur de télévision uniquement, appareils de divertissement conçus pour être utilisés avec
    un récepteur de télévision uniquement, périphériques d'ordinateur, avertisseurs contre le vol,
    puces (circuits intégrés).

16 Papier, carton et produits en ces matières, non compris dans d'autres classes; produits
   imprimés; photographies; articles de papeterie; matériel pour artistes; matériel didactique et
   pédagogique (à l'exception des appareils); matières plastiques pour l'emballage (non comprises
   dans d'autres classes); y compris stylos-plumes, albums, almanachs, affiches, billets (tickets),
   formulaires (préimprimés), carnets, classeurs à feuillets mobiles, brochures, carnets, circulaires,
   journaux, gravures, porte-crayons, porte-craie, supports de timbres, cachets, porte-chéquiers,
   perforateurs (articles de bureau), cavaliers pour fiches de répertoires, agrafes de porte-plumes,
   signets, publications imprimées, sacs (enveloppes et pochettes) d'emballage en papier ou en
   plastique, représentations graphiques, calendriers, éphémérides, crayons, images,
   décalcomanies, presses à cartes de crédit, non électriques, cartes, cartes géographiques,
   catalogues, livres, registres (livres), enveloppes (papeterie), dessins, matériel pédagogique (à
   l'exception des appareils), instruments d'écriture, autocollants (papeterie), coupe-papier (articles
   de bureau), enveloppes pour bouteilles en carton ou en papier, couvertures (papeterie), cartes
   de voeux musicales, cartes de voeux, cartes postales, cornets de papier, chemises pour
   documents, papier mâché, revues (périodiques), serre-livres, dessous de chopes à bière,
   supports pour plumes et crayons, supports pour photographies, tampons encreurs, presse-
   papiers, écritoires, fournitures de bureau, à l'exception du mobilier, fournitures pour l'écriture,
   crochets de bureau, taille-crayons (électriques ou non électriques), prospectus, horaires
   imprimés, reproductions graphiques, stylos, figurines (statuettes) en papier mâché, transparents
   (papeterie), drapeaux en papier, photogravures, planches (gravures), étiquettes non en tissu.
18 Cuir et imitations de cuir, produits en ces matières non compris dans d'autres classes; peaux
   d'animaux; malles et sacs de voyage; parapluies, parasols et cannes; fouets, harnais et sellerie,
   portefeuilles; porte-documents; porte-monnaie; vêtements pour animaux; garnitures de cuir pour
   meubles; porte-monnaie autres qu'en métaux précieux; sacs à dos; sacs.
21 Ustensiles et récipients pour le ménage ou la cuisine (ni en métaux précieux, ni en plaqué);
   peignes et éponges; brosses (à l'exception des pinceaux); matériel de nettoyage; paille de fer;
   verre brut ou mi-ouvré (à l'exception du verre de construction); verrerie, porcelaine et faïence
   non comprises dans d'autres classes, y compris objets décoratifs en porcelaine, plats autres
   qu'en métaux précieux, soucoupes autres qu'en métaux précieux, gobelets autres qu'en métaux
   précieux; bouteilles, bustes en porcelaine, en terre cuite ou en verre; vases autres qu'en métaux
   précieux, gaufriers non électriques, seaux à rafraîchir (seaux à glace), porte-serviettes autres
   qu'en métaux précieux; supports pour vêtements; carafes, démêloirs pour les cheveux, appareils
   déodorants à usage personnel, récipients pour le ménage ou la cuisine (à l'exception de ceux en
   métaux précieux), bocaux en verre, récipients calorifuges pour boissons, récipients calorifuges
   pour aliments, récipients en verre, poêles à frire, cure-dents, produits céramiques à usage
   ménager; objets d'art en porcelaine, en terre cuite ou en verre; casseroles, ronds de serviettes
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    autres qu'en métaux précieux, tirelires non métalliques, corbeilles à pain (à usage domestique),
    corbeilles à usage domestique autres qu'en métaux précieux, percolateurs à café non
    électriques, cafetières non électriques, autres qu'en métaux précieux, moulins à café, actionnés
    manuellement, chopes à bière, couvercles de plats, cruchons autres qu'en métaux précieux,
    glacières portatives non électriques, cuillers à mélanger (ustensiles de cuisine), pelles
    (accessoires de table), spatules (ustensiles de cuisine), moulins à poivre actionnés
    manuellement, jattes (cuvettes), boîtes à savon, batteries de cuisine, paniers équipés pour
    pique-nique (avec vaisselle), nécessaires de toilette, emporte-pièces, coupe-pâte, arroseurs,
    agitateurs à cocktails, poivriers autres qu'en métaux précieux, gants de ménage, plateaux à
    usage domestique autres qu'en métaux précieux, plateaux (ustensiles de cuisine), chandeliers,
    autres qu'en métaux précieux, dessous-de-plat (ustensiles de table), dessous de carafes non en
    papier et autres que linge de table, porte-cartes de menus, porte-couteaux pour la table,
    supports de fers à repasser, vaisselle de table (autres que couteaux, fourchettes et cuillères);
    porcelaines, poteries, vaisselle, articles en cristal; ustensiles cosmétiques, ustensiles de toilette,
    services à épices, appareils pour le démaquillage (non électriques), articles de réfrigération
    d'aliments contenant des fluides d'échange de chaleur, à usage ménager, ouvre-bouteilles,
    bouchons de verre, poudriers autres qu'en métaux précieux, distributeurs de savon, peignes,
    chausse-pieds, saladiers autres qu'en métaux précieux, sucriers autres qu'en métaux précieux,
    services (vaisselle) autres qu'en métaux précieux, services à café, services à thé autres qu'en
    métaux précieux, passe-thé autres qu'en métaux précieux, siphons pour eaux gazeuses,
    mélangeurs non électriques à usage ménager, presse-fruits non électriques à usage ménager,
    salières autres qu'en métaux précieux, récipients pour boire, bouteilles réfrigérantes, gobelets
    en carton ou en matières plastiques, récipients en verre, verres de table, statues et figurines
    (statuettes) en porcelaine, en terre cuite ou en verre; soupières autres qu'en métaux précieux,
    assiettes autres qu'en métaux précieux, râpes (ustensiles de ménage), bouteilles isolantes,
    urnes autres qu'en métaux précieux, appareils destinés à la projection d'aérosols non à usage
    médical, appareils à encaustiquer pour chaussures, non électriques, instruments d'arrosage,
    ustensiles de ménage autres qu'en métaux précieux, ustensiles de cuisine autres qu'en métaux
    précieux, ustensiles de cuisson non électriques, filtres pour le ménage, filtres à café non
    électriques, flacons autres qu'en métaux précieux, gourdes, moules (ustensiles de cuisine),
    boîtes à pain, théières autres qu'en métaux précieux, bouilloires non électriques, tasses autres
    qu'en métaux précieux, shakers, tire-bouchons, brosses pour laver la vaisselle, écouvillons pour
    nettoyer les récipients, brosses à dents, brosses à chaussures, boîtes en métal pour la
    distribution de serviettes en papier, poubelles.

24 Tissus et produits textiles non compris dans d'autres classes; couvertures de lit et de table;
   étiquettes adhésives en matières textiles (applications); étiquettes (tissu).
25 Vêtements, chaussures, articles de chapellerie; bandanas (fichus), sous-vêtements sudorifuges,
   salopettes, bottines, cols, empiècements de chemises, cravates, gilets, maillots de corps,
   articles de bonneterie, poches pour vêtements, visières de casquettes, combinaisons
   (habillement), costumes, maillots de bain, vestes, tee-shirts, couvre-oreilles (habillement),
   chaussettes, vêtements de dessus, vêtements de confection, uniformes, manteaux, foulards,
   robes, vêtements imperméables, ceintures (habillement), pull-overs, chemises, chandails,
   casquettes, tabliers (habillement), écharpes, pelisses.
26 Dentelles et broderies, rubans et lacets; boutons, crochets et oeillets, épingles et aiguilles; fleurs
   artificielles; insignes; badges (boutons); bracelets pour remonter les manches; broches
   (accessoires d'habillement), épingles (autres qu'articles de bijouterie), pinces de cyclistes,
   barrettes (pinces à cheveux), bandes auto-agrippantes (articles de mercerie), articles décoratifs
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    pour la chevelure, pièces collables à chaud pour l'ornement d'articles textiles (mercerie),
    boutons, articles de guimperie (passementerie).

27 Tapis, paillassons, nattes, linoléum et autres revêtements de sols; tentures murales autres qu'en
   matières textiles.
28 Jeux et jouets; articles de gymnastique et de sport non compris dans d'autres classes, y compris
   jeux automatiques à prépaiement, gobelets pour jeux, dés (jeux), cartes à jouer, queues de
   billard, craie pour queues de billards, bandes de billard, procédés pour queues de billard,
   accessoires de jeux, dispositifs à marquer les points pour billards, tables de billard, tables de
   billard à prépaiement, tables de ping-pong, appareils de jeux électroniques autres que ceux
   conçus pour être utilisés seulement avec récepteur de télévision, jetons de jeux, petites boules
   pour jeux, tables de billard.
30 Café, thé, cacao, sucre, riz, tapioca, sagou, succédanés de café; farines et préparations à base
   de céréales, pain, pâtisseries et confiseries, glaces comestibles; miel, mélasse; levure, poudre à
   lever; sel; moutarde; vinaigre, sauces (condiments); épices; glace à rafraîchir.
32 Bières; eaux minérales et gazeuses et autres boissons sans alcool, y compris boissons
   énergétiques; boissons aux fruits et jus de fruits; sirops et autres préparations pour la confection
   de boissons.
33 Boissons alcoolisées (autres que bières).
34 Tabac; articles pour fumeurs; allumettes; briquets pour cigares; boîtes à allumettes; cendriers;
   râteliers à pipes; cigarettes; cigares; porte-allumettes; allumettes; tabatières; pipes; étuis à
   cigares; étuis à cigarettes.
35 Publicité; gestion d'affaires commerciales; administration commerciale; travaux de bureau,
   agences d'import-export, services d'experts en rendement, démonstration de produits, études de
   marché, informations commerciales, investigations pour affaires, recherches en marketing,
   services de conseillers en gestion et en organisation d'entreprise, services de conseillers en
   organisation d'affaires, services de conseillers en gestion d'entreprise, services de conseillers
   professionnels en affaires, organisation d'expositions à des fins commerciales ou publicitaires,
   organisation de salons professionnels à des fins commerciales ou publicitaires, estimations en
   affaires commerciales, recherche d'informations dans des fichiers informatiques (pour des tiers),
   prévisions économiques, services de vente aux enchères, promotion des ventes (pour des tiers),
   location de machines et de matériel de bureau, location de distributeurs automatiques,
   publication de textes publicitaires, diffusion d'échantillons, publipostage, publicité en ligne sur
   Internet, compilation d'informations dans des bases de données informatiques, systématisation
   de données dans des bases de données informatiques, relations publiques, services d'achats
   pour le compte de tiers (achat et mise à disposition de produits pour le compte de tiers), vente
   en gros et au détail.
36 Assurances; affaires financières; affaires monétaires; affaires immobilières, y compris agences
   de crédit, agences immobilières, analyses financières, crédit-bail, épargne, émission de bons de
   valeur, placement de fonds, informations en matière d'assurances, informations financières,
   opérations de compensation (change), services de conseillers en assurances, services de
   conseillers financiers, cote en bourse, courtage, gérance de fortune, opérations de change,
   services de cartes de débit, services de cartes de crédit, services de banque directe (home-
   banking), services d'affacturage, collectes, évaluations financières (assurances, banques,
   immobilier), transfert électronique de fonds, cautions (garanties), courtage en bourse, courtage
   en biens immobiliers, courtage en assurances, prêt (finances), collectes de bienfaisance,
   affermage de biens immobiliers, parrainage financier, prêt sur nantissement, gérance de biens
   immobiliers, affaires bancaires, services de financement, estimations fiscales.
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      37 Construction; réparation; services d'installation.
      38 Télécommunications, y compris services de tableaux d'affichage électroniques (services de
         télécommunications), fourniture d'accès utilisateur à des réseaux informatiques mondiaux
         (prestataires de services), mise à disposition de connexions de télécommunication pour l'accès
         à des réseaux informatiques mondiaux, communications par réseaux de fibres optiques.
      39 Organisation de voyages, y compris réservation de places de voyage, réservation de voyages,
         réservations de transport, livraison de marchandises, organisation de croisières, transport de
         voyageurs, transport en automobile, location de voitures, accompagnement de voyageurs,
         empaquetage de marchandises, services de parcs de stationnement, services de chauffeurs,
         services de messagerie (courrier ou marchandises), services d'agences de tourisme (à
         l'exception de la réservation d'hôtels), dépôt de marchandises, visites touristiques.
      41 Education; formation; divertissements; activités sportives et culturelles, y compris location de
         courts de tennis, salles de billard, réservation de places de spectacles, enregistrement sur
         bandes vidéo, services de discothèques, jeux d'argent, publication de livres, informations en
         matière de loisirs, informations en matière de divertissement, services de clubs (divertissement
         ou enseignement), boîtes de nuit, services de jeu en ligne (sur réseau informatique), services de
         publications en ligne (non téléchargeables), formation pratique (démonstrations), organisation
         d'expositions à vocation culturelle ou pédagogique, services de loisirs, organisation et conduite
         d'ateliers de formation, organisation de concours (éducation ou divertissement), organisation de
         loteries, services de camps de vacances (divertissement), organisation de compétitions
         sportives, parcs d'attractions, mise à disposition de structures pour le sport, mise à disposition
         de salles de jeux sur machines, mise à disposition de salles de cinéma, programmation de
         compétitions sportives, production de films sur bandes vidéo, production de films
         cinématographiques, location d'enregistrements sonores, location de matériel audio, location de
         magnétoscopes, location de machines à sous, location de films cinématographiques, location de
         matériel pour stades, publication assistée par ordinateur, publication en ligne de livres et revues
         électroniques, publication de textes (autres que publicitaires), services d'artistes de spectacles,
         organisation de réceptions (divertissement), services de casinos (jeux), services de traduction,
         photographie, production de spectacles, music-hall.
      42 Conception et développement de matériel informatique et logiciels; analyse de systèmes
         informatiques, installation de logiciels, mise à jour de logiciels, maintenance de logiciels,
         conception de systèmes informatiques, location d'ordinateurs, location de logiciels, hébergement
         de sites informatiques (sites Web), création et maintenance de sites Web pour des tiers.
      43 Services de restauration (alimentation); hébergement temporaire, agences de réservation
         (hôtels, pensions), location de salles de réunion, maisons de vacances, réservation d'hôtels,
         réservation de logements temporaires, hôtels, snack-bars, cafés, cafétérias, restaurants,
         services de camps de vacances (hébergement), services de bars, mise à disposition de terrains
         de camping, restauration (aliments et boissons).
      45 Services personnels et sociaux rendus par des tiers destinés à satisfaire les besoins des
         individus; agences matrimoniales; agences de détectives; agences de surveillance nocturne;
         services de sécurité pour la protection des biens et des individus, protection civile, services de
         clubs de rencontre, services de gardes du corps.
822       Basic registration
          RU (Russian Federation), 28.01.2008, 342290
834       Designation(s) under the Madrid Protocol by virtue of Article 9sexies
          BY (Belarus), KZ (Kazakhstan), UA (Ukraine)
       Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 154 of 217

      Registration
450   Publication number and date
      2008/40 Gaz, 06.11.2008
831   Designation(s) under the Madrid Agreement
      BY (Belarus), KZ (Kazakhstan), UA (Ukraine)
580   Date of recording (date of notification from which the time limit to notify the refusal starts)
      16.10.2008

862   Partial provisional refusal of protection
      UA (Ukraine)
450   Publication number and date
      2009/38 Gaz, 08.10.2009
862   Partial provisional refusal of protection
      As from November 14, 2005, provisional refusals indicate only whether they are total or partial,
      without listing the goods and services, or the classes, affected or not affected.
580   Date of notification
      21.09.2009
      Date of receipt by the International Bureau
      01.09.2009

862   Partial provisional refusal of protection
      BY (Belarus)
450   Publication number and date
      2009/40 Gaz, 22.10.2009
862   Partial provisional refusal of protection
      As from November 14, 2005, provisional refusals indicate only whether they are total or partial,
      without listing the goods and services, or the classes, affected or not affected.
580   Date of notification
      29.09.2009
      Date of receipt by the International Bureau
      17.09.2009

862   Partial provisional refusal of protection
      KZ (Kazakhstan)
450   Publication number and date
      2009/44 Gaz, 19.11.2009
862   Partial provisional refusal of protection
      As from November 14, 2005, provisional refusals indicate only whether they are total or partial,
      without listing the goods and services, or the classes, affected or not affected.
580   Date of notification
      02.11.2009
      Date of receipt by the International Bureau
      16.10.2009

      Statement indicating the goods and services for which protection of
      the mark is granted under Rule 18ter(2)(ii)
      BY (Belarus)
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450   Publication number and date
      2010/15 Gaz, 06.05.2010
      Accepted for all the goods in classes 3, 18, 24, 25, 26, 27, 30, 32, 33 and 34.
580   Date of notification
      19.04.2010
      Date of receipt by the International Bureau
      24.03.2010

      Statement indicating the goods and services for which protection of
      the mark is granted under Rule 18ter(2)(ii)
      UA (Ukraine)
450   Publication number and date
      2010/28 Gaz, 05.08.2010
      Admis pour tous les produits et services des classes 3, 18, 24, 25, 26, 27, 32, 33, 34 et 36.
580   Date of notification
      14.07.2010
      Date of receipt by the International Bureau
      21.06.2010
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WIPO - ROMARIN - International Registration Details

          984297                                                                          9.9.2016
151       Date of the registration
          11.08.2008
180       Expected expiration date of the registration/renewal
          11.08.2018
270       Language of the application
          English

          Current Status
732       Name and address of the holder of the registration
          Ritzio Purchase Limited Diagorou, 4, Kermia Building, 6th floor, Flat/Office 601 CY-1097
          Nicosia Cyprus
811       Contracting State of which the holder is a national
          CY (Cyprus)
842       Legal nature of the holder (legal entity) and State, and, where applicable, territory within that State
          where the legal entity is organized
          private company limited by shares, Cyprus
740       Name and address of the representative
          Tatyana Nikolaevna Makarova P.O. Box 7 RU-117420 Moscow Russian Federation
770       Name and address of the previous holder
          Ritzio Entertainment Group Limited Diagorou 4, Kermia Building, Office 601 Nicosia Cyprus
540       Mark




511       International Classification of Goods and Services for the Purposes of the Registration of Marks
          (Nice Classification) - NCL(9)
      09 Apparatus for recording, transmission or reproduction of sound or images; magnetic data
         carriers, recording discs; automatic vending machines and mechanisms for coin-operated
         apparatus; data processing equipment and computers; ticket dispensers; juke boxes (musical),
         automatic distribution machines, electric monitoring apparatus, sound recording apparatus,
         electric apparatus for communication, video cassettes, video screens, floppy disks, phonograph
         records, optical disks, compact disks (read-only memory), compact discs (audio-video),
         decorative magnets, mechanisms for coin-operated apparatus, sound recording carriers,
         magnetic data media, optical data media; computer operation programs, recorded; computer
         game programs, computer programs (downloadable software), electronic publications
         (downloadable), integrated circuit cards (smart cards), totalizators, apparatus for games adapted
         for use with television receivers only, amusement apparatus adapted for use with television
         receivers only, computer peripheral devices, anti-theft warning apparatus, chips (integrated
         circuits).
      16 Paper, cardboard and goods made from these materials, not included in other classes; printed
         matter; photographs; stationery; artists' materials; instructional and teaching material (except
         apparatus); plastic materials for packaging (not included in other classes); fountain pens,
         albums, almanacs, posters, tickets, forms (printed), note books, loose-leaf-binders, pamphlets,
         booklets, newsletters, newspapers, engravings, pencil holders, chalk holders, holders for
         stamps, seals, holders for checkbooks, punches (office requisites), tags for index cards, pen
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    clips, bookmarkers, printed publications, bags (envelopes, pouches) of paper or plastics, for
    packaging, graphic representations, calendars, tear-off calendars, pencils, pictures,
    decalcomanias, credit cards imprinters, non-electric, cards, geographical maps, catalogues,
    books, ledgers (books), envelopes (stationery), graphic prints, teaching materials (except
    apparatus), writing instruments, stickers (stationery), paper cutters (office requisites), bottle
    envelopes of cardboard or paper, covers (stationery), musical greeting cards, greeting cards,
    postcards, conical paper bags, folders for papers, holders for menu, holders for bills, clipboards
    for personnel, letter trays, trays for sorting and counting money, papier mâché, envelopes of
    paper or plastic, magazines (periodicals), bookends, mats for beer glasses, stands for pens and
    pencils, photograph stands, inking pads, paperweights, inkstands, office requisites, except
    furniture, writing materials, paper clasps, pencil sharpeners (electric or non-electric),
    prospectuses, printed timetables, graphic reproductions, pens, napkins, figurines (statuettes) of
    papier mâché, transparencies (stationery), flags of paper, photo-engravings, prints (engravings),
    labels, not of textile.

21 Stirrers, pepper pots, not of precious metal, gloves for household purposes, trays for domestic
   purposes, not of precious metal, trays (kitchen utensils), candelabra (candlesticks), not of
   precious metal, trivets (table utensils), coasters, not of paper and other than table linen, menu
   card holders, knife rests for the table, flat-iron stands, tableware (other than knives, forks and
   spoons); porcelain ware, pottery, crockery, crystal (glassware); cosmetic utensils, toilet utensils,
   spice sets, appliances for removing make-up, non-electric), food cooling devices containing heat
   exchange fluids, for household purposes, bottle openers, glass caps, soap dispensers, combs,
   shoe horns, salad bowls, not of precious metal, sugar bowls, not of precious metal, services
   (tableware), not of precious metal, coffee services, tea services, not of precious metal, tea
   strainers, not of precious metal, siphons for carbonated water, blenders, non-electric, for
   household purposes, fruit presses, non-electric, for household purposes, salt cellars, not of
   precious metal, drinking vessels, refrigerating bottles, cups of paper or plastic, glass
   (receptacles), drinking glasses, statues and figurines (statuettes) of porcelain, terra-cotta or
   glass; soup bowls, not of precious metal, table plates, not of precious metal, graters (household
   utensils), insulating flasks, urns, not of precious metal, aerosol dispensers, not for medical
   purposes, wax-polishing appliances for shoes, non-electric, sprinkling devices, utensils for
   household purposes, not of precious metal, kitchen utensils, not of precious metal, cooking
   utensils, non-electric, strainers for household purposes, coffee filters, non-electric, flasks, not of
   precious metal, bottle gourds, molds (kitchen utensils), bread bins, teapots, not of precious
   metal, kettles, non-electric, cups, not of precious metal, mixers, manual (cocktail shakers),
   corkscrews, dishwashing brushes, brushes for cleaning tanks and containers, toothbrushes,
   brushes for footwear, boxes of metal, for dispensing paper towels, dust bins.
28 Games and playthings; gymnastic and sporting articles not included in other classes, including
   amusement machines, automatic and coin-operated, cups for dice, dice, playing cards, billiard
   cues, chalk for billiard cues, billiard table cushions, billiard cue tips, accessories for games,
   billiard markers, billiard tables, coin-operated billiard tables, tables for table tennis, apparatus for
   electronic games other than those adapted for use with television receivers only, counters
   (discs) for games, small balls for games, billiard balls.
32 Beer; mineral and aerated waters and other non-alcoholic drinks, including energetic drinks; fruit
   drinks and fruit juices; syrups and other preparations for making beverages.
35 Advertising; business management; business administration; office functions, import-export
   agencies, efficiency experts, demonstration of goods, marketing studies, business information,
   business investigation, marketing investigation, business management and organization
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          consultancy, business organization consultancy, business management consultancy,
          professional business consultancy, organization of exhibitions for commercial or advertising
          purposes, organization of trade fairs for commercial or advertising purposes, business
          appraisals, data search in computer files (for others), economic forecasting, auctioneering, sales
          promotion (for others), office machines and equipment rental, automatic distribution machines
          rental, publication of publicity texts, distribution of samples, direct mail advertising, advertising
          on-line in Internet, compilation of information into computer databases, systemization of
          information into computer databases, public relations, procurement services for others
          (purchasing and providing goods for others), wholesale and retail sale.

      38 Telecommunications, including electronic bulletin board services (telecommunications services),
         providing user access to a global computer network (service providers), providing
         telecommunications connections to a global computer network, communications by fiber (fibre)
         optic networks.
      39 Travel arrangement, including booking of seats for travel, travel reservation, transport
         reservation, delivery of goods, arranging of cruises, transport of travellers, car transport, car
         rental, escorting of travellers, wrapping of goods, car parking, chauffeur services, courier
         services (messages or merchandise), tourist offices (except for hotel reservation), storage of
         goods, sightseeing (tourism).
      41 Education; providing of training; entertainment; sporting and cultural activities; including rental of
         tennis courts, billiard halls, booking of seats for shows, videotaping, discotheque services,
         gaming, publication of books, recreation information, entertainment information, club services
         (entertainment or education), night clubs, game services provided on-line (from a computer
         network), publication services provided on-line (not downloaded), practical training
         (demonstration), organization of exhibitions for cultural or educational purposes, providing
         recreation facilities, arranging and conducting workshops (training), organization of competitions
         (education or entertainment), operating lotteries, holiday camp services (entertainment),
         organization of sports competitions, amusement parks, providing sport facilities, providing
         amusement arcade services, providing cinema facilities, timing of sport events, videotape film
         production, film production, rental of sound recordings, rental of audio equipment, rental of video
         cassette recorders, rental of slot machines, rental of cine-films, rental of stadium facilities,
         electronic desktop publishing, publication of electronic books and journals on-line, publication of
         texts (other than publicity texts), entertainer services, party planning (entertainment), providing
         casino facilities (gambling), translation, photography, production of shows, music-halls.
      42 Design and development of computer hardware and software; computer systems analysis,
         installation of computer software, updating of computer software, maintenance of computer
         software, computer system design, computer rental, rental of computer software, hosting
         computer sites (web sites), creating and maintaining web sites for others.
      43 Services for providing food and drink; temporary accommodation, agencies for reservations
         (hotels, boarding houses), rental of meeting rooms, tourist homes, hotel reservations, temporary
         accommodation reservations, hotels, snack-bars, cafes, cafeterias restaurants, holiday camp
         services (lodging), bar services, providing campground faculties, food and drink catering.
      45 Personal and social services rendered by others to meet the needs of individuals, marriage
         agencies, detective agencies, night guards, guards, dating services, personal body guarding.
822       Basic registration
          RU (Russian Federation), 25.06.2008, 353692
832       Designation(s) under the Madrid Protocol
          EM (European Community)
       Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 159 of 217

834   Designation(s) under the Madrid Protocol by virtue of Article 9sexies
      BY (Belarus), HR (Croatia), KZ (Kazakhstan), RS (Serbia), UA (Ukraine)

      Registration
450   Publication number and date
      2008/48 Gaz, 01.01.2009
831   Designation(s) under the Madrid Agreement
      BY (Belarus), HR (Croatia), KZ (Kazakhstan), RS (Serbia), UA (Ukraine)
832   Designation(s) under the Madrid Protocol
      EM (European Community)
580   Date of recording (date of notification from which the time limit to notify the refusal starts)
      11.12.2008
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      HR (Croatia)

      Grant of protection subject to opposition
      EM (European Community)
450   Publication number and date
      2008/52 Gaz, 29.01.2009
      Opposition end date
      15.09.2009

862   Partial provisional refusal of protection
      EM (European Community)
450   Publication number and date
      2009/43 Gaz, 12.11.2009
862   Partial provisional refusal of protection
      As from November 14, 2005, provisional refusals indicate only whether they are total or partial,
      without listing the goods and services, or the classes, affected or not affected.
580   Date of notification
      22.10.2009
      Date of receipt by the International Bureau
      15.10.2009

861   Total provisional refusal of protection
      EM (European Community)
450   Publication number and date
      2009/43 Gaz, 12.11.2009
580   Date of notification
      22.10.2009
      Date of receipt by the International Bureau
      15.10.2009

862   Partial provisional refusal of protection
      EM (European Community)
450   Publication number and date
       Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 160 of 217

      2009/43 Gaz, 12.11.2009
862   Partial provisional refusal of protection
      As from November 14, 2005, provisional refusals indicate only whether they are total or partial,
      without listing the goods and services, or the classes, affected or not affected.
580   Date of notification
      22.10.2009
      Date of receipt by the International Bureau
      15.10.2009

862   Partial provisional refusal of protection
      EM (European Community)
450   Publication number and date
      2009/43 Gaz, 12.11.2009
862   Partial provisional refusal of protection
      As from November 14, 2005, provisional refusals indicate only whether they are total or partial,
      without listing the goods and services, or the classes, affected or not affected.
580   Date of notification
      23.10.2009
      Date of receipt by the International Bureau
      15.10.2009

862   Partial provisional refusal of protection
      RS (Serbia)
450   Publication number and date
      2009/46 Gaz, 03.12.2009
862   Partial provisional refusal of protection
      As from November 14, 2005, provisional refusals indicate only whether they are total or partial,
      without listing the goods and services, or the classes, affected or not affected.
580   Date of notification
      11.11.2009
      Date of receipt by the International Bureau
      03.11.2009

861   Total provisional refusal of protection
      UA (Ukraine)
450   Publication number and date
      2009/49 Gaz, 24.12.2009
580   Date of notification
      01.12.2009
      Date of receipt by the International Bureau
      13.11.2009

862   Partial provisional refusal of protection
      BY (Belarus)
450   Publication number and date
      2009/52 Gaz, 14.01.2010
862   Partial provisional refusal of protection
       Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 161 of 217

      As from November 14, 2005, provisional refusals indicate only whether they are total or partial,
      without listing the goods and services, or the classes, affected or not affected.
580   Date of notification
      23.12.2009
      Date of receipt by the International Bureau
      25.11.2009

862   Partial provisional refusal of protection
      KZ (Kazakhstan)
450   Publication number and date
      2009/53 Gaz, 21.01.2010
862   Partial provisional refusal of protection
      As from November 14, 2005, provisional refusals indicate only whether they are total or partial,
      without listing the goods and services, or the classes, affected or not affected.
580   Date of notification
      29.12.2009
      Date of receipt by the International Bureau
      11.12.2009

      Statement indicating the goods and services for which protection of
      the mark is granted under Rule 18ter(2)(ii)
      BY (Belarus)
450   Publication number and date
      2010/26 Gaz, 22.07.2010
      Accepted for all the goods in class 32.
580   Date of notification
      15.07.2010
      Date of receipt by the International Bureau
      04.06.2010

      Confirmation of total provisional refusal under Rule 18ter(3)
      UA (Ukraine)
450   Publication number and date
      2010/35 Gaz, 23.09.2010

      Statement indicating the goods and services for which protection of
      the mark is granted under Rule 18ter(2)(ii)
      RS (Serbia)
450   Publication number and date
      2011/4 Gaz, 17.02.2011
      Accepted for all the goods and services in classes 21, 32 and 45.
580   Date of notification
      10.02.2011
      Date of receipt by the International Bureau
      28.12.2010

      Statement indicating the goods and services for which protection of
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          the mark is granted under Rule 18ter(2)(ii)
          EM (European Community)
450       Publication number and date
          2012/41 Gaz, 01.11.2012
          List limited to:
      09 Apparatus for recording, transmission or reproduction of sound or images; magnetic data
         carriers, recording discs; automatic vending machines and mechanisms for coin-operated
         apparatus; data processing equipment and computers; ticket dispensers; juke boxes (musical),
         automatic distribution machines, electric monitoring apparatus, sound recording apparatus,
         electric apparatus for communication, video cassettes, video screens, floppy disks, phonograph
         records, optical disks, compact disks (read-only memory), compact discs (audio-video),
         decorative magnets, mechanisms for coin-operated apparatus, sound recording carriers,
         magnetic data media, optical data media; computer operation programs, recorded; computer
         game programs, computer programs (downloadable software), electronic publications
         (downloadable), integrated circuit cards (smart cards), totalizators, apparatus for games adapted
         for use with television receivers only, amusement apparatus adapted for use with television
         receivers only, computer peripheral devices, anti-theft warning apparatus, chips (integrated
         circuits).
      16 Paper, cardboard and goods made from these materials, not included in other classes;
         photographs; stationery; artists' materials; plastic materials for packaging (not included in other
         classes); fountain pens, albums, almanacs, posters, tickets, forms (printed), note books, loose-
         leaf-binders, pamphlets, booklets, newsletters, newspapers, engravings, pencil holders, chalk
         holders, holders for stamps, seals, holders for checkbooks, punches (office requisites), tags for
         index cards, pen clips, bookmarkers, printed publications, bags (envelopes, pouches) of paper
         or plastics, for packaging, graphic representations, calendars, tear-off calendars, pencils,
         pictures, decalcomanias, credit cards imprinters, non-electric, cards, catalogues, envelopes
         (stationery), graphic prints, writing instruments, stickers (stationery), paper cutters (office
         requisites), bottle envelopes of cardboard or paper, covers (stationery), musical greeting cards,
         greeting cards, postcards, conical paper bags, folders for papers, holders for menu, holders for
         bills, clipboards for personnel, letter trays, trays for sorting and counting money, papier mâché,
         envelopes of paper or plastic, magazines (periodicals), bookends, mats for beer glasses, stands
         for pens and pencils, photograph stands, inking pads, paperweights, inkstands, office requisites,
         except furniture, writing materials, paper clasps, pencil sharpeners (electric or non-electric),
         prospectuses, printed timetables, graphic reproductions, pens, napkins, figurines (statuettes) of
         papier mâché, transparencies (stationery), flags of paper, photo-engravings, prints (engravings),
         labels, not of textile.
      21 Stirrers, pepper pots, not of precious metal, trays for domestic purposes, not of precious metal,
         trays (kitchen utensils), candelabra (candlesticks), not of precious metal, trivets (table utensils),
         coasters, not of paper and other than table linen, menu card holders, knife rests for the table,
         flat-iron stands, tableware (other than knives, forks and spoons); porcelain ware, pottery,
         crockery, crystal (glassware); cosmetic utensils, toilet utensils, spice sets, appliances for
         removing make-up, non-electric), food cooling devices containing heat exchange fluids, for
         household purposes, bottle openers, glass caps, soap dispensers, combs, shoe horns, salad
         bowls, not of precious metal, sugar bowls, not of precious metal, services (tableware), not of
         precious metal, coffee services, tea services, not of precious metal, tea strainers, not of precious
         metal, siphons for carbonated water, blenders, non-electric, for household purposes, fruit
         presses, non-electric, for household purposes, salt cellars, not of precious metal, drinking
      Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 163 of 217

    vessels, refrigerating bottles, cups of paper or plastic, glass (receptacles), drinking glasses,
    statues and figurines (statuettes) of porcelain, terra-cotta or glass; soup bowls, not of precious
    metal, table plates, not of precious metal, graters (household utensils), insulating flasks, urns,
    not of precious metal, aerosol dispensers, not for medical purposes, wax-polishing appliances
    for shoes, non-electric, sprinkling devices, utensils for household purposes, not of precious
    metal, kitchen utensils, not of precious metal, cooking utensils, non-electric, strainers for
    household purposes, coffee filters, non-electric, flasks, not of precious metal, bottle gourds,
    molds (kitchen utensils), bread bins, teapots, not of precious metal, kettles, non-electric, cups,
    not of precious metal, mixers, manual (cocktail shakers), corkscrews, dishwashing brushes,
    brushes for cleaning tanks and containers, toothbrushes, brushes for footwear, boxes of metal,
    for dispensing paper towels, dust bins.

28 Games and playthings; gymnastic and sporting articles not included in other classes, including
   amusement machines, automatic and coin-operated, cups for dice, dice, playing cards, billiard
   cues, chalk for billiard cues, billiard table cushions, billiard cue tips, accessories for games,
   billiard markers, billiard tables, coin-operated billiard tables, tables for table tennis, apparatus for
   electronic games other than those adapted for use with television receivers only, counters
   (discs) for games, small balls for games, billiard balls.
35 Advertising; business management; business administration; office functions, import-export
   agencies, efficiency experts, demonstration of goods, marketing studies, business information,
   business investigation, marketing investigation, business management and organization
   consultancy, business organization consultancy, business management consultancy,
   professional business consultancy, organization of exhibitions for commercial or advertising
   purposes, organization of trade fairs for commercial or advertising purposes, business
   appraisals, data search in computer files (for others), economic forecasting, auctioneering, sales
   promotion (for others), office machines and equipment rental, automatic distribution machines
   rental, publication of publicity texts, distribution of samples, direct mail advertising, advertising
   on-line in Internet, compilation of information into computer databases, systemization of
   information into computer databases, public relations, procurement services for others
   (purchasing and providing goods for others), wholesale and retail sale.
38 Telecommunications, including electronic bulletin board services (telecommunications services),
   providing user access to a global computer network (service providers), providing
   telecommunications connections to a global computer network, communications by fiber (fibre)
   optic networks.
39 Travel arrangement, including booking of seats for travel, travel reservation, transport
   reservation, delivery of goods, arranging of cruises, transport of travellers, car transport, car
   rental, escorting of travellers, wrapping of goods, car parking, chauffeur services, courier
   services (messages or merchandise), tourist offices (except for hotel reservation), storage of
   goods, sightseeing (tourism).
41 Publication of books, publication services provided on-line (not downloaded), electronic desktop
   publishing, publication of electronic books and journals on-line, publication of texts (other than
   publicity texts), translation.
42 Design and development of computer hardware and software; computer systems analysis,
   installation of computer software, updating of computer software, maintenance of computer
   software, computer system design, computer rental, rental of computer software, hosting
   computer sites (web sites), creating and maintaining web sites for others.
43 Temporary accommodation, agencies for reservations (hotels, boarding houses), rental of
   meeting rooms, tourist homes, hotel reservations, temporary accommodation reservations,
           Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 164 of 217

          hotels, holiday camp services (lodging), providing campground faculties.

      45 Personal and social services rendered by others to meet the needs of individuals, marriage
         agencies, detective agencies, night guards, guards, dating services, personal body guarding.
580       Date of notification
          15.10.2012
          Date of receipt by the International Bureau
          03.10.2012
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WIPO - ROMARIN - International Registration Details

         791038                                                                          9.9.2016
151      Date of the registration
         03.09.2002
180      Expected expiration date of the registration/renewal
         03.09.2022
270      Language of the application
         English

         Current Status
732      Name and address of the holder of the registration
         Ritzio Purchase Limited Diagorou, 4, Kermia Building, 6th floor, Flat/Office 601 CY-1097
         Nicosia Cyprus
811      Contracting State of which the holder is a national
         CY (Cyprus)
842      Legal nature of the holder (legal entity) and State, and, where applicable, territory within that State
         where the legal entity is organized
         Private company limited by shares, Cyprus
740      Name and address of the representative
         Tatyana Nikolaevna Makarova P.O. Box 7 RU-117420 Moscow Russian Federation
770      Name and address of the previous holder
         Patinira Holdings Limited 6 Nikou Georgiou Street, Block C, 7th Floor, Office 704 Nicosia
         Cyprus
540      Mark




531      International Classification of the Figurative Elements of Marks (Vienna Classification) - VCL(4)
         01.01.05 ; 25.01.19 ; 28.05.00 ; 29.01.15
591      Information concerning colors claimed
         Blue, dark blue, black, red, green, yellow, violet.
         Blue, dark blue - background; black - lightning; yellow, green, violet - stars; red - word
         "VULKAN"; black, blue, dark blue - letters' shadow.
         Bleu, bleu foncé, noir, rouge, vert, jaune, violet.
         L'arrière-plan est en bleu et bleu foncé; l'éclair est en noir; les étoiles sont en jaune, vert et
         violet; le mot "VULKAN" est en rouge; l'entourage des lettres est en noir, bleu et bleu foncé.
561      Transliteration of the mark
         VULKAN
566      Translation of the mark or of words contained in the mark
         VOLCANO
         VOLCAN
            Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 166 of 217

511       International Classification of Goods and Services for the Purposes of the Registration of Marks
          (Nice Classification) - NCL(8)
      41 Modelling of artists; rental of tennis courts; lending libraries; booking of seats for shows;
         videotaping; nursery schools; physical education; discotheque services; animal training;
         dubbing; gaming; publication of books; educational information; recreational information;
         entertainment information; movie studios; health club services; club services (entertainment or
         education); night clubs; correspondence courses; microfilming; videotape editing; production of
         radio and television programmes; music-halls; game services provided on-line (from a computer
         network); religious education; gymnastic instruction; practical training (demonstration);
         organisation of balls; organisation of exhibitions for cultural or educational purposes; providing
         recreational facilities; arranging and conducting of colloquiums; arranging and conducting of
         congresses; arranging and conducting conferences; arranging and conducting of workshops
         (training); arranging and conducting of seminars; arranging and conducting of symposiums;
         arranging of beauty contests; organisation of competitions (education or entertainment);
         lotteries; holiday camp services (entertainment); organisation of shows (impresario services);
         vocational guidance (education or training advice); boarding schools; amusement park; sign
         language interpretation; television entertainment; bookmobile services; providing karaoke
         services; providing golf facilities; providing amusement arcade services; providing cinema
         facilities; presentation of live performances; theatre productions; educational examination;
         videotape film production; film production; rental of sound recordings; rental of audio equipment;
         rental of camcorders; rental of video cassette recorders; rental of videotapes; rental of show
         scenery; rental of cine-films; rental of lighting apparatus for theatrical sets or television studios;
         rental of radio and television sets; rental of skin diving equipment; rental of stage scenery;
         electronic desktop publishing; publication of electronic books and journals online; publication of
         texts (other than publicity texts); radio entertainment; entertainer services; zoological gardens;
         news reporters services; party planning (entertainment); music composition services; subtitling;
         providing of casino facilities (gambling); providing museum facilities (presentation, exhibitions);
         educational services; orchestra services; translation; scriptwriting services; recording studio
         services; digital imaging services; circuses; production of shows.
822       Basic registration
          RU (Russian Federation), 03.07.2002, 216203
300       Data relating to priority under the Paris Convention and other data relating to registration of the
          mark in the country of origin
          RU (Russian Federation), 03.04.2002, 2002707649
832       Designation(s) under the Madrid Protocol
          EE (Estonia), GE (Georgia), LT (Lithuania), TM (Turkmenistan), UZ (Uzbekistan)
834       Designation(s) under the Madrid Protocol by virtue of Article 9sexies
          AM (Armenia), AZ (Azerbaijan), BY (Belarus), KG (Kyrgyzstan), KZ (Kazakhstan), LV (Latvia),
          MD (Republic of Moldova), TJ (Tajikistan), UA (Ukraine)

          Registration
450       Publication number and date
          2002/23 Gaz, 26.12.2002
831       Designation(s) under the Madrid Agreement
          AM (Armenia), AZ (Azerbaijan), BY (Belarus), KG (Kyrgyzstan), KZ (Kazakhstan), LV (Latvia),
          MD (Republic of Moldova), TJ (Tajikistan), UA (Ukraine), UZ (Uzbekistan)
832       Designation(s) under the Madrid Protocol
       Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 167 of 217

      EE (Estonia), GE (Georgia), LT (Lithuania), TM (Turkmenistan)
580   Date of recording (date of notification from which the time limit to notify the refusal starts)
      05.12.2002
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      AM (Armenia)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      AZ (Azerbaijan)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      BY (Belarus)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      EE (Estonia)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      KZ (Kazakhstan)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      LT (Lithuania)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      LV (Latvia)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      MD (Republic of Moldova)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      TJ (Tajikistan)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      TM (Turkmenistan)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      UA (Ukraine)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      UZ (Uzbekistan)

      Grant of protection subject to opposition
      GE (Georgia)
450   Publication number and date
      2003/18 Gaz, 16.10.2003
      Opposition end date
      25.11.2003
       Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 168 of 217

868   Grant of protection
      KG (Kyrgyzstan)
450   Publication number and date
      2003/22 Gaz, 11.12.2003

868   Grant of protection
      GE (Georgia)
450   Publication number and date
      2003/25 Gaz, 05.02.2004

      New licence
450   Publication number and date
      2012/5 Gaz, 23.02.2012
791   Name and address of the licensee
      Joint Limited Liability Company "Edinaya prizovaya sistema Flash-Royal" 220123 office 18, V.
      Khoruzhey street 32V Belarus
842   Legal nature of the holder (legal entity) and State, and, where applicable, territory within that State
      where the legal entity is organized
      Joint Limited Liability Company, Belarus (BY)
793   Indication of conditions and/or restrictions under the license
      BY (Belarus)
      Non-exclusive licence
      Duration: Expiration date international registration number 791038
      Date of effect
      29.12.2011
580   Date of recording
      30.01.2012

      Renewal
450   Publication number and date
      2012/39 Gaz, 18.10.2012
832   Designation(s) under the Madrid Protocol
      EE (Estonia), GE (Georgia), LT (Lithuania), TM (Turkmenistan), UZ (Uzbekistan)
834   Designation(s) under the Madrid Protocol by virtue of Article 9sexies
      AM (Armenia), AZ (Azerbaijan), BY (Belarus), KG (Kyrgyzstan), KZ (Kazakhstan), LV (Latvia),
      MD (Republic of Moldova), TJ (Tajikistan), UA (Ukraine)

      Declaration that a change in ownership has no effect
      GE (Georgia)
450   Publication number and date
      2014/14 Gaz, 17.04.2014
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WIPO - ROMARIN - International Registration Details

         791038                                                                          9.9.2016
151      Date of the registration
         03.09.2002
180      Expected expiration date of the registration/renewal
         03.09.2022
270      Language of the application
         English

         Current Status
732      Name and address of the holder of the registration
         Ritzio Purchase Limited Diagorou, 4, Kermia Building, 6th floor, Flat/Office 601 CY-1097
         Nicosia Cyprus
811      Contracting State of which the holder is a national
         CY (Cyprus)
842      Legal nature of the holder (legal entity) and State, and, where applicable, territory within that State
         where the legal entity is organized
         Private company limited by shares, Cyprus
740      Name and address of the representative
         Tatyana Nikolaevna Makarova P.O. Box 7 RU-117420 Moscow Russian Federation
770      Name and address of the previous holder
         Patinira Holdings Limited 6 Nikou Georgiou Street, Block C, 7th Floor, Office 704 Nicosia
         Cyprus
540      Mark




531      International Classification of the Figurative Elements of Marks (Vienna Classification) - VCL(4)
         01.01.05 ; 25.01.19 ; 28.05.00 ; 29.01.15
591      Information concerning colors claimed
         Blue, dark blue, black, red, green, yellow, violet.
         Blue, dark blue - background; black - lightning; yellow, green, violet - stars; red - word
         "VULKAN"; black, blue, dark blue - letters' shadow.
         Bleu, bleu foncé, noir, rouge, vert, jaune, violet.
         L'arrière-plan est en bleu et bleu foncé; l'éclair est en noir; les étoiles sont en jaune, vert et
         violet; le mot "VULKAN" est en rouge; l'entourage des lettres est en noir, bleu et bleu foncé.
561      Transliteration of the mark
         VULKAN
566      Translation of the mark or of words contained in the mark
         VOLCANO
         VOLCAN
            Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 170 of 217

511       International Classification of Goods and Services for the Purposes of the Registration of Marks
          (Nice Classification) - NCL(8)
      41 Modelling of artists; rental of tennis courts; lending libraries; booking of seats for shows;
         videotaping; nursery schools; physical education; discotheque services; animal training;
         dubbing; gaming; publication of books; educational information; recreational information;
         entertainment information; movie studios; health club services; club services (entertainment or
         education); night clubs; correspondence courses; microfilming; videotape editing; production of
         radio and television programmes; music-halls; game services provided on-line (from a computer
         network); religious education; gymnastic instruction; practical training (demonstration);
         organisation of balls; organisation of exhibitions for cultural or educational purposes; providing
         recreational facilities; arranging and conducting of colloquiums; arranging and conducting of
         congresses; arranging and conducting conferences; arranging and conducting of workshops
         (training); arranging and conducting of seminars; arranging and conducting of symposiums;
         arranging of beauty contests; organisation of competitions (education or entertainment);
         lotteries; holiday camp services (entertainment); organisation of shows (impresario services);
         vocational guidance (education or training advice); boarding schools; amusement park; sign
         language interpretation; television entertainment; bookmobile services; providing karaoke
         services; providing golf facilities; providing amusement arcade services; providing cinema
         facilities; presentation of live performances; theatre productions; educational examination;
         videotape film production; film production; rental of sound recordings; rental of audio equipment;
         rental of camcorders; rental of video cassette recorders; rental of videotapes; rental of show
         scenery; rental of cine-films; rental of lighting apparatus for theatrical sets or television studios;
         rental of radio and television sets; rental of skin diving equipment; rental of stage scenery;
         electronic desktop publishing; publication of electronic books and journals online; publication of
         texts (other than publicity texts); radio entertainment; entertainer services; zoological gardens;
         news reporters services; party planning (entertainment); music composition services; subtitling;
         providing of casino facilities (gambling); providing museum facilities (presentation, exhibitions);
         educational services; orchestra services; translation; scriptwriting services; recording studio
         services; digital imaging services; circuses; production of shows.
822       Basic registration
          RU (Russian Federation), 03.07.2002, 216203
300       Data relating to priority under the Paris Convention and other data relating to registration of the
          mark in the country of origin
          RU (Russian Federation), 03.04.2002, 2002707649
832       Designation(s) under the Madrid Protocol
          EE (Estonia), GE (Georgia), LT (Lithuania), TM (Turkmenistan), UZ (Uzbekistan)
834       Designation(s) under the Madrid Protocol by virtue of Article 9sexies
          AM (Armenia), AZ (Azerbaijan), BY (Belarus), KG (Kyrgyzstan), KZ (Kazakhstan), LV (Latvia),
          MD (Republic of Moldova), TJ (Tajikistan), UA (Ukraine)

          Registration
450       Publication number and date
          2002/23 Gaz, 26.12.2002
831       Designation(s) under the Madrid Agreement
          AM (Armenia), AZ (Azerbaijan), BY (Belarus), KG (Kyrgyzstan), KZ (Kazakhstan), LV (Latvia),
          MD (Republic of Moldova), TJ (Tajikistan), UA (Ukraine), UZ (Uzbekistan)
832       Designation(s) under the Madrid Protocol
       Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 171 of 217

      EE (Estonia), GE (Georgia), LT (Lithuania), TM (Turkmenistan)
580   Date of recording (date of notification from which the time limit to notify the refusal starts)
      05.12.2002
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      AM (Armenia)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      AZ (Azerbaijan)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      BY (Belarus)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      EE (Estonia)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      KZ (Kazakhstan)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      LT (Lithuania)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      LV (Latvia)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      MD (Republic of Moldova)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      TJ (Tajikistan)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      TM (Turkmenistan)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      UA (Ukraine)
      The refusal period has expired and no notification of provisional refusal has been recorded
      (application of Rule 5 preserved)
      UZ (Uzbekistan)

      Grant of protection subject to opposition
      GE (Georgia)
450   Publication number and date
      2003/18 Gaz, 16.10.2003
      Opposition end date
      25.11.2003
       Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 172 of 217

868   Grant of protection
      KG (Kyrgyzstan)
450   Publication number and date
      2003/22 Gaz, 11.12.2003

868   Grant of protection
      GE (Georgia)
450   Publication number and date
      2003/25 Gaz, 05.02.2004

      New licence
450   Publication number and date
      2012/5 Gaz, 23.02.2012
791   Name and address of the licensee
      Joint Limited Liability Company "Edinaya prizovaya sistema Flash-Royal" 220123 office 18, V.
      Khoruzhey street 32V Belarus
842   Legal nature of the holder (legal entity) and State, and, where applicable, territory within that State
      where the legal entity is organized
      Joint Limited Liability Company, Belarus (BY)
793   Indication of conditions and/or restrictions under the license
      BY (Belarus)
      Non-exclusive licence
      Duration: Expiration date international registration number 791038
      Date of effect
      29.12.2011
580   Date of recording
      30.01.2012

      Renewal
450   Publication number and date
      2012/39 Gaz, 18.10.2012
832   Designation(s) under the Madrid Protocol
      EE (Estonia), GE (Georgia), LT (Lithuania), TM (Turkmenistan), UZ (Uzbekistan)
834   Designation(s) under the Madrid Protocol by virtue of Article 9sexies
      AM (Armenia), AZ (Azerbaijan), BY (Belarus), KG (Kyrgyzstan), KZ (Kazakhstan), LV (Latvia),
      MD (Republic of Moldova), TJ (Tajikistan), UA (Ukraine)

      Declaration that a change in ownership has no effect
      GE (Georgia)
450   Publication number and date
      2014/14 Gaz, 17.04.2014
9/9/2016              Case 2:17-cv-00002-RAJ Document 1-2­ eSearch
                                                   EUIPO     Filed 01/03/17 Page 173 of 217


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                                                              EUTM ﬁle information

                                                                          ВУЛКАН
                                                                              014193544

    Timeline

                                   Examination                                Opposition proceedings                            Registered EUTM



                                                                                                                               09/09/2016
                                                                   0 oppositions received

                03/06/2015                                  16/06/2015              16/09/2015                           25/09/2015             03/06/2025
              EUTM application                              Application               End of                           EUTM registered        EUTM expiry date
                 received                                    published            opposition period                     and published

                                 08/06/2015
                                 Examination
                                  completed



    Graphic representation




    Trade mark information

    Name                                       ВУЛКАН                                       Filing date                                  03/06/2015
    Filing number                              014193544                                    Registration date                            23/09/2015
    Basis                                      EUTM                                         Expiry date                                  03/06/2025
    Date of receipt                            03/06/2015                                   Designation date

    Type                                       Figurative                                   Filing language                              English
    Nature                                     Individual                                   Second language                              German
    Nice classes                               28, 41 ( Nice Classiﬁcation )                Application reference

    Vienna Classiﬁcation                       01.01.05, 01.01.12, 26.02.07,                Trade mark status                            Registered
                                               28.05 ( Vienna Classiﬁcation )               Acquired distinctiveness                     No



    Goods and services

      English (en)


            28 Electronic games; Apparatus for games; Slot machines [gaming machines].
            41 Betting services; Bingo hall services; Casino, gaming and gambling services; Casino services; Conducting lotteries for
            others; Operating lotteries; Providing of casino and gaming facilities; Wagering services; Gambling services; Game services;
            Games equipment rental; Services for the organisation of games; Rental of game machines and apparatus; Organisation of
https://euipo.europa.eu/eSearch/#details/trademarks/014193544                                                                                                    1/4
9/9/2016              Case 2:17-cv-00002-RAJ Document 1-2­ eSearch
                                                   EUIPO     Filed 01/03/17 Page 174 of 217
           Games equipment rental; Services for the organisation of games; Rental of game machines and apparatus; Organisation of
           games and competitions; Provision of on-line computer games; Organisation of quizzes, games and competitions;
           Electronic game services provided by means of the internet; Entertainment club services; Night-club services; Provision of
           club entertainment services; Providing slot machine parlors; Providing entertainment information; On-line entertainment;
           Entertainment provided via the internet; Providing facilities for entertainment; Entertainment services relating to quizzes;
           Entertainment services relating to competitions; Provision of on-line entertainment; Provision of rooms adapted for
           entertainment; Providing information in the ﬁeld of entertainment by means of a global computer network; On-line
           entertainment; On-line gaming services; Games oﬀered on-line (on a computer network); Entertainment services provided
           on-line from a computer database or the internet; Electronic games services, including provision of computer games on-
           line or by means of a global computer network.



    Description

      English (en)

             Description
                 Colour    Blue; Red; Yellow.



    Owners

    Ritzio Purchase Limited

    ID                699202              Country              CY - Cyprus      Correspondence address
                                                                                                                 Can be accessed and
    Organisation      Ritzio              State/county         n/a              Ritzio Purchase Limited          changed by authorised user
                      Purchase                                                  Diagorou Street 4, Kermia        via the User Area
                      Limited
                                          Town                 Nicosia
                                                                                building, 6th ﬂoor, Oﬃce 601
                                          Post code            1097             CY-1097 Nicosia
    Legal status      Legal entity
                                          Address              Diagorou         CHIPRE                           Can be accessed and
                                                                                                                 changed by authorised user
                                                               Street 4,
                                                               Kermia                                            via the User Area
                                                               building, 6th
                                                               ﬂoor, Oﬃce
                                                                                                                 Can be accessed and
                                                               601
                                                                                                                 changed by authorised user
                                                                                                                 via the User Area




    Representatives

    Levkovsky, Dmitry

    ID                70180               Country              GB - United      Correspondence address
                                                               Kingdom
    Organisation      n/a                                                       Dmitry Levkovsky
                                          State/county         n/a              135 Arch. Makariou III, Emelle
    Legal status      Individual
                                          Town                 Elstree          Bldg, 4th ﬂoor,
    Type              Lawyer                                                    CY-3021 Limassol                 Counsel.Levkovsky@gmail.com
                                          Post code            WD6 3EW          CHIPRE
                                          Address              Suite 1 the
                                                               Studio St.
                                                               Nicholas
                                                               Close




    Correspondence

               From    Procedure    Filing number        Subject                                                        Date          Actions


                       EUTM         014193544            Certiﬁcate of Registration                                     25/09/2015

                       EUTM         014193544            Cover letter for registration certiﬁcate.                      25/09/2015

                       EUTM         014193544            Search report transmitted (Article 38(1) and (6))              12/06/2015


                       EUTM         014193544            Letter to the EUIPO                                            10/06/2015
https://euipo.europa.eu/eSearch/#details/trademarks/014193544                                                                                   2/4
9/9/2016                Case 2:17-cv-00002-RAJ Document 1-2­ eSearch
                                                     EUIPO     Filed 01/03/17 Page 175 of 217
                          EUTM         014193544      Letter to the EUIPO                                        10/06/2015

                          EUTM         014193544      Figurative                                                 10/06/2015

                          EUTM         014193544      General correspondence                                     10/06/2015

                          EUTM         014193544      Notice of absence of formal requirement (Rule 9(3))        08/06/2015

                          EUTM         014193544      Figurative                                                 03/06/2015

                          EUTM         014193544      Application form and attachment                            03/06/2015

                          EUTM         014193544      E-Comm receipt                                             03/06/2015

       Showing 1 to 10 of 10 entries




    IR transformation

    No entry


    Seniority

    No entry


    Exhibition priority

    No entry


    Priority

    No entry



    Publications

      Bulletin number         Date          Section   Description


      2015/110                16/06/2015    A.1       Applications published under article 40 EUTMR

      2015/182                25/09/2015    B.1       Registrations with no amendments since the application was published

       Showing 1 to 2 of 2 entries




    Cancellation

    No entry


    Recordals

    No entry


    Oppositions

    No entry


    Appeals

    No entry



    Decisions

    No entry



     Renewals
https://euipo.europa.eu/eSearch/#details/trademarks/014193544                                                                 3/4
9/9/2016            Case 2:17-cv-00002-RAJ Document 1-2­ eSearch
                                                 EUIPO     Filed 01/03/17 Page 176 of 217
    Renewals

    No entry


    Trade mark relations

    No entry




https://euipo.europa.eu/eSearch/#details/trademarks/014193544                               4/4
9/9/2016               Case 2:17-cv-00002-RAJDPMAregister
                                               Document          1-2 register
                                                          | information Filed ­01/03/17
                                                                               Trade marks Page 177 of 217




                                                                    DPMA register



     information register

     Register number: 302008017149
     Trade mark registered Query started: September 9, 2016




      Master data Close details

      INID   Criterion         Field   content

             Data file         DB      DE

     111     register          RN      302008017149
             number

     210     File number       AKZ     3020080171499

     540     Reproduction      WM
             of the
             trademark




     550     Type of mark      MF      Word / figurative mark

             Registration in           Yes
             color

     591     Designation of FA         white, yellow, orange, red, light blue, blue, dark blue
             colors

     220     Application       AT      Mar 13, 2008
             date

     151     Date of entry     ET      February 24, 2009
             into the
             register

     730     proprietor        INH     Ritzio Purchase Limited, Nicosia, CY

     740     representative VTR        Achnitz & Partner Rechtsanwälte, 22767 Hamburg, DE

     750     Address for       ZAN     Achnitz & Partner Rechtsanwälte, Large Elbstr. 59, 22767 Hamburg
             service

             Version of the            NCL9
             Nice
             classification

     511     Class (es)        KL      41 , 38
             Nice

     531     Class (es) of     WBK     01:01:01, 26.15.01, 05.27.02, 27.05.10, 01.29.13
             the figurative
             elements of
             marks
             (Vienna
             Agreement)

             Status of file    AST     Trade mark registered

     180     Date of expiry VED        Mar 31, 2018
             of term of
             protection

     450     Date of           VT      Mar 27, 2009
             publication of
             the
             registration

             Start of          BWT     Mar 27, 2009
             opposition
             period

             End of            EWT     June 29, 2009


https://register.dpma.de/DPMAregister/marke/register/3020080171499/DE?lang=en                                1/2
9/9/2016            Case 2:17-cv-00002-RAJDPMAregister
                                            Document          1-2 register
                                                       | information Filed ­01/03/17
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             opposition
             period

     510     List of goods   WDV     Class (es) Nice 38:
             and services            Providing access to games including gambling, sweepstakes, lotteries and quizzes and competitions and bets in computer networks
                                     Class (es) Nice 41:
                                     Entertainment; cultural and sporting activities, arranging and conducting of games and lotteries, operation and services of a casino,
                                     operation and services of casinos, operation and services of online casinos or a casino via electronic networks and the Internet,
                                     operation and services of a gambling hall including a play­hall and a slot machine hall, installation of play equipment and slot
                                     machines, betting including sports betting and horse race betting, arranging and conducting of games including gambling, raffles,
                                     lotteries and quizzes and competitions in the field of education and entertainment and of bets, also electronic media and electronic
                                     networks such as the Internet, publishing and distributing profit lists Games, also via electronic media and electronic networks such as
                                     the Internet, operation and services of a billiard parlors, operation and services of a club (entertainment), operations and services a
                                     nightclub, operating and services a nightclub, operation and services of gambling clubs, operation and services of an amusement park,
                                     services of an entertainer, organization of entertainment shows, booking service for entry and entry cards (included in class 41); Entry
                                     and participation ticket sales for shows and other entertainment events and cultural events, information (information) (also via
                                     electronic media and electronic networks such as the Internet) on amusement, community, relaxation and recreational activities and
                                     cultural events (included in class 41) , information about leisure, relaxation and recreational activities (included in class 41), planning
                                     and organizing parties and festivals (entertainment), services of holiday camps (entertainment), organization of exhibitions of a
                                     cultural nature, production of shows and other events for entertainment , rental of sound recordings and films, devices of consumer
                                     electronics, such as video cassette recorders and other audio and audio­video recording and reproduce apparatus, gaming machines
                                     and other entertainment and gaming devices



      position   Kind of procedure                 Legal status             Date of capture in the          Published in the Trade Mark Journal                   Display all
                                                                            IT system                       (Trademark Journal) of                                details

     1           Application procedure             Trade mark registered    February 24, 2009               Mar 27, 2009                                          display
                                                                                                                                                                  details

     2           Recording of changes ­            Recording of changes     May 18, 2009                    June 19, 2009                                         display
                 Appointment of representative /   completed                                                                                                      details
                 New representative details

     3           opposition proceedings            opposition filed         July 21, 2009                   August 21, 2009                                       display
                                                                                                                                                                  details

     4           opposition proceedings            Trade mark canceled      January 6, 2011                 February 11, 2011                                     display
                                                   in part                                                                                                        details

     5           Recording of changes ­ Legal      Recording of changes     August 13, 2013                 September 13, 2013                                    display
                 transfer                          completed                                                                                                      details




     Report data error P D F d o wn lo ad                  S t­ 6 6 xml d o wn lo ad          Mo n ito r via D P MAku r ier




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https://register.dpma.de/DPMAregister/marke/register/3020080171499/DE?lang=en                                                                                                      2/2
9/9/2016            Case 2:17-cv-00002-RAJ Document        1-2
                                             Patent office of       Filedof01/03/17
                                                              the Republic Latvia   Page 179 of 217




Data of trademark

 (111) Reg. No. M 65 021                             (151) Reg. date 20.07.2012
 (210) Applic. M­12­396                              (220) Applic. date 05.04.2012
 (181) Expected expiration date 05.04.2022
 (531) CFE ind. 1.1.5; 13.1.5; 26.2.7; 26.2.8; 27.3.15




 (591) Colour composition sarkans, tumši zils, zils, gaiši zils, dzeltens, balts
 (730) Owner RITZIO PURCHASE LIMITED; Diagorou 4, Kermia Building, 6th floor, Office 601, 1097 Nicosia, CY
 (740) Representative Olita LŪKA; Brīvības iela 52­1, Rīga, LV­1011, LV
 (511) 41 azartspēles; kazino un azartspēļu zāļu pakalpojumi
       Status: Registered




http://databases.lrpv.gov.lv/databases/en/trademark/printdetails/m­12­396                                    1/1
9/9/2016            Case 2:17-cv-00002-RAJ Document
                                               Selected1-2   Filed
                                                       trademark      01/03/17 Page 180 of 217
                                                                 details




                                                                                                   Data last revised on the 09
                                                                                                       September 2016

     (111) Registration       Z20080153 (trademark registered)
           Number:
     (210) Application        Z20080153A
           Number:
     (181) Expiration Date: 24/01/2018
     (220) Filing Date:       24.01.2008
     (151) Registration Date: 26.01.2009
     (450) Publication Date: 28.02.2009
     (442) Date of Published 31.08.2008
           Application:
     (591) Colors Claimed: blue, blue, red, white, yellow, orange
     (540) Mark
           Reproduction:




     (732) Holder (s):             Ritzio International Limited ,
                                   Diagorou 4 Street; Kermia Building, Office 601, PC1097, Nicosia, CY
     (740) Representative:         Law firm Vukmir and Associates ,
                                   Gramača 2L, 10000 Zagreb, HR
     (531) Vienna Class .:         01/01/01
                                   01/01/05
                                   01/01/10
                                   01/15/01
                                   01/15/03
                                   27/05/01
                                   29/01/15
     (510) Goods and                 9 apparatus for recording, transmission or reproduction of sound or
     (511)
             Services:                 images; Magnetic media for the recording, acoustic panels; machines
                                       and mechanisms for automated devices that run with the prior coin; data
                                       processing equipment and computers; automatic devices for issuing
                                       tickets; music machines that run with a previous payment, automatic
                                       dispensing of something, electrical appliances for control, sound
                                       recording apparatus, electrical devices for communication, videotapes,
                                       video monitors, floppy disks, phonographic plates, optical disks,
                                       compact discs (unchanging memory), compact discs (audio­video),
                                       decorative magnets, mechanisms for devices that run with a previous
                                       payment, carriers of sound recordings, magnetic base for data bases
                                       for optical data; recorded computer programs; computer programs for
                                       games, computer programs (software that can be transferred to the
                                       user's computer ­ downloadable), electronic publications (which can be
                                       transferred to the user's computer ­downloadable), cards with memory
                                       or microprocessor (smart card), zbrajači, gaming devices with television
                                       receivers, entertainment devices that are used only with television sets,
                                       computer peripherals, signaling devices against theft, chips (integrated
                                       circuits)

                                    16 Paper, cardboard and goods made from these materials, not included in
                                       other classes; printed matter; photos; stationery; artists' materials;
                                       instructional and teaching material (except apparatus); plastic materials
                                       for packaging (not included in other classes), including fountain pens,
                                       albums, calendars (almanacs), posters (posters), tickets, tickets, ballot
                                       papers and similar products, patterns, blocks (ATA), covers unbound
                                       magazines, brochures, booklets, newsletters, newspapers, engraved art
                                       objects, bits of pencils, bits of chalk, stands for the seals, stamps,
                                       covers blocks with checks, hole punches (office supplies), riders on
                                       index cards, clips holder for pens, tags for pages in books, publications,
                                       bags (envelopes, pockets) of paper or plastics for packaging, graphic
                                       images, calendars, calendars which leaves tear, pens, pictures,
                                       crossed­out image; non­electric presses for credit card; maps, maps,
http://it­app.dziv.hr/Pretrage/en/z/Detaljno.aspx/Z20080153A                                                                     1/3
9/9/2016            Case 2:17-cv-00002-RAJ Document
                                               Selected1-2   Filed
                                                       trademark      01/03/17 Page 181 of 217
                                                                 details
                                       catalogs, books, registers (books), envelopes (paper products), graphic
                                       drawings, equipment for training (except apparatus), instruments of
                                       writing, self­adhesive products for paper mills, paper knives (office
                                       supplies), cardboard or paper covers for bottles, paper covers (covers),
                                       greeting cards with music, greeting cards, postcards, postage, paper
                                       bags, covers for documents, laminated paper, magazines (magazines),
                                       racks for holding books, beer mats, stands for pens and pencils , stands
                                       for photos, sealing pads, press the paper, inkwell, office supplies except
                                       furniture, stationery, clips, pencil sharpeners (electric or non­electric),
                                       leaflets, printed schedule, art reproduction, pens, figurines of lined
                                       paper, transparent paper, flags of paper, photogravure, woodcuts, labels,
                                       not of textile

                                    25 clothing, footwear, headgear

                                    28 Games and toys; gymnastic and sporting articles not included in other
                                       classes, including automatic games (machines) with a previous
                                       payment, cups for prizes in games, dice (games), playing cards, billiard
                                       cues, chalk for billiard cues, the edges of the pool tables, round pieces of
                                       skin on top billiard sticks, equipment for games, billiard equipment to
                                       record points for billiards, billiard tables, billiard tables to be used with
                                       the prior payment, table tennis, devices for electronic games other than
                                       those used with television receivers, chips for games , balls for a game,
                                       billiard tables

                                    35 advertising and marketing; business management; business
                                       administration; office jobs, the agency for import­export operations
                                       expertise (expertise), presentation of products, market studies,
                                       research for business, market research, consulting on the organization
                                       and conduct of business, advising on the organization of work, advice on
                                       the conduct of business, professional business consulting, organizing
                                       exhibitions for commercial or advertising purposes, organization of
                                       trade fairs for commercial or advertising purposes, assessment of
                                       commercial transactions, searching data in the information on file (for
                                       third parties), economic forecasting, sold at auction, sales promotion
                                       (for third parties), rental of office machines and apparatus , rental of
                                       automatic issuance of something, publication of advertising texts,
                                       distribution of samples, distribution of advertising materials, advertising
                                       on­line on the internet, collecting data in a central filing, systematization
                                       of data for the central cabinet, public relations, procurement services for
                                       third (purchase of products and service to others), wholesale and retail

                                    38 Telecommunications services including electronic bulletin boards ­ BBS
                                       (telecommunications), providing access to a global computer network
                                       (service providers), providing telecommunication connection to global
                                       computer network, communication through a network of fiber optic
                                       cables

                                    39 organizing travel, including provision of travel, booking travel,
                                       reservation, delivery (distribution) of goods, organizing cruises,
                                       passenger transport by car, rent a car, escorted passengers, wrapping
                                       products, services parking, chauffeur service, postal delivery or
                                       shipment of goods, services, tourist offices (except for hotel booking),
                                       storage of goods, tourist visits

                                    41 training; professional training; leisure; sporting and cultural activities;
                                       including renting tennis courts, billiards, reserving places for
                                       performances, recording on videotape, discotheque services, gaming
                                       services for money, publication of books, information regarding
                                       recreation, information on entertainment, service clubs (entertainment
                                       or education), night clubs, services games provided online (from the
                                       computer network), service publications provided on­line (which can not
                                       be transferred to the user's computer), practical training
                                       (demonstration), organization of exhibitions for cultural and educational
                                       purposes, providing services buildings and facilities for recreation (
                                       providing recreation facilities), arranging and conducting workshops for
                                       professional training, organization of competitions (training or
                                       entertainment), organization of lotteries, service camps for holidays
                                       (entertainment), organization of sporting events, amusement parks,
                                       providing facilities and facilities for sport (providing sports facilities)
                                       services hall for games, providing facilities and facilities for theater
                                       (providing cinema facilities), timing at sporting events, film production on
                                       video tape, film production, rental of sound recordings, rental of audio

http://it­app.dziv.hr/Pretrage/en/z/Detaljno.aspx/Z20080153A                                                           2/3
9/9/2016            Case 2:17-cv-00002-RAJ Document
                                               Selected1-2   Filed
                                                       trademark      01/03/17 Page 182 of 217
                                                                 details
                                       equipment, VCR rentals, rental machines, rental of cinematographic
                                       films, Stadium rent (rental of stadium facilities), mikroizdavaštvo,
                                       publication of electronic books and journals on­line, publication of texts
                                       (except for advertising purposes), entertainment, reception planning
                                       (entertainment), casino services (providing casino facilities), translation
                                       services, photography, producing events

                                    42 conception and development of computers and computer programs
                                       (software); analysis of computer systems, installation of computer
                                       software, updating (updating) of computer software, maintenance of
                                       computer programs, design (design) of computer systems, computer
                                       rentals, rental of computer programs, hosting (hosting) computer pages
                                       (web pages), creating and maintaining websites for other

                                    43 refreshment services (catering); temporarily receiving the apartment,
                                       the agency booking (hotels, guest houses), rental of meeting rooms,
                                       resorts, hotel reservation, provision of temporary accommodation, hotel
                                       services, restaurants for fast and continuous serving (snack bars),
                                       cafe­restaurants, coffee shops (cafeterias ), restaurants, services
                                       camping holiday, service bars, providing facilities and facilities for
                                       camping (providing compground facilities), services supplying food and
                                       beverage ­ catering



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                         Company Overview
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Ritzio International: European gaming clubs operator

                                              Ritzio International is a large international provider of gaming and
    Turnover Geographical Breakdown           entertainment services. Currently the Company operates over two hundred
           (2nd half of 2010)                 of gaming clubs in the Western and Eastern Europe.

                                              Ritzio International is present in 6 countries:
                                              Germany, Latvia, Belorussia, Romania, Croatia and Italy.

                                              • Key brands – Vulkan and Million gaming clubs
                                              • 204 gaming clubs




Ritzio International                                                                                               2
                                            Case 2:17-cv-00002-RAJ Document 1-2 Filed 01/03/17 Page 185 of 217




Ritzio International: European gaming clubs operator

Financial highlights: 2006-2010
                                    2006           2007           2008         2009           2010                  Total                                Revenue
  International Operations           173            274            470          276            154                  1 348
                                                                                                                                                      for 2006-2010
      Local Operations              1 172          1 323          1 393        349              -                   4 237
                                                                                                                                                           over
            Total                   1 345          1 597          1 863        625            154               5 584
                                                                                                                                                        $5,5 billion


Ritzio milestones
   Vulkan clubs                      Metro Jackpot            King premium gaming                   Vulkan Sterns
      opened in              gaming chain launched               network opened in                    launched in           Ritzio entered Italy       Acquisition of several
 Moscow, Russia                          in Ukraine                   Kiev, Ukraine                      Germany            and Croatia                      lottery projects



      1992             1995                 1998           2002           2004            2005             2007                2008                2009             2010

              River Palace boat         Labirints clubs acquired in          Million gaming chain           Ritzio entered                         Ritzio opened first VLT
   entertainment center opened                         Riga, Latvia           opened in Romania             Belorussian and Czech                  clubs in Russia
               in Kiev, Ukraine                                                                             markets


Ritzio International                                                                                                                                                         3
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GERMANY

                       Overview
                       Germany represents one of the most important markets for Ritzio as recent changes in regulations
   Gaming machines     provide a solid ground for a major consolidation of the industry. With over 2,130 gaming machines
                       deployed across Germany, Ritzio Germany operates 113 gaming locations in the largest of coun-
       2 134           try’s cities.
                       Its business activities are managed by three companies, established in the three key regions: Ritzio
                       Central Germany (Cologne), Ritzio North Germany (Hamburg) and Ritzio Berlin (Berlin).


                       Brands and Activities
                       Vulkan Stern is a German version of Ritzio’s key brand ‘Volcano’. Ritzio International operates a
                       family of Vulcano-themed facilities that provide visitors with flexible access to a growing portfolio
                       of gaming venues, entertainment services and strict standards of quality and safety. Thousands of
                       visitors access 216 gaming properties located in four European countries.
                       Vulkan Stern Automatencasinos are formatted specifically for German operations
                       and provide exciting gaming experience to players.


Ritzio International                                                                                                      4
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ITALY

                       Overview
                       Ritzio Italy is represented by two offices, leading their businesses in different parts of the country –
   Gaming machines     Rome and Milan. Currently the Company operates 11 gaming clubs and 335 machines nationwide.

         335           Brands and Activities
                       ‘Vulcano della Fortuna’ is an Italian version of Ritzio’s key brand ‘Volcano’, a recognized interna-
                       tional brand. Our customers know that Vulcan is a place they can trust. The clubs are safe and se-
                       cure; the machines’ settings are honest. Vulcan guarantees paying out the money they win. Being
                       part of a large network of clubs, we are known to be a stable and reliable company.




Ritzio International                                                                                                         5
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BELARUS

                       Overview
                       Ritzio International entered the Belarusian market in 2007. Due to the Company’s intensive expan-
   Gaming machines     sion and vast experience in international operations, today Ritzio has 33 gaming clubs and 1,401
                       machines in the country.
       1 401
                       Brands and Activities
                       Vulcan chain of gaming clubs located the country’s urban areas. The network is designed, equipped
                       and managed in a strict accordance with Ritzio’s requirements, those including comfortable and
                       fresh interiors, modern machines and a selection of quality entertainment services.




Ritzio International                                                                                                  6
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ROMANIA

                       Overview
                       Ritzio entered the Romanian market in 2005, and today the Company is one of the largest gaming
   Gaming machines     operators in the country. It operates 29 gaming clubs and 1,103 machines nationwide.

       1 103           Brands and Activities
                       Million, an international chain of gaming clubs. Millions are designed for modern city dwellers
                       who seek an exciting player experience and positive emotions. Well positioned, the chain contin-
                       ues to gain popularity among local clients and is further strengthening its market position.




Ritzio International                                                                                                  7
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CROATIA

                       Overview
                       Since 2008 Ritzio has acquired 21 gaming arcades in Croatia. The Company’s primary focus in
   Gaming machines     Croatia is to pursue and develop small and medium-size clubs segment within the ‘convenient
                       gaming’ market. Balanced local gaming legislation and favourable market conditions provided
         668           Ritzio with an opportunity to reach its goal within a short period of time.


                       Brands and Activities
                       The gaming properties are located in ten cities including the country’s capital, Zagreb. Ritzio
                       rebranded the acquired clubs into a Croatian version of company’s key brand ‘Volcano’– a popu-
                       lar multinational gaming chain, that employs principles of quality mass service and consistent
                       branding.




Ritzio International                                                                                                     8
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LATVIA

                       Overview
                       Ritzio entered the Latvian market in 2003. Today the Company operates a network of 8 gaming
    Gaming machines    clubs and 203 gaming machines.

          203          Brands and Activities
                       The Labirints chain of gaming clubs is a developing sector of gaming services for modern and
                       successful people. Labirints clubs are visited by those who not only make gaming a part of their
                       everyday lives, but also a demand quality gaming establishment. The Labirints chain of gaming
                       clubs operates in most of Latvia’s cities.




Ritzio International                                                                                                      9
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  Gaming Venues / Germany
  Germany
            overview
            Germany represents one of the most important markets for Ritzio as recent changes in regulations
            provide a solid basis for major consolidation of the industry. With over 2,332 gaming machines
            deployed across the country, Ritzio Germany operates 129 gaming locations in the largest of the
            country’s cities.

            Its business activities are managed by three companies, established in the three key regions: Ritzio
            Central Germany (Cologne), Ritzio North Germany (Hamburg) and Ritzio Berlin.

            brands and activities
            Vulkan Stern is a German version of Ritzio’s key brand ‘Volcano’. Ritzio International operates a
            family of Vulcano­themed facilities that provide visitors with flexible access to a growing portfolio of
            gaming venues, entertainment services and strict standards of quality and safety. Thousands of visitors
            access 249 gaming properties located in four European countries.

            Vulkan Stern Automatencasinos have a format specifically designed for German operations and
            provide an exciting gaming experience to players.

            Gaming Clubs Gaming Machines
            129          2,332


            Vulkan Stern gaming clubs websites:

                  www.vulkanstern.net
                  vulkan­casino.de

            Locations
            Gossen­Neu Zittau, Müggelpark 10­12

https://www.ritzio.com/en/gaming_venues/germany.wbp                                                                    1/4
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                                                       RITZIO   Filed 01/03/17 Page 197 of 217
            Zeuthen, Goethestraße 11
            Bernau bei Berlin
            Hamburg, Reeperbahn 6
            Hamburg, Kreuzburger Str. 5 a
            Hamburg, Pestalozzistr. 16
            Hamburg, Winsener Str. 4
            Hamburg, Wandsbeker Marktstr. 145
            Hamburg, Wandsbeker Chaussee 1
            Hamburg, Neue Große Bergstr. 13
            Hamburg , Landwehr 5
            Hamburg, Ahrensburger Str. 105
            Hamburg, Ahrensburger Str. 113
            Hamburg , Wandsbeker Zollstr. 155
            Hamburg, Wilstorfer Str. 96
            Hamburg, Knoopstr. 6
            Hamburg, Große Bergstr. 201
            Brunsbüttel, Von­Humbold­Platz 2
            Itzehoe, Feldschmiede 73
            Nienburg, Hannoversche Str. 154
            Walsrode, Worth 18
            Seevetal, Glüsinger Str . 54
            Buchholz , Lindenstr. 2
            Deggendorf, Werftstr. 15
            Hamburg, Reeperbahn 115
            Hamburg, Sanderdamm 41
            Hamburg, Lohbrügger Landstr. 7
            Hamburg, Rennbahnstr. 28
            Hamburg , Steintorwall 4
            Hamburg, Großer Schippsee 34
            Hamburg, Legienstr. 4
            Hamburg, Berner Heerweg 175
            Hamburg, Große Freiheit 30
            Hamburg, Hammerbrookstr. 73
            Hamburg, Alter Postweg 15
            Hamburg, Jessenstr. 6
            Hamburg, Reeperbahn 118 /132
            Hamburg, Saseler Chaussee 160
            Hamburg, Meiendorfer Straße 93
            Hamburg, Langenhorner Chaussee 129
            Hamburg , Cuxhavener Straße 480
            Hamburg, Bramfelder Chaussee 347
            Geesthacht, Am Schleusenkanal 2­4
            Jesteburg, Schützenstr. 2
            Celle, Braunschweiger Heerstr. 59
            Buchholz, Poststr.16
            Soltau, Lüneburger Str. 27
            Schwerin, Medeweger Str. 12
            Brakel, Hanekamp 8
            München, Goethestr. 5
            Hamburg, Moorhof 11
            Hamburg, Grete­Nevermann­Weg 2
            Hamburg, Grelckstr. 36
            Hamburg, Borsteler Chaussee 103
            Hamburg, Grindelallee 91
            Mülheim an der Ruhr, Oberhausener Str. 92­94
            Mülheim an der Ruhr, Düsseldorferstr. 20
            Mülheim an der Ruhr, Hans­Böckler­pl.1,
            Mülheim an der Ruhr, Eppinghofferstr.150
https://www.ritzio.com/en/gaming_venues/germany.wbp                                              2/4
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            Mülheim an der Ruhr, Friedrich­Ebert­Str. 220
            Witten, Ardeystr.42
            Würzburg, Nürnbergerstr. 76
            Würzburg, Haugerpfarrgasse 6
            Schweinfurt, Bahnhofstr. 30 1/2
            Schweinfurt, Matthäus­Stäbleinstr. 2
            Borken, Commende 12­14
            Duisburg, Am Bahnhostr. 4
            Duisburg, Von­der­Mark Str. 23­25
            Duisburg, Wanheimerstrasse 61
            Duisburg, Jägerstrasse 46
            Ratingen, Bahnstrasse 29­31
            Mülheim a.d Ruhr, Duiburger strasse 237
            Düsseldorf, Bismarkstrasse 57
            Kamp Lintorf, Ringstrasse 117
            Geldern, Issumerstrasse 68­70
            Mülheim a.d Ruhr, Hans­Böckler Platz 6
            Bochum, Dorstenerstr.223
            Gladbeck, Hermannstrasse 178
            Duisburg, Ruhrorterstr. 45
            Eichelzell, Rühnhof 1
            Erkelenz, Aaachenerstrasse 75
            Hallstadt, Hegangerstr., 23a
            Bamberg, Gutenbergstr. 22
            Forchheim, Bambergstr. 8
            Forchheim , Daimlerstr, 10
            Baiersdorf, Am Kreuzbach 2
            Gelsenkirchen, Bochumerstr. 1
            Essen, Marktstr. 4­6
            Bielefeld, Herforder str. 179­181a
            Berlin, Helene­Weigel­Platz 5
            Berlin, Luebeckerstr
            Berlin, Turmstr. 9
            Berlin, Stromstr. 25
            Berlin, Reinickendorfer Str. 89
            Berlin, Friedrich­Wilhelm­Str.
            Berlin, Neue Grottkauer Str.
            Berlin, Siemensdamm
            Berlin, Stromstr. 48
            Berlin, Wilmersdorfer 142
            Berlin, Kaiserdamm 39
            Berlin, Sophie­Charlotten­Str. 35
            Berlin, Schönhauser Allee
            Berlin, Tempelhofer Damm 2
            Berlin, Fennstr. 1
            Berlin, Roedernallee
            Berlin, Friedrichstr. 215
            Berlin, Bismarckstr. 102
            Berlin, Nollendorfplatz 5
            Berlin, Bismarkst.72
            Berlin, Reinickendorfer Str. 17
            Berlin, Greifswald.
            Berlin, Schustehrussstr. 10
            Berlin, Beusselst.54
            Berlin, Beusselstr. 44, 10553 Berlin
            Berlin, Simonring 1­3, 13599 Berlin
            Berlin, Streitstr. 11
            Berlin, Herman­Hesse strasse, Berlin
https://www.ritzio.com/en/gaming_venues/germany.wbp                                               3/4
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            Berlin, Boxhagen.123
            Berlin, An d.Indust.
            Berlin, Rennbahnstr. 87
            Berlin, Wilhelminen.
            Berlin, Chausseestr. 117
            Berlin, Falkenseer Chaussee 194 a
            Berlin, Müllerstr 166
            Berlin, Herzbergstrasse 55
            Berlin, Schoenwalderstrasse 110
            Berlin, Wilmersdorferstrasse 76
            Berlin, Königin­Elisabeth­Strasse 12
            Berlin, Tempelhoferdamm 154
            Berlin, Groenerstrasse 17
            Berlin, Brunnenstrasse
            Berlin, Marianenstrasse
            Berlin, Cicerostrasse 22




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  Gaming Venues / Italy
            overview
            Ritzio Italy is represented by an office in Milan, which leads its businesses in different parts of the
            country. Currently the company operates 10 gaming clubs and 305 machines in nine Italian cities.

            brands and activities
            ‘Vulcano della Fortuna’ is an Italian version of Ritzio’s key, internationally recognized, brand
            ‘Volcano’. Our customers know that Vulcan is a place they can trust. The clubs are safe and secure,
            and the machines’ settings are honest. Vulcan guarantees pay­outs of all winnings. Being part of a
            large network of clubs, we are known to be a stable and reliable company.

            Gaming Clubs Gaming Machines
            10           305




https://www.ritzio.com/en/gaming_venues/italy.wbp                                                                     1/2
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  Gaming Venues / Romania
            overview
            Ritzio entered the Romanian market in 2005. Today the Group is one of the largest gaming operators in
            the country. It operates 43 gaming clubs and 1,869 machines nationwide.

            brands and activities
            "Million" ­ an international chain of gaming clubs. "Millions" are designed for modern city dwellers
            who seek an exciting player experience and positive emotions. Well positioned, the chain continues to
            gain popularity among local clients and is further strengthening its market position.

            Fortuna Palace, a large gaming property located in the heart of Bucharest, Romania. This new 1600­
            square­meter venue with its mix of 114 state­of­the­art gaming machines and three electronic roulettes
            has become Ritzio’s largest gaming venue in the country. The club’s interior boasts an elegant classical
            design that combines a European casino atmosphere with an urban spirit. The main gaming floor also
            features a VIP gaming club and a European cuisine restaurant.

            Gaming Clubs Gaming Machines
            43           1,869

            Locations
            Bucuresti, Brancoveanu, 2
            Bucuresti, OctavianGoga, 24
            Bucuresti, Decebal, 24
            Bucuresti, Nicolae Balcescu, 3­5
            Bucuresti, Aerogarii, 2­8
            Bucuresti, Floreasca, 246 B
            Bucuresti, Stefancelmare, 12
            Bucuresti, Calea 13 Septembrie, 117
            Bucuresti, Stefan cel Mare, 240
            Bucuresti, Crangasi, 29
            Bucuresti, 1 decembrie 1918, 39­41
            Bucuresti, Mihai Bravu, 192

https://www.ritzio.com/en/gaming_venues/romania.wbp                                                                    1/2
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            Brasov, Nicolae Balcescu, 68
            Bacau, Calea Republicii, 181
            Bacau, MihaiViteazu, 2­4
            Iasi, Tudor Vladimirescu
            Iasi, Anastasie Panu, 31
            Piatra Neamt, Decebal, 3
            Baia Mare, Republicii, 14A
            Sibiu, Soseaua Sibiului, 5
            Braila, Calea Calarasilor, 66
            Braila, Eminescu, 59
            Buzau, Unirii, 232
            Constanta, 1 Decembrie 1918
            Constanta, Soveja
            Focsani, Calea Moldovei, 32
            Focsani, Unirii, 65
            Ploiesti, Republicii, 17­25­1
            Pitesti, Maior Santu, D2
            Targoviste, Independentei, O2
            Craiova, Calea Bucuresti, 18
            Craiova, Calea Bucuresti, 80
            Craiova, Ion Maiorescu, 3
            Craiova, Piata Garii
            Ramnicu Valcea, Regina Maria, 4
            Targu Jiu, Eroilor, 6
            Arad, Revolutiei, 83
            Caransebes, MihaiViteazul
            Lugoj, Mocioni, 7
            Timisoara, Piata Marasti, 1­2




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  Gaming Venues / Croatia
            overview
            Since 2008 Ritzio has acquired 27 gaming arcades in Croatia. The Group’s primary focus in Croatia is
            to pursue and develop the small and medium­size club segment within the ‘convenient gaming’
            market. Balanced local gaming legislation and favorable market conditions have given Ritzio the
            opportunity to reach its goal within a short period of time.
            http://www.ritzio.hr/

            brands and activities
            Ritzio’s gaming properties are located in ten cities, including the country’s capital, Zagreb. The
            company rebranded the acquired clubs into a Croatian version of the company’s key brand ‘Volcano’ –
            a popular multinational gaming chain ­ which employs principles of quality mass service and
            consistent branding.

            Gaming Clubs Gaming Machines
            27           818

            Locations
            Dubrovnik, Nikole Tesle 2
            Dubrovnik, Kralja Tomislava 7
            Dakovo, Bana Jelacica 14
            Mali Losinj, Zagrebacka 3
            Biograd, Setaliste kneza Branimira 14a
            Knin, Trg Oluje 3
            Vodice, Dulcin 40
            Hvar, Fabrika 5
            Makarska, Kralja Tomislava 18
            Omis, Drazoevica 14
            Split, Dubrovacka 1
            Split, Domovinskog rata 23
            Split Kneza, Domagoja bb
            Split, Dubrovacka 12

https://www.ritzio.com/en/gaming_venues/croatia.wbp                                                                1/2
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            Trogir, Kneza Trpimira 2
            Ivanec, M.Maleza 9
            Zadar, Obala Kneza Branimira 9
            Zagreb, I.B.Mazuranic 54
            Zagreb, Masiceva 3a




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  Gaming Venues / Belarus
            overview
            Ritzio International entered the Belarusian market in 2007. Due to the company's intensive expansion
            and vast experience in international operations, today Ritzio has 29 gaming clubs and 1,029 machines
            in the country.

            brands and activities
            The Vulcan chain of gaming clubs located the country’s urban areas. The network is designed,
            equipped and managed in strict accordance with Ritzio’s requirements, those including comfortable
            and fresh interiors, modern machines and a selection of quality entertainment services.

            Gaming Clubs Gaming Machines
            29           1029

            Locations
            Борисов, ул.Гагарина, 58б­8
            Борисов, пр. Революции, 43А­1
            Барановичи, ул.Фроленкова, 42­2
            Гомель, ул. Киселева, д.3
            Гродно, ул.Антонова, 9­3
            Гродно, пр­т. Клецкова, д.3Б­3
            Гродно, ул.Советская, 25
            Жодино, пр­т Мира, 19А,
            Лида, ул. Советская, 11а
            Могилев, пер.Пожарный, д.9
            Могилев, ул. Первомайская, 29
            Мозырь, ул. Рыжкова, 8а 247760
            Молодечно, ул. Притыцкого, 21­1
            Минск, пр.Независимости, 58­8
            Минск, ул.Хоружей В.З., д.20
            Минск, ул.Одинцова Л.Е., 19В
            Минск, ул.Притыцкого С.О., 42А­1

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            Минск, ул.Долгобродская, 53
            Минск, ул.Чкалова, 12­2
            Пинск, ул. Ленина, 8
            Светлогорск, ул. Ленина, 19А
            Солигорск, ул.Железнодорожная, д.21
            Слоним, ул.Красноармейская,8А­2




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Hotels, Restaurants and Leisure                                                                        August 08, 2016 9:29 AM ET
Company Overview of Ritzio Entertainment Group

                            Snapshot                                                      People




Company Overview                                                  Key Executives For Ritzio Entertainment Group
Ritzio Entertainment Group operates in the                         Mr. Dmitry Gimmelberg
entertainment and recreation industries in eastern                 Vice President of Finance and Vice President of
                                                                   Business Development
Europe. The company also involves in restaurants
and real­estate management businesses. It operates
various chains of gaming clubs, casinos, bars, night               Mr. Gennady Sokolov
                                                                   General Manager of Germany
clubs, restaurants, sports betting outlets, and
entertainment parks under Ritzio brand. The
                                                                   Ms. Veronika Nechina
company has operations in Russia, Ukraine,                         General Manager of Italy
Kazakhstan, Latvia, Lithuania, Estonia, Romania,
                                                                  Compensation as of Fiscal Year 2016.
Peru, Bolivia, and Mexico. It operates approximately
1,000 gaming clubs, 40,000 slots, 7 casinos, and 2
entertainment centers. The company was founded in
1992 and is based in Moscow, Russia.


                                  Phone:     7 495 933
71 bldg1 Bakuninskaya
                                                  7496
str
                                  Fax: 7 495 933 7303
Moscow, 105082
                                  www.ritzio.com
Russia

Founded in 1992




Similar Private Companies By Industry                             Recent Private Companies Transactions

  Company Name                                     Region          Type
                                                                                              Target
                                                                   Date
  Aleksandrovsky Park Hotel                        Europe
                                                                          No transactions available in the past 12 months.
  Alex Fitness Ltd.                                Europe
  AMAKS Hotels&Resorts                             Europe
  Anex tour, OOO                                   Europe
  Arkadiy Novikov Restaurants Ltd.                 Europe



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Amerikanen woedend: Iraakees wint "hun" loterij
theLotter.com




5 Star Luxury Hotels For Under 99€
VeryChic.com




http://www.bloomberg.com/Research/stocks/private/snapshot.asp?privcapId=24986505                                                    1/2
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Babbel




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Sparta Online Game




The 19 Richest Men in the World
PressroomVIP




No Restrictive Contracts. Just a Better Mobile Phone
OnePlus




http://www.bloomberg.com/Research/stocks/private/snapshot.asp?privcapId=24986505                                2/2
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                                                                                                         User Log In Below:
                 The Gaming­Hospitality Industry's                                                             For Employers
                   Talent Acquisition Resource                                                                For Job Seekers


              Home      Job Search          Job Seekers          Employers        Our Clients        Alliances       Career Resources             Company



               Ritzio Ghana Limited




               Ritzio Ghana Limited is a subsidiary of Ritzio international a multinational gaming operator. Ritzio Entertainment Group operates in the
               entertainment and recreation industries in Ghana. Ritzio Entertainment Group operates various chains of gaming clubs and casinos, bars,
               night clubs, restaurants, sports betting outlets, and entertainment parks under Ritzio brand.

               Ritzio has operations in Russia, Ukraine, Kazakhstan, Latvia, Lithuania, Estonia, Romania, Peru, Bolivia, and Mexico. It operates
               approximately 1,000 gaming clubs, 40,000 slots, 7 casinos, and 2 entertainment centers. In Ghana Ritzio has about 21 slot houses currently
               running.

               To visit Ritzio Ghana Limited's featured jobs on Casino Careers please click here.




             Casino Careers                       Employers                        Job Seekers                       Job Categories

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                                                                                  EM Int.bonds                Cbonds Global         Loans.Cbonds     Conferences




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  Log in                                     Ritzio International — Issuer card
  Login/e­mail         ••••••••
                                                      General information
   Registration               Enter

  Forgot password?           Remember             Company                                            Ritzio International
                                                  Full company name                                  Ritzio International Limited
                                                  List of affiliated companies                       IS Voulkan, Voulkan Finance, Voulkan (Ritzio Group), Ritzio Central Region
     Subscription/Trial access
                                                  Country                                            Russia
                                                  Web                                                http://www.ritzio.com/russian
                                                  Type of legal entity                               Not specified
                                                  Industry                                           Other sectors
                                                  Code                                               RitzioInternational


                                                      News
    Main                                          08/06/2009 Ritzio International fails to pay coupon
    Market News                                   07/31/2009 Moody's withdraws Ritzio International's ratings
    Bond Search                                   07/02/2007 Moody's reviews Ritzio Entertainment Group for downgrade

    Financial Reports                             07/02/2007 Moody's assigns B3 CFR to Ritzio International Limited

    Bond Quotes                                   10/09/2006 Ritzio Ratings Not Immediately Affected By Russia's New Legislative Proposal On Gaming
                                                  05/17/2006 Vympelcom Finance paid off debut issue of bonds for 3 bn rub.
    Bond Maps
                                                  12/16/2005 S&P Rates Russian Gaming Group Ritzio 'B'; Outlk Stbl
    Bond Сalculator
    WatchList and portfolio
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    Research
                                                 Registration required. Please log in or fill in the registration form.
    Indices
                                                  Moody's Investors Service ***        LT­ foreign currency          ***
    Credit ratings                                Standard & Poor's              ***   Foreign Currency LT           ***
    Country Snapshots                             Standard & Poor's              ***   Local Currency LT             ***
    League Tables                                 Standard & Poor's              ***   LT National Scale (Russia)    ***

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                                                 Bond issues
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                                                 Ritzio International, 10% 27jul2010, USD ­ International bonds (redemption default)
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                                                 Ritzio Central Region, 12.5% 23mar2009, USD ­ International bonds (redeemed)
    Cbonds Database                              Voulkan (Ritzio Group), 12% 10jan2007, USD ­ International bonds (redeemed)
                                                 Voulkan (Ritzio Group), 12.75% 23dec2005, USD ­ International bonds (redeemed)
  Bond search                                    Voulkan Finance, 01 ­ Domestic bonds (cancelled)

  Issuer # RN ISIN CUSIP                         all issues




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                                                                                                                                    and the CIS region (in Russian and English)
   Research                               Bond Calendar                            Market Participants' Quotes
                                                                                                                                    Review.Cbonds.Info ­ Cbonds Review, an analytical monthly magazine covering mac
   Indices                                                                         Bond Calculator                                  fixed income markets in Russia and the CIS (in Russian)
                 Chatrooms


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  Our company / Social Responsibility
            Since 2005 Ritzio has been providing active support to the Paralympic movement and sportsmen with
            disabilities. A long­term partnership between Ritzio and the Russian Paralympic Committee began
            with the company’s sponsorship of the Russian national team at the 2006 Winter Paralympic Games in
            Turin.

            In early 2007 Ritzio International President Oleg Boyko became the head of the Paralympic Movement
            Development Commission within the Russian Paralympic Committee.
            At the same time he established the Paralympic Sports Foundation (Parasport), a non­profit
            charitable foundation organized to support training and competition for athletes with disabilities.

            Parasport serves as a long­term source of financial assistance to athletes with physical and sensory
            impairments. The foundation, both in its role as a founding sponsor of the Paralympic Movement and
            through a variety of other fund­raising initiatives:

                   supports paralympic athletes in their participation in sports and social activities
                   provides financial support directly to promising athletes
                   stimulates public policy discussion and promotes sports among disabled individuals and groups
                   helps to enact measures to advance the prominence of paralympic sports in the country



            Go to the Parasport website www.parasport.ru




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  Press Centre / news
  Ritzio’s President Receives Charity Award
  06 February 2009

            Ritzio International announces that the company’s President, Oleg Boyko, was granted a special award
            in recognition of his diverse charity practices and the company's outstanding efforts in corporate social
            responsibilities. The Heart Award was presented at the annual International Gaming Awards ceremony
            in London, England on January 26th at the Millennium Gloucester Hotel.

            “The IGA’s Heart Award recognises individuals from the Gaming/Leisure Industry that take time to
            help others without any recognition or reward for themselves, as examples to others to also involve
            themselves in helping their fellow humans”, commented Colin Thompson, the Co­Founder of the
            International Gaming Awards (IGA). "The IGA strongly felt after hearing that Mr. Oleg Boyko had
            spent much of his time and effort in helping others strive to achieve their goals in the face of the their
            own disabilities. That the IGA should recognize Mr Boyko's great compassion and care for others".

            As one of the largest international gaming companies in the world, Ritzio has a long­term commitment
            to corporate social responsibility. Since 2005 the company and its President, Oleg Boyko, have been
            actively supporting Paralympic sports by providing sufficient funding and charitable programs to
            several National Paralympic Committees and countries, and individual Paralympic athletes. In 2007
            Oleg Boyko initiated a launch of International Parasport Foundation to support and promote
            Paralympic movement internationally. Ritzio’s engagement in a children cancer fundraising
            programme “Billion in small notes” and placement of donation boxes in Vulcan gaming clubs
            encourages gaming clubs visitors to contribute to treatment of sick children.




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